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                          Exhibit C
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                    IN THE CIRCUIT COURT OF ST. LOUIS COUNTY
                               STATE OF MISSOURI

MONSANTO COMPANY,                      )
                                       )
and                                    )
                                       )
PHARMACIA, LLC,                        )
                                       )
and                                    )
                                       )
SOLUTIA, INC.                          )
                                       )
             Plaintiffs,               )       Cause No. 17SL-CC03368
                                       )
v.                                     )
                                       )
MAGNETEK, INC.                         )
                                       )
and                                    )
                                       )
GENERAL ELECTRIC CO.                   )
     Serve: CT Corporation System      )
     120 S. Central Ave.,              )
     Clayton, Mo., 63105               )
                                       )
and                                    )
                                       )
PARAMOUNT GLOBAL                       )
    Serve: CSC – Lawyers               )
    Incorporating Service Company,     )
    221 Bolivar St.,                   )
    Jefferson City, Mo 65101           )
                                       )
and                                    )
                                       )
KYOCERA AVX COMPONENTS                 )
CORPORATION                            )
     Serve: Corporation Service Co.    )
     251 Little Falls Dr.,             )
     Wilmington, DE 19808              )
                                       )
and                                    )




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                                             )
CORNELL DUBILIER ELECTRONICS                 )
INC.                                         )
     Serve: The Corporation Trust Co.        )
     1209 Orange St.,                        )
     Wilmington, DE 19801                    )
                                             )
and                                          )
                                             )
THE GILLETTE COMPANY LLC                     )
     Serve: The Corporation Trust Co.        )
     1209 Orange St.,                        )
     Wilmington, DE 19801                    )
                                             )
       Defendants.                           )

                                FIRST AMENDED PETITION

       COME NOW Plaintiffs Monsanto Company, Pharmacia, LLC, and Solutia, Inc.

(“Plaintiffs”), for their First Amended Petition against Magnetek, Inc., General Electric Co.,

Paramount Global, KYOCERA AVX Components Corporation, Cornell Dubilier Electronics, Inc.,

and The Gillette Company LLC (“Defendants”), and allege as follows:

                                   NATURE OF THE CASE

       1.      This is an action to enforce Defendants’ written agreements to defend, indemnify,

and hold harmless Pharmacia, LLC f/k/a Old Monsanto Company a/k/a Monsanto Chemical Co.

(“Old Monsanto”) relating to Polychlorinated Biphenyls (“PCBs”) that Old Monsanto

manufactured and sold to Defendants or their predecessors-in-interest. Defendants have failed and

refused to honor their agreements despite multiple demands from Plaintiffs. As a result, Plaintiffs

have incurred defense costs, agreed to and/or paid settlements, and have had judgments entered

against them in PCB Lawsuits. Plaintiffs continue to incur substantial costs to defend against

certain PCB Lawsuits that should be borne by Defendants. This lawsuit seeks to recover all of

these amounts from Defendants. It also seeks a declaration from the Court that Defendants are



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required to honor the terms of their agreements and defend, indemnify, and hold harmless Old

Monsanto in all currently pending and future PCB Lawsuits.

       2.      PCBs are a class of unique, chemically inert and heat-resistant, chemicals that were

integral to the manufacture of certain products such as transformers and capacitors in the United

States. Between approximately 1935 and 1977, Old Monsanto manufactured and sold PCBs in

bulk to a number of industrial customers—including Defendants and/or their predecessors-in-

interest—who incorporated those PCBs into a wide variety of finished products that were sold

throughout the United States.        In 1970, in response to growing concern regarding the

environmental persistence of PCBs, Old Monsanto announced that it would phase out production

of PCBs for non-electrical PCB applications. For electrical applications, because PCBs were the

only nonflammable dielectric fluid, Old Monsanto agreed to continue to manufacture and sell

PCBs to certain customers for use in closed electrical applications (e.g., transformers and

capacitors) until suitable alternatives to PCBs became available, but only if those customers would

agree to defend and indemnify Old Monsanto against future PCB-related claims.

       3.      Defendants or their predecessors-in-interest were members of the U.S. electrical

industry and some of the largest purchasers of PCBs from Old Monsanto. In early 1972, each

Defendant, or their predecessor-in-interest, negotiated and entered into a written agreement with

Old Monsanto titled “Special Undertaking by Purchasers of Polychlorinated Biphenyls”

(individually a “Special Undertaking Agreement,” and collectively, the “Special Undertaking

Agreements”). The Special Undertaking Agreements are substantially similar and contractually

obligate each Defendant to defend, indemnify, and hold Old Monsanto harmless from “any and all

liabilities, claims, damages, penalties, actions, suits, losses, costs and expenses . . . arising out of

or in connection with the receipt, purchase, possession, handling, use, sale or disposition of such



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PCB’s by, through, or under [Defendants], whether alone or in combination with other substances,

including, without implied limitation, any contamination of or adverse effect on humans, marine

and wildlife, food, animal feed or the environment by reason of such PCB’s.” Defendants further

acknowledged in the Special Undertaking Agreements that they were aware and had been advised

by Old Monsanto that PCBs tend to persist in the environment and that care was required in the

handling, possession, use, and disposition of PCBs.

       4.      Between 1972 and 1977, Old Monsanto manufactured and sold approximately 143

million pounds of PCBs to customers who entered into Special Undertaking Agreements which

remain viable today. Defendants or their predecessors-in-interest are the six largest purchasers of

PCBs from Old Monsanto between 1972 and 1977.              Pursuant to the Special Undertaking

Agreements, Defendants or their predecessors-in-interest purchased approximately 133 million

pounds of PCBs from Old Monsanto during that time period. Defendants incorporated the PCBs

they purchased from Old Monsanto into electrical products—e.g., capacitors, transformers, and

light ballasts—that were sold to customers throughout the United States. Defendants and/or their

predecessors-in-interest also released into the environment or permitted the release into the

environment some of the 133 million pounds of PCBs that they purchased from Old Monsanto

between 1972 and 1977.

       5.      Multiple lawsuits have been filed against Plaintiffs seeking damages allegedly

caused by the release of PCBs into the environment and other exposures to PCBs (the “PCB

Lawsuits”). The PCB Lawsuits generally predicate Old Monsanto’s liability on, inter alia, its

manufacturing of PCBs for purchase by Defendants. Plaintiffs have incurred significant defense

costs relating to the PCB Lawsuits, have agreed to pay substantial sums to settle various PCB

Lawsuits, and have had judgments entered against them in PCB Lawsuits. Many PCB Lawsuits



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remain pending against Plaintiffs, and Plaintiffs continue to incur substantial costs to defend those

actions. The plaintiffs in each of the pending PCB Lawsuits seek recovery of significant damages

from Plaintiffs.

       6.      Defendants individually and collectively have a contractual duty to defend,

indemnify, and hold harmless Old Monsanto in the PCB Lawsuits. Plaintiffs have provided

Defendants notice of the PCB Lawsuits, tendered the defense of the PCB Lawsuits to Defendants,

and demanded indemnification from Defendants. Defendants have failed and refused to honor

their agreements. They have failed and refused to provide Old Monsanto with a defense in the

PCB Lawsuits and have failed and refused to indemnify Old Monsanto for any of the amounts paid

and/or agreed to be paid to resolve the PCB Lawsuits or any of the judgments entered against Old

Monsanto in the PCB Lawsuits. Defendants’ refusal to defend and indemnify Old Monsanto in

the PCB Lawsuits constitutes one or more breaches of the Special Undertaking Agreements. As a

result of Defendants’ breaches of the Special Undertaking Agreements, Plaintiffs have been

damaged. Plaintiffs’ damages continue to accrue in that Plaintiffs continue to incur substantial

costs to defend the PCB Lawsuits and continue to face significant potential liability in the PCB

Lawsuits.

                                         THE PARTIES

       7.      Old Monsanto is a limited liability company organized and existing under the laws

of the State of Delaware. The sole member of Old Monsanto is Wyeth Holdings LLC. The sole

member of Wyeth Holdings LLC is Anacor Pharmaceuticals, Inc., which is incorporated under the

laws of Delaware and has its principal place of business in New York.

       8.      Plaintiff Solutia, Inc. (“Solutia”) is a corporation organized and existing under the

laws of the State of Delaware with its principal place of business in St. Louis County, Missouri.



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Solutia did not manufacture or sell PCBs. In 1997, Solutia was spun off from Old Monsanto. In

connection with the spin off, Old Monsanto assigned certain rights to Solutia, including the rights

to enforce the Special Undertaking Agreements. In particular, Old Monsanto assigned its “right,

title, and interest . . . in and to all of the Chemical Assets” to Solutia, which were defined to include

“all rights under insurance policies and all rights in the nature of insurance, indemnification or

contribution.” Solutia has the right to enforce the Special Undertaking Agreements.

        9.      Plaintiff New Monsanto is a corporation organized and existing under the laws of

the State of Delaware with its corporate headquarters and principal place of business in St. Louis

County, Missouri. New Monsanto did not manufacture or sell PCBs. New Monsanto was spun

off from Old Monsanto in 2000. In 2008, New Monsanto and Solutia entered into the Amended

and Restated Settlement Agreement in connection with Solutia’s Chapter 11 reorganization. As

part of that Amended and Restated Settlement Agreement, New Monsanto agreed to assume

financial responsibility for certain Legacy Tort Claims (which include claims for property damage,

personal injury, products liability or premises liability or other damages arising out of or related

to exposure to PCBs) and Environmental Liabilities related to Legacy Sites. Old Monsanto

executed a Power of Attorney in favor of New Monsanto, which grants New Monsanto authority

to take “all actions” over certain claims, including the PCB Lawsuits, and provides that New

Monsanto is Old Monsanto’s “true and lawful agent and attorney.” The Amended and Restated

Settlement Agreement also obligated Solutia to use commercially reasonable efforts to assert

indemnification rights (including the Special Undertaking Agreements) for the benefit of New

Monsanto and granted New Monsanto the right to any benefits recovered by Solutia through its

enforcement of those indemnification rights. Pursuant to the 2008 Amended and Restated

Settlement Agreement and the Power of Attorney, New Monsanto is and has been paying the costs



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incurred by Plaintiffs to defend the PCB Lawsuits, and has also paid and/or agreed to pay amounts

to settle some of the Food Chain cases and Water Cases, which are referred to herein and defined

below, for the benefit of Plaintiffs.

        10.     Defendant Magnetek, Inc. (“Magnetek”) is a corporation organized and existing

under the laws of the State of Delaware with its principal place of business in New York.

Magnetek is the successor-in-interest to Universal Manufacturing Corporation (“UMC”). UMC

merged into Magnetek (d/b/a Delaware Magnetek, Inc.) on or about July 11, 1986, with Magnetek

as the surviving corporation.

        11.     Defendant General Electric Co. (“General Electric,” or “GE”) is a corporation

organized and existing under the laws of the State of New York with its principal place of business

in Massachusetts. General Electric is registered to do business in Missouri and can be served

through its registered agent, CT Corporation System, 120 South Central Avenue, Clayton,

Missouri, 63105.

        12.     Defendant Paramount Global (“Paramount”) is a corporation organized and

existing under the laws of the State of Delaware with its principal place of business in New York.

Paramount is the successor-in-interest to Westinghouse Electric Corporation (“Westinghouse”).

On or about November 10, 1997, Westinghouse changed its name to CBS Corporation. On or

about May 4, 2000, CBS Corporation merged into Viacom Inc. with Viacom Inc. as the surviving

corporation. On or about January 1, 2006, Viacom Inc. spun off CBS Corporation. In or around

December 2019, Viacom Inc. and CBS Corporation merged once again, with ViacomCBS as the

surviving entity. In or around February 2022, Viacom CBS changed its name to Paramount.

Paramount is registered to do business in Missouri and can be served through its registered agent,

CSC – Lawyers Incorporating Service Company, 221 Bolivar St., Jefferson City, Missouri 65101.



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       13.     Defendant KYOCERA AVX Components Corporation (“KYOCERA AVX”) is a

corporation organized and existing under the laws of the State of Delaware with its principal place

of business in South Carolina. KYOCERA AVX is the successor to Aerovox Corporation

(“Aerovox”). On June 4, 1973, Aerovox merged with AVX Ceramics Corporation (“AVX

Ceramics”), with AVX Ceramics as the surviving entity. On December 31, 1973, AVX Ceramics

changed its name to AVX Corporation. On January 18, 1990 AVX Corporation merged into KC

Subsidiary Corporation with KC Subsidiary Corporation as the surviving corporation.            KC

Subsidiary Corporation then changed its name to AVX Corporation (“AVX”). On or about March

30, 2020, KYOCERA Corporation acquired AVX through a second-step merger of a wholly-

owned subsidiary of KYOCERA Corporation with and into AVX. As a result of the merger, AVX

became a wholly-owned subsidiary of KYOCERA Corporation. On October 1, 2021, AVX

changed its corporate name to KYOCERA AVX Components Corporation. KYOCERA AVX can

be served through its registered agent, Corporation Service Company, 251 Little Falls Drive,

Wilmington, DE 19808.

       14.     Defendant Cornell-Dubilier Electronics, Inc. (“CDE”) is a corporation organized

and existing under the laws of the State of Delaware with its principal place of business in South

Carolina. On September 19, 1983, Cornell-Dubilier Electric Corp. changed its name to Cornell

Dubilier Electronics, Inc. CDE can be served through its registered agent, The Corporation Trust

Company, 1209 Orange St., Wilmington, DE 19801.

       15.     The Gillette Company LLC (“Gillette”) is a limited liability company organized

and existing under the laws of the State of Delaware with its principal place of business in

Massachusetts. Gillette is the successor-in-interest to P.R. Mallory & Co. Inc. (“P.R. Mallory”).

On February 28, 1980, P.R. Mallory changed its name to Duracell International Inc. On June 29,



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1989, Duracell International Inc. and Duracell Inc. merged with Duracell Inc. as the surviving

company. On December 31, 1998, Duracell Inc. merged into The Gillette Company.                 On

August 25, 2016, The Gillette Company entered into a merger agreement with The Gillette

Company LLC, with Gillette as the surviving entity. Gillette is a wholly-owned subsidiary of The

Procter & Gamble Company. Gillette can be served through its agent, The Corporation Trust

Company, 1209 Orange St., Wilmington, DE 19801.

                                JURISDICTION AND VENUE

       16.     This Court has subject matter jurisdiction over Plaintiffs’ breach of contract,

negligence, and negligent misrepresentation claims pursuant to Art. 5, § 14 of the Missouri

Constitution because circuit courts have original jurisdiction over all civil matters and because

Plaintiffs seek recovery of money in excess of $25,000, so RSMo § 517.011 does not apply. This

Court has subject matter jurisdiction over Plaintiffs’ declaratory judgment claims pursuant to

RSMo §§ 527.010, 527.020, and 527.030.

       17.     This Court has personal jurisdiction over Defendants. First, Defendants satisfy the

Missouri long-arm statute because, as described herein, Defendants transacted business within

Missouri, made contracts within Missouri, contracted to insure a person, property, or risk located

within Missouri at the time of contracting, and, with regard to Magnetek, it also made negligent

misrepresentations in Missouri that have resulted in harm being sustained in Missouri. Some of

the Defendants are also registered to do business in Missouri. Second, Defendants have numerous

suit-related contacts with Missouri, including but not limited to various visits to Old Monsanto in

Missouri regarding PCBs, communicating with Old Monsanto in Missouri, entering into contracts

to purchase PCBs from Old Monsanto that were executed in Missouri and contained Missouri

choice-of-law provisions, and/or the purchase of approximately 133 million pounds of PCBs from

Old Monsanto which was based in Missouri at the time of those purchases. Defendants purchased

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PCBs from Old Monsanto by contacting Old Monsanto in Missouri by telephone and by sending

purchase orders to Old Monsanto in Missouri.

        18.     Venue is proper in St. Louis County, Missouri pursuant to RSMo § 508.010 because

Plaintiffs allege tort claims against Defendants, and Plaintiffs were first injured by Defendants’

tortious conduct in St. Louis County, Missouri.

                                        GENERAL ALLEGATIONS

        I.      The Manufacture, Sale, Use, and Environmental Persistence of PCBs

        19.     From 1901 to 1997, Old Monsanto operated as a Missouri corporation

manufacturing a variety of chemicals and agricultural products.

        20.     Old Monsanto manufactured and sold PCBs under the trade name Aroclor between

1935 and 1977.

        21.     PCBs are a group of man-made organic chemicals consisting of carbon, hydrogen,

and chlorine atoms. They are extremely stable, chemically inert, resistant to heat and fire, and

highly electrically resistive.

        22.     For much of the twentieth century, PCBs were recognized as an essential

nonflammable fluid in many types of electrical equipment and machinery to mitigate very serious

risks, including risk of fatal accidents from fire and explosions. In fact, the National Electrical

Code, other industry codes, and state and federal government regulations required the use of PCBs

in certain electrical applications.

        23.     General Electric pioneered the use of PCBs in electrical equipment. By 1936,

General Electric’s Frank Clark held all initial patents for PCB dielectric applications as well as the

transformers and capacitors that use PCBs. The first change in the National Electric Code to permit

the use of askarel-filled electrical equipment occurred in 1935 after a significant effort on the part



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of General Electric to patent and to obtain an Underwriters’ Laboratories “listing” covering four

Pyranols, the trade name for General Electric’s PCB electrical fluids.

          24.   Old Monsanto sold PCBs in bulk to a number of industrial customers who

incorporated them into a wide variety of finished products that were sold throughout the United

States.

          25.   Defendants and/or their predecessors-in-interest purchased millions of pounds of

PCBs from Old Monsanto.

          26.   Old Monsanto’s customers—including Defendants and/or their predecessors-in-

interest—incorporated PCBs into finished products, including dielectric fluids used in electrical

equipment such as transformers, capacitors, and lighting ballasts. For example, General Electric

blended Aroclor manufactured by Old Monsanto with trichlorobenzene made by other

manufacturers to create PCB electrical fluid products. General Electric also licensed other

electrical equipment manufacturers to use PCB electrical fluids in their equipment. Under this

arrangement, General Electric’s competitors, such as Westinghouse, bought Aroclor through

General Electric rather than directly from Old Monsanto.

          27.   Westinghouse’s trade name for PCB electrical fluid was Interteen. During World

War II, Westinghouse’s arrangements for buying electrical grade Aroclor through General Electric

changed. In late 1942, Westinghouse began purchasing PCBs directly from Old Monsanto.

          28.   The Environmental Protection Agency (“EPA”) has estimated that approximately

75% of all PCBs manufactured in the United States from 1930 – 1975 were used in electrical

transformers and capacitors.      See EPA, PCBs in the United States Industrial Use and

Environmental Distribution at 215 (Feb. 25, 1976) (“EPA PCB Report”).

          29.   Old Monsanto itself never sold finished electrical devices containing PCBs.



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       30.     In the late 1960s, PCBs were found to persist in the environment.

       31.     On January 21-22, 1970, Old Monsanto representatives met with General Electric

representatives in St. Louis, Missouri who advised Old Monsanto that without the continued

manufacture and sale of PCBs for electrical applications in the United States, the domestic industry

for certain electrical devices would shut down.

       32.     In early 1970, Old Monsanto announced that it would phase out production of PCBs

for use as plasticizers and heat transfer fluids in food and feed applications.

       33.     On or about February 18, 1970, Old Monsanto sent letters to its Aroclor electrical

fluid customers calling their attention to recent reports indicating that molecules resembling the

higher chlorinated products had been found in marine and wildlife environments. The letter urged

Aroclor customers to use “all possible care” to prevent Aroclor products from becoming

environmental contaminants. The letter also pointed out that it was possible for PCB-containing

electrically insulating liquids to leak out of sealed electrical devices and suggested that the

recipients should notify the purchasers of their electrical equipment about the problem.

       34.     In March 1970, General Electric held a full-scale internal review of the PCB

situation and concluded that PCBs were a problem for General Electric and that General Electric

was on notice from Old Monsanto to work on the problem and to work with its transformer and

capacitor customers. General Electric sent a letter notifying its Pyranol customers about the PCB

situation in May 1970. Despite these actions, General Electric strongly objected to ending the use

of Aroclors 1254 and 1260 in electrical equipment and recommended that Old Monsanto continue

to manufacture those products.

       35.     On or about April 21, 1970, Westinghouse representatives met with Old Monsanto

representatives in St. Louis, Missouri. At that meeting, the Westinghouse representatives were



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fully advised by Old Monsanto of the background and events involving the discovery of PCBs in

the environment, and received information, inter alia, about the environmental risk of PCBs to

certain forms of animal life.

       36.     Starting in or around April 1970, Old Monsanto began labeling its Aroclor

products, shipping documents, and invoices with a warning that extreme care should be taken to

prevent any entry of PCBs into the environment. Old Monsanto also undertook efforts to obtain

agreement from General Electric and Westinghouse to place similar environmental warnings on

Pyranol and Interteen containers.

       37.     In or around June 23, 1970, Old Monsanto representatives visited P.R. Mallory and

discussed the PCB environmental situation.

       38.     In May 1971, the American National Standards Institute (“ANSI”) established a

PCB committee, designated as C107.         The ANSI C107 Committee was established at the

recommendation of Old Monsanto with the objective of developing guidelines to minimize PCB

environmental pollution from electric uses. Representatives from UMC (N. Ray Clark) and

General Electric (E. L. Raab) were on the ANSI C107 Steering Committee.

       39.     In June 1971, Westinghouse and General Electric were instrumental in creating an

industry report regarding the use and disposal of PCB dielectric fluids, which, inter alia, described

the environmental problems posed by PCB dielectric fluids.

       40.     In September 1971, the U.S. government convened an Interdepartmental Task

Force on PCBs (the “Task Force”). The Task Force “included operating units of five Executive

Branch departments,” namely: the Department of Agriculture; Department of Commerce; EPA;

Department of Health, Education, and Welfare; and Department of the Interior.              Dept. of

Agriculture, et al., Polychlorinated Biphenyls and The Environment at 1 (May 1972) (“PCBs And



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The Environment”). Its purpose was to “coordinate the scientific efforts of the Government aimed

at understanding [PCBs], and to strengthen the Government’s ability to protect the public from

actual or potential hazards from PCBs.” Id. (abstract).

       41.     On or about September 14, 1971, Westinghouse representatives (T. K. Sloat and

Don McClain) attended a meeting of electrical industry, utility, and government representatives,

at which Old Monsanto representatives discussed the PCB situation in depth.

       42.     In or around November 1971, ANSI established subcommittees on the use of PCBs

in capacitors and transformers. Various representatives of Defendants were members of these two

committees, including N. Ray Clark (UMC), Dr. A. Pozefsky (GE), E.L. Raab (GE), R. D. McLain

(Westinghouse), and T. K. Sloat (Westinghouse). E. L. Raab (GE) was the chairman of the

transformer subcommittee and Dr. A Pozefsky (GE) was the chairman of the capacitor

subcommittee. These ANSI subcommittees met multiple times in late 1971 and early 1972.

       43.     On December 16, 1971, Old Monsanto hosted a meeting of Westinghouse

representatives in St. Louis, Missouri. The purpose of the meeting was to acquaint Westinghouse

with the latest information concerning PCBs.

       44.     On December 21, 1971, Old Monsanto sent a letter to dielectric customers advising

that policies effective January 15, 1972 would restrict Old Monsanto’s sales of PCBs to those

customers who had entered into indemnity agreements with Old Monsanto. A true and accurate

copy of the December 21, 1971 letter is attached hereto as Exhibit 28 and incorporated herein by

reference.

       45.     From 1971 forward, Old Monsanto worked hand-in-hand with the EPA to

determine when acceptable substitutes were available and Old Monsanto could stop production of

PCBs. See EPA, Industry Views on the Use of PCBs at 7 (1976) (Statement of F.J. Fitzgerald,



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Vice-President, Monsanto Chemical Company) (Old Monsanto “reaffirm[ing]” its “commitment

to continue working with the EPA and the electrical industry in finding solutions to the PCB

issue.”).

        46.     In 1972, the Task Force issued a major report on PCBs, which “reflect[ed] the

position of the operating agencies of the Federal Government which have major responsibilities

concerning such chemicals as PCBs in food and in the environment.” PCBs And The Environment

at 1. The report found that PCBs had certain “essential or non-replaceable uses.” Id. at 3. After

reviewing “all of the available scientific information on various aspects of the PCB problem,” id.

at 2, the Task Force agreed on nine separate conclusions relating to PCBs, including the following:

        The use of PCBs should not be banned entirely. Their continued use for
        transformers and capacitors in the near future is considered necessary because
        of the significantly increased risk of fire and explosion and the disruption of
        electrical service which would result from a ban on PCB use. Also, continued use
        of PCBs in transformers and capacitors presents a minimal risk of environmental
        contamination.

Id. at 4 (emphasis added).

        47.     The Task Force further explained that continued use of PCBs was essential, because

there were no present substitutes for the use of PCBs, and that purchasers and users of PCBs

understood the need for unusual protective measures to prevent their release into the environment:

        The advantages to the public in terms of safe, reliable, and efficient electrical
        equipment made possible by the use of PCBs have been documented in the body
        of, and especially Appendix B to, this report. It is also clear that there are no present
        or prospective substitutes for these materials, and that the functions they perform
        are essential. Thus the continuing need for PCBs in closed electrical system
        applications is conclusive. The electrical industry well understands, however, that
        continued use of these materials requires unusual protective measures.

Id. at 81.

        48.     In 1976, Congress enacted the Toxic Substances Control Act (“TSCA”), 15 U.S.C.

§ 2601 et seq., which required that the EPA promulgate rules governing continued use of PCBs.


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Pursuant to the TSCA, the EPA promulgated a comprehensive regulatory scheme governing the

manufacture, use, distribution, disposal, and remediation of PCBs and, in 1979, banned the

intentional manufacture of PCBs without specific authorization from the agency. See 40 C.F.R. §

761.1 et seq.

          II.   The Special Undertaking Agreements

          49.   By November 1971, Old Monsanto had made the decision to phase out sales for all

remaining, non-electrical applications of PCBs. Because the continued viability of the U.S.

electric industry depended upon a domestic source for PCBs, Old Monsanto agreed to continue to

supply PCBs for closed electrical applications until suitable alternatives became available, but only

if customers would agree to defendant and indemnify Old Monsanto against future PCB-related

claims.

          50.   Each of the Defendants or their predecessors-in-interest entered into substantially

similar Special Undertaking Agreements with Old Monsanto whereby Defendants or their

predecessors-in-interest each agreed to defend, indemnify, and hold harmless Old Monsanto from

and against any and all liabilities, claims, damages, penalties, actions, suits, losses, costs and

expenses arising out of or in connection with Defendants’ (or their predecessors-in-interest’s)

receipt, purchase, possession, handling, use, sale, or disposition of PCBs, whether alone or in

combination with other substances. In reliance on these Special Undertaking Agreements, Old

Monsanto continued to manufacture and sell PCBs to Defendants until 1977. True and accurate

copies of the Special Undertaking Agreements entered into by Defendants or their predecessors-

in-interest are attached hereto as Exhibits 1-6.

          51.   Based on available sales records, between 1972 and 1977, Old Monsanto sold

approximately 142,971,731 pounds of PCBs to customers who signed Special Undertaking



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Agreements that remain viable today. Defendants were the top six purchasers of those PCBs,

purchasing 133,406,342 pounds or 93% of those PCBs.

       52.     Based on available sales records, Defendants purchased the following amounts of

PCBs from Old Monsanto between 1972 and 1977:

                                                                     Pounds of PCBs
             PCB Purchaser             Successor (if applicable)
                                                                       Purchased
        Aerovox Corporation         KYOCERA AVX                         9,395,500
        Cornell Dubilier                                                7,446,200
        Electronics, Inc.
        General Electric                                               59,910,405
        Company
        P.R. Mallory & Co. Inc.     The Gillette Company LLC            7,060,700

        Universal Manufacturing     Magnetek, Inc.                     11,918,600
        Corporation
        Westinghouse Electric       Paramount                          37,674,937
        Corporation
        TOTAL                                                          133,406,342


       53.     Defendants purchased these PCBs by calling Old Monsanto employees in Missouri

or sending purchase orders to Old Monsanto’s principal place of business in Missouri. Old

Monsanto accepted these purchase orders in Missouri.

       A.      The Magnetek Special Undertaking Agreement

       54.     On January 7, 1972, UMC and Old Monsanto executed a written agreement entitled

“Special Undertaking by Purchasers of Polychlorinated Biphenyls” (the “Magnetek Special

Undertaking Agreement”). The final act creating the Magnetek Special Undertaking Agreement—

Old Monsanto’s execution of the agreement—occurred in Missouri. A true and correct copy of

the Magnetek Special Undertaking Agreement is attached hereto as Exhibit 1 and incorporated

herein by reference.

       55.     Prior to signing the Magnetek Special Undertaking Agreement, Old Monsanto sent



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letters to UMC and met in-person with UMC employees, including its Executive Vice President

N. Ray Clark, to discuss PCB environmental pollution. For example, in 1969, Old Monsanto

advised UMC to keep PCBs well-contained and to exercise the highest degree of control in its

storage of PCBs.

          56.     Magnetek is the successor-in-interest to UMC’s obligations under the Magnetek

Special Undertaking Agreement.

          57.     The Magnetek Special Undertaking Agreement identifies UMC as the “Buyer” and

states:

          While Buyer desires to purchase PCB’s because of certain desirable flame resistant
          and insulator properties, Buyer acknowledges that it is aware and has been advised
          by Monsanto that PCB’s tend to persist in the environment; that care is required in
          their handling, possession, use and disposition; that tolerance limits have been or
          are being established for PCB’s in various food products.

          Monsanto has therefore adopted certain restrictive policies with respect to its
          further production, sale and delivery of PCB’s, including the receipt of
          undertakings from its customers as set forth below, and Buyer is willing to agree to
          such undertakings with respect to sales and/or deliveries of PCB’s by Monsanto to
          Buyer.

Exhibit 1 at 1.

          58.     The Magnetek Special Undertaking Agreement further states that UMC will

defend, indemnify, and hold Monsanto harmless against future PCB-related claims as follows:

          Accordingly, Buyer hereby covenants and agrees that, with respect to any and all
          PCB’s sold or delivered by or on behalf of Monsanto to Buyer on or after the date
          hereof and in consideration of any such sale or delivery, Buyer shall defend,
          indemnify and hold harmless Monsanto, its present, past and future directors,
          officers, employees and agents, from and against any and all liabilities, claims,
          damages, penalties, actions, suits, losses, costs and expenses (except to the extent
          arising from failure of PCB to conform to specifications) arising out of or in
          connection with the receipt, purchase, possession, handling, use, sale, or disposition
          of such PCB’s by, through or under Buyer, whether alone or in combination with
          other substances, including, without implied limitation, any contamination of or
          adverse effect on humans, marine and wildlife, food, animal feed or the
          environment by reason of such PCB’s.


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Exhibit 1 at 1.

       59.        Further, the Magnetek Special Undertaking Agreement states that “[a]ll existing

contracts for the sale of PCB’s by Monsanto to Buyer are hereby amended to contain the provision

set forth above.” Exhibit 1 at 1.

       60.        As shown, the Magnetek Special Undertaking Agreement broadly covers all claims

“arising out of” or having any “connection with” the receipt or purchase of PCBs by Magnetek

after January 7, 1972.

       61.        The Magnetek Special Undertaking Agreement is not limited to claims connected

only to PCBs purchased by Magnetek after January 7, 1972, but also applies to claims connected

to those PCBs “in combination with other substances.”

       62.        On January 7, 1972, the President of UMC sent a letter to Old Monsanto in Missouri

stating that the Special Undertaking Agreement is covered by a blanket liability policy with

Travelers Insurance Company having limits of $10 million dollars. On January 17, 1972 the

insurance manager for UMC’s then parent company, Northwest Industries, Inc., sent a letter to Old

Monsanto in Missouri providing a “Certificate of Insurance” “[i]n furtherance of the undertaking

between [Old Monsanto] and our Universal Manufacturing Corporation.” A true and accurate

copy of the January 7, 1972 letter is attached hereto as Exhibit 7 and incorporated herein by

reference.

       63.        In the following years, UMC and its parent company sent additional

correspondence and certificates of insurance to Old Monsanto in Missouri including at least three

letters sent by UMC to Old Monsanto in Missouri, three letters sent by Northwest Industries, Inc.

to Old Monsanto in Missouri, and various Certificates of Insurance issued to Old Monsanto every




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year from 1972 to 1977. Old Monsanto received and processed the letters from UMC and

Northwest Industries, Inc., and the Certificates of Insurance, in Missouri.

       64.     Representatives from UMC visited Old Monsanto in Missouri on multiple

occasions to attend meetings regarding PCBs. For example, in 1974, the vice president of

Magnetek’s predecessor, N. Ray Clark, attended two meetings at Old Monsanto’s headquarters in

St. Louis regarding PCBs—a meeting on Proposed PCB Effluent Standards and an International

Dielectrics Symposium presented by Old Monsanto.

       B.      The General Electric Special Undertaking Agreement

       65.     On January 21, 1972, General Electric and Old Monsanto executed a written

agreement entitled “Special Undertaking by Purchasers of Polychlorinated Biphenyls” (the “GE

Special Undertaking Agreement”).         The final act creating the GE Special Undertaking

Agreement—Old Monsanto’s execution of the agreement—occurred in Missouri.

       66.     On February 3, 1972, Canadian General Electric Company Limited (a GE affiliate),

Old Monsanto, and Monsanto Canada Limited executed a “Special Undertaking By Purchasers Of

Polychlorinated Biphenyls” (the “Canadian GE Special Undertaking Agreement”). The final act

creating the Canadian GE Special Undertaking Agreement—Old Monsanto’s execution of the

agreement—occurred in Missouri. The Canadian GE Special Undertaking Agreement is

substantially similar to the GE Special Undertaking Agreement (collectively referred to as the “GE

Special Undertaking Agreements”). True and correct copies of the GE Special Undertaking

Agreement, an addendum thereto, and the Canadian GE Special Undertaking Agreement are

attached hereto as Exhibit 2 and incorporated herein by reference.

       67.     Prior to entering into the GE Special Undertaking Agreements, Old Monsanto

advised GE to keep PCBs well-contained and to exercise the highest degree of control in its storage



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of PCBs. For example, in February 1970, Old Monsanto sent a letter to GE alerting GE to potential

problems of environmental contamination relating to PCBs. In addition, in January 1970, Old

Monsanto representatives met with GE representatives in St. Louis for a discussion of

environmental safety aspects associated with the use of PCBs. Old Monsanto representatives met

with GE representatives again in December 1971 to discuss environmental issues with regard to

PCBs and the Special Undertaking Agreements. Old Monsanto sent another letter to GE on or

about January 3, 1972 reiterating that PCBs “are not readily biodegradable” and that GE should

“take every precaution to prevent any entry of polychlorinated biphenyls into the environment

through spills, usage, leakage, disposal, vaporization or otherwise.”

       68.        The Sales Contract for PCBs between Old Monsanto and GE for the period July 1,

1971 to June 30, 1972 included the following statement:

       It is understood that the products sold hereunder contain polychlorinated biphenyls,
       which some studies have shown may be an environmental contaminant. Buyer
       agrees to use its best efforts to prevent such products from entering into the
       environment through spills, leakage, use, disposal, vaporization or otherwise.

       69.        The GE Special Undertaking Agreement identifies General Electric as the “Buyer”

and states:

       While Buyer desires to purchase PCB’s because of certain desirable flame resistant
       and insulator properties, Buyer acknowledges that it is aware and has been advised
       by Monsanto that PCB’s tend to persist in the environment; that care is required in
       their handling, possession, use and disposition; that tolerance limits have been or
       are being established for PCB’s in various food products.

       Monsanto has therefore adopted certain restrictive policies with respect to its
       further production, sale and delivery of PCB’s, including the receipt of
       undertakings from its customers as set forth below, and Buyer is willing to agree to
       such undertakings with respect to sales and/or deliveries of PCB’s by Monsanto to
       Buyer.

Exhibit 2 at 1.




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       70.        The GE Special Undertaking Agreement further states that General Electric will

defend, indemnify, and hold Monsanto harmless against future PCB-related claims as follows:

       Accordingly, Buyer hereby covenants and agrees that, with respect to any and all
       PCB’s sold or delivered by or on behalf of Monsanto to Buyer on or after the date
       hereof and in consideration of any such sale or delivery, Buyer shall defend,
       indemnify and hold harmless Monsanto, its present, past and future directors,
       officers, employe[e]s and agents, from and against any and all liabilities, claims,
       damages, penalties, actions, suits, losses, costs and expenses arising out of or in
       connection with the receipt, purchase, possession, handling, use, sale, or disposition
       of such PCB’s by, through or under Buyer, whether alone or in combination with
       other substances, including, without implied limitation, any contamination of or
       adverse effect on humans, marine and wildlife, food, animal feed or the
       environment by reason of such PCB’s.

Exhibit 2 at 1.

       71.        Further, the GE Special Undertaking Agreement states that “[a]ll existing contracts

for the sale of PCB’s by Monsanto to Buyer are hereby amended to contain the provision set forth

above.” Exhibit 2 at 2.

       72.        As shown, the GE Special Undertaking Agreement broadly covers all claims

“arising out of” or having any “connection with” the receipt or purchase of PCBs by GE after

January 21, 1972.

       73.        The GE Special Undertaking Agreement is not limited to claims connected only to

PCBs purchased by GE after January 21, 1972, but also applies to claims connected to those PCBs

“in combination with other substances.”

       C.         The Paramount Special Undertaking Agreement

       74.        On January 15, 1972, Westinghouse and Old Monsanto executed a written

agreement entitled “Special Undertaking by Purchasers of Polychlorinated Biphenyls” (the

“Paramount Special Undertaking Agreement”). The Paramount Special Undertaking Agreement

was negotiated by the legal departments of Old Monsanto and Westinghouse from December 4,



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1971 until January 15, 1972.        The final act creating the Paramount Special Undertaking

Agreement—Old Monsanto’s execution of the agreement—occurred in Missouri. A true and

correct copy of the Paramount Special Undertaking Agreement is attached hereto as Exhibit 3 and

incorporated herein by reference.

       75.    Prior to signing the Paramount Special Undertaking Agreement, Old Monsanto

advised Westinghouse to keep PCBs well-contained and to exercise the highest degree of control

in its storage of PCBs. For example, in February 1970, Old Monsanto sent a letter to Westinghouse

alerting Westinghouse to potential problems of environmental contamination relating to PCBs. In

April 1970, Old Monsanto hosted a full day meeting with Westinghouse representatives in

Missouri to discuss, inter alia, PCB toxicity and methods of disposal. Old Monsanto also

recommended to Westinghouse that its Inerteen labels be changed to include an environmental

warning stating in part that “some studies have shown [PCBs] may be an environmental

contaminant” and that “[e]xtreme care should be taken to prevent any entry into the environment

through spills, leakage, use disposal, vaporization or otherwise.” Westinghouse representatives

also visited Old Monsanto in Missouri to discuss PCBs, including information regarding the

toxicity of PCBs.

       76.    Paramount is the successor-in-interest to Westinghouse’s obligations under the

Paramount Special Undertaking Agreement.

       77.    The Paramount Special Undertaking Agreement identifies Westinghouse as the

“Buyer” and states:

       While Buyer desires to purchase PCB’s because of certain desirable flame resistant
       and insulator properties, Buyer acknowledges that it is aware and has been advised
       by Monsanto that PCB’s tend to persist in the environment; that care is required in
       their handling, possession, use and disposition; that tolerance limits have been or
       are being established for PCB’s in various food products.



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       Monsanto has therefore adopted certain restrictive policies with respect to its
       further production, sale and delivery of PCB’s, including the receipt of
       undertakings from its customers as set forth below, and Buyer is willing to agree to
       such undertakings with respect to sales and/or deliveries of PCB’s by Monsanto to
       Buyer.

Exhibit 3 at 1.

       78.        The Paramount Special Undertaking Agreement further states that Westinghouse

will defend, indemnify, and hold Monsanto harmless against future PCB-related claims as follows:

       Accordingly, Buyer hereby covenants and agrees that, with respect to any and all
       PCB’s sold or delivered by or on behalf of Monsanto to Buyer on or after the date
       hereof and in consideration of any such sale or delivery, Buyer shall defend,
       indemnify and hold harmless Monsanto, its present, past and future directors,
       officers, employe[e]s and agents, from and against any and all liabilities, claims,
       damages, penalties, actions, suits, losses, costs and expenses arising out of or in
       connection with the receipt, purchase, possession, handling, use, sale, or disposition
       of such PCB’s by, through or under Buyer, whether alone or in combination with
       other substances, including, without implied limitation, any contamination of or
       adverse effect on humans, marine and wildlife, food, animal feed or the
       environment by reason of such PCB’s.

Exhibit 3 at 1-2.

       79.        Further, the Paramount Special Undertaking Agreement states that “[a]ll existing

contracts for the sale of PCB’s by Monsanto to Buyer for delivery in the future are hereby amended

to contain the provision set forth herein.” Exhibit 3 at 3.

       80.        As shown, the Paramount Special Undertaking Agreement broadly covers all

claims “arising out of” or having any “connection with” the receipt or purchase of PCBs by

Paramount after January 15, 1972.

       81.        The Paramount Special Undertaking Agreement is not limited to claims connected

only to PCBs purchased by Paramount after January 15, 1972, but also applies to claims connected

to those PCBs “in combination with other substances.”




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       82.     The Paramount Agreement states that it “shall be governed by and be construed

according to the laws of the State of Missouri.” Exhibit 3 at 3.

       D.      KYOCERA AVX Special Undertaking Agreements

       83.     On February 7, 1972, Aerovox, Aerovox Canada Limited, and Old Monsanto

executed a written agreement entitled “Special Undertaking by Purchasers of Polychlorinated

Biphenyls” (the “KYOCERA AVX Special Undertaking Agreement”). The final act creating the

KYOCERA AVX Special Undertaking Agreement—Old Monsanto’s execution of the

agreement—occurred in Missouri.

       84.     On March 20, 1972, Aerovox, Aerovox Canada Limited, Old Monsanto, and

Monsanto Canada Limited executed a written agreement entitled “Special Undertaking by

Purchasers of Polychlorinated Biphenyls” (the “Canadian KYOCERA AVX Special Undertaking

Agreement”). The Canadian KYOCERA AVX Special Undertaking Agreement is substantially

similar to the KYOCERA AVX Special Undertaking Agreement (collectively referred to as the

“KYOCERA AVX Special Undertaking Agreements”). The final act creating the KYOCERA

AVX Special Undertaking Agreement—Old Monsanto’s execution of the agreement—occurred

in Missouri. True and correct copies of the KYOCERA AVX Special Undertaking Agreements

are attached hereto as Exhibit 4 and incorporated herein by reference.

       85.     KYOCERA AVX is the successor-in-interest to Aerovox’s obligations under the

KYOCERA AVX Special Undertaking Agreements.

       86.     The KYOCERA AVX Special Undertaking Agreements identify Aerovox as a

“Buyer” and state:

       While Buyer desires to purchase PCB’s because of certain desirable flame resistant
       and insulator properties, Buyer acknowledges that it is aware and has been advised
       by Monsanto that PCB’s tend to persist in the environment; that care is required in



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        their handling, possession, use and disposition; that tolerance limits have been or
        are being established for PCB’s in various food products.

        Monsanto has therefore adopted certain restrictive policies with respect to its
        further production, sale and delivery of PCB’s, including the receipt of
        undertakings from its customers as set forth below, and Buyer is willing to agree to
        such undertakings with respect to sales and/or deliveries of PCB’s by Monsanto to
        Buyer.

Exhibit 4 at 1, 3.

        87.     The KYOCERA AVX Special Undertaking Agreements further state that Aerovox

will defend, indemnify, and hold Monsanto harmless against future PCB-related claims as follows:

        Accordingly, Buyer hereby covenants and agrees that, with respect to any and all
        PCB’s sold or delivered by or on behalf of Monsanto to Buyer on or after the date
        hereof and in consideration of any such sale or delivery, Buyer shall defend,
        indemnify and hold harmless Monsanto, its present, past and future directors,
        officers, employe[e]s and agents, from and against any and all liabilities, claims,
        damages, penalties, actions, suits, losses, costs and expenses arising out of or in
        connection with the receipt, purchase, possession, handling, use, sale, or disposition
        of such PCB’s by, through or under Buyer, whether alone or in combination with
        other substances, including, without implied limitation, any contamination of or
        adverse effect on humans, marine and wildlife, food, animal feed or the
        environment by reason of such PCB’s.

Exhibit 4 at 1; see also id. at 3 (substantially similar provision in Canadian KYOCERA AVX

Special Undertaking Agreement).

        88.     Further, the KYOCERA AVX Special Undertaking Agreements state that “[a]ll

existing contracts for the sale of PCB’s by Monsanto to Buyer are hereby amended to contain the

provision set forth above.” Exhibit 4 at 2, 4.

        89.     As shown, the KYOCERA AVX Special Undertaking Agreements broadly cover

all claims “arising out of” or having any “connection with” the receipt or purchase of PCBs by

AVX after February 7, 1972.




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          90.     The KYOCERA AVX Special Undertaking Agreements are not limited to claims

connected only to PCBs purchased by KYOCERA AVX’s predecessors-in-interest after February

7, 1972, but also apply to claims connected to those PCBs “in combination with other substances.”

          E.      The CDE Special Undertaking Agreement

          91.     On January 26, 1972, CDE and Old Monsanto executed a written agreement

entitled “Special Undertaking by Purchasers of Polychlorinated Biphenyls” (the “CDE Special

Undertaking Agreement”). The final act creating the CDE Special Undertaking Agreement—Old

Monsanto’s execution of the agreement—occurred in Missouri. A true and correct copy of the

CDE Special Undertaking Agreement is attached hereto as Exhibit 5 and incorporated herein by

reference.

          92.     The CDE Special Undertaking Agreement identifies CDE as the “Buyer” and

states:

          While Buyer desires to purchase PCB’s because of certain desirable flame resistant
          and insulator properties, Buyer acknowledges that it is aware and has been advised
          by Monsanto that PCB’s tend to persist in the environment; that care is required in
          their handling, possession, use and disposition; that tolerance limits have been or
          are being established for PCB’s in various food products.

          Monsanto has therefore adopted certain restrictive policies with respect to its
          further production, sale and delivery of PCB’s, including the receipt of
          undertakings from its customers as set forth below, and Buyer is willing to agree to
          such undertakings with respect to sales and/or deliveries of PCB’s by Monsanto to
          Buyer.

Exhibit 5 at 1.

          93.     The CDE Special Undertaking Agreement further states that CDE will defend,

indemnify, and hold Monsanto harmless against future PCB-related claims as follows:

          Accordingly, Buyer hereby covenants and agrees that, with respect to any and all
          PCB’s sold or delivered by or on behalf of Monsanto to Buyer on or after the date
          hereof and in consideration of any such sale or delivery, Buyer shall defend,
          indemnify and hold harmless Monsanto, its present, past and future directors,


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       officers, employe[e]s and agents, from and against any and all liabilities, claims,
       damages, penalties, actions, suits, losses, costs and expenses arising out of or in
       connection with the receipt, purchase, possession, handling, use, sale, or disposition
       of such PCB’s by, through or under Buyer, whether alone or in combination with
       other substances, including, without implied limitation, any contamination of or
       adverse effect on humans, marine and wildlife, food, animal feed or the
       environment by reason of such PCB’s.

Exhibit 5 at 1.

       94.        Further, the CDE Special Undertaking Agreement states that “[a]ll existing

contracts for the sale of PCB’s by Monsanto to Buyer are hereby amended to contain the provision

set forth above.” Exhibit 5 at 2.

       95.        As shown, the CDE Special Undertaking Agreement broadly covers all claims

“arising out of” or having any “connection with” the receipt or purchase of PCBs by CDE after

January 26, 1972.

       96.        The CDE Special Undertaking Agreement is not limited to claims connected only

to PCBs purchased by CDE after January 26, 1972, but also applies to claims connected to those

PCBs “in combination with other substances.”

       F.         The Gillette Special Undertaking Agreement

       97.        On February 4, 1972, P.R. Mallory and Old Monsanto executed a written agreement

entitled “Special Undertaking by Purchasers of Polychlorinated Biphenyls” (the “Gillette Special

Undertaking Agreement”). The final act creating the Gillette Special Undertaking Agreement—

Old Monsanto’s execution of the agreement—occurred in Missouri. A true and correct copy of

the Gillette Special Undertaking Agreement is attached hereto as Exhibit 6 and incorporated

herein by reference.

       98.        Gillette is the successor-in-interest to PR Mallory’s obligations under the Magnetek

Special Undertaking Agreement.



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       99.        The Gillette Special Undertaking Agreement identifies P.R. Mallory as the “Buyer”

and states:

       While Buyer desires to purchase PCB’s because of certain desirable flame resistant
       and insulator properties, Buyer acknowledges that it is aware and has been advised
       by Monsanto that PCB’s tend to persist in the environment; that care is required in
       their handling, possession, use and disposition; that tolerance limits have been or
       are being established for PCB’s in various food products.

       Monsanto has therefore adopted certain restrictive policies with respect to its
       further production, sale and delivery of PCB’s, including the receipt of
       undertakings from its customers as set forth below, and Buyer is willing to agree to
       such undertakings with respect to sales and/or deliveries of PCB’s by Monsanto to
       Buyer.

Exhibit 6 at 1.

       100.       The Gillette Special Undertaking Agreement further states that P.R. Mallory will

defend, indemnify, and hold Monsanto harmless against future PCB-related claims as follows:

       Accordingly, Buyer hereby covenants and agrees that, with respect to any and all
       PCB’s sold or delivered by or on behalf of Monsanto to Buyer on or after the date
       hereof and in consideration of any such sale or delivery, Buyer shall defend,
       indemnify and hold harmless Monsanto, its present, past and future directors,
       officers, employe[e]s and agents, from and against any and all liabilities, claims,
       damages, penalties, actions, suits, losses, costs and expenses (except to the extent
       arising from the failure of PCB’s to conform with specifications) arising out of or
       in connection with the receipt, purchase, possession, handling, use, sale, or
       disposition of such PCB’s by, through or under Buyer, whether alone or in
       combination with other substances, including, without implied limitation, any
       contamination of or adverse effect on humans, marine and wildlife, food, animal
       feed or the environment by reason of such PCB’s.

Exhibit 6 at 1.

       101.       Further, the Gillette Special Undertaking Agreement states that “[a]ll existing

contracts for the sale of PCB’s by Monsanto to Buyer are hereby amended to contain the provision

set forth above.” Exhibit 6 at 1.




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        102.    As shown, the Gillette Special Undertaking Agreement broadly covers all claims

“arising out of” or having any “connection with” the receipt or purchase of PCBs by Gillette after

February 4, 1972.

        103.    The Gillette Agreement is not limited to claims connected only to PCBs purchased

by Gillette after February 4, 1972, but also applies to claims connected to those PCBs “in

combination with other substances.”

        III.    Defendants Released PCBs into the Environment.

        104.    Defendants were aware of the potential for PCBs to persist in the environment and

of the need to use care in the use and handling of PCBs. Nevertheless, Defendants and their

products have been a major source of environmental PCB contamination, and Defendants have

released PCBs purchased both before and after signing the Special Undertaking Agreements into

the environment.

        105.    PCBs have been released into the environment by Defendants and/or their

predecessors-in-interest through their release from products they manufactured, disposal of PCB-

containing products, leaks, accidental spills, dumping and disposal of industrial wastes, and

through other means.

        106.    Some PCBs, once released into the environment, do not break down readily and

may persist for long periods of time.

        107.    PCBs cycle between air, water, and soil and can be carried long distances from the

site of original release.

        108.    In 1976, EPA estimated that, of the 440 million pounds of PCBs that were estimated

to be “in the environment,” at least 190 million pounds (or 43%) came from capacitor and




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transformer production wastes and obsolete electrical equipment in landfills and dumps. See EPA

PCB Report at 5, 7, Table 1.2-1.

       109.    The EPA also reported that 9.6 million pounds of PCBs were “land-disposed” each

year as a result of the production and use of PCBs in transformers and capacitors. See id. at 292

(Ex. A). The EPA estimated that 2.4 million pounds of PCBs were land disposed annually as a

result of PCB production and transformer and capacitor use, another 4.5 million pounds of PCBs

enter landfills each year due to failure of PCB-impregnated capacitors, and another 2.7 million

pounds enter landfills each year from capacitors that have not failed but are contained in obsolete

equipment. As the EPA explained: “[T]he current estimated yearly rate of PCBs entering land

disposal sites is about 12 million pounds. The largest source of this material is capacitors which

have failed or become obsolete, or which are contained in obsolete equipment.” Id. at 8.

       110.    Defendants used PCBs in the manufacture of electrical equipment—e.g.,

capacitors, transformers, and light ballasts—that were sold throughout the United States. In 1976,

General Electric was the leading industrial user of PCBs in the manufacture of capacitor and

transformer products.    EPA 560/4-76-003, Industry Views on the Use of Polychlorinated

Biphenyls in Transformers and Capacitors at 9 (June 1976) (Statement of John F. Welch, Vice-

President, General Electric Company). The EPA reported in 1976 that General Electric used more

PCBs than any other company in the U.S. capacitor manufacturing industry. Westinghouse,

Aerovox, UMC, CDE, and P.R. Mallory, respectively, used the second, third, fourth, fifth, and

sixth most PCBs in the U.S. capacitor manufacturing industry. EPA PCB Report at 69, Table

3.1.1-1.

       111.    The capacitor industry alone generated over 3 million pounds of PCB waste

annually, much of which previously “was not disposed of properly and thus entered the



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environment directly.” Id. at 11. The percentage of the total amount of PCBs currently in the

environment that were released from transformers and capacitors is predicted to be even higher

now, due to the cessation of PCB production for other uses in 1971, and the longer product lifetime

for transformers and capacitors. See, e.g., Breivik, K., et al., Toward a global historical emission

inventory for selected PCB congeners – a mass balance approach 2. Emissions. The Science of

the Total Environment 290: 199-224, 216 (2002) (“[T]here has been a shift in the relative

importance of emissions attributed to usage, from open sources to closed systems. This is caused

by the cessation of open usage and longer product lifetime for closed systems.”).

       A.      Magnetek Released PCBs into the Environment

       112.    Magnetek and/or its predecessor-in-interest and their products have been a major

source of environmental PCB contamination and have released PCBs purchased both before and

after January 1972 into the environment.

       113.    UMC released thousands of gallons of PCBs into the environment through spills,

leaks, and disposal and dumping.

       114.    From the mid-1950s until the late 1970s, UMC manufactured electrical capacitors

in a facility in Bridgeport, Connecticut. UMC impregnated capacitors with PCBs at this facility.

UMC used as many as 2,000 gallons of PCBs per week prior to February 1978. Upon information

and belief, UMC released PCBs into the environment near its Bridgeport facility through spills,

leaks, and disposal of materials, including pouring PCBs into sewer drains.

       115.    In 1976, the EPA and Connecticut Department of Environmental Protection found

UMC likely caused PCB contamination of state waters.

       116.    In 1981, the EPA cited UMC for improper disposal and storage of PCBs.




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       117.    Upon information and belief, Magnetek discovered PCB contamination at the

Bridgeport facility after it acquired the property in 1986.

       118.    Upon information and belief, Magnetek and/or UMC entered into a consent decree

to clean up pollution in the Passaic River.

       119.    UMC also manufactured capacitors in its plant in Totowa, New Jersey.

       120.    At least one light ballast containing PCBs that was manufactured by UMC has been

recovered from the Sky Valley Education Center in Monroe, Washington. Testing of this light

ballast determined that the light ballast contained Aroclor 1016, which indicates that it was

manufactured by UMC after UMC entered into the Magnetek Special Undertaking Agreement.

       121.    UMC ultimately released thousands of pounds of PCBs into the environment

through spills, leaks, disposal, and dumping. For example, in Fruit of the Loom, Inc. v. Travelers

Indem. Co., the Court summarized testimony from a UMC foreman who stated that UMC “poured

PCBs into sewer drains,” “pumped probably 3 or 400 gallons right out an exhaust port of a vacuum

pump out onto the driveway and down the street and [it] ran into sewer drains and [it] ran into the

railroad viaducts on more than one occasions,” and that he “poured PCBs into the external drains

in the plant.” 672 N.E.2d 278, 281 (Ill. App. 1996). “PCBs escaped from the [UMC] capacitor

impregnation room through the wood and steel flooring, down into the underlying oil reclamation

room where it leached into the concrete slab beneath the plant and leached through the concrete

into the soil and groundwater beneath the oil reclamation room.” Id. There were also “pipe leaks

and overflows continually occur[ing] in the impregnation area” with “[a] Monsanto report

indicat[ing] that [UMC] was losing about 61/2 lbs. [of PCBs] per week out of vent lines” and

“conclud[ing] that [UMC] was losing approximately one tank car of [PCBs] per year.” Id.




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       B.      General Electric Released PCBs into the Environment

       122.    General Electric and its products have been a major source of environmental PCB

contamination and have released PCBs purchased both before and after January 1972 into the

environment.

       123.    For example, the General Electric facility in Oakland, California served as a

transformer manufacturing plant from 1927 to 1975. The dielectric fluid in the transformers

contained PCBs.    In or around 1980, the State of California Health and Welfare Agency,

Department of Health Services, Toxic Substances Control Division found that the soil and

groundwater around General Electric’s transformer manufacturing plant in Oakland, California

were contaminated with PCBs.

       124.    General Electric also caused significant PCB contamination of the Hudson River,

now one of the largest Superfund sites in the United States. According to the EPA, “[d]uring an

approximate 30-year period ending in 1977, manufacturing processes at two GE facilities, one in

Fort Edwards, New York, and the other in Hudson Falls, New York, used [PCBs] in the

manufacture of electrical capacitors. PCBs from both facilities were discharged into the Hudson

River.” See In the Matter of Hudson River PCBs Superfund Site, Administrative Settlement

Agreement and Order on Consent from Remedial Investigation and Feasibility Study, at 6 (Sept.

30, 2014). The EPA estimates that General Electric discharged approximately 1.3 million pounds

of PCBs into the Hudson River from two General Electric capacitor manufacturing plants located

in the towns of Fort Edwards and Hudson Falls, New York.

       125.    From 1932 to 1977, General Electric manufactured and serviced electrical

transformers containing PCBs at its Pittsfield, Massachusetts facility. The EPA has determined

that years of General Electric’s use and disposal of PCBs at this facility caused extensive



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contamination around Pittsfield, Massachusetts as well as down the entire length of the Housatonic

River.

         126.   General Electric also is responsible for PCB contamination in Spokane,

Washington. The site was used by General Electric to operate a transformer service shop from

1961 to 1980. After the shop closed, PCBs were found in the groundwater, surface soils, dry wells,

and other drainage features.

         127.   General Electric is responsible for PCB contamination in Oregon. From 1952 until

2010, General Electric owned and operated an electrical equipment service and repair facility and

warehouse in Portland, Oregon — approximately 3,000 feet from the shore of the Willamette

River. At this facility, General Electric used dielectric fluids likely containing more than 500 parts

per million (“ppm”) of PCBs from 1972 until 1976, and continued to use dielectric fluids with a

PCB concentration greater than 50 ppm until 1978. In 2003, testing by the City of Portland

revealed that PCBs from sediments near the General Electric facility were discharged into the

City’s stormwater system and, in turn, the Willamette River.

         128.   General Electric also stored a variety of transformers and capacitors containing

PCBs at a site at 2410 N. Columbia Blvd. in Portland, Oregon. Officials subsequently discovered

PCB contamination at this site as well.

         129.   From 1970 until 1974, General Electric stored drums, transformer casings, and

other containers at a facility in Eugene, Oregon. In 1995, testing revealed PCBs persisted in

subsurface soils and sludge and water samples from a storm drain on the site.

         130.   From 1974 until 1993, General Electric had another facility in Portland, Oregon

where GE employees pressure washed and cleaned equipment including transformers. Water from




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these cleaning activities was directed to tanks and sumps. In 1995, testing of groundwater, sludge

and water samples from the site revealed PCBs above regulatory levels.

        131.    General Electric also is responsible for PCB contamination in Milford, New

Hampshire. The EPA found hundreds of drums of scrap PCB-containing fluids and several had

leaked. The scrap PCBs originated from General Electric which failed to arrange for proper

disposal.

        132.    General Electric also is responsible for PCB contamination in East Flat Rock, North

Carolina. In 1994, EPA declared the 141-acre General Electric/Shepard Far Site a Superfund Site.

EPA placed the site on its Superfund National Priority List because of contaminated groundwater

and soil.

        133.    General Electric is also responsible for extensive PCB contamination of the soil

and water surrounding its plant and other locations in Schenectady, New York. In March 2005,

The New York State Department of Environmental Conservation issued a Record of Decision for

the General Electric Main Plant State Superfund site in the City of Schenectady/Town of

Rotterdam, Schenectady County, New York. See Record of Decision, General Electric Main Plant

Site, New York State Department of Environmental Conservation (March 2005), available at

https://www.dec.ny.gov/data/DecDocs/447004/ROD.HW.447004.2005-03-

30.ge_main_plant_ou3_ou4.pdf;       see   also   Documentation     of   Environmental    Indicator

Determination, General Electric Main Plant, Environmental Protection Agency (Sept. 29, 2004),

available at https://www3.epa.gov/region02/waste/geriv750.pdf. General Electric’s studies at the

site found soils containing high levels of PCBs in various areas of the manufacturing plant and on-

site landfills. Id.




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       134.    Upon information and belief, General Electric also is responsible for PCB

contamination around certain of its other facilities, both before and after January 1972, including,

but not limited to facilities in: Washington, West Virginia; Shepherdsville, Kentucky; Moreau,

New York; Rome, Georgia; Brandon, Florida; and Anaheim, California. National Union Fire Ins.

Co. of Pittsburgh, PA, et al. v. Arkwright Mut. Ins. Co., 1993 WL 1448 (S.D.N.Y. Jan. 11, 1993)

(noting PCB contamination in General Electric’s Brandon, Florida facility and Woodmar

Manufacturing Facility in Washington, West Virginia); GE: Decades of Misdeeds and

Wrongdoing,     22    Multinational     Monitor        7/8   (July/August   2001),   available    at

http://www.multinationalmonitor.org/mm2001/01july-august/julyaug01corp4.html (noting PCB

contamination in and around Shepherdsville, Kentucky); Jensen v. General Elec. Co., 182 A.D.2d

903, 903 (N.Y. Super. 1992) (noting PCBs in groundwater near Morneau, New York); General

Elec. Co. v. Lowe’s Home Centers, Inc., 608 S.E.2d 636, 637 (Ga. 2005) (noting PCB property

contamination in Rome, Georgia); Marla Cone, GE Plant Investigated for Chemical Hazards, Los

Angeles Times (Feb. 2, 1992), available at http://articles.latimes.com/1992-02-02/news/mn-

2080_1_pcb-exposure (noting groundwater contamination at plant in Brandon, Florida and that

plant in Anaheim, California handled 2 million pounds of PCB waste per year).

       C.      Paramount Released PCBs Into the Environment

       135.    Paramount and/or its predecessors-in-interest and their products have been a major

source of environmental PCB contamination and have released PCBs purchased both before and

after January 1972 into the environment.

       136.    In September 1974, 265 gallons of PCBs were directly released into the Duwamish

Waterway in Washington when a transformer manufactured by Westinghouse was dropped while

being loaded onto a commercial barge.



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       137.    Paramount is responsible for PCB contamination in Oregon. From 1943 until 1978,

Westinghouse conducted electrical equipment repair, maintenance, cleaning and storage activities

at multiple properties in the vicinity of the Willamette River, including the Portland Apparatus

Service Plant at 614 N. Tillamook St., Portland, Oregon. At the Portland Apparatus Service Plant,

Westinghouse stored transformer oil in multiple underground storage tanks, including a 10,000-

gallon tank. The site also had a designated PCB handling area and catch basins and pits used to

collect PCB-containing fluids. Upon information and belief, PCBs were released into the east

bank of the Willamette River, subsurface soils, and surrounding environment through cracks in

the building floor and floor drains. Also, as part of its operations, Westinghouse may have poured

old oil from transformers directly onto the ground at the site. The Oregon Department of

Environmental Quality has concluded significant environmental releases, including the release of

PCBs, occurred at the Portland Apparatus Service Plant. Testing in 1999, 2000, and 2005 revealed

high levels of PCB contamination in the building materials and soils. In 2013, Westinghouse

entered into an administrative settlement agreement with the EPA and the City of Portland to pay

for testing and remedial work on a portion of the Willamette River.

       138.    Westinghouse also repaired, maintained, and stored electrical transformers at two

other locations in Portland, Oregon during the 1970’s and 1980’s — a site on Ramsey Blvd. and

an additional site on Kirby Avenue.

       139.    From the late 1950s until the 1990s, Westinghouse owned and operated an electrical

transmission equipment maintenance and repair plant in Los Angeles, California. This plant

discharged PCB-laden wastewater (containing as much as 38,000 pounds of PCBs) into the San

Pedro Channel, the Palo Verdes Peninsula, and Los Angeles Harbor.




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       140.    From 1958 until 1977, Westinghouse operated a plant in Bloomington, Indiana.

Westinghouse disposed of defective capacitors containing PCBs in six local dumps and landfills,

contaminating the landfills with PCBs. Westinghouse also discharged PCBs into the local sewer

system, releasing even more PCBs into the environment. During subsequent investigations, the

Center for Disease Control detected elevated PCB levels in Bloomington residents. The City of

Bloomington filed a lawsuit against Westinghouse and Old Monsanto regarding the PCB

contamination. On appeal, the Seventh Circuit Court of Appeals held that Westinghouse—not

Monsanto—engaged in abnormally dangerous activity.                City of Bloomington, Ind. v.

Westinghouse, Elec. Corp., 891 F.2d 611, 615 (7th Cir. 1989).

       141.    From the 1950s until 1974, Westinghouse used PCBs in an electrical transformer

manufacturing facility in Sunnyvale, California. Westinghouse caused soil and groundwater

contamination around this facility by allowing a storage tank to leak, permitting localized spills of

PCBs, and applying PCBs as a herbicide around the facility.

       142.    PCBs were found in the soil around a site in Emeryville, California where

Westinghouse manufactured and repaired electrical components including transformers from 1924

until 1992.

       143.    PCBs were found in the soil and groundwater around an electrical transformer

repair facility in Minneapolis, Minnesota owned by Westinghouse from the 1920s until 1980.

       144.    From 1961 until 1989, Westinghouse used PCB fluids as a heat transfer fluid when

manufacturing and repairing transformers in Muncie, Indiana, which produced PCB contamination

in the soil and sewer system at the plant.

       145.    From 1932 until 1976, Westinghouse used PCBs while manufacturing transformers

in Sharon, Pennsylvania. In addition to occasional spills and PCBs surfacing, Westinghouse was



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investigated for a spill that released more than 6,000 gallons of PCB-contaminated oil. PCBs have

been found in the soil and groundwater near the site.

       146.    In 1992, Westinghouse spilled approximately 55 gallons of PCBs in Washington

D.C. when removing old transformers from an underground vault.

       147.    Upon information and belief, Westinghouse also is responsible for PCB

contamination around certain of its other facilities, both before and after January 1972, including,

but not limited to facilities in: Cleveland, Ohio; Union City, Indiana; Utica, New York; Yorkville,

New York; Horseheads, New York; and Needham, Massachusetts.

       D.      KYOCERA AVX Released PCBs into the Environment

       148.    KYOCERA AVX and/or its predecessors-in-interest and their products have been

a major source of environmental PCB contamination and have released PCBs purchased both

before and after February 1972 into the environment.

       149.    From the 1940s until 1973, Aerovox and then AVX Ceramics used PCBs while

manufacturing capacitors at a plant in New Bedford, Massachusetts on the shore of the New

Bedford Harbor.

       150.    During this time, disposal practices and operations at the plant caused

contamination of soils, groundwater, surface water, and building materials and equipment at the

plant. For example, PCBs were spilled upon receipt of large drums of PCBs at rail yards.

Employees dumped defective capacitors containing PCBs outside the facility, and over time, the

capacitors corroded and released PCBs into the environment. Upon information and belief, PCBs

were also dispersed into the municipal sewer system. PCB vapor leached onto structures at the

facility and waste that left the facility. PCBs were disposed of at local landfills and were also

discharged into the New Bedford Harbor and contaminated the Acushnet River and Buzzards Bay.



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       151.    After this contamination, the EPA detected PCB levels well above the safe levels

for consumption in fish near the harbor.

       152.    In 1983, the New Bedford plant and surrounding area was listed on the EPA’s

Superfund National Priorities list. Also, in 1983, the Department of Justice and Commonwealth

of Massachusetts filed lawsuits against AVX, seeking injunctive relief and recovery of cleanup

costs resulting from Aerovox’s and AVX Ceramics’ release of PCBs. In 1989, AVX agreed to

pay $2 million to settle these claims. In 2012, AVX agreed to pay $366 million in a supplemental

settlement agreement for continued restoration work.

       153.    After the operations at the New Bedford Plant ceased, it lay vacant for years. While

the building was vacant, PCB-contaminated wood and other building parts caused runoff

contamination in the environment. In 2013, AVX demolished remaining parts of the building and

attempted to cap the site.

       154.    From the 1940’s until 1972, Aerovox’s Canadian affiliate manufactured capacitors

in Hamilton, Ontario. Upon information and belief, activities at this facility resulted in the

discharge of PCBs into the Hamilton Harbor.

       E.      CDE Released PCBs into the Environment

       155.    CDE and its products have been a major source of environmental PCB

contamination and have released PCBs purchased both before and after January 1972 into the

environment.

       156.    CDE operated plants, which used PCBs (Aroclor 1015, 1242, 1254) in the

manufacture of capacitors, among other places, in New Bedford, Massachusetts. Between January

1971 and 1976, CDE used more than 3.1 million pounds of Aroclor products. CDE used PCBs at

its New Bedford facility until 1977. Tests at CDE’s New Bedford facility revealed PCB sediment



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at 99,000 ppm. CDE released PCBs into the environment by, among other things, discharging

contaminated wastewater, disposing of materials containing PCBs in local landfills, and releasing

waste oil containing PCBs.

       157.    In 1983, the Department of Justice and Commonwealth of Massachusetts sued CDE

regarding PCB contamination in the New Bedford Harbor. In 1992, CDE entered into a consent

decree, which required payment of $10 million for contamination of the Acushnet River Estuary,

the New Bedford Harbor, Buzzards Bay, and the Rhode Island and Vineyard Sounds. Consent

Decree with Defendants Federal Pacific Electric Company And Cornell Dubilier Electronics, Inc.,

United States v. AVX Corporation, et al., Docket # 83-3882-Y (D. Mass 1992), available at

https://semspub.epa.gov/work/01/61973.pdf.

       158.    In 1996, CDE settled PCB-related litigation by agreeing to undertake millions of

dollars in cleanup work in Norwood, Massachusetts.

       159.    In 1997, the EPA oversaw the removal of 1147 tons of PCB-contaminated soil and

several thousand capacitors from property in Fairhaven, Massachusetts. The EPA identified CDE

as the manufacturer of the capacitors at the site.

       160.    In 2009, CDE’s PCB-laden capacitors were found at three privately-owned

properties near a middle school in New Bedford, Massachusetts.

       F.      Gillette Released PCBs into the Environment

       161.    Gillette and/or its predecessors-in-interest and their products have been a major

source of environmental PCB contamination and have released PCBs purchased both before and

after February 1972 into the environment.

       162.    From 1969 until 1978, P.R. Mallory manufactured PCB-impregnated electrostatic

AC capacitors at a facility in Waynesboro, Tennessee. The use of PCBs at this facility (primarily



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Aroclors 1242 and 1248) led to widespread contamination. For example, an underground storage

tank containing PCBs leaked. PCBs were also released into the environment when oil containing

PCBs was dumped on the ground outside, and PCBs spills also occurred inside the plant. P.R.

Mallory also used impregnation chambers, which released super-saturated clouds of PCB vapor

throughout the Waynesboro plant. Moreover, in or around 1979, more than 100 drums of waste

containing PCBs were discovered at the Waynesboro plant. These drums were leaking PCB-

containing liquids into drains that emptied into the Green River.

       163.    After P.R. Mallory sold the Waynesboro facility, the building had to be abandoned

due to the extensive and persistent PCB contamination. PCB levels as high as 100,000 ppm were

detected at the facility and in the surrounding environment.

       164.    In a 1987 lawsuit, Gillette’s predecessor-in-interest stipulated that the use of PCBs

by P.R. Mallory at the Waynesboro facility led to the contamination on the floor, roof, and ground.

Emhart Indus. Inc. v. Duracell Int’l, 665 F.Supp. 549, 555 (M.D. Tenn 1989). The court decision

in that case notes that experts concluded that PCB contamination at the Waynesboro facility was

surprisingly widespread with very high levels and that PCB contamination was found at other

former P.R. Mallory sites. Id. at 560.

       165.    P.R. Mallory also operated facilities in Glasgow, Kentucky; Greencastle, Indiana;

and Indianapolis, Indiana. During the 1980s, PCB contamination was discovered at each of these

facilities. For example, PCB (Aroclor 1254) contamination was discovered at P.R. Mallory’s

Indianapolis plant as a result of its manufacture of radio batteries and capacitors.

       166.    P.R. Mallory also released PCBs into the environment when its capacitors were

placed in household products.       For example, P.R. Mallory’s capacitors were used in air




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conditioning units and there was a reported incident of a capacitor rupturing, burning, and releasing

PCBs into the environment in Louisiana.

       IV.     The PCB Lawsuits.

       167.    Multiple lawsuits have been filed against Plaintiffs seeking to impose liability on

the Plaintiffs for injuries or damages allegedly caused by the release of PCBs into the environment

or other exposures to PCBs. A list of the PCB Lawsuits that have been, or are being, tendered to

Defendants is attached hereto as Exhibit 8 and incorporated herein by reference.

       168.    The PCB Lawsuits can generally be grouped into four categories: (1) The Food

Chain Cases; (2) The Water Cases; (3) The School Cases; and (4) The Occupational Cases.

       A.      The Food Chain Cases

       169.    Plaintiffs were named as defendants in a series of personal injury cases in which

the plaintiffs contended that they suffered from various types of Non-Hodgkin’s lymphoma as a

result of non-employment, environmental and food chain exposure to PCBs (the “Food Chain

Cases”).

       170.    Plaintiffs in the Food Chain Cases alleged that PCBs are now ubiquitous in the

environment because, inter alia, the products into which PCBs were incorporated by Old

Monsanto’s customers permitted their release into the environment. Plaintiffs also alleged that

PCBs were dumped into the environment by Old Monsanto’s customers and the end-users of

various PCB-containing products.

       171.    Plaintiffs in the Food Chain Cases alleged that it is impossible to “disaggregate”

the environmental PCBs to which they were exposed and which they alleged caused their injuries

or determine their more particular source.       Accordingly, the Food Chain Plaintiffs alleged




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generally that their injuries were caused by their exposure to the combination of PCBs released

into the environment.

         172.     The Food Chain Plaintiffs sought to impose liability on Plaintiffs for manufacturing

any and all PCBs, including those purchased by Defendants and their predecessors before and after

they signed the Special Undertaking Agreements.

         173.     Thus, the Food Chain Cases present “liabilities, claims, damages, penalties, actions,

suits, losses, costs [or] expenses arising out of or in connection with the receipt, purchase,

possession, handling, use, sale or disposition of … PCBs [purchased on or after the date

Defendants, or their predecessors, entered into the Special Undertaking Agreements] by, through

or under [Defendants, or their predecessors,] … alone or in combination with other substances,”

within the meaning of the Special Undertaking Agreements.

         174.     The Food Chain Cases included approximately 700 plaintiffs.

         175.     The Food Chain Cases were filed in state court in Los Angeles County, California,

and in state and federal courts in St. Louis, Missouri.

         176.     In September 2016, Monsanto agreed to pay a significant amount to settle all of

then-pending Food Chain Cases.

         177.     The full set of complaints filed in the Food Chain Cases is voluminous and

attachment of all such pleadings to this Complaint is impracticable for filing purposes, but

examples of complaints filed in the Food Chain Cases are attached hereto as Exhibits 9 and 10.1




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  Exhibit 9 is a true and accurate copy of the complaint in Bailey, et al. v. Monsanto Co., et al., Case 4:15-cv-00844-
AGF, United States District Court for the Eastern District of Missouri, Eastern Division and incorporated herein by
reference. Exhibit 10 is a true and accurate copy of the complaint in Kelly, et al. v. Monsanto Co., et al., Case 4:15-
cv-01825-JMB, United States District Court for the Eastern District of Missouri and incorporated herein by reference.

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        B.     The Water Cases

        178.   Plaintiffs have been named as defendants in a series of lawsuits in which cities and

various municipal agencies are alleging that the Plaintiffs should bear some cost for water cleanup

and wastewater permit costs due to PCB contamination (the “Water Cases”).

        179.   Plaintiffs in the Water Cases allege generally that PCBs have entered the subject

body of water through various sources, including improper disposal by Old Monsanto’s customers,

PCB releases from products manufactured by Old Monsanto’s customers, and leaching from

landfills.

        180.   Plaintiffs in the Water Cases allege that PCBs easily migrate or leach out of their

original source material or enclosure and that “PCBs can also escape from totally-enclosed

materials (such as light ballasts) and … escape into the environment.” See San Diego Unified Port

District, et al. v. Monsanto Company, et al., Case 3:15-cv-00578-WQH-JLB, Complaint, ¶ 22

(S.D. Cal. 2015) (the “San Diego Case”).

        181.   Plaintiffs in the Water Cases specifically allege that Old Monsanto sold PCBs for

use in electric transformers and capacitors and that PCBs escape from such products and cause

environmental contamination. Plaintiffs in the Water Cases do not identify more specifically the

sources of the PCBs found in the water.

        182.   PCBs purchased by Defendants—both before and after the Special Undertaking

Agreements were executed—are part of the combined environmental load of PCBs alleged to have

contaminated the waterways at issue in the Water Cases.

        183.   The Water Cases seek to impose liability on Plaintiffs for manufacturing any and

all PCBs, including those purchased by Defendants or their predecessors before and after they

signed the Special Undertaking Agreements.



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       184.    Thus, the Water Cases present “liabilities, claims, damages, penalties, actions,

suits, losses, costs [or] expenses arising out of or in connection with the receipt, purchase,

possession, handling, use, sale or disposition of … PCBs [purchased on or after the date

Defendants, or their predecessors, entered into the Special Undertaking Agreements] by, through

or under [Defendants, or their predecessors,] … alone or in combination with other substances,”

within the meaning of the Special Undertaking Agreements.

       185.    The majority of the Water Cases were filed in California, Washington, and

Oregon—states where Defendants or their predecessors used PCBs and caused PCB-related

contaminations.

       186.    For example, Westinghouse’s release of PCBs into the Duwamish Waterway, San

Pedro Channel, Palo Verdes Peninsula, Los Angeles Harbor, and Willamette River are all at issue

in Water Cases. City of Seattle v. Monsanto, et al., 2:16-cv-00107 United States District Court for

the Western District of Washington (the “Seattle Case”); City of Long Beach v. Monsanto Co., et

al., 2:16-cv-03493-FMO-AS United States District Court for the Central District of California (the

“Long Beach Case”); City of Portland v. Monsanto Co., et al., 3:16-cv-1418-PK United States

District Court for the District of Oregon (the “Portland Case”).

       187.    In June 2020, Plaintiffs agreed to pay substantial sums to settle Water Cases

brought by certain municipal entities. Plaintiffs entered into separate agreements with the

Attorneys General of New Hampshire, New Mexico, Ohio, Washington, D.C., and Washington to

resolve Water Cases brought by those states.




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         188.    The full set of complaints filed in the Water Cases is voluminous and attachment

of all such pleadings to this Complaint is impracticable for filing purposes, but examples of

complaints filed in the Water Cases are attached hereto as Exhibits 11, 12, 13, 14, and 15.2

         C.      The School Cases

         189.    Plaintiffs have been named as defendants in numerous cases, including multiple

cases filed after August 2018, in which it is alleged that the Plaintiffs should bear some cost of

cleanup and/or rebuilding of schools due to alleged PCB contamination (the “School Cases”).

         190.    Plaintiffs in the School Cases allege that PCBs were used in building products such

as electrical equipment, lighting ballasts and other materials that were used in the construction of

school buildings.

         191.    Defendants, or their predecessors, manufactured PCB-containing lighting ballasts

and other electrical equipment using PCBs purchased both before and after they signed the Special

Undertaking Agreements.

         192.    The PCBs at issue in the School Cases include PCBs Defendants or their

predecessors purchased after signing the Special Undertaking Agreements.

         193.    The Sky Valley School Cases consist of multiple lawsuits, involving hundreds of

plaintiffs’ claims of personal injuries resulting from PCB exposure at the Sky Valley Education

Center in Monroe, Washington (the “Sky Valley School Cases”). At least one PCB-containing

light ballast manufactured and sold by UMC was found in the Sky Valley Education Center.

Testing revealed that the capacitor in this UMC light ballast contained Aroclors 1016, which


2
 Exhibit 11 is a true and correct copy of the First Amended Complaint in the San Diego Case and incorporated herein
by reference. Exhibit 12 is a true and correct copy of the Complaint in the Seattle Case and incorporated herein by
reference. Exhibit 13 is a true and correct copy of the Complaint in the Long Beach Case and incorporated herein by
reference. Exhibit 14 is a true and correct copy of the Complaint in the Portland Case and incorporated herein by
reference. Exhibit 15 is a true and accurate copy of the complaint in City of Oakland v. Monsanto Company, et al.,
4:15-cv-05152, United States District Court for the Northern District of California and incorporated herein by
reference.

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indicates that UMC manufactured and sold the PCB-containing ballast after it entered into the

Magnetek Special Undertaking Agreement.

       194.   In separate trials ending in June and November 2021 and June 2022, juries in Seattle

awarded substantial damages to three groups of plaintiffs in the Sky Valley School Cases against

Old Monsanto. During at least one of the trials, plaintiffs introduced evidence that a source of

PCBs at the Sky Valley Education Center were light ballasts manufactured by UMC.

       195.   Thus, the School Cases present “liabilities, claims, damages, penalties, actions,

suits, losses, costs [or] expenses arising out of or in connection with the receipt, purchase,

possession, handling, use, sale or disposition of … PCBs [purchased on or after the date

Defendants, or their predecessors, entered into the Special Undertaking Agreements] by, through

or under [Defendants, or their predecessors,] … alone or in combination with other substances,”

within the meaning of the Special Undertaking Agreements.

       196.   The full set of complaints filed in the School Cases is voluminous and attachment

of all such pleadings to this Complaint is impracticable for filing purposes, but an example of a

School Case complaint is attached hereto as Exhibit 16. Exhibit 16 is a true and accurate copy of

the complaint in Heit, et al., v Monsanto Company, et al., Case No. 18-2-11915-4, Superior Court

of the State of Washington, King County and incorporated herein by reference.

       D.     The Occupational Cases

       197.   Plaintiffs have been named as defendants in several occupational exposure cases

(the “Occupational Cases”).

       198.   The plaintiffs in the Occupational Cases allege that they were exposed to PCBs

manufactured by Plaintiffs during the course of their employment through various means,




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including leaks from light ballasts. The plaintiffs further allege that, as a result of this exposure,

they suffered from various illnesses and personal injuries.

       199.    In Lamkin, et al. v. Monsanto Company, et al., the plaintiff alleged that he

developed cancer as a result of his exposure to PCBs. Case 16-0563, Suffolk County Superior

Court, Massachusetts. Plaintiff alleged that he was exposed to PCBs during the course of his

employment, from 1992 through 2008, working with power transformers and other electrical

equipment.

       200.    In or around December 2021, the parties to Lamkin entered into a settlement

agreement.

       201.    Thus, the Occupational Cases present “liabilities, claims, damages, penalties,

actions, suits, losses, costs [or] expenses arising out of or in connection with the receipt, purchase,

possession, handling, use, sale or disposition of … PCBs [purchased on or after the date

Defendants, or their predecessors, entered into the Special Undertaking Agreements] by, through

or under [Defendants, or their predecessors,] … alone or in combination with other substances,”

within the meaning of the Special Undertaking Agreements.

       202.    A copy of the complaint filed in the Lamkin — an example of one of the

occupational Occupational Cases — is attached hereto as Exhibit 17. Exhibit 17 is a true and

accurate copy of the complaint in Lamkin, et al. v. Monsanto Company, et al., Case 16-0563,

Suffolk County Superior Court, Massachusetts and incorporated herein by reference.

       V.      Defendants’ Refusal to Defend and Indemnify

       203.    Counsel for Plaintiffs have repeatedly notified Defendants of the PCB Lawsuits,

informed Defendants that the PCB Lawsuits are within the scope of the Special Undertaking




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Agreements, and demanded that Defendants defend and indemnify Old Monsanto in the PCB

Lawsuits.

       204.    Defendants have failed and refused to honor their agreements to defend or

indemnify Plaintiffs.

       A.      Magnetek’s Refusal to Defend And Indemnify

       205.    On August 29, 2016, counsel for Plaintiffs sent a letter to counsel for Magnetek.

The letter notified Magnetek of the PCB Lawsuits, included a description, list, and docket

information for the PCB Lawsuits pending at that time, informed Magnetek that the Special

Undertaking Agreement applied to the PCB Lawsuits, and demanded that Magnetek defend and

indemnify Plaintiffs in the litigation. A true and accurate copy of the August 29, 2016 letter to

Magnetek is attached hereto as Exhibit 18 and incorporated herein by reference.

       206.    On September 14, 2016, counsel for Magnetek sent a letter to counsel for Plaintiffs

rejecting their tender of defense and demand for indemnification of the PCB Lawsuits under the

Special Undertaking Agreement. A true and accurate copy of the September 14, 2016 letter is

attached hereto as Exhibit 19 and incorporated herein by reference.

       207.    On September 7, 2016, Magnetek provided notice of Plaintiffs’ tender and demand

to Travelers Insurance Company (“Travelers”) and Transportation Insurance Company (“TIC”)

and requested that Travelers and TIC defend and indemnify Magnetek pursuant to insurance

policies purchased by the parent company of Magnetek’s predecessor. After receiving Magnetek’s

demand, Travelers tendered a demand on Velsicol Chemical, LLC (“Velsicol”) pursuant to prior

confidential settlement agreements. Travelers did not accept Magnetek’s demand. Thereafter,

Magnetek, Travelers, and Velsicol filed a series of lawsuits against each other in state and federal

court in Chicago, Illinois, including a case filed by Magnetek against Travelers in the United States



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District Court for the Northern District of Illinois (Case No. 1:17-CV-03173) (Case No. 1:17-CV-

03173) (the “Travelers Litigation”).

       208.    On May 12, 2017, Magnetek filed an eight-count placeholder declaratory judgment

Complaint against Plaintiffs in the Superior Court of New Jersey, Case No. BER-L-3362-17. That

case has since been dismissed.

       209.    Counsel for Plaintiffs sent counsel for Magnetek additional correspondence

tendering defense and demanding indemnification regarding PCB Lawsuits on the following dates:

December 23, 2016, June 1, 2018, November 19, 2018, May 6, 2019, July 23, 2019, October 14,

2019, and April 29, 2022.

       210.    Magnetek has refused each of Plaintiffs’ demands that Magnetek assume the

defense of the PCB Lawsuits and provide indemnification for amounts expended to resolve certain

PCB Lawsuits, including in letters dated May 10, 2019 and July 24, 2019.

       B.      General Electric’s Refusal To Defend And Indemnify

       211.    Plaintiffs notified GE of the PCB Lawsuits, informed GE that the Special

Undertaking Agreement applied to the PCB Lawsuits, and demanded that GE defend and

indemnify Plaintiffs in the PCB Lawsuits through meetings and correspondence on or about

June 17, 2015, October 27, 2015, September 9, 2015, April 21, 2016, August 18, 2016, and

August 29, 2016. As part of these meetings and correspondence, Plaintiffs provided GE with a

complete list of all PCB Lawsuits, including case number, court, and date of filing.

       212.    On October 19, 2016, counsel for General Electric sent counsel for Plaintiffs a

Letter rejecting Plaintiffs’ demand for indemnity and defense.    A true and correct copy of the

October 19, 2016 letter is attached hereto as Exhibit 20 and incorporated herein by reference.




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       213.     Plaintiffs sent GE tenders of defense and demands for indemnification for

additional PCB Lawsuits on or about November 29, 2016, January 4, 2017, and June 4, 2018.

General Electric denied these tenders on July 18, 2018.

       214.     On April 29, 2022, counsel for Plaintiffs sent counsel for General Electric a letter

recounting the parties’ prior correspondence and discussions regarding the GE Special

Undertaking Agreement, summarizing the PCB Lawsuits, and tendering the defense and

demanding indemnification of an additional Water Case. This letter emphasized that “time is of

the essence.”

       215.     General Electric has refused Plaintiffs’ demands that General Electric assume the

defense of the PCB Lawsuits and provide indemnification for amounts expended to resolve certain

PCB Lawsuits.

       C.       Paramount’s Refusal To Defend And Indemnify

       216.     On August 29, 2016, counsel for Plaintiffs sent a letter to counsel for Paramount.

The letter notified Paramount of the PCB Lawsuits, included a description, list, and docket

information for the PCB Lawsuits pending at that time, informed Paramount that the Paramount

Special Undertaking Agreement applied to the PCB Lawsuits, and demanded that Paramount

defend and indemnify Old Monsanto in the PCB Lawsuits. A true and accurate copy of the August

29, 2016 letter to Paramount is attached hereto as Exhibit 21 and incorporated herein by reference.

       217.     On September 22, 2016, counsel for Paramount rejected Plaintiffs’ tender of

defense and demand for indemnity “completely as to each and every case.” A true and accurate

copy of the September 22, 2016 letter is attached hereto as Exhibit 22 and incorporated herein by

reference.




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        218.   Counsel for Plaintiffs sent counsel for Paramount additional correspondence

tendering defense and demanding indemnification regarding PCB Lawsuits on the following dates:

December 23, 2016, January 12, 2018, June 6, 2018, February 20, 2019, October 14, 2019, and

April 29, 2022. In response to the letters, Paramount refused Plaintiffs’ tenders of defense and

demands for indemnity and asserted that Paramount did not have a duty to defend and indemnify

Plaintiffs.

        219.   Representatives for Plaintiffs and Paramount met to discuss the PCB Lawsuits and

the Paramount Special Undertaking Agreement on October 23, 2017 and October 14, 2019.

        220.   Paramount has refused Plaintiffs’ demands that Paramount assume the defense of

the PCB Lawsuits and provide indemnification for amounts expended to resolve certain PCB

Lawsuits.

        D.     KYOCERA AVX’s Refusal to Defend And Indemnify

        221.   On August 29, 2016, counsel for Plaintiffs sent a letter to counsel for KYOCERA

AVX. The letter notified KYOCERA AVX of the PCB Lawsuits, included a description, list, and

docket information for the PCB Lawsuits pending at that time, informed KYOCERA AVX that

the KYOCERA AVX Special Undertaking Agreements applied to the PCB Lawsuits, and

demanded that KYOCERA AVX defend and indemnify Plaintiffs in the PCB Lawsuits. A true

and accurate copy of the August 29, 2016 letter to KYOCERA AVX is attached hereto as Exhibit

23 and incorporated herein by reference.

        222.   On September 1, 2016, counsel for KYOCERA AVX rejected Plaintiffs’ tender of

defense and demand for indemnity. A true and accurate copy of the September 1, 2016 letter is

attached hereto as Exhibit 24 and incorporated herein by reference.




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       223.    Counsel for Plaintiffs sent counsel for KYOCERA AVX additional correspondence

tendering defense and demanding indemnification regarding PCB Lawsuits on the following dates:

December 23, 2016, June 4, 2018, March 26, 2019, October 14, 2019, and May 3, 2022.

       224.    KYOCERA AVX has refused Plaintiffs’ demands that KYOCERA AVX assume

the defense of the PCB Lawsuits and provide indemnification for amounts expended to resolve

certain PCB Lawsuits.

       E.      CDE’s Refusal to Defend And Indemnify

       225.    On August 29, 2016, counsel for Plaintiffs sent a letter to counsel for CDE. The

letter notified CDE of the PCB Lawsuits, included a description, list, and docket information for

the PCB Lawsuits pending at that time, informed CDE that the CDE Special Undertaking

Agreement applied to the PCB Lawsuits, and demanded that CDE defend and indemnify Plaintiffs

in the PCB Lawsuits. A true and accurate copy of the August 29, 2016 letter to CDE is attached

hereto as Exhibit 25 and incorporated herein by reference.

       226.    On May 18, 2017, counsel for CDE refused Plaintiffs’ tender of defense and

demand for indemnity. A true and accurate copy of the May 18, 2017 letter is attached hereto as

Exhibit 26 and incorporated herein by reference.

       227.    Counsel for Plaintiffs sent counsel for CDE additional correspondence tendering

defense and demanding indemnification regarding PCB Lawsuits filed after August 29, 2016 on

the following dates: December 23, 2016, June 4, 2018, March 26, 2019, October 14, 2019, and

May 3, 2022.

       228.    CDE has refused Plaintiffs’ demands that CDE assume the defense of the PCB

Lawsuits and provide indemnification for amounts expended to resolve certain PCB Lawsuits.

       F.      Gillette’s Refusal to Defend And Indemnify



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         229.   On May 13, 2022, counsel for Plaintiffs sent a letter to counsel for Gillette. The

letter notified Gillette of the PCB Lawsuits, included a description, list, and docket information

for the PCB Lawsuits pending at that time, informed Gillette that the Gillette Special Undertaking

Agreement applies to the PCB Lawsuits, and demanded that Gillette defend and indemnify

Plaintiffs in the PCB Lawsuits. A true and accurate copy of the May 13, 2022 letter to Gillette is

attached hereto as Exhibit 27 and incorporated herein by reference.

         230.   Gillette did not respond to Plaintiffs’ letter.

         VI.    Defendants’ Individual, Joint, And/Or Collective Liability

         231.   Plaintiffs have incurred significant costs in defending the Food Chain Cases, Water

Cases, School Cases, and the Occupational Cases, and will continue to incur significant costs

defending the PCB Lawsuits in the foreseeable future. These costs include but are not limited to

attorneys’ fees, expert witness fees, fees paid to other consultants and/or experts, and costs of

litigation (e.g., deposition costs).

         232.   Plaintiffs also have paid and/or agreed to pay significant amounts to resolve certain

claims premised on environmental exposure to PCBs, including settlements in the Food Chain

Cases and Water Cases.

         233.   Three judgments have been entered against Plaintiffs in the Sky Valley School

Cases.

         234.   Many of the PCB Lawsuits remain pending. These cases include Water Cases filed

by the Attorneys General of Oregon, Pennsylvania, Delaware, and Maryland, a new Water Case

filed by the City of Los Angeles on March 4, 2022, and the Sky Valley School Cases (which

involve more than 200 plaintiffs). The plaintiffs in each of the pending PCB Lawsuits seek

significant damages from Plaintiffs.



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       235.    Defendants individually and collectively have a contractual duty to defend,

indemnify, and hold harmless Old Monsanto in the PCB Lawsuits. Although each Defendants’

defense and indemnification obligations arise under separate Special Undertaking Agreements,

those agreements are substantially similar, and, more importantly, each Defendant’s contractual

obligations to defend, indemnify, and hold harmless Old Monsanto are nearly identical.

Defendants have separately and individually agreed to insure the same risk and/or same liability

or loss under nearly identical terms.     Thus, each Defendant is individually, jointly, and/or

collectively liable for the full amount of the defense costs incurred by Old Monsanto in the PCB

Lawsuits, all amounts paid and/or agreed to be paid by Plaintiffs to resolve and/or settle the PCB

Lawsuits, and the full amount of all judgments entered against Plaintiffs in the PCB Lawsuits.

                      COUNT I: Breach of Contract against all Defendants
                                    (Refusal to Defend)

       236.    Paragraphs 1 through 235 above are incorporated herein by reference.

       237.    Old Monsanto provided valuable consideration to Defendants, or their

predecessors-in-interest, in exchange for their agreement to defend Old Monsanto in the PCB

Lawsuits. For example, Old Monsanto agreed to continue, and did continue, to manufacture and

sell PCBs to Defendants or their predecessors-in-interest until 1977.

       238.    Plaintiffs have performed all obligations and responsibilities required of them under

the Special Undertaking Agreements.

       239.    The Special Undertaking Agreements are valid contracts that are enforceable

against Defendants.

       240.    The PCB Lawsuits fall within the scope of claims against which Defendants or their

predecessors-in-interest agreed to defend Old Monsanto and its present, past, and future directors,

officers, employees and agents.


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       241.    Under the Special Undertaking Agreements, Defendants are obligated to provide a

defense for Old Monsanto and its present, past, and future directors, officers, employees and agents

in the PCB Lawsuits, including, but not limited to, payment of attorneys’ fees, expert fees, and all

other costs and expenses incurred to defend Old Monsanto in the PCB Lawsuits.

       242.    New Monsanto and Solutia are entitled to enforce Old Monsanto’s rights under the

Special Undertaking Agreements.

       243.    New Monsanto is a “future . . . agent” of Old Monsanto and a third-party beneficiary

of the Special Undertaking Agreements.

       244.    New Monsanto is indemnifying and defending Old Monsanto and Solutia in the

PCB Lawsuits.

       245.    Plaintiffs notified Defendants of the PCB Lawsuits, tendered the defense of the

PCB Lawsuits to Defendants, and demanded that Defendants defend Old Monsanto in the PCB

Lawsuits.

       246.    Defendants have failed and refused to defend Old Monsanto in the PCB Lawsuits.

       247.    Defendants have breached the Special Undertaking Agreements by failing and

refusing to defend Old Monsanto and its present, past, and future directors, officers, employees

and agents in the PCB Lawsuits.

       248.    As a result of Defendants’ breaches of their contractual obligation to defend Old

Monsanto and its present, past, and future directors, officers, employees and agents in the PCB

Lawsuits, Plaintiffs have been damaged in an amount exceeding $25,000.00. Plaintiffs’ damages

include, but are not limited to, all of the attorneys’ fees, expert fees, and other costs and expenses

incurred to defend Old Monsanto in the PCB Lawsuits, foreseeable consequential damages, pre-




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judgment interest for such liquidated sums, and attorneys’ fees and costs in this action, all to be

proven at the time of trial.

        249.    Plaintiffs continue to incur attorneys’ fees, expert fees, and other costs and expenses

in defense of the PCB Lawsuits that constitute part of their damages resulting from Defendants’

breaches and as such, expressly reserve their rights to seek damages in excess of the amounts

referenced in the foregoing paragraph.

                      COUNT II: Breach of Contract against all Defendants
                                   (Refusal to Indemnify)

        250.    Paragraphs 1 through 235 above are incorporated herein by reference.

        251.    Old Monsanto provided valuable consideration to Defendants, or their

predecessors-in-interest, in exchange for their agreement to indemnify Old Monsanto in the PCB

Lawsuits. For example, Old Monsanto agreed to continue, and did continue, to manufacture and

sell PCBs to Defendants, or their predecessors-in-interest, until 1977.

        252.    Plaintiffs have performed all obligations and responsibilities required of them under

the Special Undertaking Agreements.

        253.    The Special Undertaking Agreements are valid contracts that are enforceable

against Defendants.

        254.    The PCB Lawsuits fall within the scope of claims against which Defendants or their

predecessors-in-interest agreed to indemnify Old Monsanto and its present, past, and future

directors, officers, employees and agents.

        255.    Under the Special Undertaking Agreements, Defendants are contractually obligated

to indemnify Old Monsanto and its present, past, and future directors, officers, employees and

agents for all amounts paid and/or agreed to be paid to resolve the PCB Lawsuits (whether through

settlement, verdict, judgment, or otherwise), and for all judgments entered against Old Monsanto


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in the PCB Lawsuits. These amounts include, but are not limited to, the amounts paid to settle

some of the Food Chain Cases, the amounts paid and/or agreed to be paid to settle some of the

Water Cases, and the judgments entered in the Sky Valley School Cases.

       256.    New Monsanto and Solutia are entitled to enforce the Special Undertaking

Agreements with Defendants as the assignees of those rights.

       257.    New Monsanto is indemnifying and defending Old Monsanto and Solutia in the

PCB Lawsuits.

       258.    Plaintiffs notified Defendants of the PCB Lawsuits, the potential settlement of some

of the Food Chain Cases, the settlement of some of the Water Cases, the judgments entered in the

Sky Valley School Cases, and has demanded that Defendants indemnify Old Monsanto in the PCB

Lawsuits.

       259.    Defendants have failed and refused to indemnify Old Monsanto and its present,

past, and future directors, officers, employees and agents.

       260.    Defendants have breached the Special Undertaking Agreements by failing and

refusing to indemnify Old Monsanto and its present, past, and future directors, officers, employees

and agents for all amounts paid and/or agreed to be paid to resolve the PCB Lawsuits (whether

through settlement, verdict, judgment, or otherwise), and for all judgments entered against Old

Monsanto in the PCB Lawsuits.

       261.    As a result of Defendants’ breaches of their contractual obligations to indemnify

Old Monsanto and its present, past, and future directors, officers, employees and agents, Plaintiffs

have been damaged in an amount exceeding $25,000.00. Plaintiffs’ damages include, but are not

limited to, the amounts paid to settle some of the Food Chain Cases, the amounts paid and/or

agreed to be paid to settle some of the Water Cases, the judgments entered in the Sky Valley School



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Cases, and all other amounts Plaintiffs have reasonably paid to resolve claims (whether through

settlement, verdict, judgment, or otherwise) covered by the Special Undertaking Agreements, plus

foreseeable consequential damages, pre-judgment interest for such liquidated sums, and attorneys’

fees and costs in this action, all to be proven at the time of trial.

        262.    Plaintiffs continue to be subject to significant potential liability in the pending PCB

Lawsuits. Any amounts paid and/or agreed to be paid to resolve any of the PCB Lawsuits or any

judgment entered against Old Monsanto in any of the PCB Lawsuits constitutes part of Plaintiffs’

damages resulting from Defendants’ breaches and as such, Plaintiffs expressly reserve their rights

to seek damages in excess of the amounts referenced in the foregoing paragraph.

                   COUNT III: Declaratory Judgment against all Defendants
                               (Contractual Duty to Defend)

        263.    Paragraphs 1 through 235 above are incorporated herein by reference.

        264.    This Court has the power to grant a declaratory judgment concerning the rights and

obligations of Plaintiffs and Defendants, pursuant to RSMo §§ 527.010, 527.020, and 527.030,

because an actual controversy exists between Plaintiffs and Defendants concerning the parties’

respective rights and obligations under their respective Special Undertaking Agreements,

including Defendants’ duty to defend Old Monsanto in the PCB Lawsuits.

        265.    The Special Undertaking Agreements require Defendants to defend Old Monsanto

and its present, past, and future directors, officers, employees and agents in the PCB Lawsuits and

any future PCB Lawsuits filed against Old Monsanto or its present, past, and future directors,

officers, employees and agents.

        266.    Defendants’ refusal to satisfy their obligations to defend Old Monsanto and its

present, past, and future directors, officers, employees and agents or pay the costs to defend Old




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Monsanto and its present, past, and future directors, officers, employees and agents in the PCB

Lawsuits is contrary to the Special Undertaking Agreements and the law.

        267.    New Monsanto and Solutia are entitled to enforce the Special Undertaking

Agreements.

        268.    New Monsanto is indemnifying and defending Old Monsanto and Solutia in the

PCB Lawsuits.

        269.    Justiciable controversies have arisen between Plaintiffs and Defendants concerning

interpretation of the Special Undertaking Agreements and Defendants’ obligation to defend Old

Monsanto in the PCB Lawsuits.

        270.    This actual controversy is definite and concrete, in that the parties’ positions are

adverse and Defendants’ refusal to defend Old Monsanto and its present, past, and future directors,

officers, employees and agents pursuant to the Special Undertaking Agreements causes direct legal

injury to Plaintiffs.

        271.    This controversy is real and substantial, and ripe for adjudication. A judicial

declaration as to Defendants’ obligation to defend Old Monsanto and its present, past, and future

directors, officers, employees and agents in the PCB Lawsuits under the Special Undertaking

Agreements will resolve the present controversy, and provide conclusive relief.

        272.    The harm to Plaintiffs if Defendants are allowed to avoid their obligation to defend

Old Monsanto and its present, past, and future directors, officers, employees and agents in the PCB

Lawsuits is sufficiently real and imminent to warrant the issuance of a conclusive declaratory

judgment clarifying the legal relations of the parties. Without a declaration of rights, Plaintiffs

will continue to incur attorney’s fees, expert fees and other costs and expenses in the PCB

Lawsuits.



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       273.    Plaintiffs therefore require a declaratory judgment declaring that Defendants have

a duty to defend Old Monsanto and its present, past, and future directors, officers, employees and

agents in the PCB Lawsuits, and any future PCB Lawsuits, under the Special Undertaking

Agreements.

                 COUNT IV: Declaratory Judgment against all Defendants
                                (Duty to Indemnify)

       274.    Paragraphs 1 through 235 above are incorporated herein by reference.

       275.    This Court has the power to grant a declaratory judgment concerning the rights and

obligations of Plaintiffs and Defendants, pursuant to RSMo §§ 527.010, 527.020, and 527.030,

because an actual controversy exists between Plaintiffs and Defendants concerning the parties’

respective rights and obligations under Defendants’ respective Special Undertaking Agreements,

including Defendants’ obligation to indemnify Old Monsanto in the PCB Lawsuits.

       276.    The Special Undertaking Agreements require Defendants to indemnify Old

Monsanto and its present, past, and future directors, officers, employees and agents in the PCB

Lawsuits and any future PCB Lawsuits filed against Old Monsanto or and its present, past, and

future directors, officers, employees and agents.

       277.    Defendants’ denial of its obligations to indemnify Old Monsanto in the PCB

Lawsuits is contrary to the Special Undertaking Agreements and the law.

       278.    Justiciable controversies have arisen between Plaintiffs and Defendants concerning

interpretation of the Special Undertaking Agreements and Defendants’ obligation to indemnify

Old Monsanto and its present, past, and future directors, officers, employees and agents in the PCB

Lawsuits.

       279.    New Monsanto and Solutia are entitled to enforce the Special Undertaking

Agreement.


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        280.    New Monsanto is indemnifying and defending Pharmacia and Solutia in the PCB

Lawsuits.

        281.    This actual controversy is definite and concrete, in that the parties’ positions are

adverse and Defendants’ refusal to indemnify Old Monsanto and its present, past, and future

directors, officers, employees and agents pursuant to the Special Undertaking Agreements causes

direct legal injury to Plaintiffs.

        282.    This controversy is real and substantial, and ripe for adjudication. A judicial

declaration as to Defendants’ obligation to defend Old Monsanto and its present, past, and future

directors, officers, employees and agents in the PCB Lawsuits under the Special Undertaking

Agreements will resolve the present controversy, and provide conclusive relief.

        283.    The harm to Plaintiffs if Defendants are allowed to avoid their obligation to

indemnify Old Monsanto and its present, past, and future directors, officers, employees and agents

in the PCB Lawsuits is sufficiently real and imminent to warrant the issuance of a conclusive

declaratory judgment clarifying the legal relations of the parties. Without a declaration of rights,

Plaintiffs will continue to incur expenses in resolving the PCB Lawsuits.

        284.    Plaintiffs therefore require a declaratory judgment declaring that Defendants have

a duty to indemnify Old Monsanto and its present, past, and future directors, officers, employees

and agents for all amounts Plaintiffs have paid, or will pay, to resolve the PCB Lawsuits or future

PCB Lawsuits (whether through settlement, verdict, judgment, or otherwise), under the Special

Undertaking Agreements. Specifically, Plaintiffs request and are entitled to a declaration that

Defendants have a duty to indemnify Old Monsanto and its present, past, and future directors,

officers, employees and agents in all of the PCB Lawsuits, including but not limited to the




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settlement of some of the Food Chain Cases, the settlement of some of the Water Cases, and the

judgments entered in the Sky Valley School Cases.

                        COUNT V: Negligence against all Defendants

       285.   Paragraphs 1 through 235 above are incorporated herein by reference.

       286.   Defendants and/or their predecessors-in-interest were aware of the potential for

PCBs to persist in the environment and of the need to use care in the use and handling of PCBs

when they purchased PCBs from Old Monsanto.

       287.   Defendants and/or their predecessors-in-interest had a duty to possess, handle, use,

sell, and dispose of PCBs purchased from Old Monsanto with reasonable care so that they would

not be released into the environment.

       288.   Defendants and/or their predecessors-in-interest breached their respective duty of

care by allowing PCBs purchased from Old Monsanto both before and after signing the Special

Undertaking Agreements to be released into the environment through products manufactured by

Defendants and/or their predecessors-in-interest, disposal of PCB-containing products, leaks,

spills, dumping and disposal of industrial wastes, and through other means.

       289.   The PCB Lawsuits have been filed against Plaintiffs as a result of Defendants’

and/or their predecessors-in-interests’ breaches and release of PCBs into the environment.

       290.   As a result of the foregoing breaches by Defendants and/or their predecessors-in-

interest, Plaintiffs have been damaged in an amount exceeding $25,000.00. Plaintiffs’ damages

include, but are not limited to, the costs of defending the PCB Lawsuits (attorneys’ fees, expert

witness fees, and other costs and expenses), the amounts paid to settle some of the Food Chain

Cases, the amounts paid and/or agreed to be paid to settle some of the Water Cases, the judgments

entered in the Sky Valley School Cases, and all other amounts Plaintiffs have reasonably paid



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and/or agreed to pay to resolve claims (whether through settlement, verdict, judgment, or

otherwise) covered by the Special Undertaking Agreements prior to the date of this filing.

       291.    Plaintiffs continue to incur attorneys’ fees, expert fees, and other litigation costs

and expenses in the PCB Lawsuits that constitute part of its damages resulting from Defendants’

and/or their predecessors’ breaches. Plaintiffs may also incur additional costs to settle or otherwise

resolve PCB Lawsuits after the date of filing of this Amended Petition. As such, Plaintiffs

expressly reserve their right to seek damages in excess of the amounts referenced in the foregoing

paragraph.

                 COUNT VI: Negligent Misrepresentation against Magnetek

       292.    Paragraphs 1 through 235 above are incorporated herein by reference.

       293.    Prior to signing the Magnetek Special Undertaking Agreement, UMC supplied Old

Monsanto with certain information regarding UMC’s intended use of the PCBs and coverage of

the Magnetek Special Undertaking Agreement by insurance.

       294.    Specifically, UMC told Monsanto that it only intended to use PCBs purchased from

Monsanto for closed uses such that PCBs would not escape its products and enter the environment,

and that the Magnetek Special Undertaking Agreement was “covered by a blanket liability policy

with the Travelers Insurance Company.”

       295.    The information supplied by UMC to Old Monsanto was false due to UMC’s and/or

Magnetek’s failure to exercise reasonable care.

       296.    UMC and/or Magnetek released or permitted the release of some or all of the PCBs

purchased from Old Monsanto into the environment after execution of the Magnetek Special

Undertaking Agreement.

       297.    Magnetek’s insurer has also alleged in a lawsuit against Magnetek that the



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Magnetek Special Undertaking Agreement is not covered by any insurance policy, or the insurance

policy has been released. See Velsicol Chemical LLC et al. v. Magnetek, Inc., Case No. 2017 CH

02118, Complaint (Cook County, Ill. Cir. Court Feb. 14, 2017).

       298.    UMC intentionally supplied the false information regarding its use of the PCBs and

the insurance coverage to Old Monsanto to induce Old Monsanto to sell its PCBs to UMC after

Old Monsanto had decided to limit production of PCBs.

       299.    Old Monsanto justifiably relied on the false information supplied by UMC when it

decided to sell PCBs to UMC pursuant to the Magnetek Special Undertaking Agreement.

       300.    Old Monsanto would not have sold PCBs to UMC if it had not provided the false

information regarding its intended use of the PCBs and the insurance coverage for the Magnetek

Special Undertaking Agreement.

       301.    Magnetek is the successor-in-interest to UMC.

       302.    Plaintiffs have suffered loss in the form of attorneys’ fees, costs, settlement

amounts, judgments, and other damages in an amount in excess of $25,000 as a result of UMC’s

and/or Magnetek’s negligent misrepresentations. Plaintiffs may also incur additional costs to settle

or otherwise resolve PCB Lawsuits after the date of filing of this Amended Petition. As such,

Plaintiffs expressly reserve their right to seek damages in excess of the amounts referenced in the

foregoing paragraph.

                 COUNT VII: Equitable Contribution against all Defendants
                             (Pleaded In The Alternative)

       303.    Paragraphs 1 through 235 above are incorporated herein by reference.

       304.    This claim for equitable contribution is alleged in the alternative to Counts II and

IV and only to the extent that Defendants are not contractually obligated under the Special




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Undertaking Agreements to indemnify and/or hold harmless Old Monsanto in one or more of the

PCB Lawsuits.

        305.    The PCB Lawsuits premise liability, inter alia, on Old Monsanto’s manufacture

and sale of PCBs.

        306.    Old Monsanto manufactured and sold PCBs in bulk to a number of industrial

customers, including Defendants or their predecessors-in-interest, who incorporated those PCBs

into a wide variety of finished products. Old Monsanto itself never sold finished products

containing PCBs to individuals or consumers. Old Monsanto never controlled how products

incorporating PCBs would be used, serviced, or disposed of by its customers.

        307.    The finished products into which Old Monsanto’s customers incorporated PCBs

included dielectric fluids used in electrical equipment such as transformers, capacitors, and

lighting ballasts.

        308.    Defendants and/or their predecessors-in-interest purchased PCBs from Old

Monsanto and incorporated these PCBs purchased from Old Monsanto into products (e.g.,

transformers and capacitors) that were sold to customers throughout the United States.

        309.    Defendants and/or their predecessors-in-interest released into the environment or

permitted the release into the environment some or all of the PCBs that they purchased from Old

Monsanto.

        310.    Thus, to the extent Plaintiffs are or were liable in the PCB Lawsuits or have or will

pay amounts to settle or resolve the PCB Lawsuits, Defendants are jointly liable for those same

alleged indivisible injuries.

        311.    For example, Plaintiffs’ settlement of some of the Food Chain Cases and some of

the Water Cases extinguished Defendants’ liabilities for those alleged injuries.



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       312.     The amount Monsanto paid and/or has agreed to pay in settlement of some of the

Food Chain Cases and some of the Water Cases was reasonable.

       313.     To the extent Defendants are not contractually obligated to indemnify and/or hold

harmless Old Monsanto in the PCB Lawsuits, Defendants are liable to Plaintiffs for their equitable

shares of the amounts paid and/or agreed to be paid by Plaintiffs to settle and/or resolve the PCB

Lawsuits. This includes Defendants’ equitable share of the amounts paid and/or agreed to be paid

by Plaintiffs to settle some of the Food Chain Cases and resolve certain Water Cases. It also

includes Defendants’ equitable share of the judgments entered against Plaintiffs in the Sky Valley

School Cases.

                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs respectfully request that this Honorable Court enter an order and

judgment granting the following relief in Plaintiff’s favor and against Defendants:

       A.       Awarding Plaintiffs a sum greater than Twenty-Five Thousand Dollars

($25,000.00) reflective of the damages incurred by Plaintiffs and to be proven prior to the time of

such judgment, including such damages Plaintiffs incurred in defending and resolving the PCB

Lawsuits;

       B.       A declaration that the Special Undertaking Agreements individually and

collectively apply to the PCB Lawsuits and impose on Defendants individually and collectively a

duty to defend Old Monsanto and its present, past, and future directors, officers, employees and

agents in the PCB Lawsuits and any future PCB Lawsuits;

       C.       A declaration that Defendants individually and collectively shall bear

responsibility for any and all of the defense costs (including attorneys’ fees, costs, and expenses)

of Old Monsanto and its present, past, and future directors, officers, employees and agents in the



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PCB Lawsuits and any future PCB Lawsuits, which are being paid and/or have agreed to be paid

by New Monsanto;

       D.      A declaration that Defendants shall individually and collectively indemnify Old

Monsanto and its present, past, and future directors, officers, employees and agents for any and all

judgments, settlements, and all other amounts Old Monsanto is required to pay and/or has agreed

to pay to resolve the PCB Lawsuits and any future PCB Lawsuits;

       E.      A declaration that Defendants shall individually and collectively indemnify Old

Monsanto and its present, past, and future directors, officers, employees and agents for the total

amount of the settlement of some of the Food Chain Cases, the total amount of the settlement of

certain Water Cases, and the total amount of the judgments entered in the Sky Valley School Cases;

       F.      A declaration that Defendants, respectively, shall honor all of their obligations and

responsibilities set forth in their respective Special Undertaking Agreements regarding the PCB

Lawsuits and any future PCB Lawsuits;

       G.      Awarding Plaintiffs pre-judgment interest with respect to their damages;

       H.      Awarding Plaintiffs post-judgment interest with respect to their damages;

       I.      Awarding Plaintiffs their attorneys’ fees and costs for prosecution of this lawsuit;

       J.      Alternatively, Plaintiffs request that the Court enter a judgment requiring

Defendants to pay their equitable share of liability incurred by Plaintiffs in the PCB Lawsuits,

including but not limited to Defendants’ equitable share of the amounts Plaintiffs has paid and/or

has agreed to pay to settle some of the Food Chain Cases and the Water Cases, and the judgments

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       K.      Such other and further relief as the Court deems just and proper.




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                                             Respectfully Submitted,

                                             THOMPSON COBURN LLP

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                                                Email: nschnell@thompsoncoburn.com

                                             Attorneys for Plaintiffs Pharmacia, LLC, Solutia,
                                             Inc., and Monsanto Company

                                CERTIFICATE OF SERVICE

        I hereby certify that on August 3, 2022, the foregoing was filed electronically with the
Clerk of Court to be served by operation of the Court’s electronic filing system to all counsel of
record.



                                             /s/ Christopher M. Hohn




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                     EXHIBIT 2
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                     EXHIBIT 3
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                     EXHIBIT 4
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                     EXHIBIT 7
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                Case Name                                                                                   Court                      Docket Number



Beutler, John, et al. v. Monsanto, et al.                                          WA - King County Superior Court1               21-2-14302-1 SEA

Burke, Leah, et al. v. Monsanto, et al.                                            WA - King County Superior Court                18-2-58379-9 SEA

Caldwell-Eleazer, Maya, et al. v. Monsanto, et al.                                 WA - King County Superior Court                18-2-54572-2 SEA

Delaware, State of v. Monsanto, et al.                                             DE – New Castle County                         N21C-09-179 MMJ

Donham, Edith, et al. v. Monsanto, et al.                                          WA – King County Superior Court                19-2-02161-6 SEA

Florey, Catherine, et al. v. Monsanto, et al.                                      WA - King County Superior Court                19-2-02266-7 SEA

Grant, Donya et al v. Monsanto, et al.                                             WA – King County Superior Court                21-2-14304-7 SEA

Keeley, Nicole, et al. v. Monsanto, et al.                                         WA – King County Superior Court                19-2-02170-5 SEA

Keller, Rebecca, et al. v. Monsanto, et al.                                        WA – King County Superior Court                19-2-02173-0 SEA

Keyser, Shelby, et al. v. Monsanto, et al.                                         WA – King County Superior Court                18-2-58331-4 SEA

Larson, Corrina, et al. v. Monsanto, et al.                                        WA – King County Superior Court                19-2-09686-1 SEA

Long, Melanie, et al. v. Monsanto, et al.                                          WA – King County Superior Court                18-2-00001-7 SEA

Maryland, State of v. Monsanto, et al.                                             MD – Baltimore City                            24C21005251

Mills Hiley, Holly, et al. v. Monsanto, et al.                                     WA – King County Superior Court                21-2-14303-9 SEA

New Hampshire, State of v. Monsanto, et al.                                        NH – Merrimack County                          217-2020-CV-00573
                                                                                   United States District Court for the District of
New Mexico, State of v. Monsanto, et al.                                           New Mexico                                       19-cv-01139

Pennsylvania, Commonwealth of v. Monsanto, et al.                                  PA – Commonwealth of Pennsylvania              668 MD 2020
                                                                                   United States District Court for the District of
Port of Portland v. Monsanto, et al.                                               Oregon                                           3:17-cv-00015-MO

Rose, Merrilee, et al. v. Monsanto, et al.                                         WA – King County Superior Court                18-2-58239-3 SEA

Soley, Hope, et al. v. Monsanto, et al.                                            WA – King County Superior Court                18-2-23255-4 SEA

Steinman, et al. v. Monsanto, et al.                                               WA – King County Superior Court                19-2-02176-4 SEA

Stratton, Victoria, et al. v. Monsanto, et al.                                     WA – King County Superior Court                19-2-02178-1 SEA

Williamson, Vanessa, et al. v. Monsanto, et al.                                    WA – King County Superior Court                19-2-02181-1 SEA

County of San Mateo, et al. vs. Monsanto Co., et al.                               CA – County of San Mateo                       22-CIV-01667

The People of the State of California and The City of Los Angeles v. Monsanto      United States District Court for the Central
Co., et al.                                                                        District of California                         2:22-cv-2399


District of Columbia v. Monsanto Co., et al.                                       DC – Superior Court                            2020 CA 002445 B


Russell Tarbell, et al. v. Monsanto Co., et al.                                    MO – Circuit Court of St. Louis County         20SL-CC01017

Bodey, Belva J., et al v. Monsanto Co., et al.                                     WA – Clallam County Superior Ct.               19-2-00605-05
                                                                                   United States District Court for the Central
County of Los Angeles v. Monsanto Company                                          District of California                         2:19-cv-4694


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     In correspondence with the Defendants, School Cases in King County Superior Court were collectively referred to as the “Sky Valley School Cases.”
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State of New Mexico v. Monsanto Co., et al.                         NM – County of Santa Fe                            D-101-CV-2019-01445
                                                                    United States District Court for the District of
Mayor and City Council of Baltimore v. Monsanto Company             Maryland                                           1:19-cv-00483-RDB

Allison, Dana J., et al. v. Monsanto Company                        WA – King County Superior Court                    18-2-26074-4 SEA


                                                                    United States District Court for the Southern
City of Chula Vista v. Monsanto Company                             District of California.                            3:18-cv-01942-BEN-JMA

Heit, Ceanna, et al. v. Monsanto Company                            WA – King County Superior Court                    18-2-11915-4

State of Ohio vs. Monsanto Co.                                      OH – Hamilton County                               2018-000851
                                                                    United States District Court for the Southern
Jackson, Gary v. Monsanto Company                                   District of Mississippi.                           5:18-cv-13-DCB-MTP

State of Oregon vs. Monsanto                                        OR – Multnomah County                              18CV00540

Bard, Angela M. & William vs. Monsanto Company                      WA – King County Superior Court                    2018-000041

State of Washington v. Monsanto Company                             WA – King County Superior Court                    2016-005364

                                                                    United States District Court for the Western
Grant Parish School Board v. Monsanto Company                       District of Louisiana.                             1:15-cv-01719-DDD-JDK
                                                                    United States District Court for the District of
City of Hartford and Hartford Board of Education v. Monsanto        Connecticut                                        2015-004301
                                                                    United States District Court for the District of
Town of Princeton, MA v. Monsanto Company                           Massachusetts                                      4:15-cv-40096-DJC
                                                                    United States District Court for the District of
Town of Westport and Westport Community Schools v. Monsanto         Massachusetts                                      1:14-CV-12041-DJC

Abston, Bertha v. Monsanto Company                                  MO – St. Louis County                              12SL-CC01495

Aiken, Ronald v. Monsanto Company                                   MO – St. Louis City                                1422-CC09436

Ashley, Jerry v. Monsanto                                           MO – St. Louis County                              12SL-CC01499

Bailey, Roger v. Monsanto Company                                   MO – Eastern District                              15SL-CC01768

Blum, Robert J., Jr. v. Monsanto                                    MO – St. Louis County                              10SL-CCO2866

Brownlee, Paul v. Monsanto Company                                  CA – LA County                                     BC497582

Brown, Paulette v. Monsanto                                         MO – St. Louis County                              12SL-CC01498

Burford, Kent N, et al.. v. Monsanto, et al.                        MO – St. Louis County                              16SL-CC00928

Burke, Angela v. Monsanto Co.                                       MO – St. Louis City                                1222-CC10374

Carter, Kevin v. Monsanto Company                                   CA – LA County                                     BC484608

Clair, Sanford v. Monsanto Company                                  MO – St. Louis County                              09SL-CC01964

Craig, Gary v. Monsanto Company                                     MO – St. Louis County                              12SL-CC01496

Dauber, Roslyn v. Monsanto                                          CA – LA County                                     BC483342

Dublin, Sydell v. Monsanto                                          MO – St. Louis County                              10SL-CC03822

Ferrell, Marinda v. Monsanto                                        MO – St. Louis City                                1322-CC08915

Gibson, Dennis L. v. Monsanto Company                               MO – Eastern District                              11SL-CC04951

Goodman, Betty v. Monsanto                                          MO – St. Louis City                                1322-CC09213

Granger, Jacqueline v. Monsanto Co.                                 CA – LA County                                     BC459770

Guenther, Valerie Anna v. Monsanto                                  CA – LA County                                     BC480068

Hearon, Leslie v. Monsanto                                          MO – St. Louis County                              12S:-CC01497

Kelly, Thomas v. Monsanto Company                                   MO – St. Louis County                              15SL-CC03845


LaBarge, Dale L. v. Monsanto                                        MO – St. Louis County                              12SL-CC01263
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Mosby, Keith v. Monsanto Co.                                           MO – St. Louis County                           1122-CCO2206

Murphy, Deborah D. v. Monsanto Company                                 MO- St. Louis City                              1222-CL09174

Naihe, Edward v. Monsanto                                              MO – St. Louis County                           12SL-CCO2117

Nishida Nicolas White, Ruth v. Monsanto and Solutia                    MO – St. Louis County                           09SL-CC01964

Nunn, Mary vs. Monsanto Co.                                            MO – St. Louis City                             1122-CC01207

Olson Kathleen R. v. Monsanto Company, et al.                          MO – St. Louis County                           16SL-CC00919

Rodriguez, Gullermo v. Monsanto Co.                                    MO – St. Louis County                           10SLCC03408

Stapleton, Bernadette v. Monsanto                                      MO - St. Louis City                             1122CC09622

Varela, Jesse v. Monsanto                                              MO - St. Louis City                             BC509170

Walker, Benito v. Monsanto Company                                     MO - St. Louis City                             1122CC09621

Lamkin, Craig, et al. v. Monsanto Company, et al.                      MA – Suffolk County                             16-0563

                                                                       United States District Court for the Northern
City of Berkeley v. Monsanto Company                                   District of California                          5:16-cv-00071

                                                                       United States District Court for the Northern
City of Oakland v. Monsanto Company                                    District of California                          4:15-cv-05152

                                                                       United States District Court for the Northern
City of San Jose v. Monsanto Company                                   District of California                          5:15-cv-03178-NC

                                                                       United States District Court for the Western
City of Seattle v. Monsanto, et al.                                    District of Washington                          2:16-cv-00107

                                                                       United States District Court for the Eastern
City of Spokane v. Monsanto Company                                    District of Washington                          2:15-cv-00201-SMJ
Monsanto PCB Water Case Litigation                                     Judicial Panel /Multidistrict                   MDL No. 2697

                                                                       United States District Court for the Southern
San Diego Unified Port and City of San Diego v. Monsanto Co., et al.   District of California                          3:15-cv-00578-WQH-JLB


                                                                       United States District Court for the Northern
City of Long Beach v. Monsanto Co., et al.                             District of California                          2:16-cv-03493-FMO-AS

                                                                       United States District Court for the District of
City of Portland v. Monsanto Co., et al.                               Oregon                                           3:16-cv-1418-PK
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                     EXHIBIT 9
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                              MISSOURI C!RCUIT COURT
                            TWENTY-FIRST JUDICIAL CIRCUIT
                                 ST. LOUIS COUNTY

    ROGER BAILEY, NICOLETTA CALHOUN,
    THOMAS E. CLEARY, CATHERINE
    GUIDROZ, CINDY M. HANNON, STANLEY              Cause No.:
    JOHNSON, PAMELA G. KLES, REBECCA P.
    MACKEL, TOMMY D. MOORE, LOUIS D.               Division No.
    OLANDESE, ANN H. PILACKAS, and ANN
    M. STAFFORD,                                   JURY TRIAL DEMANDED

                  Plaintiffs,




    MONSANTO CO.
    Serve: Registered Agent
           CSC - Lawyers Incorporating
           Service Co.
           221 Bolivar St.
           Jefferson City, MO 65101

    SOLUTIA, INC.
    Serve: Registered Agent
           The Corporation Co.
           120 South Central Ave.
           Clayton, MO 63105

    PBARMACIA CORP.
    Serve: Registered Agent
           CT Corporation Systems
           120 South Central Ave.
           Clayton, MO 63105

    PFIZER, INC.
    Serve: Registered Agent
           CT Corporation Systems
           120 South Central Ave.
           Clayton, MO 63105

                 Defendants.
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                                    PETITION

           COME NOW PLAINTIFFS ROGER BAILEY, NICOLETTA CALHOUN,

    THOMAS E. CLEARY, CATHERINE GUIDROZ, CINDY HANNON, STANLEY

    JOHNSON, PAMELA G. KLES, REBECCA P. MACKEL, TOMMY D. MOORE,

    LOUIS D. OLANDESE, ANN H. PILACKAS, and ANN M. STAFFORD who allege as

    follows:

                                   I. PARTIES

    1.     Plaintiff ROGER BAILEY resides at 1209 US HIGHWAY 31 SOUTH,

    ALABAMA 35611.

    2.     Plaimiff NICOLETTA CALHOUN resides at 6410 WESTERN AVENUE,

    WILLOBROOK, IL 60527.

    3.     PlaimiffTHOMAS E. CLEARY resides at 6671 W. PLACITA DE LAS BOTAS,

    TUCSON, ARIZONA 85743.

    4.     Plaintiff CATHERINE GUIDROZ resides at 12912 PECAN STREET, PORT

    ALLEN, LOUISIANA 70767.

    5.     Plaimiff CINDY M. HANNON resides at 4702 FLATBRUSH AVENUE,

    SARASOTTA, FLORIDA 34233.

    6.     Plaintiff STANLEY JOHNSON resides at 21 ENGLISH ISLE ONE, LINCOLN,

    ALABAMA 35096.

    7.     Plaintiff PAMELA G. KLES resides at 12177 17TM STREET, YUCAIPA,

    CALIFORNIA 92708.




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    8.      Plaimiff REBECCA P. MACKEL resides at 1006 MARVIN GARDEN WAY,

    LOGANVILLE, GA 30052.

    9.     Plaintiff TOMMY D. MOORE resides at 180 SLIMS LANE, SYLACAUGA,

    ALABAMA 35150.

    I0.    Plaintiff LOUIS D. OLANDESE resides at 5509 MAY AVENUE, RICHMOND,

    ILLINOIS 60071.

    l l.   Plaintiff ANN H. PILACKAS resides at 1083 MEADOWSONG ROAD,

    LEBONON, ILLINOIS 62254.

    12.    Plaintiff ANN M. STAFFORD resides at 11361 DELPHENIUM AVENUE,

    FOUNTAIN VALLEY, CALIFORNIA 92708.

    13.    Defendant MONSANTO CO. ("NEW MONSANTO") is a Delaware corporation

    that has its corporate headquarters and principal place of business in St. Louis County,

    Missouri.   Monsanto can be served through its registered agent, CSC - Lawyers

    Incorporating Services, Inc., 221 Bolivar St., Jefferson City, Missouri 65101.

    14.    Defendant SOLUTIA, INC. ("SOLUTIA") is a Delaware corporation that has its

    corporate headquarters and principal place of business in St. Louis County, Missouri.

    Solutia can be served through its registered agem, The Corporation Co., 120 South

    Central Ave., Clayton, Missouri 63105.

    15.    Defendant PHARMACIA CORP. ("PHARMACLA" a/k/a "OLD MONSANTO")

    is a Delaware corporation that, since its merger vcith Defendant Pfizer, Inc. in 2003, has

    had its headquarters and principal place of business in New York, NY. Pharmacia can be

    served through its registered agem, CT Corporation System, 120 South Central Ave.,

    Clayton, Missouri 63105.
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    16.     Defendant PFIZER, INC. ("PFIZER") is a Delaware corporation that has its

    corporate headquarters and principal place of business in New York, NY.       Pfizer can be

    served through its registered agent, CT Corporation System, 120 South Central Ave.,

    Clayton, Missouri 63105.

                               iI. JURISDICTION AND VENUE

    17.    Venue is proper in St. Louis County under MOo STAT. § 508.010(5)(2) because

    this is a tort case in which Plaintiffs were first injured outside of Missouri, and the

    registered agent for Defendants Solutia and Pfizer are located in St. Louis County.

    18.    THIS CAUSE IS NOT REMOVABLE.                  There is no diversity of citizenship

    among the parties because Defendants Solutia, Inc. and Monsanto Co. are citizens of the

    State of Missouri for purposes of federal diversity jurisdiction and removal statutes. See

    28 U.S.C.§ 1332(c)(1) ("a corporation shall be deemed to be a citizen of any State by

    which it has been incorporated and of the State where it has its principal place of

    business..."). Moreover, because at least one Defendant is a resident of Missouri, where

    this action is filed, Defendants could not, in any event, remove this action on the basis of

    diversity. 28 U.S.C. § 1441(b). Plaintiffs affirmatively disclaim any damages or action

    arising under the constitution, treaties, or laws of the United States (including any claim

    arising from an act or omission on a federal enclave, or of any officer of the U.S. or any

    agency or person acting under him occurring under color of such office). No claim of

    admiralty or maritime law is raised.     Plaintiffs sue no foreign state or agency.    The

    damages that are sought by the Plaintiffs, exclusive of interests and costs, exceed the

    minimum jurisdictional limits of this Court.

                               HI. FACTUAL BACKGROUND



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     19.    PLAINTIFFS ROGER BAILEY, NICOLETTA CALHOUN, THOMAS E.

    CLEARY, CATHERINE GUIDROZ, CINDY HANNON, STANLEY JOHNSON,

    PAMELA G. KLES, REBECCA P. MACKEL, TOMMY D. MOORE, LOUIS D.

    OLANDESE, ANN H. PILACKAS, and ANN M. STAFFORD are Alabama, Arizona,

    California,   Florida,   Georgia,   Illinois,   and   Louisiana   residents   who   developed

    lymphohematopietic cancer after being exposed to chemical products designed,

    manufactured, and distributed by Defendants.              Specifically, Plaintiffs have had

    substantial dietary and other environmental exposure to polyehlorinated biphenyls

    ("PCBs"), manufactured by the original Monsanto Co. ("Old Monsanto" a/Ida

    "Pharmacia").

    20.    From 1901 to 1997 the original Monsanto Co., also known as Monsanto Chemical

    Co., operated as a Missouri corporation manufacturing a variety of chemicals and

    agricultural products. This original corporate Monsanto entity, which is now sometimes

    referred to as "Old Monsanto," ceased to exist in 1997 as the result of a series of

    corporate spin-offs and acquisitions. At that time, Old Monsanto’s chemical division was

    split off and reformed into a newly-independent corporation, which was renamed

    "Solutia, Inc." one of the Defendants in this action. As part of this 1997 spin-off, Solutia

    assumed certain of Old Monsanto’s debts and liabilities, including all liabilities related to

    Old Monsanto’s production and sale of PCBs.                Although Solutia was recently

    reorganized pursuant to Chapter 11 of the federal bankruptcy laws, it emerged from

    bankruptcy in February 2008.

    21.    In 2000, the remaining portion of Old Monsanto, comprised of Old Monsanto’s

    Life Sciences division, merged with Pharmacia/Upjohn Corp., which meant that Old
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    Monsanto no longer existed as a separate corporate entity. Defendant Pharrnacia then

    incorporated a new company in Delaware, also called "Monsanto Co.," which is now

    referred to as "New Monsanto," the other Defendant in this case. In 2002, Defendant

    Pharmacia spun off its interest in New Monsanto, and New Monsanto now operates as an

    independent corporate entity with its corporate headquarters and principal place of

    business in St. Louis, Missouri.

    22.    In 2003, Defendant Pharmaeia (what’ remained of "Old Monsanto") merged with

    Defendant Pfizer, Inc.

    23.    As part of Solutia’s federal bankruptcy plan of reorganization, New Monsanto

    agreed to indemnify Solutia for all tort "legacy liabilities" related to Old Monsanto’s

    activities, including the production and sale of PCBs.           As a result of these various

    transactions, Defendants Pharmacia, Pfizer, Solutia and Monsanto collectively have legal

    responsibility for Old Monsanto’s conduct in the production, sale, and distribution of

    PCBs, which is the subject of Plaintiffs’ claims in this case.

    24.    PCBs are a class of 209 discrete chemical compounds, called congeners, in which

    one to ten chlorine atoms are attached to biphenyl.         From 1929, when Monsanto’s

    predecessor Swann Chemical Co. (which merged into Monsanto in 1935) first began

    producing PCBs, until 1977, when Congress banned the manufacture of PCBs, Monsanto

    produced and sold more than 99 percent of all the PCBs that were ever sold in the United

    States. Over those six decades, Monsanto sold those PCBs as liquid mixtures, under the

    trade name "Aroclor," to a variety of industrial customers, for a wide variety of industrial

    uses. Each of Monsanto’s Aroclor products contained a combination of different PCB

    congeners.



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    25.     Many of Monsanto’s PCBs were used by its customers as insulating fluids, also

    known as "dielectric fluids," in certain electrical equipment, including high-temperature

    transformers and capacitors.   However, Monsanto’s Aroclor and other PCB products

    were also marketed and used for many other purposes, including in inks, paints,

    dedusting agents, pesticides, plasticizers, hydraulic fluids, lubricants, adhesives, and

    carbonless copy paper. Until 1971, approximately 40 percent of Monsanto’s PCBs were

    sold for purposes other than use as insulating fluid for electrical equipment. From 1971

    to 1977, Monsanto sold PCBs exclusively for use as insulating fluid in transformers and

    capacitors.

    26.    Like other chlorinated organic compounds, such as dioxins, which are collectively

    known as "organochlorines," PCBs are considered "persistent organic pollutants,"

    because they do not readily degrade in the environment after disposal, and they are not

    easily metabolized or broken down by humans or animals after absorption. PCBs are

    lipophilic, and are stored in the fat tissue of humans and animals who have been exposed.

    Because PCBs were dumped into the environment over decades by Monsanto, its

    customers, and the end users of various PCB-containing products, PCBs are now

    ubiquitous in the environment. PCBs can be found in most animals, as well as in water,

    soil, sediment, and numerous other environmental media. Thus, measurable quantities of

    PCBs are typically found in most of the foods that most Americans consume on a daily

    basis, including fish, beef, poultry, dairy products, and event fruits and vegetables.

    Throughout the six decades that Monsanto produced and sold PCBs, the company knew

    or should have known that many of its PCBs would ultimately be disposed of in ways

    that would allow those PCBs to enter the environment.



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    27.    Because Monsanto’s PCBs have contaminated the food chain and continue to be

    ubiquitous contaminants of the air, water, and soil, all Americans, including Plaintiffs,

    have been substantially exposed to Monsanto’s PCBs through their diet and through other

    environmental exposures.      Although Monsanto’s PCBs were incorporated into many

    other products before being dumped into the environment, those PCBs themselves, to

    which Plaintiffs have been exposed, are substantially the same chemicals as when they

    left Monsanto’s possession.

    28.    Throughout the decades during which Monsanto produced PCBs, the company

    was aware that exposure to PCBs carried significant health risks.            Despite this

    knowledge, and despite the availability of substitute products, Monsanto continued to

    produce and market PCBs, while hiding from the public, its customers, and applicable

    governmental authorities the true health risks associated with PCBs. Such conduct was

    despicable and done with a willful disregard of the rights and safety of others. In other

    words, Monsanto was aware that its continued production and sale of PCBs would result

    in probable dangerous consequences in the form of environmental devastation and

    significant health risks for users and others exposed to its PCBs, and Monsanto

    deliberately chose to market its PCBs over the course of decades, despite this knowledge.




                                    IV. DISCOVERY RULE

    29.    Plaintiffs hereby plead and invoke the "discovery rule." Plaintiffs will show that

    after reasonably exercising due diligence, they did not learn the nature of the cause of

    their cancers or that such cancers were chemically-related until less than two years prior
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    to the filing of the Plaintiffs’ causes of action herein. Plaintiffs also specifically invoke

    the Federally Required Commencement Date, pursuant to 42 U.S.C. § 9658.

                                  V. CAUSE OF ACTION:
                          STRICT LIABILITY FOR DESIGN DEFECT

       30.    Plaintiffs incorporate herein each allegation set forth above.

    Because       Plaintiffs    were   exposed    to    Monsanto’s     PCBs    and    developed

    lymphohematopoietic cancer while living in Alabama, Arizona, California, Florida,

    Georgia, Illinois and Louisiana, their claims for compensatory damages in this case are

    governed by the laws in those states.

    31.       Plaintiffs allege that Monsanto’s various PCB products were unreasonably

   dangerous, and that those unreasonably dangerous products were a producing cause in the

   development of each Plaintiff’s cancer. Specifically, Plaintiffs allege that Monsanto sold

    its PCBs under the trade name Aroclor (and other trade names), and that through the

   foreseeable dumping of those Aroclor and other PCB-containing products by Monsanto

   itself, by its customers, and by end users, Monsanto’s PCBs ultimately made their way to

   the environment and to the food chain. Throughout the time that Monsanto marketed its

   unreasonably dangerous Aroclor products, there were safer alternatives to PCBs

   available. Because of the persistence of PCBs, those PCBs to which Plaintiffs were

   environmentally exposed were in substantially the same condition as when Monsanto

   sold them. Plaintiffs’ environmental exposures to Monsanto’s PCBs were a producing

   cause of Plaintiffs’ cancers.

                               VI. CAUSE OF ACTION: NEGLIGENCE

   33.       Plaintiffs incorporate herein each allegation set forth above.




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    34.    Monsanto’s decisions to market and distribute its various PCB products were

    negligent. As described above, for decades, the company was aware of the hazards of

    PCBs, and either knew or should have known that its PCBs would be released into the

    environment. Despite this actual and constructive knowledge, and despite the availability

    of numerous alternatives to PCBs for each of their uses, Monsanto continued to market

    PCBs. Monsanto’s ongoing negligent decisions to market and distribute those PCBs for

    decades led to Plaintiffs’ environmental exposures, and were a substantial factor in the

    development of Plaintiffs’ cancers.

    35.    The Plaintiffs were all exposed to Monsanto’s PCBs less than 15 years after

    Monsanto sold them, but the symptoms of Plaintiffs’ cancers did not manifest within that

    time frame.                              ~

                                          VII. DAMAGES

    36.    As a direct and proximate result of Defendants’ conduct described above,

    PLAINTIFFS ROGER BAILEY, NICOLETTA CALHOUN, THOMAS E. CLEARY,

    CATHERINE GUIDROZ, CINDY HANNON, STANLEY JOHNSON, PAMELA G.

    KLES, REBECCA P. MACKEL, TOMMY D. MOORE, LOUIS D. OLANDESE, ANN

    H. PILACKAS, and ANN M. STAFFORD sustained damages, including past and future

    medical expenses, past and future pain and suffering, past and future mental anguish and

    disfigurement, past and future earnings loss and all other applicable damages. As a result

    of Defendants’ complete indifference or conscious disregard for the safety of others,

    malice and oppression described above, Plaintiffs hereby seek punitive damages.

                                VIII. PRAYER FOR RELIEF




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     37.    WHEREFORE, Plaintiffs pray judgment against all Defendants herein for all

                    actual

     damages, pre-judgment and post-judgment interest, costs of suit, and all such other and

     further retiefto which Plaintiffs may show themselves to be justly entitled.

                                      IX. JURY DEMAND

    38.     PLAINTIFFS DEMAND A TRIAL BY JURY ON ALL COUNTS.

                                                 Respectfully submitted,
                                              By:/s/John G. Simon

                                                   THE SIMON LAW FIRM, P.C.
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                                                   Edca F. Blume, MO Bar No. 63716
                                                   800 Market St., Suite 1700
                                                   St. Louis, MO 63101
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                                                 A TTORNE YS FOR PLAINTIFFS


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                    EXHIBIT 10
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                                MISSOURI CIRCUIT COURT
                              TWENTY-FIRST JUDICIAL CIRCUIT
                                   ST. LOUIS COUNTY

 THOMAS KELLY and
 MICHAEL KRZESZEWSKI,                         Cause No.

                Plaintiffs,                   Division

                                              Jury Trial Requested

 MONSANTO CO.
 Serve: Registered Agent
        CSC - Lawyers
 Incorporating
        Service Co.
        221 Bolivar St.
        Jefferson City, MO
        65101

 SOLUTIA, INC.
 Serve: Registered Agent
        The Corporation Co.
        120 South Central Ave.
        Clayton, MO 63105

 PHARMACIA LLC.
  Serve: Registered Agent
         CT Corporation System
         120 South Central Ave.
         Clayton, MO 63105

                Defendants.




                                          PETITION

       COME NOW PLAINTIFFS THOMAS KELLY and MICHAEL KRZESZEWSKI who

allege as follows:




PLAINTIFF’ S ORIGINAL PETITION                                                           1
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                                           I. PARTIES

1.       Plaintiff THOMAS KELLY resides at 40 CEDAR STREET, K1NGSPARK, NEW YORK

11754 and is a citizen of New York.

2.       Plaintiff MICHAEL KRZESZEWSKI resides at 337A CANTERBURY COURT,

LAKEWOOD, NEW JERSEY 08701 and is a citizen of New Jersey.

3.       Defendant MONSANTO CO. ("NEW MONSANTO") is a Delaware corporation that has

its corporate headquarters and principal place of business in St. Louis County, Missouri. Monsanto

can be served through its registered agent, CSC - Lawyers Incorporating Services, Inc., 221

Bolivar St., Jefferson City, Missouri 65101.

4.       Defendant SOLUTIA, INC. ("SOLUTIA") is a Delaware corporation that has its corporate

headquarters and principal place of business in St. Louis County, Missouri. Solutia can be served

through its registered agent, The Corporation Co., 120 South Central Ave., Clayton, Missouri

63105.

5.       Defendant PHARMACIA LLC ("PHARMACIA" a/k/a "OLD MONSANTO") is a

Delaware limited liability corporation that is a subsidiary of Pfizer, Inc., and is headquartered and

has its principal place of business in Peapack, New Jersey. Because Pfizer, Inc. is a member

(owner) of Pharmacia, LLC, and Pfizer, Inc. is a citizen of New York, Pharmacia is also a New

York citizen. Pharmacia can be served through its registered agent, CT Corporation System, 120

South Central Ave., Clayton, Missouri 63105.

                                   II. JURISDICTION AND VENUE

6.       Venue is proper in St. Louis County under MO. STAT. § 508.010(5)(2) because this is a

tort case in which Plaintiffs and Decedents were first injured outside of Missouri, and the registered

agent for Defendants Solutia and Pharmacia are located in St. Louis County.




PLAINTIFF’ S ORIGINAL PETITION                                                                    2
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7.     THIS CAUSE IS NOT REMOVABLE. There is no diversity of citizenship among the

parties because Defendants Solutia, Inc. and Monsanto Co. are citizens of the State of Missouri for

purposes of federal diversity jurisdiction and removal statutes, and Defendant Pharmacia is a

citizen of New York. See 28 U.S.C.{} 1332(c)(1) (% corporation shall be deemed to be a citizen

of any State by which it has been incorporated and of the State where it has its principal place of

business..."); GMAC Commercial CreditLLC v. DillardDep’t Stores, Inc., 357 F.3d 827, 829 (8th

Cir. 2004) ("an LLC’s citizenship for purposes of diversity jurisdiction is the citizenship of its

members"). Moreover, because at least one Defendant is a resident of Missouri, where this action

is filed, Defendants could not, in any event, remove this action on the basis of diversity. 28 U.S.C.

{} 1441(b). Plaintiffs affirmatively disclaim any damages or action arising under the constitution,

treaties, or laws of the United States (including any claim arising from an act or omission on a

federal enclave, or of any officer of the U.S. or any agency or person acting under him occurring

under color of such office). No claim of admiralty or maritime law is raised. Plaintiffs sue no

foreign state or agency. The damages that are sought by the Plaintiffs, exclusive of interests and

costs, exceed the minimum jurisdictional limits of this Court.

                                 III. FACTUAL BACKGROUND

8.     THOMAS KELLY and MICHAEL KRZESZEWSKI are citizens of New York and New

Jersey who developed Non-Hodgkin Lymphoma ("NHL") after being exposed to chemical

products designed, manufactured, and distributed by Old Monsanto. Specifically, Plaintiffs and

Decedents have had substantial dietary and other environmental exposure to polychlorinated

biphenyls ("PCBs"), manufactured by the original Monsanto Co. ("Old Monsanto" a/k/a

"Pharmacia").




PLAINTIFF’ S ORIGINAL PETITION                                                                   3
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9.     From 1901 to 1997 the original Monsanto Co., also known as Monsanto Chemical Co.,

operated as a Missouri corporation manufacturing a variety of chemicals and agricultural products.

This original corporate Monsanto entity, which is now sometimes referred to as "Old Monsanto,"

ceased to exist in 1997 as the result of a series of corporate spin-offs and acquisitions. At that

time, Old Monsanto’s chemical division was split off and reformed into a newly-independent

corporation, which was renamed "Solutia, Inc." one of the Defendants in this action. As part of

this 1997 spin-off, Solutia assumed certain of Old Monsanto’s debts and liabilities, including all

liabilities related to Old Monsanto’s production and sale of PCBs. Although Solutia was recently

reorganized pursuant to Chapter 11 of the federal bankruptcy laws, it emerged from bankruptcy in

February 2008.

10.    In 2000, the remaining portion of Old Monsanto, comprised of Old Monsanto’s Life

Sciences division, merged with Pharmacia/Upjohn Corp., which meant that Old Monsanto no

longer existed as a separate corporate entity.   Defendant Pharmacia then incorporated a new

company in Delaware, also called "Monsanto Co.," which is now referred to as "New Monsanto,"

the other Defendant in this case.   In 2002, Defendant Pharmacia spun off its interest in New

Monsanto, and New Monsanto now operates as an independent corporate entity with its corporate

headquarters and principal place of business in St. Louis, Missouri.

11.    In 2003, Defendant Pharmacia (what remained of"Old Monsanto") was acquired by Pfizer,

Inc.


12.    In 2012, Pharmacia merged with another Pfizer subsidiary, called Pfizer Convention III,

LLC.   The surviving corporation was renamed as Pharmacia LLC. Defendant Pharmacia is

headquartered and has its principal place of business at 100 Route 206 North, Peapack NJ 07977.




PLAINTIFF’ S ORIGINAL PETITION                                                                4
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13.    As part of Solutia’s federal bankruptcy plan of reorganization, New Monsanto agreed to

indemnify Solutia for all tort "legacy liabilities" related to Old Monsanto’s activities, including

the production and sale of PCBs. As a result of these various transactions, Defendants Pharmacia,

Solutia and Monsanto collectively have legal responsibility for Old Monsanto’s conduct in the

production, sale, and distribution of PCBs, which is the subj ect of Plaintiffs’ claims in this case.

14.    PCBs are a class of 209 discrete chemical compounds, called congeners, in which one to

ten chlorine atoms are attached to biphenyl. From 1929, when Monsanto’s predecessor Swann

Chemical Co. (which merged into Monsanto in 1935) first began producing PCBs, until 1977,

when Congress banned the manufacture of PCBs, Monsanto produced and sold more than 99

percent of all the PCBs that were ever sold in the United States. Over those six decades, Monsanto

sold those PCBs as liquid mixtures, under the trade name "Aroclor," to a variety of industrial

customers, for a wide variety of industrial uses. Each of Monsanto’s Aroclor products contained

a combination of different PCB congeners.

15.    Many of Monsanto’ s PCBs were used by its customers as insulating fluids, also known as

"dielectric fluids," in certain electrical equipment, including high-temperature transformers and

capacitors. These applications for PCBs in transformers and capacitors are known as "closed

applications," or "closed uses." However, Monsanto’s Aroclor and other PCB products were also

marketed and sold for many other applications, including in inks, paints, dedusting agents,

pesticides, plasticizers, hydraulic fluids, lubricants, adhesives, heat transfer fluids, and carbonless

copy paper. Collectively, these applications for PCBs in every product other than transformers

and capacitors are known as "open applications," and/or "non-controllable applications." These

applications have been described as "open" and "non-controllable" because the PCBs contained

in those products are open to the environment and releases of PCBs to the environment during use




PLAINTIFF’ S ORIGINAL PETITION                                                                     5
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of such products cannot be controlled. In 1970, more than 40 percent of Monsanto’s PCBs were

sold for purposes other than "closed applications" in electrical equipment. From 1971 to 1977,

Monsanto sold PCBs exclusively for "closed applications," that is, as insulating fluid in

transformers and capacitors.

16.    Like other chlorinated organic compounds, such as dioxins, which are collectively known

as "organochlorines," PCBs are considered "persistent organic pollutants," because they do not

readily degrade in the environment after disposal, and they are not easily metabolized or broken

down by humans or animals after absorption. PCBs are lipophilic, and are stored in the fat tissue

of humans and animals who have been exposed. Because PCBs were dumped into the environment

over decades by Monsanto, its customers, and the end users of various PCB-containing products,

PCBs are now ubiquitous in the environment. PCBs can be found in most animals, as well as in

water, soil, sediment, and numerous other environmental media. Thus, measurable quantities of

PCBs are typically found in most of the foods that most Americans consume on a daily basis,

including fish, beef, poultry, dairy products, and event fruits and vegetables. Throughout the six

decades that Monsanto produced and sold PCBs, the company knew or should have known that its

PCBs sold for open or non-controllable applications would ultimately result in the release of those

PCBs into the environment.

17.    Because Monsanto’ s PCBs have contaminated the food chain and continue to be ubiquitous

contaminants of the air, water, and soil, all Americans, including Plaintiffs, have been substantially

exposed to Monsanto’s PCBs sold for open and non-controllable applications, through diet and

other environmental exposures. Although Monsanto’s PCBs were incorporated into many other

products before being released into the environment, those PCBs themselves, to which Plaintiffs




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and Decedents have been exposed, are substantially the same chemicals as when they left

Monsanto’s possession.

18.     Throughout the decades during which Monsanto produced PCBs, the company was aware

that exposure to PCBs carried significant health risks. Despite this knowledge, and despite the

availability of substitute products, Monsanto continued to produce and market PCBs for open and

non-controllable applications, while hiding from the public, its customers, and applicable

governmental authorities the true health risks associated with PCBs. Such conduct was despicable

and done with a willful disregard of the rights and safety of others. In other words, Monsanto was

aware that its continued production and sale of PCBs for open and non-controllable applications

would result in probable dangerous consequences in the form of environmental devastation and

significant health risks for users and others exposed to its PCBs, and Monsanto deliberately chose

to market its PCBs for such open and non-controllable applications over the course of decades,

despite this knowledge.

                                     IV. DISCOVERY RULE

19.     Plaintiffs hereby plead and invoke the "discovery rule." Plaintiffs will show that after

reasonably exercising due diligence, they did not learn the nature of the cause of their cancer or

that such cancer was chemically-related until less than two years prior to the filing of the Plaintiffs’

and Decedents’ causes of action herein. Plaintiffs also specifically invoke the Federally Required

Commencement Date, pursuant to 42 U.S.C. § 9658.




PLAINTIFF’ S ORIGINAL PETITION                                                                      7
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                                V. CAUSE OF ACTION:
                        STRICT LIABILITY FOR DESIGN DEFECT

20.     Plaintiffs incorporate herein each allegation set forth above. Because Plaintiffs and

Decedents were exposed to Monsanto’s PCBs and developed Non-Hodgkin Lymphoma while

living in New York and New Jersey, their claims for compensatory damages in this case are

governed by the laws in those states.

21.     Plaintiffs allege that Monsanto’s various PCB products sold for open and non-controllable

applications were unreasonably dangerous, and that those unreasonably dangerous products were

a proximate and producing cause, and a substantial factor in the development of each Plaintiff s

and Decedent’s NHL. Specifically, Plaintiffs allege that Monsanto sold its PCBs under the trade

name Aroclor (and other trade names) for use in a wide variety of open and non-controllable

applications. Through the foreseeable environmental releases of those PCBs by Monsanto itself,

by its customers, and by end users, Monsanto’s PCBs sold for open and non-controllable

applications ultimately made their way to the environment and to the food chain. Throughout the

time that Monsanto marketed its unreasonably dangerous Aroclor products for open and non-

controllable applications, there were safer alternatives to PCBs available for the same or similar

applications. Because of the persistence of PCBs, those PCBs sold for open and non-controllable

applications to which Plaintiffs and Decedents were environmentally exposed were in substantially

the same condition as when Monsanto sold them.         Plaintiffs’ and Decedents’ environmental

exposures to Monsanto’s PCBs sold for open and non-controllable applications were a proximate

and producing cause of Plaintiffs’ and Decedents’ NHLs, and were also a substantial factor in the

development of those cancers.




PLAINTIFF’ S ORIGINAL PETITION                                                                8
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                          VI. CAUSE OF ACTION: NEGLIGENCE

22.    Plaintiffs incorporate herein each allegation set forth above.

23.    Monsanto’s decisions to market and distribute its various PCB products for open and non-

controllable applications were negligent. As described above, for decades, the company was aware

of the hazards of PCBs, and either knew or should have known that its PCBs sold for open and

non-controllable applications would be released into the environment. Monsanto also knew or

should have known that those PCBs would persist in the environment and bioaccumulate in the

food chain and in people, and that such environmental exposures could injure people in the general

population who were so exposed. Despite this actual and constructive knowledge, and despite the

availability of numerous alternatives to PCBs for each of these open and non-controllable

applications, Monsanto continued to market PCBs for those purposes through 1970 (and, as to

certain open and non-controllable applications, through 1971).      Monsanto’s ongoing negligent

decisions to market and distribute those PCBs for open and non-controllable applications for

decades led to Plaintiffs’ and Decedents’ environmental exposures, and were a producing cause,

proximate cause, and substantial factor in the development of Plaintiffs’ and Decedents’ NHLs.

24.    The Plaintiffs and Decedents were all exposed to Monsanto’s PCBs sold for open and non-

controllable applications less than 15 years after Monsanto sold them, but the symptoms of

Plaintiffs’ and Decedents’ cancers did not manifest within that time frame.

                                        VII. DAMAGES

25.    As a direct and proximate result of Defendants’ conduct described above, PLAINTIFFS

THOMAS KELLY and MICHAEL KRZESZEWSKI sustained damages, including past and

future medical expenses, past and future pain and suffering, past and future mental anguish and

disfigurement, past and future earnings loss and all other applicable damages. As a result of




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Defendants’ complete indifference or conscious disregard for the safety of others, malice and

oppression described above, Plaintiffs hereby seek punitive damages.

                                 VIII. PRAYER FOR RELIEF

26.    WHEREFORE, Plaintiffs pray judgment against all Defendants, joint and severally, herein

for all actual damages, punitive damages, pre-judgment and post-judgment interest, costs of suit,

and all such other and further relief to which Plaintiffs may show themselves to be justly entitled.

                                      IX. JURY DEMAND

27.    PLAINTIFFS DEMAND A TRIAL BY JURY OF TWELVE ON ALL COUNTS.


                                              Respectfully submitted,




                                        By:   /s/John G. Simon

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 15    Attorneys for Plaintiff City of San Diego
 16


 17                          UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF CALIFORNIA
 18


 19    CITY OF SAN DIEGO, a municipal
       corporation;                                     Case No. 315-cv-00578-WQH-JLB
 2O
             Plaintiff,
 21                                                    PLAINTIFF’S FIRST AMENDED
       Vo
                                                       COMPLAINT
 22

 23    MONSANTO COMPANY,
       SOLUTIA INC., and                               Assigned to Judge William Q. Hayes
       PHARMACIA CORPORATION,                          File Date: March 13, 2015
 25

 26
             Defendants.

 27

 28




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  1
               Plaintiff the CITY OF SAN DIEGO ("the City") hereby alleges, upon
  2
       information and belief, as follows:
  3
       I.    INTRODUCTION
  4~
       1.    Polychlorinated biphenyls (or "PCBs’) are man-made chemical compounds
  5
              that have become notorious as global environmental contaminants - found
  6
              in bays, oceans, rivers, streams, soil, and air. In humans, PCB exposure is
  7
              associated with cancer as well as serious non-cancer health effects,
  8
              including effects on the immune system, reproductive system, nervous
  9
              system, endocrine system and other health effects. In addition, PCBs can
 10
              impair and even destroy populations of fish, birds, and other animals.
 11
       2.    Monsanto Company was the sole manufacturer of PCBs in the United States
 12
              from 1935 to 1979, and trademarked the name "Aroclor" for certain PCB
 13
              compounds. Although Monsanto knew for decades that PCBs were toxic,
 14~
              knew that they could not be contained and as a result were widely
 15
              contaminating all natural resources and living organisms, and knew that
 16
              there was no safe way to dispose of PCBs, Monsanto concealed these facts
 17
              and continued producing PCBs until Congress enacted the Toxic Substances
 18
              Control Act ("TSCA’), which banned the manufacture of and most uses of
 19
              PCBs.
 2O
       3.    PCBs have been found in and around San Diego Bay ("the Bay") at levels
 21
              that require cleanup in certain areas. At different times and locations, PCBs
 22
              have been detected in the Bay’s water, sediments, fish, and lobsters. PCBs
 23
              entered the Bay through a variety of ways. PCBs regularly leach, leak, off-

              gas, and escape their intended applications into air, soil, and water. PCBs
 25
              also leach from landfills and other disposal locations and enter the Bay with
 26
              stormwater and other runoff.
 27
       4.    As a public property owner and former trustee of the Bay, Plaintiff seeks to
 28
              abate the contamination, to recover damages for injuries to property, and to



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  1          recover all past and future costs associated with investigating and removing
  2          PCBs from in and around the Bay and preventing future injuries.
  3    II.   PARTIES
  4~               A.     Plaintiff
  5          Plaintiff City is a California Charter City and municipal corporation, duly
  6          organized and existing by virtue of the laws of the State of California. The
  7          City was the trustee of certain relevant tidelands and submerged lands in
  8          and around the Bay from the early 1900s through 1963, when that property
  9          was transferred to the Port District.
 10          Plaintiff brings this suit pursuant to California Code of Civil Procedure 731,
 11          and California Civil Code sections 3479, 3480, 3491, 3493, and 3494 and
 12          any other applicable codes or sources of relief available for monetary
 13          damages and abatement of the public nuisance caused by PCBs in the Bay.
 14~               B.     Defendants
 15          Defendant Monsanto Company is a Delaware corporation with its principal
 16          place of business in St. Louis, Missouri.
 17          Defendant Solutia Inc. (’°Solutia") is a Delaware corporation with its
 18          headquarters and principal place of business in St. Louis, Missouri.
 19          Defendant Pharmacia LLC (formerly known as ’°Pharmacia Corporation"
 2O          and successor to the original Monsanto Company) is a Delaware LLC with
 21          its principal place of business in Peapack, New Jersey. Pharmacia is now a
 22          wholly-owned subsidiary of Pfizer, Inc.
 23      o   The original Monsanto Company ("Old Monsanto") operated an agricultural
             products business, a pharmaceutical and nutrition business, and a chemical
 25          products business. Old Monsanto began manufacturing PCBs in the 1930s
 26          and continued to manufacture commercial PCBs until the late 1970s.
 27          Through a series of transactions beginning in approximately 1997, Old
 28          Monsanto’s businesses were spun off to form three separate corporations.



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  1             The corporation now known as Monsanto operates Old Monsanto’s
  2             agricultural products business. Old Monsanto’s chemical products business
  3             is now operated by Solutia.        Old Monsanto’s pharmaceuticals business is
  4~            now operated by Pharmacia.
  5    12.      Solutia was organized by Old Monsanto to own and operate its chemical
  6             manufacturing business.         Solutia assumed the operations, assets, and
  7             liabilities of Old Monsanto’s chemicals business.1
  8    13.      Although Solutia assumed and agreed to indemnify Pharmacia (then known
  9             as Monsanto Company) for certain liabilities related to the chemicals
 10             business, Defendants have entered into agreements to share or apportion
 11             liabilities, and/or to indemnify one or more entity, for claims arising from
 12             Old Monsanto’s chemical business - including the manufacture and sale of
 13             PCBs.2
 14~   14.      In 2003, Solutia filed a voluntary petition for reorganization under Chapter
 15             11 of the U.S. Bankruptcy Code. Solutia’s reorganization was completed in
 16             2008.    In connection with Solutia’s Plan of Reorganization, Solutia,
 17             Pharmacia and New Monsanto entered into several agreements under which
 18             Monsanto continues to manage and assumed financial responsibility for
 19             certain tort litigation and environmental remediation related to the
 2O             Chemicals Business.3
 21

       1
 22        See MONSANTO COMPANY’S ANSWER TO THE COMPLAINT AND JURY DEMAND,
       Town of Lexinjzton v. Pharmacia Corp., Solutia, Inc., and Monsanto Comp,any,
 23    C.A. No. 12-CV-11645, D. Mass. (October 8, 2013); see also Relationships
       ,Among Monsanto Company, Pharmacia Corporation, Pfizer Inc., and Solutia Inc.,
       latt.p://www.mon santo .com/whoweare/pages/monsanto-relationships-pfizer-
       solutia.aspx (last accessed February 20, 2014).
 25
           See id.
 26
        See Monsanto s Form 8-K (March 24,~ 2008), and Form 10-.Q (June 27, 2008),
 27    available at http://www.monsanto.com/investors/pages/sec-fihngs.aspx (last
       accessed February 20, 2014).
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  1     o    Monsanto, Solutia, and Pharmacia are collectively referred to in this
  2          Complaint as "Defendants" or "Monsanto."
  3          JURISDICTION AND VENUE
  4~         This Court has jurisdiction pursuant to 28 U.S.C. §1332 because complete
  5          diversity exists between Plaintiff and Defendants.                  Plaintiff is located in
  6          California, but no Defendant is a citizen of California. Monsanto Company
  7          is a Delaware corporation with its principal place of business in St. Louis,
  8          Missouri.    Solutia is a Delaware corporation with its principal place of
  9          business in St. Louis, Missouri. Pharmacia is a Delaware limited liability
 10          company with its principal place of business in Peapack, New Jersey.
 11     °    Venue is appropriate in this judicial district pursuant to 28 U.S.C. § 1391(a)
 12          because a substantial part of the property that is the subject of the action is
 13          situated in this judicial district.
 14~   IV.   FACTUAL ALLEGATIONS
 15                 A.     PCBs are Toxic Chemicals that Cannot Be Contained and
                           that Cause Environmental Contamination.
 16


 17     o    Polychlorinated biphenyl, or "PCB," is a molecule comprised of chlorine
 18          atoms attached to a double carbon-hydrogen ring (a "biphenyl" ring).                     A
 19          "PCB congener" is any single, unique chemical compound in the PCB
 2O          category. Over two hundred congeners have been identified)
 21     °    PCBs were generally manufactured as mixtures of congeners.                           From
 22          approximately 1935 to 1979, Monsanto Company was the only manufacturer
 23          in the United States that intentionally produced PCBs for commercial use.5


 25
       4 Table of PCB Congeners, available at http://www.epa.gov/epawaste/hazard/tsd/
       pcbs! pubs/congeners.htm (last accessed February 20, 2012[).
 26
       5 See 116 C~ong. Record 11695, 91St Congress¢ (April 14, 1970) (’~Insofar as the
 27    Monsanto Co., thethsole manufacturer of PCB s is concerned .... "); 121 Cong.
       Record 33879, 9~ Congress, (October 23, 1975)_ ("The sole U.S.~produqer,
 28    Monsanto Co,: .... ). See a,,lso MONS 058730-058752 at 058733 (identitying other
       producers as all ex-USA. ), attached as Exhibit A.


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  1          The most common trade name for PCBs in the United States was "Aroclor,"
  2          which was trademarked by Old Monsanto.
  3    20.   Monsanto’s commercially-produced PCBs were used in a wide range of
  4~         industrial applications in the United States, including electrical equipment
  5          such as transformers, motor start capacitors and lighting ballasts.                   In
  6          addition, PCBs were incorporated into a variety of products such as caulks,
  7          paints and sealants.
  8    21.   As used in this Complaint, the terms "PCB," "PCBs," "PCB-containing
  9          products," and "PCB products" refer to products containing polychlorinated
 10          biphenyl congener(s) manufactured for placement into trade or commerce,
 11          including any product that forms a component part of or that is subsequently
 12          incorporated into another product.
 13    22.   PCBs easily migrate or leach out of their original source material or
 14~         enclosure and contaminate nearby surfaces, air, water, soil and other
 15          materials. For example, PCB compounds volatilize out of building materials
 16          (such as caulk) into surrounding materials such as masonry, wood, drywall
 17          and soil, thereby causing damage to those surrounding materials. PCBs can
 18          also escape from totally-enclosed materials (such as light ballasts) and
 19          similarly contaminate and damage surrounding materials and escape into the
 2O          environment.
 21    23.   PCBs present serious risks to the health of humans, wildlife and the
 22          environment.
 23    24.   Humans may be exposed to PCBs through ingestion, inhalation and dermal

             contact. Individuals may inhale PCBs that are emitted into the air. They
 25          may also ingest PCBs that are emitted into air and settle onto surfaces that
 26          come into contact with food or drinks. And humans may absorb PCBs from
 27          physical contact with PCBs or PCB-containing materials.
 28    25.   EPA    has   determined     that    Monsanto’s         PCBs       are   probable   human



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  1          carcinogens. In 1996, EPA reassessed PCB carcinogenicity, based on data
  2          related to Aroclors 1016, 1242, 1254 and 1260.6 EPA’s cancer reassessment
  3          was peer reviewed by 15 experts on PCBs, including scientists from
  4~         government, academia and industry, all of whom agreed that PCBs are
  5          probable human carcinogens.
  6    26.   The International Agency for Research on Cancer published an assessment
  7          in 2015 that asserts an even stronger relationship between PCBs and human
  8          cancer. The report explains: "There is sufficient evidence in humans for the
  9          carcinogenicity of polychlorinated biphenyls (PCBs). PCBs cause malignant
 10          melanoma. Positive associations have been observed for non-Hodgkin
 11          lymphoma and cancer of the breast .... PCBs are carcinogenic to
 12          humans .... ,,7
 13    27.   In addition, EPA concluded that PCBs are associated with serious non-
 14~         cancer health effects. From extensive studies of animals and primates using
 15          environmentally relevant doses, EPA has found evidence that PCBs exert
 16          significant toxic effects, including effects on the immune system, the
 17          reproductive system, the nervous system and the endocrine system.
 18    28.   PCBs are known to be toxic to a number of aquatic species and wildlife
 19          including fish, marine mammals, reptiles, amphibians and birds.            The
 2O          presence of PCBs can cause changes in community and ecosystem structure
 21

 22

 23
       6 EPA, PCBs: Cancer Dose-Response Assessment and Application to
       .Environmental Mixtures, EPA/600/P-96/001F (September 1996), available at
       http://www.epa.gov/epawaste/hazard/tsd/pcbs/pubs/pcb.pdf (last accessed May 5,
 25    2014).
 26    7 International Agency for Research on Cancer. IARC monographs on the
 27    evaluation of carcinogenic risks to humans, volume 107. Polychlorinated and
       Polybrominated Biphenyls (2015), available at
 28
       http://monographs.iarc.fr/ENG/Monographs/vol107/(last accessed July 31, 2015).



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  1          and function.8
  2                B.      Monsanto Has Long Known of PCBs’ Toxicity.
  3    29.   Monsanto was well aware of scientific literature published in the 1930s that
  4~         established that inhalation in industrial settings resulted in toxic systemic
  5          effects.9
  6    30.   An October 11, 1937, Monsanto memorandum advises that "Experimental
  7          work in animals shows that prolonged exposure to Aroclor vapors evolved
  8          at high temperatures or by repeated oral ingestion will lead to systemic
  9          toxic effects. Repeated bodily contact with the liquid Aroclors may lead to
 10          an acne-form skin eruption."1°
 11    31.   A September 20, 1955, memo from Emmet Kelly set out Monsanto’s
 12          position with respect to PCB toxicity: "We know Aroclors are toxic but the
 13           actual limit has not been precisely defined.             It does not make too much
 14~          difference, it seems to me, because our main worry is what will happen if
 15           an individual developes [sic] any type of liver disease and gives a history of
 16          Aroclor exposure.     I am sure the juries would not pay a great deal of
 17           attention to [maximum allowable concentrates]."11
 18    32.    On November 14, 1955, Monsanto’s Medical Department provided an
 19          opinion that workers should not be allowed to eat lunch in the Aroclor
 2O          department:
 21

 22

 23
       ~Se.e EPA, Understanding PCB Risks, available at http://www.epa.gov/housatonic./
       understandingpcbrisks.html#WildlifeEcologicalRiskAssessment (last accessed
       March 5, 2015).
 25    9 See Exhibits B, C and F.
 26    10 MONS 061332, attached as Exhibit B.
 27    11 MONS 095196-7, attached as Exhibit C.
 28




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  1            It has long been the opinion of the Medical Department that eating in
  2
               process departments is a potentially hazardous procedure that could
               lead to serious difficulties. While the Aroclors are not particularly
  3            hazardous from our own experience, this is a difficult problem to
  4~
               define because early literature work claimed that chlorinated
               biphenyls were quite toxic materials by ingestion or inhalation.12
  5

  6    33.     On January 21, 1957, Emmet Kelly reported that after conducting its own
  7             tests, the U.S. Navy decided against using Monsanto’s Aroclors:              "No
  8             matter how we discussed the situation, it was impossible to change their
  9             thinking that Pydraul 150 [which contained PCBs] is just too toxic for use
 10             in a submarine.’’13
 11    34.      In 1966, Kelly reviewed a presentation by Swedish researcher Soren
 12             Jensen, who stated that PCBs "appeared to be the most injurious chlorinated
 13             compounds of all tested.’’14 Jensen refers to a 1939 study associating PCBs
 14~            with the deaths of three young workers and concluding that "pregnant
 15             women and persons who have at any time had any liver disease are
 16             particularly susceptible.’’15 Kelly does not dispute any of Jensen’s remarks,
 17             noting only, "As far as the section on toxicology is concerned, it is true that
 18             chloracne and liver trouble can result from large doses.’’16
 19    35.      At the same time, Monsanto was promoting the use and sale of Aroclor and
 2O             other PCB compounds. In a 1960 brochure, Monsanto promoted the use of
 21             Aroclors in transformers and capacitors, utility transmission lines, home
 22             appliances, electric motors, fluorescent light ballasts, wire or cable coatings,
 23
       12 Monsanto Chemical Company, Memorandum to H.B. Patrick,
                                                                                     November 14,
       1955 (no Bates number), attachedas Exhibit D.
 25    13 MONS 095640, attached as Exhibit E.
 26    14
            See JDGFOX00000037-63, attached as Exhibit F.
 27    1~
            Id. at JDGFOX00000039.
 28    16
            Id. at JDGFOX00000037.



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  1          impregnants for insulation, dielectric sealants, chemical processing vessels,
  2          food cookers, potato chip fryers, drying ovens, thermostats, furnaces and
  3          vacuum diffusion pumps.            Aroclors could also be used, the brochure
  4~         advertised, as a component of automotive transmission oil; insecticides;
  5          natural waxes used in dental casting, aircraft parts, and jewelry; abrasives;
  6          specialized lubricants; industrial cutting oils; adhesives; moisture-proof
  7          coatings; printing inks; papers; mastics; sealant; caulking compounds; tack
  8          coatings; plasticizers; resin; asphalt; paints, varnishes, and lacquers;
  9          masonry coatings for swimming pools, stucco homes, and highway paints;
 10          protective and decorative coatings for steel structures, railway tank and
 11          gondola cars; wood and metal maritime equipment; and coatings for
 12          chemical plants, boas, and highway marking,iv

 13    36.   A 1961 brochure explained that Monsanto’s Aroclors were being used in
 14~         "lacquers for women’s shoes," as % wax for the flame proofing of
 15          Christmas trees," as "floor wax," as an adhesive for bookbinding, leather,
 16          and shoes, and as invisible marking ink used to make chenille rugs and
 17          spreads,is

 18    37.   Thus, by February 1961, at the latest, Monsanto knew that its Aroclors were
 19          being used in a variety of industrial, commercial, household, and consumer
 2O          goods.       Moreover, Monsanto affirmatively encouraged these uses by
 21          encouraging salesmen to market products for these and other applications.
 22    38.   Years later, in 1970, Monsanto tried to distance itself from the variety of
 23          applications of Aroclors that it proudly espoused a few years before. In a

             press release, the company claimed: "What should be emphasized ... is that
 25          PCB was developed over 40 years ago primarily for use as a coolant in
 26
       17 The Aroclor Compounds (hand-dated May 1960), 0509822-66, attached
 27                                                                         as
       Exhibit S.
 28
        Plasticizer Patter (February 1961), 0627503-21, attached as Exhibit T.



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  1              electrical transformers and capacitors. It is also used in commercial heating
  2              and cooling systems. It is not a ’household’ item.’’19
  3
        39.      In 1975, William Papageorge, then Monsanto’s manager of product
  4~
                 acceptability, admitted that PCBs had been used in all types of products.
  5
                 Papageorge testified at a Public Hearing Before the Department of Natural
  6
                 Resources that "[t]he past uses [of PCBs] . . . were many and varied ....
  7
                 They go on and on. Virtually anything you can imagine, at one time or
  8
                 other, someone tried PCB’s in them.’’:2°
  9


 10
                 Co    Monsanto Has Long Known that PCBs Were "Global
                       Contaminants" Causing Harm to Animals and Fish.
 11


 12     40.      Monsanto also knew that PCBs were causing widespread contamination of

 13              the environment, far beyond the areas of its use.

 14~    41.      Monsanto’s Medical Director reviewed an article by Swedish researcher

 15              Soren Jensen, who reported the detection of PCBs in the tissues of fish and

 16
                 wildlife in Sweden):2 The report noted that PCBs were also detected in the

 17              air over London and Hamburg and found in seals caught off the coast of

 18
                 Scotland. Jensen concluded that PCBs can "be presumed to be widespread

 19
                 throughout the world.’’:23

 2O


 21    19 See Press release (July 16, 1970), MCL000647-50, attached as Exhibit V, at
 22
       MCL000648.
       2o See Declaration ofKathleen L. Roach, Exhibit 43, (Document 681-43), Appleton
 23
       Papers, Inc. and NCR Corp. v. George A. Whiting Paper Co., Case 2:08-cv-00016-
       WCG (E.D. Wis.), attached as Exhibit W.
 25    :21 See Exhibits G, H and L.
 26
       :2:2 New Scientist (Dec. 15, 1966), MONSFOX00003427, attached as Exhibit G.
 27    :23 ]d.

 28




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  1    42.      A December 1968 article by Richard Risebrough identified chlorinated
  2             hydrocarbons (which include PCBs) as "the most abundant synthetic
  3             pollutants present in the global environment.’’24 The article reported finding
  4~            significant concentrations of PCBs in the bodies and eggs of peregrine
  5             falcons and 34 other bird species.          The report linked PCBs to the rapid
  6             decline in peregrine falcon populations in the United States.
  7    43.      Despite growing evidence of PCBs’ infiltration of every level of the global
  8             ecology, Monsanto remained steadfast in its production of Aroclors and
  9             other PCBs.
 10    44.      On March 6, 1969, Monsanto Research Center employee W.R. Richard
 11             wrote a memorandum discussing Risebrough’s article that criticized PCBs
 12             as a "toxic substance," "widely spread by air-water; therefore, an
 13             uncontrollable pollutant ... causing extinction of peregrine falcon ... [and]
 14~            endangering man himself.’’25 Richard explained that Monsanto could take
 15             steps to reduce PCB releases from its own plants but cautioned, "It will be
 16             still more difficult to control other end uses such as cutting oils, adhesives,
 17             plastics, and NCR paper.       In this applications exposure to consumers is
 18             greater and the disposal problem becomes complex.’’26
 19    45.      On September 9, 1969, W.R. Richard, by then a member of the newly-
 2O             formed Aroclor "Ad Hoc" Committee, wrote an interoffice memo titled
 21             "Defense of Aroclor.’’27     He acknowledged the role of Aroclor in water
 22             pollution:    "Aroclor product is refractive, will settle out on solids -
 23             sewerage sludge - river bottoms, and apparently has a long life." He noted

       24 R.W. Risebrough, Polychlorinated Biphenls in the Global Ecosystem, Nature,
 25
       Vol. 220 (December 14, i968), attached as Exhibit H.
 26    25 MONS 096509-096511, attached as Exhibit I.
 27    26 ]d.

 28    27 DSW 014256-014263, attached as Exhibit J.



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  1             that Aroclors 1254 and 1260 had been found along the Gulf Coast of
  2             Florida causing a problem with shrimp; in San Francisco Bay, where it was
  3             reported to thin egg shells in birds; and in the Great Lakes. Richard advised
  4~            that the company could not defend itself against all criticism: "We can’t
  5             defend vs. everything.      Some animals or fish or insects will be harmed.
  6             Aroclor degradation rate will be slow. Tough to defend against. Higher
  7             chlorination compounds will be worse [than] lower chlorine compounds.
  8             Therefore we will have to restrict uses and clean-up as much as we can,
  9             starting immediately.’’28
 10    46.      On January 29, 1970, Elmer Wheeler of Monsanto’s Medical Department
 11             and Chairman of the Aroclor "Ad Hoc" Committee circulated laboratory
 12             reports discussing results of animal studies. He noted: "Our interpretation
 13             is that the PCB’s are exhibiting a greater degree of toxicity in this chronic
 14~            study than we had anticipated.          Secondly, although there are variations
 15             depending on species of animals, the PCB’s are about the same as DDT in
 16             mammals. ,,29
 17    47.      In a PCB Presentation to Corporate Development Committee, Monsanto
 18             expressed a desire to keep profiting from PCBs despite the environmental
 19             havoc. The report suggests possible reactions to the contamination issue. It
 2O             considered that doing nothing was "unacceptable from a legal, moral, and
 21             customer public relations and company policy viewpoint." But the option
 22             of going out of the Aroclor business was also considered unacceptable:
 23




 25

 26    2S ]d.

 27
       29 MONS 098480, attached as Exhibit K.
 28




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  1           "there is too much customer/market need and selfishly too much Monsanto
  2           profit to go out.’’3°
  3    48.    Monsanto formed an "Aroclor ’Ad Hoc’ Committee" to investigate the
  4~          pollution caused by PCBs. The Aroclor "Ad Hoc" Committee held its first
  5           meeting on September 5, 1969.                The committee’s objectives were to
  6           continue sales and profits of Aroclors in light of the fact that PCB "may be
  7           a global contaminant.’’31 The meeting minutes acknowledge that PCB has
  8           been found in fish, oysters, shrimp, birds, along coastlines of industrialized
  9           areas such as Great Britain, Sweden, Rhine River, low countries, Lake
 10           Michigan, Pensacola Bay, and in Western wildlife.                    Moreover, the
 11           committee implicated the normal use of PCB-containing products as the
 12           cause of the problem:        "In one application alone (highway paints), one
 13           million lbs/year [of PCBs] are used. Through abrasion and leaching we can
 14~          assume that nearly all of this Aroclor winds up in the environment.’’32
 15    49.    A month later, on October 2, 1969, the Committee reported extensive
 16           environmental contamination. The Committee advised that Monsanto could
 17           not protect the environment from Aroclors as "global" contaminants but
 18           could protect the continued manufacture and sale of Aroclors:
 19          The committee believes that there is little probability that any action
             that can be taken will prevent the growing incrimination of specific
 2O
             polychlorinated biphenyls (the higher chlorinated -- e.g. Aroclors
 21          1254 and 1260) as nearly global environmental contaminants leading
 22
             to contamination of human food (particularly fish), the killing of
             some marine species (shrimp), and the possible extinction of several
 23          species of fish eating birds.


 25

 26    30 Ex. A at 058737.
 27    31 Ex. K at 030483.
 28    32 !d. at 030485.



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  1             Secondly, the committee believes that there is no practical course of
  2
                action that can so effectively police the uses of these products as to
                prevent completely some environmental contamination.
  3
                There are, however, a number of actions which must be undertaken to
  4~
                prolong the manufacture, sale and use of these particular Aroclors as
  5             well as to protect the continued use of other members of the Aroclor
                series.33
  6
        50.     Monsanto’s desire to protect its Aroclor profits rather than the environment
  7
                 is reflected in the Committee’s stated objectives:
  8


  9               1.   Protect continued sales and profits of Aroclors;
                  2.   Permit continued development of new uses and sales, and
 10
                  3.   Protect the image of the Organic Division and the Corporation as
 11                    members of the business community recognizing their responsibilities
                       to prevent and/or control contamination of the global ecosystem.34
 12
        51.      An interoffice memorandum circulated on February 16, 1970, provided
 13
                talking points for discussions with customers in response to Monsanto’s
 14~

                 decision to eliminate Aroclors 1254 and 1260:               "We (your customer and
 15
                Monsanto) are not interested in using a product which may present a
 16

                problem to our environment." Nevertheless, the memo acknowledges that
 17
                Monsanto "can’t afford to lose one dollar of business." To that end, it says,
 18

                 "We want to avoid any situation where a customer wants to return fluid ....
 19

                 We would prefer that the customer use up his current inventory and
 2O
                purchase [new products] when available. He will then top off with the new
 21
                 fluid and eventually all Aroclor 1254 and Aroclor 1260 will be out of his
 22
                 system. We don’t want to take fluid back.’’35
 23




 25

 26    33
            DSW 014612-014624, at 014615, attached as Exhibit M (emphasis added).
 27    34
            Id. at 014614.
 28    35
            MONS 100123-100124, attached as Exhibit N.



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  1     52.     Instead of having customers return fluids, Monsanto instructed its
  2             customers to dispose of PCB containing material in local landfills, knowing
  3             that landfills were not suitable for PCB contaminated waste. Monsanto had
  4~            determined that the only effective mothed of disposing of PCBs was
  5             incineration, and it constructed an incinerator for disposal of its own PCB
  6             contaminants. Nevertheless, as William Papageorge explained in his 1975
  7             testimony before the Department of Natural Resources,              Monsanto
  8             instructed its customers to dispose of PCB contaminated waste in landfills:
  9             "lacking that resource [a commercial incinerator], we have to reluctantly
 10             suggest, because we don’t have a better answer, that they find a well
 11             operated, properly operated landfill and dispose of the material in that
 12             fashion. ,,36
 13     53.     In 1970, the year after Monsanto formed the "ad hoc" committee, and
 14~            despite Monsanto’s knowledge of the global reach of PCB contamination,
 15             PCB production in the United States peaked at 85 million pounds.
 16     54.     Growing awareness of the ubiquitous nature of PCBs led the United States
 17             to conduct an investigation of health and environmental effects and
 18             contamination of food and other products. An interdepartmental task force
 19             concluded that PCBs were highly persistent, could bioaccumulate to
 2O             relatively high levels, and could have serious adverse health effects on
 21             human health.37
 22     55.     After that report, environmental sampling and studies indicated that PCBs
 23             were a "more serious and continuing environmental and health threat than


 25    36   Exhibit W at 29.
 26    37 EPA, Review of.PCB Levels in the Environm,~nt, EPA-56,,0,/7-76-001 (Janua~
 27    1976), available at http://nepis.epa.gov (search 560776001 ) (last accessed July
       31,2015).
 28




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  1               had been originally realized.’’38 To address these concerns, EPA undertook
  2               a study to assess PCB levels in the environment on a national basis. That
  3               study revealed widespread occurrence of PCBs in bottom sediments in
  4~              several states, including California.39
  5     56.       EPA’s study noted the particular burden on California.                 "PCBs have
  6               become a significant component of the marine food webs of southern
  7               California," were found in sediments in the Santa Barbara Basin, and found
  8               in high levels in the San Francisco Bay.4°
  9
                        D.    Monsanto  Concealed                the      Nature    of   PCBs   from
 10                           Governmental Entities.
 11

        57.       While the scientific community and Monsanto knew that PCBs were toxic
 12
                  and becoming a global contaminant, Monsanto repeatedly misrepresented
 13
                  these facts, telling governmental entities the exact opposite - that the
 14~

                  compounds were not toxic and that the company would not expect to find
 15
                  PCBs in the environment in a widespread manner.
 16

        58.       In a March 24, 1969 letter to Los Angeles County Air Pollution Control
 17
                  District, Monsanto advised that the Aroclor compounds "are not particularly
 18
                  toxic by oral ingestion or skin absorption.’~2 Addressing reports of PCBs
 19

                  found along the West Coast, Monsanto claimed ignorance as to their origin,
 2O
                  explaining that "very little [Aroclor] would normally be expected either in
 21

 22

       38]d. at 1.
 23
       39 ]d.,   passim.
       40 !at. at 78-9.
 25
       41 See Exhibits O-R (letters to governmental agencies).
 26
       42 Letter from Monsanto to Los Angeles County Air Pollution Control District
 27
       (March 24, 1969), attached as Exhibit O.
 28




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  1             the air or in the liquid discharges from a using industry.’’43 A similar letter
  2             to the San Francisco Bay Regional Water Quality Control Board explained
  3             that PCB plasticizers (found in surface coatings, such as paints, industrial
  4~            adhesives and window sealants), in normal use, present no special health
  5             problems" and that, "[i]n view of PCB’s chemical inertness, we would
  6             anticipate no problems associated with the environment from refuse
  7             dumps.’’44
  8     59.     In May 1969, Monsanto’s Manager, Environmental Health, Elmer Wheeler
  9             spoke with a representative of the National Air Pollution Control
 10             Administration, who promised to relay to Congress the message that
 11             Monsanto "cannot conceive how the PCBs can be getting into the
 12             environment in a widespread fashion.’’45
 13     60.     Monsanto delivered the same message to the New Jersey Department of
 14~            Conservation in July 1969, claiming first, "Based on available data,
 15             manufacturing and use experience, we do not believe the PCBs to be
 16             seriously toxic.’~6 The letter then reiterates Monsanto’s position regarding
 17             environmental contamination: "We are unable at this time to conceive of
 18             how the PCBs can become wide spread in the environment. It is certain that
 19             no applications to our knowledge have been made where the PCBs would
 2O


 21

 22

 23
       43 ]d.

       44 Letter from Monsanto to State of California Resources Agency (March 27,
       1969), attached as Exhibit P.
 25
       45 Monsanto Memorandum to W.R. Richard (May 26, 1969), attached as Exhibit
 26    Q.
 27
       46 Letter from Monsanto to Department of Conservation and Economic
       Development (July 23, 1969), attached as Exhibit R.
 28




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  1             be broadcast in the same fashion as the chlorinated hydrocarbon pesticides
  2             have been.’’4v
  3     61.     At the same time that Monsanto was downplaying the toxicity of PCBs and
  4~            inevitable widespread contamination caused by PCBs, its Aroclor ’°Ad Hoc"
  5             Committee acknowledged that there was nothing that could be done to
  6             prevent   PCBs      from     becoming        a    global     contaminant   leading    to
  7             contamination of the food supply, injuring marine life and possibly leading
  8             to the extinction of certain bird species.            The committee reported on the
  9             probability of success of actions Monsanto might undertake to address the
 10             PCB problem and provided:
 11             The committee believes there is little probability that any action that
 12
                can be taken will prevent the growing incrimination of specific
                polychlorinated biphenyls ... as nearly global environmental
 13             contaminants leading to the contamination of human food
 14~
                (particularly fish), the killing of some marine species (shrimp), and
                the possible extinction of several species of fish eating birds,as
 15


 16
        62.     Moreover, the committee acknowledged that no course of action could be

 17             taken to prevent products containing PCBs from contaminating the

 18
                environment, particularly waters and the marine environment.                         The

 19
                committee explained "the committee believes that there is no possible

 2O
                course of action that can so effectively police the uses of these PCB

 21
                containing products as to prevent completely some environmental

 22
                contamination.’~s      Further, the committee reported concern that vapor

 23
                losses from PCB containing products likely results in contamination of an



 25    47 ]d.

 26

 27    48 DSW 014612-014624, at 014615, attached as Exhibit M.

 28




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  1          aquatic environment because based on published reports "even minute
  2          quantities of [PCB] vapors are eventually transferred to the water
  3          environment and accumulated therein.’’49
  4~   63.   Exactly as Monsanto’s committee had acknowledged, PCBs have become a
  5          global contaminant and have accumulated in the waters of the Bay to the
  6          point where they are a public nuisance and require remediation and
  7          abatement.
  8          F.    The San Diego Bay is a 303(d) Impaired Body of Water for PCBs.
  9    64.   The Bay is one of the region’s most widely used natural resources, and the
 10          PCB contamination affects all San Diegans, who reasonably would be
 11          disturbed by the presence of a hazardous, banned substance in the sediment,
 12          water, and wildlife.
 13    65.   PCBs (specifically, Aroclor compounds 1254 and 1260) have been found in
 14~         samples of sediments and water taken from the Bay at varying times and
 15          locations, requiring substantial remediation work and cost.             In addition,
 16          PCBs have been identified in tissues of fish and lobster in the Bay.
 17    66.   PCBs are identified as a Primary Chemical of Concern ("COC") in
 18          California Regional Water Quality Control Board, San Diego Region
 19          ("Regional Water Board") Cleanup and Abatement Order ("CAO") No. R9-
 2O          2012-0024, dated March 14, 2012, which directed the City to, among other
 21          things, remediate PCB contaminated sediments within a discrete area
 22          known as the Shipyard Sediment Site.
 23    67.   Other areas of PCB deposition and impacts have been located, and it is

             probable that the Regional Water Board may                 order remediation of PCB
 25          contaminated sediments in other areas.
 26

 27

 28    49 ]d. at DWS 014618.




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  1    68.   The Regional Water Board estimated human health risks due to the
  2          consumption of PCB contaminated fish tissue found in the Bay and
  3          employed human fish consumption rates and bioaccumulation factors in the
  4~         analysis.
  5    69.   The Regional Water Board also concluded that human ingestion of seafood
  6          caught within certain assessment areas can significantly increase cancer
  7          risk, specifically identifying PCBs as a carcinogenic chemical.
  8    70.   PCBs have entered the Bay through various sources.               PCBs leach from
  9          landfills and are found in commercial and industrial waste water as a result
 10          of Monsanto’s directions to its customers on proper disposal methods when
 11          it knew, in fact, that disposal of PCBs in landfills was not proper. PCBs
 12          also leach out of paints, caulk, sealants and other applications and are
 13          transported by air and water to the Bay. Plaintiff also manages and operate
 14~         a municipal stormwater system, which collects and transports stormwater to
 15          be discharged into the Bay. In order to discharge stormwater into the Bay,
 16          Plaintiff is required to receive a Municipal Regional Stormwater Permit
 17          from the Regional Water Board, pursuant to the National Pollutant
 18          Discharge Elimination System under the Clean Water Act.
 19    71.   As former and current trustees of the Bay, and as stormwater dischargers
 2O          into the Bay, Plaintiff has spent substantial amounts of money to limit the
 21          amount of PCBs in the Bay. Plaintiff will also likely continue to incur costs
 22          to remove PCBs from the Bay and to keep PCBs from entering the Bay for
 23          the foreseeable future.
       72.   PCBs were not only a substantial factor in causing the City to incur costs
 25          and damages, but PCBs were also the primary driving force behind the need
 26          to clean up and abate the Shipyard Sediment Site. Without abatement of the
 27          health hazard caused by PCBs in the Bay, Plaintiff will continue to suffer
 28          injuries and damages.



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  1    73.   Monsanto’s conduct, as set forth above, was committed with malice,
  2          oppression and/or fraud, as those terms are defined in Civil Code § 3294.
  3          Monsanto’s conduct was despicable and in conscious disregard to the rights
  4~         and safety of others, including Plaintiff.           Monsanto’s despicable conduct
  5          has subjected unjust hardship in conscious disregard to Plaintiff, who is the
  6          former trustee of waters, sediments, and tideland properties in and
  7          surrounding the Bay.           Defendants intentionally misrepresented and
  8          concealed material facts from governmental entities in the state with the
  9          intent of causing injury.      In addition to Plaintiff’s entitlement to actual
 10          damages and request for abatement, Plaintiff is entitled to recover
 11          exemplary damages.
 12                              FIRST CAUSE OF ACTION
 13                         CONTINUING PUBLIC NUISANCE
 14~   74.   Plaintiff realleges and reaffirms each and every allegation set forth in all
 15          preceding paragraphs as if fully restated in this count.
 16    75.   Monsanto manufactured, distributed, marketed and promoted PCBs in a
 17          manner that created or participated in creating a continuing public nuisance
 18          that is harmful to health and obstructs the free use of the Bay. Monsanto
 19          also directed its customers and the public to dispose of PCB containing
 2O          materials improperly, resulting in PCBs leaching from landfills and entering
 21          the Bay.
 22    76.   The presence of PCBs interferes with the comfortable enjoyment of the Bay
 23          for its customary uses for commercial and sport fishing, swimming and
             other water activities.
 25    77.   The presence of PCBs interferes with the free use of the Bay for the
 26          promotion of commerce, navigation and fisheries.
 27    78.   The presence of PCBs interferes with the free use of the Bay for ecological
 28          preservation and habitat restoration.



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  1    79.   The San Diego Bay is listed as impaired due to PCB, pursuant to the Clean
  2          Water Act and the 303(d) list.
  3    80.   The Regional Water Board found that the contamination at the Shipyard
  4~         Sediment Site meets all three criteria for a "nuisance" as defined by
  5          California Water Code section 13050 (m) because it: (1) is injurious to
  6          health, or is indecent or offensive to the senses, or an obstruction to the free
  7          use of property, so as to interfere with the comfortable enjoyment of life or
  8          property; (2) affects at the same time an entire community or neighborhood,
  9          or any considerable number of persons, although the extent of the
 10          annoyance or damage inflicted upon individuals may be unequal; and (3)
 11          occurs during, or as a result of, the treatment or disposal of wastes.
 12    81.   The presence of PCBs adversely affects the quality of water in the Bay and
 13          causes inconvenience and annoyance to Plaintiff, who has been required to
 14~         incur costs in order to protect plant and animal life, and their presence.
 15    82.   The condition affects a substantial number of people who use the Bay for
 16          commercial and recreational purposes and interferes with the rights of the
 17          public at large to clean and safe resources and environment.
 18    83.   An ordinary person would be reasonably annoyed or disturbed by the
 19          presence of toxic PCBs that endanger the health of fish, animals and
 2O          humans and degrade water quality and destroy marine habitats.
 21    84.   The seriousness of the environmental and human health risk far outweighs
 22          any social utility of Monsanto’s conduct in manufacturing PCBs and
 23          concealing the dangers posed to human health and the environment.
       85.   Plaintiff has suffered and will continue to suffer harm that is different from
 25          the type of harm suffered by the general public, and Plaintiff has incurred
 26          substantial costs deriving from state-mandated PCB clean-up. In addition,
 27          the City is obligated to pay for certain remediation of the Shipyard
 28          Sediment Site pursuant to the March 14, 2012 CAO.



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  1    86.   Plaintiff did not consent to the conduct that resulted in the contamination of
  2          the Bay.
  3    87.   Monsanto’s conduct was a substantial factor in causing the harm to the City
  4~         and Port District.    Without an abatement of the nuisance created by
  5          Monsanto, Plaintiff will continue to suffer injuries, and the hazards caused
  6          by PCBs will continue.
  7    88.   Monsanto knew or, in the exercise of reasonable care, should have known
  8          that the manufacture and sale of PCBs was causing the type of
  9          contamination now found in the Bay. Monsanto knew that PCBs would
 10          leach out of products and escape into the environment, that there was no
 11          way to contain PCBs and prevent such escape, and that PCBs would
 12          accumulate in an aquatic environment like the Bay. Monsanto knew that
 13          PCBs would contaminate water supplies, would degrade marine habitats,
 14~         would kill fish species, and would endanger birds and animals. In addition,
 15          Monsanto knew that PCBs are associated with serious illnesses and cancers
 16          in humans and knew that humans may be exposed to PCBs through
 17          ingestion and dermal contact. As a result, it was foreseeable to Monsanto
 18          that humans may be exposed to PCBs through swimming in contaminated
 19          waters or by eating fish from those waters. Monsanto thus knew, or should
 2O          have known, that PCB contamination would seriously and unreasonably
 21          interfere with the ordinary comfort, use, and enjoyment of any coastal
 22          marine areas.
 23    89.   As a direct and proximate result of Monsanto’s creation of a public
             nuisance, Plaintiff has suffered and continues to suffer actual damages and
 25          injuries to property requiring abatement and other costs to be determined at
 26          trial.
 27

 28




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  1                                 SECOND CAUSE OF ACTION
  2                                   EQUITABLE INDEMNITY
  3    90.    Plaintiff realleges and reaffirms each and every allegation set forth in all
  4~          preceding paragraphs as if fully restated in this count.
  5    91.    Monsanto is responsible for creating a continuing public nuisance by
  6           manufacturing,        distributing,       and     promoting          PCBs,   resulting   in
  7           contamination of water, soil, and sediment in and around the Bay.
  8    92.    Monsanto’s creation of the public nuisance is a substantial factor in causing
  9           Plaintiff s injury.
 10    93.    The conduct of the City did not contribute in any way to the creation of the
 11           public nuisance.
 12    94.    The Regional Water Board has required the City, however, to remediate
 13           PCB-contaminated sediments from the Shipyard Sediment Site and may
 14~          require further remediation of other areas. The City has incurred and will
 15           incur costs to remove PCBs from the Bay pursuant to the Board’s order.
 16    95.    Monsanto must reimburse the City for its costs of complying with the
 17           Board’s remediation order.
 18

                                        PRAYER FOR RELIEF
 19

             Plaintiff prays for judgment that Defendants are liable to the City, jointly
 2O
       and severally, for creation of the public nuisance and must pay as follows:
 21
                 1) Any and all compensatory damages according to proof including, but
 22
                    not limited to, all past and future costs and expenses related to the
 23
                    investigation, remediation, and removal of PCBs from in and around

                    the Bay;
 25
                2) An order that Defendants pay for establishment of a fund used by the
 26
                    City to abate the public nuisance created by the presence of PCBs in
 27
                    and around the Bay, including remediating all PCB contamination in
 28
                    the Shipyard Sediment Site and other areas;


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  1             3) Punitive damages;
  2             4) Litigation costs and attorney’s fees as provided by law;
  3             5) Pre-judgment and post-judgment interest;
  4~            6) Any other and further relief as the Court deems just, proper, and
  5                equitable.
  6                             DEMAND FOR JURY TRIAL
  7          Plaintiff hereby demands a jury trial as provided by Rule 38(a) of the
  8    Federal Rules of Civil Procedure.
  9


 10    Dated: August 3,2015                          Respectfully submitted,
 11


 12
                                                 By: s/ Carla Burke
 13                                              BARON & BUDD, P.C.
 14~
                                                 Scott Summy (admitted Pro Hac Vice)
                                                 Carla Burke (admitted Pro Hac Vice)
 15                                              Celeste Evangelisti (SBN 225232)
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                                                 GOMEZ TRIAL ATTORNEYS
 17                                              John H. Gomez (SBN 171485)
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                                                 John P. Fiske (SBN 249256)

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 21                                              DANIEL F. BAMBERG,
 22                                              Assistant City Attorney
                                                 California State Bar No. 60499
 23                                              PAUL F. PRATHER, Deputy City Attorney
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 26

 27

 28




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     Attorneys for Plaintiffs
20
                                UNITED STATES DISTRICT COURT
21
              CENTRAL DISTRICT OF CALIFORNIA - WESTERN DIVISION
22
      CITY OF LONG BEACH, a municipal                )   CASE NO.
23
      corporation;
                                                     )
                            Plaintiff,
24                                                   )   PLAINTIFFS’ ORIGINAL
25
     Wo
                                                     )   COMPLAINT

     MONSANTO COMPANY,                               )
26
     SOLUTIA INC., and                               )
27
     PHARMACIA CORPORATION, and                      )
     DOES 1 through 100,
                         Defendants.
                                                     )
28                                                   )
                                                 1
                                 PLAINTIFF’S ORIGINAL COMPLAINT
                                                                                                              Electronically Filed - St Louis County - August 03, 2022 - 02:35 PM
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              1         I.     INTRODUCTION
              2         1.    Polychlorinated biphenyls (or "PCBs") are man-made chemical compounds
              3 that have become notorious as global environmental contaminants -- found in bays,
              4 oceans, rivers, streams, soil, and air. As a result, PCBs have been detected in the tissues
              5 of all living beings on earth including all forms of marine life, various animals and
              6   birds, plants and trees, and humans.
              7         2.     The extent of PCB contamination is troubling because PCBs cause a
              8 variety of adverse health effects. In humans, PCB exposure is associated with cancer as
              9 well as serious non-cancer health effects, including effects on the immune system,
            10 reproductive system, nervous system, endocrine system and other health effects. In
            11 addition, PCBs destroy populations of fish, birds, and other animal life.
            12          3.    Monsanto Company was the sole manufacturer of PCBs in the United
            13 States from 1935 to 1979, and trademarked the name "Aroclor" for certain PCB
            14 compounds. Although Monsanto knew for decades that PCBs were toxic and knew that
            15 they were widely contaminating all natural resources and living organisms, Monsanto
            16 concealed these facts and continued producing PCBs until Congress enacted the Toxic
            17 Substances Control Act ("TSCA"), which banned the manufacture and most uses of
            18 PCBs as of January 1, 1979.
            19          4.    U.S. EPA (2000b) has classified PCBs as ’probable human carcinogens.’

            20 Studies have suggested that PCBs may play a role in inducing breast-cancer. Studies
            21 have also linked PCBs to increased risk for several other cancers including liver, biliary
            22 tract, gall bladder, gastrointestinal tract, pancreas, melanoma, and non-Hodgkin’s
            23 lymphoma. PCBs may also cause non-carcinogenic effects, including reproductive
            24 effects and developmental effects (primarily to the nervous system). PCBs tend to
            25 accumulate in the human body in the liver, adipose tissue (fat), skin, and breast milk.
            26 PCBs have also been found in human plasma, follicular fluid, and sperm fluid. Fetuses
            27 may be exposed to PCBs in utero, and babies may be exposed to PCBs during
            28 breastfeeding. According to U.S. EPA (2000b), ’[s]ome human studies have also
     GOMEZ
TRIAL ATrORNEYS
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 1 suggested that PCB exposure may cause adverse effects in children and developing
 2 fetuses while other studies have not shown effects. Reported effects include lower IQ
 3 scores, low birth weight, and lower behavior assessment scores.
 4         5.     PCBs have traveled into many Long Beach Waters by a variety of ways.
 5 PCBs were used in many industrial and commercial applications such as paint, caulking,
 6   transformers, capacitors, coolants, hydraulic fluids, plasticizers, sealants, inks,
 7   lubricants, and other uses. PCBs regularly leach, leak, off-gas, and escape their
 8 intended applications, causing runoff during naturally occurring storm and rain events,
 9 after being released into the environment. The .runoff originates from multiple sources
10 and industries and enters Long Beach Waters with stormwater and other runoff.
11         6.     The natural fate and transport of PCBs result in the gathering and collection
12 in stormwater through no fault of the City of Long Beach, which lawfully discharges
13 water into many bodies of water through an NPDES permit.
14         7.     Many watersheds, lakes, rivers, streams, creeks, bays, ports, harbors, and
15 other bodies of water are contaminated with PCBs, which have been detected in water,
16 sediment, fish, and wildlife. These water bodies include but are not limited to the
17 following ("Long Beach Waters"):
18                a. The Port of Long Beach
19                b. Colorado Lagoon
20                c. Dominguez Watershed
21         8.     The U.S. Environmental Protection Agency ("U.S. EPA") has approved
22 several PCB Total Maximum Daily Load ("TMDL") for Long Beach Waters.
23         9.     A Total Maximum Daily Load, or TMDL, is a calculation of the maximum
24 amount of pollutant that an impaired body of water can receive and still safely meet
25 water quality standards.~
26
27
      United States Environmental Protection Agency,
28 www.water.epa.gov/lawsregs/lawsguidance/cwa/tmdl/
                                                       3

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              1          10.       Long Beach Waters are impaired due to the presence of PCBs.
              2          11.       TMDLs are intended to achieve protection of the commercial sport fishing

              3 beneficial use and to the extent that other beneficial uses are affected by PCBs, the
              4 TMDLs are also intended to ensure protection of other beneficial uses, specifically,
              5 preservation of wildlife, rare and endangered species, and habitat.2
              6          12.       Long Beach Waters TMDLs are expressed as water column targets,
              7     sediment targets, fish tissue targets, and/or stormwater wasteload allocations.
              8                Plaintiff CITY OF LONG BEACH hereby alleges, upon information and belief,
              9 as follows:
            10           II.       PARTIES
            1!           13.       The CITY OF LONG BEACH ("Long Beach") is a California Charter City
            12      and municipal corporation, duly organized and existing by virtue of the laws of the State
            13      of California.
            14           14.       "Plaintiff’ shall refer to the CITY OF LONG BEACH.
            15           15.       Plaintiff brings this suit pursuant to California Code of Civil Procedure
            16 731, and California Civil Code sections 3479, 3480, 3491, 3493, and 3494 and any other
            17 applicable codes or forms of relief available for monetary damages and removal of the
            18 public nuisance caused by PCBs in Long Beach Waters.
            19           16.       Plaintiff manages and operates municipal storm water systems, which
            20 collect and transport stormwater to be discharged into Long Beach Waters. In order to
            21 discharge stormwater into Long Beach Waters, Plaintiff is required to receive a
            22 Municipal Regional Stormwater Permit from the California Regional Water Quality
            23 Control Board- Los Angeles Region, pursuant to the National Pollutant Discharge
            24 Elimination System under the Clean Water Act.
            25           17.       Plaintiff is a permittee under a Municipal Regional Stormwater Permit,
            26 which includes TMDLs for PCBs, as Long Beach Waters are impaired due to PCBs.
            27
            28 2!d.
     GOMF..Z                                                      4
TRIAL ATTORNEYS



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         1       18.     Plaintiff is subject to PCB TMDLs under respective Municipal Regional
         2 Stormwater Permits. The PCB TMDLs require Plaintiff to limit its storm-water
         3 discharge of PCBs and engage in many water, sediment, and tissue quality objective
         4 efforts.
         5       19.     Thus, Plaintiff has spent money in efforts to remediate, reduce, and monitor
         6   PCBs toward these state-mandated TMDL goals. Plaintiff will spend more money in
         7 the future, including possibly additional remediation efforts.
         8       20.     Defendant Monsanto Company ("Monsanto") is a Delaware corporation
         9 with its principal place of business in St. Louis, Missouri.
        10       21.     Defendant Solutia Inc. ("Solutia") is a Delaware corporation with its
        1! headquarters and principal place of business in St. Louis, Missouri.
        12       22.     Defendant Pharmacia LLC (formerly known as "Pharmacia Corporation"
        13 and successor to the original Monsanto Company) is a Delaware LLC with its principal
        14 place of business in Peapack, New Jersey. Pharmacia is now a wholly-owned
        15 subsidiary of Pfizer, Inc.
        16       23.     The original Monsanto Company ("Old Monsanto") operated an
        17 agricultural products business, a pharmaceutical and nutrition business, and a chemical
        18 products business. Old Monsanto began manufacturing PCBs in the 1930s and
        19 continued to. manufacture commercial PCBs until the late 1970s.
        20       24.     Through a series of transactions beginning in approximately 1997, Old
        21 Monsanto’s businesses were spun offto form three separate corporations. The
        22 corporation now known as Monsanto operates Old Monsanto’s agricultural products
        23 business. Old Monsanto’s chemical products business is now operated by Solutia. Old
        24 Monsanto’s pharmaceuticals business is now operated by Pharmacia.
        25       25.     Solutia was organized by Old Monsanto to own and operate its chemical
        26 manufacturing business. Solutia assumed the operations, assets, and liabilities of Old
        27
        28
GOMEZ                                                    5

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              1   Monsanto’s chemicals business.3
              2       26.      Although Solutia assumed and agreed to indemnify Pharmacia (then known

              3   as Monsanto Company) for certain liabilities related to the chemicals business,
              4   Defendants have entered into agreements to share or apportion liabilities, and/or to

              5   indemnify one or more entity, for claims arising from Old Monsanto’s chemical
              6   business --- including the manufacture and sale of PCBs.4

              7       27.      In 2003, Solutia filed a voluntary petition for reorganization under Chapter
              8   11 of the U.S. Bankruptcy Code. Solutia’s reorganization was completed in 2008. In
              9   connection with Solutia’s Plan of Reorganization, Solutia, Pharmacia and New
            10    Monsanto entered into several agreements under which Monsanto continuesto manage
            ll    and assume financial responsibility for certain tort litigation and environmental
            12    remediation related to the Chemicals Business.5
            13        28.      Monsanto, Solutia, and Pharmacia are collectively referred to in this
            14    Complaint as "Defendants."
            15         III.    JURISDICTION AND VENUE
            16         29.     This Court has jurisdiction pursuant to 28 U.S.C. § 1332 because complete
            17    diversity exists between Plaintiff and Defendants. The Plaintiff is located in California,

            18    but no Defendant is a citizen of California. Monsanto is a Delaware corporation with its
            19    principal place of business in St. Louis, Missouri. Solutia is a Delaware corporation
            20    with its principal place of.business in St. Louis, Missouri. Pharmacia is a Delaware

            21    limited liability company with its principal place of business in Peapack, New Jersey.
            22

            23

            24    3 See MONSANTO COMPANY’ S ANSWER TO THE COMPLAINT AND JURY DEMAND, Town of Lexington v.

               Pharmacia Corp., Solutia, Inc., and Monsanto Company, C.A. No. 12-CV-11645, D. Mass. (October
            25
               8, 2013); see also Relationships Among Monsanto Company, Pharmacia Corporation, Pfizer Inc., and
            26 Solutia Inc., http://www.m~nsant~.c~m/wh~weare/pages/m~nsant~-re~ati~nships-p~zer-s~~utia.aspx
               (last accessed February 20, 2014).
            27 4 See id.
               5 See Monsanto’s Form 8-K (March 24, 2008), and Form 10-Q (June 27, 2008), available at
            28 http://www.monsanto.com/investors/pages/sec-filings.aspx (last accessed February 20, 2014).
     C-OMEZ                                                    6
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              1          30.      Venue is appropriate in this judicial district pursuant to 28 U.S.C. section
              2     1391(a) because a substantial part of the property that is the subject of the-action is
              3     situated in this judicial district.

              4            IV.    FACTUAL ALLEGATIONS
              5                   A.      PCBs are Toxic Chemicals that Cause Environmental
              6     Contamination.
              7          31.      Polychlorinated biphenyl, or "PCB," is a molecule comprised of chlorine
              8     atoms attached to a double carbon-hydrogen ring (a "biphenyl" ring). A "PCB
              9     congener" is any single, unique chemical compound in the PCB category. Over two
            10      hundred congeners have been identified.6
            11           32.      PCBs were generally manufactured as mixtures of congeners. From
            12      approximately 1935 to 1979, Monsanto Company was the only manufacturer in the
            13      United States that intentionally produced PCBs for commercial .use.7 The most common
            14      trade name for PCBs in the United States was "Aroclor," which was trademarked by
            15      Old Monsanto.
            16           33.      Monsanto’s commercially-produced PCBs were used in a wide range of
            17      industrial applications in the United States including electrical equipment such as
            18      transformers, motor start capacitors, and lighting ballasts. In addition, PCBs were
            19      incorporated into a variety of products such as caulks, paints, and sealants.
            20           34.      As used in this Complaint, the terms "PCB," "PCBs," "PCB-containing

            21      products," and "PCB products" refer to products containing polychlorinated biphenyl
            22      congener(s) manufactured for placement into trade or commerce, including any product
            23      that forms a component part of or that is subsequently incorporated into another
            24

            25      6 Table of PCB Congeners, available at
            26 http://www.epa.gov/epawaste/hazard/tsd/pcbs/pubs/congeners.htm (last accessed February 20, 2014).
               7 See 116 Cong. Record 11695, 91st Congress, (April 14, 1970) ("Insofar as the Monsanto Co., the sole
            27 manufacturer of PCB’s is concerned .... "); 121 Cong. Record 33879, 94th Congress, (October 23,
               1975) ("The sole U.S. producer, Monsanto-Co ..... "). See also MONS 058730-058752 at 058733
            28 (identifying other producers as "all ex-USA."), attached as Exhibit A.
     GOMEZ                                                         7
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              1   product.
              2        35.     PCBs easily migrate out of their original source .material or enclosure and
              3   contaminate nearby surfaces, air, water, soil, and other materials. For example, PCB
              4   compounds volatilize out of building materials (such as caulk) into surrounding.
              5 materials such as masonry, wood, drywall, and soil, thereby causing damage to those
              6 surrounding materials. PCBs can also escape from totally-enclosed materials (such as
              7   light ballasts) and similarly contaminate and damage surrounding materials.
              8        36.     PCBs present serious risks to the health of humans, wildlife, and the
              9   environment.
            10         37.     Humans may be exposed to PCBs through ingestion, inhalation, and dermal
            11    contact. Individuals may inhale PCBs that are emitted into the air. They may also
            12    ingest PCBs that are emitted into air and settle onto surfaces that come into contact with
            13    food or drinks. And they may absorb PCBs from physical contact with PCBs or PCB-
            14    containing materials.
            15         38.     The EPA has determined that Monsanto’s PCBs are probable human
            16 carcinogens. In 1996, EPA reassessed PCB carcinogenicity, based on data related to
            17 Aroclors 1016, 1242, 1254, and 1260.8 The EPA’s cancer reassessment was peer
            18 reviewed by 15 experts on PCBs, including scientists from government, academia and
            19 industry, all of whom agreed that PCBs are probable human carcinogens.
            20         39.     In addition, theEPA concluded that PCBs are associated with serious non-
            21 cancer health effects. From extensive studies of animals and primates using
            22 environmentally relevant doses, EPA has found evidence that PCBs exert significant
            23 toxic effects, including effects on the immune system, the reproductive system, the
            24 nervous system, and the endocrine system.
            25         40.     PCBs affect the immune system by causing a significant decrease in the
            26
            27 8 EPA, PCBs: Cancer Dose-Response Assessment and Application to Environmental Mixtures,
                  EPA/600/P-96/001F (September 1996), available at
            28 http://www.epa.gov/epawaste/hazard/tsd/pcbs/pubs/pcb.pdf (last accessed May 5, 2014).
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              1   size of the thymus gland, lowered immune response, and decreased resistance to viruses
             2    and other infections. The animal studies were not able to identify a level of PCB
              3   exposure that did not affect the immune system. Human studies confirmed immune
             4    system suppression.
              5        41.      Studies of reproductive effects in human populations exposed to PCBs
              6   show decreased birth weight and a significant decrease in gestational age with
              7   increasing exposures to PCBs. Animal studies have shown that PCB exposures reduce
              8 birth weight, conception rates, live birth rates, and reduced sperm counts.
              9        42.      Human and animal studies confirm that PCB exposure causes persistent
            10 and significant deficits in neurological development, affecting visual recognition, short-
            11 term memory, and learning. Some of these studies were conducted using the types of
            12 PCBs most commonly found in human breast milk.
            13         43.      PCBs may also disrupt the normal function of the endocrine system. PCBs
            14 have been shown to affect thyroid hormone levels in both animals and humans. In
            15 animals, decreased thyroid hormone levels have resulted in developmental deficits,
            16 including deficits in hearing. PCB exposures have also been associated with changes in
            17 thyroid hormone levels in infants in studies conducted in the Netherlands and Japan.
            18         44.      PCBs have been associated with other health effects including elevated

            19 blood pressure, serum triglyceride, and serum cholesterol in_humans; dermal and ocular
            20 effects in monkeys and humans; and liver toxicity in rodents.
            21         45.      Children may be affected to a greater extent than adults. The Agency for
            22 Toxic Substances and Disease Registry explained: "Younger children may be
            23 particularly vulnerable to PCBs because, compared to adults, they are growing more
            24 rapidly and generally have lower and distinct profiles of biotransformation enzymes, as
            25 well as much smaller fat deposits for sequestering the lipophilic PCBs.’’9
            26
            27 9 Agency for Toxic Substances and Disease Registry, Toxicological Profile for Polychlorinated
                  Biphenyls (PCBs), (November 2000), at 405, available at www.atsdr.cdc.gov (last accessed May 1,
            28 2014).
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              1        46.      PCBs are known to be toxic to a number of aquatic species and wildlife

              2 including fish, marine mammals, reptiles, amphibians, and birds. Exposure is
              3 associated with death, compromised immune system function, adverse effects on
              4 reproduction, development, and endocrine function. PCB exposure affects liver
              5 function, the digestive system, and nervous systems and can promote cancer in a
              6   number of animal species. The presence of PCBs can cause changes in community and
              7   ecosystem structure and function.]°

              8                 B.     Monsanto Has Long Known of PCBs’ Toxicity.
              9        47.      Monsanto was well aware of scientific literature published in the 1930s that
            10 established that inhalation in industrial settings resulted in toxic systemic effects. 1]
            11         48.      An October 11, 1937, Monsanto memorandum advises that "Experimental
            12 work in animals shows that prolonged exposure to Aroclor vapors evolved at high
            13 temperatures or by repeated oral ingestion will lead to systemic toxic effects. Repeated
            14 bodily contact with the liquid Aroclors may lead to an acne-form skin eruption.’’~2
            15         49.      A September 20, 1955, memo from Emmet Kelly-.set out Monsanto’s
            16 position with respect to PCB toxicity: "We know Aroclors are toxic but the actual limit
            17 has not been precisely defined. It does not make too much difference, it seems to me,
            18 because our main worry is what will happen if an individual develops [sic] any type of
            19 liver disease and gives a history of Aroclor exposure. I am sure the juries would not pay
            20 a great deal of attention to [maximum allowable concentrates].’’]3
            21         50.      On November 14, 1955, Monsanto’s Medical Department provided an
            22 opinion that workers should not be allowed to eat lunch in the Aroclor department:
            23
            24
            25 ]o See EPA, Understanding PCB Risks, available at
            26 http://www.epa.g~v/h~usat~nic/understandingpcbrisks.htm~#Wi~d~ifeEc~gica~RiskAssessment (last
                  -accessed March 5,2015).
            27 1~ See Exhibits B, C, F
                  12 MONS 061332, attached as Exhibit B.
            28 13 MONS 095196-7, attached as Exhibit C.
    GOMEZ                                                      10
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                             It has long b.een the opinion of the Medical Department that eat!ng
              1              in process departments is a potentially hazardous procedure that
                             could lead to serious difficulties. While the Aroclors are not
              2              particularly hazardous from our own experience, this is a diffic.ult
                             problem t9 define because early literature work claimed tlaat
              3              chlorinated biphenyls were quite toxic materials by ingestion or
                             inhalation. 14
              4

              5        51.        On January 21, 1957, Emmet Kelly reported that after conducting its own
              6   tests, the U.S. Navy decided against using Monsanto’s Aroclors: "No matter how we
              7   discussed the situation, it was impossible to change their thinking that Pydraul 150 is
              8   ust too toxic for use in a submarine.’’15
              9        52.        In 1966, Kelly reviewed a presentation by Swedish researcher Soren
            10    lensen, who stated that PCBs "appeared to be the most injurious chlorinated compounds
            11    of all tested.’’16 Jensen refers to a 1939 study associating PCBs with the deaths of three
            12    young workers and concluding that "pregnant women and persons who have at any time
            13    had any liver disease are particularly susceptible.’’17 Kelly does not dispute any of
            14    Jensen’s remarks, noting only, "As far as the section on toxicology is concerned, it is
            15    true that chloracne and liver trouble can result from large doses.’’~8

            16               C.   Monsanto Has Long Known that PCBs Were "Global Contaminants"
            17    Causing Harm to Animals and Fish.
            18         53.        At the same time, Monsanto became aware that PCBs were causing
            19
                  widespread contamination of the environment, far beyond the areas of its use. 19

            20         54.        Monsanto’s Medical Director reviewed an article by Swedish researcher
            21    Soren Jensen, who reported the detection of PCBs in the tissues of fish and wildlife in
            22    Sweden.z° The report noted that PCBs were also detected in the air over London and

            23

            24    14 Monsanto Chemical Company, Memorandum to H.B. Patrick, November 14, 1955 (no Bates
               number), attached as Exhibit D.
            25 15 MONS 095640, attached as Exhibit E.
               16 See JDGFOX00000037-63, attached as Exhibit F.
            26
               17 Id. at JDGFOX00000039.
            27 18 Id. at JDGFOX00000037.
               19 See Exhibits G, H, L,
            28 20 New Scientist (December 15, 1986), MONSFOX00003427, attached as Exhibit G.
    GOMEZ                                                    11
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               1   Hamburg and found in seals caught offthe coast of Scotland. Jensen concluded that

               2   PCBs can "be presumed to be widespread throughout the world.’’2]

               3            55.      A December 1968 article by Richard Risebrough identified chlorinated
               4   hydrocarbons (which include PCBs) as "the most abundant synthetic pollutants present
               5   in the global environment.’’22 The article reported finding significant concentrations of
               6   PCBs in the bodies and eggs of peregrine falcons and 34 other bird species. The report
               7   linked PCBs to the rapid decline in peregrine falcon populations in the United States.
               8            56.       Despite growing evidence of PCBs’ infiltration of every level of the global
               9   ecology, Monsanto remained steadfast in its production of Aroclors and other PCBs.
             10             57.       On March 6, 1969, Monsanto employee W. M. Richard wrote a
             11    memorandum discussing Risebrough’s article that criticized PCBs as a "toxic
             12    substance", "widely spread by air-water; therefore, an uncontrollable pollutant...
             13    causing extinction of peregrine falcon ... [and] endangering man himself.’’z3 Richard
             14    explained that Monsanto could take steps to reduce PCB releases from its own plants
             15    but cautioned, "It will be still more difficult to control other end uses such as cutting
             16    oils, adhesives, plastics, and NCR paper. In this applications exposure to consumers is
             17    greater and the disposal problem becomes complex.’’~4

             18             58.       On September 9, 1969, Monsanto employee W.R. Richard wrote an
             19    interoffice memo titled "Defense ofAroclor.’’25 He acknowledged the role of Aroclor in

             20    water pollution: "Aroclor product is refractive, will settle out on solids - sewerage
             21    sludge - river bottoms, and apparently has a long life." He noted that Aroclors 1254
             22    and 1260 had been found along the Gulf Coast of Florida causing a problem with
             23’ shrimp;          in San Francisco Bay, where it was reported to thin egg shells in birds; and in
             24

             25
                   21id.
                   22 R.W. Risebrough, Polychlorinated Biphenls in the Global Ecosystem, Nature, Vol. 220 (December
             26
                14, I968), attached as Exhibit H.
             27 23 MONS 096509-096511, attached as Exhibit I.
                   24 Id,

             28    z5 DSW 014256-014263, attached as Exhibit J.
     GOME.Z.                                                         12
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              1   the Great Lakes. Richard advised that the company could not defend itself against all
              2   criticism: "We can’t defend vs. everything. Some animals or fish or insects will be

              3   harmed. Aroclor degradation rate will be slow. Tough to defend against. Higher
              4   chlorination compounds will be worse [than] lower chlorine compounds. Therefore we

              5   will have to restrict uses and clean-up as much as we can, starting immediately.’’26
              6            59.   On January 29, 1970, Elmer Wheeler of the Medical Department circulated
              7   laboratory reports discussing results of animal studies. He noted: "Our interpretation is
              8   that the PCB’s are exhibiting a greater degree of toxicity in this chronic study than we
              9   had anticipated. Secondly, although there are variations depending on species of
            10    animals, the PCB’s are about the same as DDT in mammals.’’27
            11             60.   Monsanto expressed a desire to keep profiting from PCBs despite the
            12    environmental havoc in a PCB Presentation to Corporate Development Committee. The
            13    report suggests possible reactions to the contamination issue. It considered that doing
            14    nothing was "unacceptable from a legal, moral, and customer public relations and
            15    company policy viewpoint." But the option of going out of the Aroclor business was
            16    also considered unacceptable: "there is too much customer/market need and selfishly
            17    too much Monsanto profit to go out.’’28

            18             61.   The Aroclor Ad Hoc Committee at Monsanto held its first meeting on
            19-   September 5, 1969. The committee’s objectives were to continue sales and profits of
            20    Aroclors in light of the fact that PCB "may be a global contaminant.’’29 The meeting
            21    minutes acknowledge that PCB has been found in fish, oysters, shrimp, birds, along
            22    coastlines of industrialized areas such as Great Britain, Sweden, Rhine River, low
            23    countries, Lake Michigan, Pensacola Bay, and in Western wildlife. Moreover, the
            24    committee implicated the normal use of PCB-containing products as the cause of the

            25

            26
                  26 Id.

            27 27 MONS 098480, attached as Exhibit K.
                  28 EX. A at 058737.
            28 29 MONS 030483-030486, attached as Exhibit L.
     GOMEZ                                                     13
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              1     problem: "In one application alone (highway paints), one million lbs/year are used.
              2     Through abrasion and leaching we can assume that nearly all of this Aroclor winds up in

              3     the environment.’’3°
              4          62.        Amonth later, .on October 2, 1969, the Committee reported extensive
              5     environmental contamination. The U.S. Department of Interior, Fish and Wildlife found
              6     PCB resi~dues in dead eagles and marine birds. Similarly, the Bureau of Commercial

              7     Fisheries reported finding PCBs in the river below Monsanto’s Pensacola plant. The
              8     U.S. Food and Drug Administration had discovered PCBs in milk supplies. The
              9     Committee advised that Monsanto could not protect the environment from Aroclors as
            10      "global" contaminants but could protect the continued manufacture and sale of
            11      Aroclors:
            12                 There is little t            that       action that can be taken will
                                       the         i                     of specific polychlorinated
            13                                                     - e.g. Aroclors 1254 and 1260) as
                                              envlronmental contaminants leading to contamination
            14                 c                                              of some marine        "
                               (shrimp), and th’~ possible                       specxes              .g
            15                 birds.
                               Second!y, the committee believes that there is no practical course of
            16                 action that can so effe.ctively police the uses of ttiese products as to
                               pr~event environmental contaminati.on. There are, however a number
            17                 or actions which.must be undertaken to prolon~ the manufacture,
                               sale and use of these particular Aroclors as well as to protect the
            18                 continued use of other members of the Aroclor series.3]
            19
                         63.        Monsanto’s desireto protect Aroclor sales rather than the environment is
            20
                    reflected in the Committee’s stated objectives:
            21

            22                 1.   Protect continues sales and profits of Aroclors;
            23                 2.   Permit continued development of new uses and sales, and
                               3.   Protect the image of the Organic Division and the Corporation as members
            24
                    ofthe
            25
                               business community recognizing their responsibilities to prevent and/or con-
                               trol contamination of the global ecosystem.32
            26

            27      30 !d.at 030485.
                    3] DSW 014612-014624, at 014615, attached as Exhibit M.
            28      32 Id.
                                                                     14
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               1
                            64.     An interoffice memorandum circulated on February 16, 1970, provided
               2
                     talking points for discussions with customers in response to Monsanto’s decision to
               3
                     eliminate Aroclors 1254 and 1260: "We (your customer and Monsanto) are not
               4
                     interested in using a product which may present a problem to our environment."
               5
                     Nevertheless, the memo acknowledges that Monsanto "can’t afford to lose one dollar of
               6
                     business." To that end, it says, "We want to avoid any situation where a customer wants
               7
                     to return fluid .... We would prefer that the customer use up his current inventory and
               8
                     purchase [new products] when available. He will then top off with the new fluid and
               9
                     eventually all Aroclor 1254 and Aroclor 1260 will be out of his system. We don’t want
             10
                     to take fluid back." 33
             ll
                            65.     In 1970, the year after Monsanto formed the Ad Hoc Committee, and
             12
                     despite Monsanto’s knowledge of the global reach of PCB contamination, PCB
             13
                     production in the United States peaked at 85 million pounds.
             14
                            66.     Growing awareness of the ubiquitous nature of PCBs led the United States
             15
                     to conduct an investigation of health and environmental effects and contamination of
             16
                     ~’ood and other products. An interdepartmental task force concluded in May 1972 that
             17
                     PCBs were highly persistent, could bioaccumulate to relatively high levels, and could
             18
                     have serious adverse health effects on human health34
             19
                            67.     After that report, environmental sampling and studies indicated that PCBs
             20
                     were a "more serious and continuing environmental and health threat than had been
             21
                     originally realized.’’35 To address these concerns, EPA undertook a study to assess PCB
             22
                     levels in the environment on a national basis. That study revealed widespread
             23
                     occurrence of PCBs in bottom sediments in several states, including California; in fish
             24
                     and birds; in lakes and rivers; in the Atlantic Ocean, the Pacific Ocean, and the Gulf of
             25

             26

             27      33 MONS 100123-100124, attached as Exhibit N.
                     34 EPA, Review of PCB Levels inthe Environment, EPA-560/7-76-001 (January 1976).
             28      35 Id. at 1.
     GOMEZ                                                         15
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              1     Mexico; sewage treatment facilities; in a variety of foods including milk, poultry, eggs,
              2     fish, meat, and grains; and in human tissues, blood, hair, and milk.36

              3              68.      EPA’s study noted the particular burden on California. "PCBs have
              4     become a significant component of the marine food webs of southern California," were
              5     found in sediments in the Santa Barbara Basin, and found in high levels in the San
              6     Francisco Bay.37
              7              69.      At the same time, Monsanto was promoting the use and sale of Aroclor and
              8     other PCB compounds. In a 1960 brochure, Monsanto promotes the use of Aroclors in
              9     transformers and capacitors, utility transmission lines, home appliances, electric motors,
            10      fluorescent light ballasts, wire or cable coatings, impregnants for insulation, dielectric
            11      sealants, chemical processing vessels, food cookers, potato chip fryers, drying ovens,
            12      thermostats, furnaces, and vacuum diffusion pumps. Aroclors could also be used, the
            13      brochure advertised, as a component of automotive transmission oil; insecticides;
            14      natural waxes used in dental casting, aircraft parts, and jewelry; abrasives; specialized
            15      lubricants; industrial cutting oils; adhesives; moisture-proof coatings; printing inks;
            16      papers; mastics; sealant; caulking compounds; tack coatings; plasticizers; resin; asphalt;
            17      paints, varnishes, and lacquers; masonry coatings for swimming pools, stucco homes,
            18      and highway paints; protective and decorative coatings for steel structures, railway tank
            19      and gondola cars; wood and metal maritime equipment; and coatings for chemical
            20      plants, boats, and highway marking. 38

            21               70.      A 1961 brochure explains that Monsanto’s Aroclors are being used in
            22      "lacquers for women’s shoes," as "a wax for the flame proofing of Christmas trees,"

            23      as "floor wax," as an adhesive for bookbinding, leather, and shoes, and as invisible
            24      marking ink used to make chenille rugs and spreads. 39

            25

            26
                    36 ld., passim.
                    37 ld.
            27
                    38 The Aroclor Compounds (hand dated May 1960), 0509822- 66, attached as Exhibit S.
            28      39 Plasticizer Patter (February 1961), 0627503-21, attached as Exhibit T.
     GOME.Z
TRIAL ATrORNEYS
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                                                  PLAINTIFF’S ORIGINAL COMPLAINT
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 1        71.     Thus, by February 1961, at the latest, Monsanto knew that its Aroclors
 2   were being used in a variety of industrial, commercial, household, and consumer goods.

 3   Moreover, Monsanto affirmatively encouraged these uses by encouraging salesmen to
 4   market products for these and other applications.
 5        72.     A few years later, in 1970, Monsanto tried to distance itself from the
 6   variety of applications of Aroclors that it proudly espoused a few years before. In a
 7   press release, the company claimed: " ’What should be emphasized.., is that PCB was
 8   developed over 40 years ago primarily for use as a coolant in electrical transformers and
 9   capacitors. It is also used in commercial heating and cooling systems. It is not a
10   ’household’ item.’’4°
11                D,     Monsanto Concealed the Nature of PCBs from Governmental
12   Entities.
13        73.     While the scientific community and Monsanto knew that PCBs were toxic
14   and becoming a global contaminant, Monsanto repeatedly misrepresented these facts,
15   telling govemmental entities the exact opposite         that the compounds were not toxic
16   and that the company would not expect to find PCBs in the environment in a widespread
17 manner.41

18        74.     In a March 24, 1969 letter to Los Angeles County Air Pollution Control
19   District, Monsanto advised that the Aroclor compounds "are not particularly toxic by
20   oral ingestion or skin absorption.’’4z Addressing reports of PCBs found along the West

21   Coast, Monsanto claimed ignorance as to their origin, explaining that "very little
22   [Aroclor] would normally be expected either in the air or in the liquid discharges from a
23   using industry.’’4a A similar letter to the Regional Water Quality Control Board
24

25
   40 Sl?e Press release (July 16, 1970), MCL000647-50, attached as Exhibit U, at MCL000648.
26
   41 See Exhibits O-R (letters to governmental agencies).
27 42 Letter from Monsanto to Los Angeles County Air Pollution Control District (March 24, 1969),
   attached as Exhibit O.
28
                                                    17

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                1   explained that PCBs are associated with "no special health problems" and "no problems

                2   associated with the environment.’’44
                3              75.   In May, 1969, Monsanto employee Elmer Wheeler spoke with a
                4   representative of the National Air Pollution Control Administration, who promised to
                5   relay to Congress the message that Monsanto "cannot conceive how the PCBs can be
                6   getting into the environment in a widespread fashion.’’45
                7              76.   Monsanto delivered the same message to the New Jersey Department of
                8   Conservation in July, 1969, claiming first, "Based on available data, manufacturing and
                9   use experience, we do not believe the PCBs to be seriously toxic.’’46 The letter then
              l0    reiterates Monsanto’s position regarding environmental contamination: "We are unable
              11    at this time to conceive of how the PCBs can become wide spread in the environment. It
              12    is certain that no applications to our knowledge have been made where the PCBs would
              13    be broadcast in the same fashion as the chlorinated hydrocarbon pesticides have been.’’~7
              14                                         FIRST CAUSE OF ACTION
              15                                              PUBLIC NUISANCE
              16               77.   Plaintiffs reallege and reaffirm each and every allegation set forth in all
              17    preceding paragraphs as if fully restated in this count.
              18               78.   Monsanto manufactured, distributed, marketed, and promoted PCBs in a

              19    manner that created or participated in creating a .public nuisance that is harmful to heaIth
              20    and obstructs the free use of Long Beach Waters.
              21               79.   The presence of PCBs interferes with the comfortable enjoyment of Long
              22    Beach Waters for customary uses for fishing, swimming, and other water activities.

              23

              24

              25    44 Letter from Monsanto to State of California Resources Agency (March 27, 1969), attached as

              26 Exhibit P.
                 45 Monsanto Memorandum to W.R. Richard (May 26, 1969), attached as Exhibit Q.
              27 46 Letter from Monsanto to Department of Conservation and Economic Development (July 23, 1969),
                    attached as Exhibit R.
              28    4"7 ./do

     GOMEZ
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              1        80.      The presence of PCBs interferes with the free use of Long Beach Waters
              2   for the promotion of commerce, navigation, and fisheries.

              3        81.      The presence of PCBs interferes with the free use of Long Beach Waters
              4   for ecological preservation and habitat restoration.

              5        82.      The Los Angeles Regional Water Quality Control Board, pursuant to the
              6   NPDES under the Clean Water Act, requires the Plaintiffs to reduce their discharge of
              7   and monitor PCBs into to prevent further contamination of the already impaired body of
              8   water.
              9        83.      The presence of PCBs causes significant costs, inconvenience and
            10    annoyance to Plaintiffs, who are charged with reducing and monitoring PCB discharge
            l!    toward TMDL levels, in order to protect plant and animal life, and the quality of water
            12    in the bay.
            13         84.      The condition affects a substantial number of people who use Long Beach
            14    Waters for commercial and recreational purposes and interferes with the rights of the
            15    public at large to clean and safe resources and environment
            16         85.      An ordinary person would be reasonably annoyed or disturbed by the
            17    presence of toxic PCBs that endanger the health of fish, animals, and humans and
            18    degrade water quality and destroy marine habitats.
            19         86.      The seriousness ol~the environmental and human health risk far outweighs
            20    any social utility of Monsanto’s conduct in manufacturing PCBs and concealing the
            21    dangers posed to human health and the environment.
            22         87.      The Plaintiffs have suffered and will continue to suffer harm that is
            23    different from the type of harm suffered by the general public, and the Plaintiffs have
            24    incurred substantial costs deriving from state-mandated PCB TMDLs.
            25         88.      Plaintiff did not consent to the conduct that resulted in the contamination of
            26    Long Beach Waters.
            27         89.      Monsanto’s conduct was a substantial factor in causing the harm to the
            28    Plaintiffs.
     GOM~Z                                                     19
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              1        90.      Monsanto knew or, in the exercise of reasonable care, should have known
              2   that the manufacture and sale of PCBs was causing the type of contamination now
              3   found in Long Beach Waters. Monsanto knew that PCBs would contaminate water
              4   supplies, would degrade marine habitats, would kill fish species, and would endanger
              5   birds and animals. In addition, Monsanto knew that PCBs are associated with serious
              6   illnesses and cancers in humans and that humans may be exposed to PCBs through
              7   ingestion and dermal contact. As a result, it was foreseeable to Monsanto that humans
              8   may be exposed to PCBs through swimming in contaminated waters or by eating fish
              9   from those waters. Monsanto thus knew, or should have known, that PCB
            10    contamination would seriously and unreasonably interfere with the ordinary comfort,
            II    use, and enjoyment of any coastal marine areas.
            12         91.      As a direct and proximate result of Monsanto’s creation of a public
            13    nuisance, Plaintiffs have suffered, and continues to suffer, monetary damages to be
            14    proven at trial.
            15         92.      Monsanto’s conduct was malicious, oppressive, wanton, willful,
            16    intentional, and shocks the conscience, warranting punitive and exemplary damages,
            17    because Monsanto callously decided to increase sales and develop new ways to promote

            18    PCBs, knowing PCBs are toxic, cannot be contained, and last for centuries.

            19                                     SECOND CAUSE OF ACTION
            20                                       EQUITABLE INDEMNITY
            21         93.      Plaintiffs reallege and reaffirm each and every allegation set forth in all
            22    preceding paragraphs as if fully restated in this count.
            23         94.      Monsanto is responsible for creating the public nuisance by manufacturing,
            24    distributing, and promoting PCBs, resulting in contamination in and around Long Beach
            25    Waters.
            26         95.      Monsanto’s creation of the public nuisance contributed as a substantial
            27    factor in causing Plaintiffs’ injury and damages.
            28
     GOMEZ                                                     20
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                   1     96.       The conduct of Plaintiff did not contribute in any way to the creation of the

               2 public nuisance.
               3                                     PRAYER FOR RELIEF
               4           Plaintiffs pray for judgment against Defendants, jointly and severally, as follows:

               5           1. Compensatory damages according to proof;
               6           2. Punitive damages;
               7           3. Litigation costs and attorney’s fees as provided by law;
               8           4. Pre-judgment and post-judgment interest;
               9           5. Any other and further relief as the Court deems just, proper, and equitable.
             10
             11                                   DEMAND FOR JURY TRIAL
             12            Plaintiffs demand a jury trial.
             13

             14 Dated:         May 19, 2016                  By:/s/John P. Fiske
                                                                 John P. Fiske
             15
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TRIAL A]3-ORNEYS



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            13
                       Attorneys for Plaintiff
            14
                                                      UNITED STATES DISTRICT COURT
            15
                                     NORTHERN DISTRICT OF CALIFORNIA- OAKLAND DIVISION
            16
                       CITY OF OAKLAND, a municipal corporation;                )   CASE NO.
            17
                                                                                )
            18         Plaintiff,                                               )   PLAINTIFF’ S ORIGINAL
                                                                                )   COMPLAINT
            19                                                                  )
                                                                                )
            20         MONSANTO COMPANY,
                       SOLUTIA INC., and
                                                                                )
            21         PHARMACIA CORPORATION, and DOES 1                        )
                       through 100,                                             )
            22                                                                  )
                       Defendants.                                              )
            23                                                                  )
            24

            25                 I.     INTRODUCTION

            26                  1.    Polychlorinated biphenyls (or "PCBs") are man-made chemical compounds that have

            27         become notorious as global environmental contaminants -- found in bays, oceans, rivers, streams, soil,

            28         and air. As a result, PCBs have been detected in the tissues of all living beings on earth including all
    GOMEZ                                                                   1
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                                                          PLAINTIFF’S ORIGINAL COMPLAINT             EXHIBIT 15
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                  1    forms of marine life, various animals and birds, plants and trees, and humans.

              2               2.      The extent of PCB contamination is troubling because PCBs cause a variety of adverse

              3        health effects. In humans, PCB exposure is associated with cancer as well as serious non-cancer health

              4        effects, including effects on the immune system, reproductive system, nervous system, endocrine

              5        system and other health effects. In addition, PCBs destroy populations of fish, birds, and other animal

              6 life.

              7               3.      Monsanto Company was the sole manufacturer of PCBs in the United States from 1935

              8 to 1979, and trademarked the name "Aroclor" for certain PCB compounds. Although Monsanto knew

              9 for decades that PCBs were toxic and knew that they were widely contaminating all natural resources

            10 and living organisms, Monsanto concealed these facts and continued producing PCBs until Congress

            11         enacted the Toxic Substances Control Act ("TSCA"), which banned the manufacture and most uses of

            12 PCBs as of January 1, 1979.

            13                4.      U.S. EPA (2000b) has classified PCBs as ’probably human carcinogens.’ Studies have

            14 suggested that PCBs may play a role in inducing breast cancer. Studies have also linked PCBs to

            15 increased risk for several other cancers including liver, biliary tract, gall bladder, gastrointestinal tract,

            16 pancreas, melanoma, and non-Hodgkin’s lymphoma. PCBs may also cause non-carcinogenic effects,

            17 including reproductive effects and developmental effects (primarily to the nervous system). PCBs tend

            18 to accumulate in the human body in the liver, adipose tissue (fat), skin, and breast milk. PCBs have

            19 also been found in human plasma, follicular fluid, and sperm fluid. Fetuses may be exposed to PCBs

            20 in utero, and babies may be exposed to PCBs during breastfeeding. According to U.S. EPA (2000b),

            21         ’ [s]ome human studies have also suggested that PCB exposure may cause adverse effects in children

            22 and developing fetuses while other studies have not shown effects. Reported effects include lower IQ

            23         scores, low birth weight, and lower behavior assessment scores.

            24                5.      PCBs have traveled into San Francisco Bay by a variety of ways. PCBs were used in

            25 many industrial and commercial applications such as paint, caulking, transformers, capacitors,

            26 coolants, hydraulic fluids, plasticizers, sealants, inks, lubricants, and other uses. PCBs regularly leach,

            27 leak, off-gas, and escape their intended applications, causing runoff during naturally occurring storm

            28 and rain events, after being released into the environment. The runoff originates from multiple sources
    GOMEZ                                                                 2
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                  1    and industries and enters the Bay with stormwater and other runoff.

              2               6.        The natural fate and transport of PCBs result in the gathering and collection in

              3        stormwater through no fault of the City of Oakland, which lawfully discharges water into San

              4        Francisco Bay through its NPDES permit.

              5               7.        San Francisco Bay ("the Bay") is contaminated with PCBs, which have been detected in

              6 the Bay’s water, sediments, fish, and wildlife. All segments of the Bay have been identified as

              7 impaired due to elevated levels of PCBs in sport fish. 1 The U.S. Environmental Protection Agency

              8 ("U.S. EPA") has approved a PCB Total Maximum Daily Load ("TMDL") for the Bay.

              9               8.        A Total Maximum Daily Load, or TMDL, is a calculation of the maximum amount of

            10 pollutant that an impaired body of water can receive and still safely meet water quality standards.2

            11                9.        The San Francisco Bay is impaired due to the presence of PCBs.

            12               10.        The TMDL is intended to achieve protection of the commercial sport fishing beneficial

            13 use and to the extent that other beneficial uses are affected by PCBs, the TMDL will also ensure

            14 protection of other beneficial uses, specifically, preservation of rare and endangered species, estuarine

            15 habitat and wildlife habitat]

            16                     Plaintiff CITY OF OAKLAND hereby alleges, upon information and belief, as follows:

            17               II.        PARTIES

            18               11.        The CITY OF OAKLAND ("Oakland" or "PlaintifF’) is a California Charter City and

            19 municipal corporation, duly organized and existing by virtue of the laws of the State of California.

            20               12.        Plaintiff brings this suit pursuant to California Code of Civil Procedure 731, and

            21         California Civil Code sections 3479, 3480, 3491, 3493, and 3494 and any other applicable codes or

            22 forms of relief available for monetary damages and removal of the public nuisance caused by PCBs in

            23 the Bay.

            24
                       1 San Francisco Bay Regional Water Quality Control Board, California Environmental Protection
            25
               Agency,
            26 ww.  waterb~ards, ca.g~v/sanfrancisc~bay/water issues/pr~grams/p~anningtmd~s/basinp~an/web/bp-ch 7
               b. shtml#7.2.3.
               2 United States Environmental Protection Agency,
            27
               www.water.epa.gov/lawsregs/lawsguidance/cwa/tmdl/
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    GOMEZ                                                                    3
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                                                           PLAINTIFF’S ORIGINAL COMPLMNT
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                  1          13.     Plaintiff manages and operates a municipal stormwater system, which collects and

              2        transports stormwater to be discharged into the Bay. In order to discharge stormwater into the Bay,

              3        Plaintiff is required to receive a Municipal Regional Stormwater Permit from the San Francisco Bay

              4        Regional Water Quality Control Board, pursuant to the National Pollutant Discharge Elimination

              5        System under the Clean Water Act.

              6              14.     Plaintiff is a permittee under a Municipal Regional Stormwater Permit, which includes

              7 a TMDL for PCBs, as the Bay is impaired due to PCBs.

              8              15.      Therefore, Plaintiff is subj ect to a PCB TMDL under a Municipal Regional Stormwater

              9 Permit. The PCB TMDL requires Plaintiff to limit its stormwater discharge of PCBs into the Bay.

            10               16.      Thus, Plaintiff has spent money in efforts to reduce PCB discharge toward these state-

            11         mandated TMDL goals.

            12               17.     Recently, the San Francisco Bay Regional Water Quality Control Board increased the

            13         standards for the PCB TMDL, which now requires the Plaintiff to further limit its PCB discharge into

            14 the Bay.

            15               18.      On May 11, 2015, a new draft Municipal Regional Stormwater Permit, to govern the

            16 next permit period, became the Tentative Order, requiring stricter standards and further, significant

            17 reduction in PCB discharge into the Bay.4

            18               19.      The new, stricter TMDL requirements will cost Plaintiff additional money in order to

            19 improve procedures, methods, and facilities, in order to reduce PCB discharge to new and future

            20 TMDL levels.

            21               20.     Defendant Monsanto Company ("Monsanto") is a Delaware corporation with its

            22 principal place of business in St. Louis, Missouri.

            23               21.     Defendant Solutia Inc. ("Solutia") is a Delaware corporation with its headquarters and

            24 principal place of business in St. Louis, Missouri.

            25               22.     Defendant Pharmacia LLC (formerly known as "Pharmacia Corporation" and successor

            26

            27
                       4 California Regional Water Quality Control Board, San Francisco Bay Region, Municipal Regional
            28         Stormwater NPDES Permit, Order R2-2015-XXX, NPDES Permit No. CAS612008.
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                  1    to the original Monsanto Company) is a Delaware LLC with its principal place of business in Peapack,

              2 New Jersey. Pharmacia is now a wholly-owned subsidiary of Pfizer, Inc.

              3              23.     The original Monsanto Company ("Old Monsanto") operated an agricultural products

              4        business, a pharmaceutical and nutrition business, and a chemical products business. Old Monsanto

              5        began manufacturing PCBs in the 1930s and continued to manufacture commercial PCBs until the late

              6        1970s.

              7              24.     Through a series of transactions beginning in approximately 1997, Old Monsanto’s

              8 businesses were spun off to form three separate corporations. The corporation now known as

              9 Monsanto operates Old Monsanto’s agricultural products business. Old Monsanto’s chemical products

            10 business is now operated by Solutia. Old Monsanto’s pharmaceuticals business is now operated by

            11         Pharmacia.

            12               25.     Solutia was organized by Old Monsanto to own and operate its chemical manufacturing

            13 business. Solutia assumed the operations, assets, and liabilities of Old Monsanto’s chemicals

            14 business.5

            15               26.     Although Solutia assumed and agreed to indemnify Pharmacia (then known as

            16 Monsanto Company) for certain liabilities related to the chemicals business, Defendants have entered

            17 into agreements to share or apportion liabilities, and/or to indemnify one or more entity, for claims

            18 arising from Old Monsanto’s chemical business --- including the manufacture and sale of PCBs.6

            19               27.     In 2003, Solutia filed a voluntary petition for reorganization under Chapter 11 of the

            20 U.S. Bankruptcy Code. Solutia’s reorganization was completed in 2008. In connection with Solutia’s

            21         Plan of Reorganization, Solutia, Pharmacia and New Monsanto entered into several agreements under

            22 which Monsanto continues to manage and assume financial responsibility for certain tort litigation and

            23

            24

            25         5 See MONSANTO COMPANY’S ANSWER TO THE COMPLAINT AND JURY DEMAND, Town ofLexington v.


            26 Pkarmacia Corp., Solutia, Inc., and Monsanto Company, C.A. No. 12-CV-11645, D. Mass. (October
               8, 2013); see also Relationships Among Monsanto Company, Pharmacia Corporation, Pfizer Inc., and
            27 Solutia Inc., http://www.m~nsant~.c~m/wh~weare/pages/m~nsant~-re~ati~nships-p~zer-s~~utia.aspx
               (last accessed February 20, 2014).
            28 6 See id.
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                  1    environmental remediation related to the Chemicals Business.7

              2               28.        Monsanto, Solutia, and Pharmacia are collectively referred to in this Complaint as

              3        "Defendants."

              4                lie       JURISDICTION AND VENUE

              5               29.        This Court has jurisdiction pursuant to 28 U.S.C. § 1332 because complete diversity

              6        exists between Plaintiff and Defendants. The Plaintiff is located in California, but no Defendant is a

              7        citizen of California. Monsanto is a Delaware corporation with its principal place of business in St.

              8        Louis, Missouri. Solutia is a Delaware corporation with its principal place of business in St. Louis,

              9        Missouri. Pharmacia is a Delaware limited liability company with its principal place of business in

            10         Peapack, New Jersey.

            11                30.        Venue is appropriate in this judicial district pursuant to 28 U.S.C. section 1391(a)

            12         because a substantial part of the property that is the subject of the action is situated in this judicial

            13         district.

            14                     IV.   FACTUAL ALLEGATIONS

            15                           A.     PCBs are Toxic Chemicals that Cause Environmental Contamination.

            16                31.        Polychlorinated biphenyl, or "PCB," is a molecule comprised of chlorine atoms

            17         attached to a double carbon-hydrogen ring (a "biphenyl" ring). A "PCB congener" is any single,

            18         unique chemical compound in the PCB category. Over two hundred congeners have been identified.8

            19                32.        PCBs were generally manufactured as mixtures of congeners. From approximately

            20         1935 to 1979, Monsanto Company was the only manufacturer in the United States that intentionally

            21         produced PCBs for commercial use.9 The most common trade name for PCBs in the United States was

            22         "Aroclor," which was trademarked by Old Monsanto.

            23

            24         7 See Monsanto’s Form 8-K (March 24, 2008), and Form 10-Q (June 27, 2008), available at
                       http://www.monsanto.com/investors/pages/sec-filings.aspx (last accessed February 20, 2014).
            25         8 Table of PCB Congeners, available at
            26         http ://www.epa.gov/epawaste/hazard/tsd/pcb s/pub s/congeners.htm (last accessed February 20, 2014).
                       9                                   st
                         See 116 Cong. Record 11695, 91 Congress, (April 14, 1970) ( Insofar as the Monsanto Co., the sole
            27         manufacturer of PCB’ s is concerned .... "); 121 Cong. Record 33879, 94th Congress, (October 23,
                       1975) ("The sole U.S. producer, Monsanto Co ..... "). See also MONS 058730-058752 at 058733
            28         (identifying other producers as "all ex-USA."), attached as Exhibit A.
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                  1          33.      Monsanto’s commercially-produced PCBs were used in a wide range of industrial

              2        applications in the United States including electrical equipment such as transformers, motor start

              3        capacitors, and lighting ballasts. In addition, PCBs were incorporated into a variety of products such

              4        as caulks, paints, and sealants.

              5              34.      As used in this Complaint, the terms "PCB," "PCBs," "PCB-containing products," and

              6 "PCB products" refer to products containing polychlorinated biphenyl congener(s) manufactured for

              7 placement into trade or commerce, including any product that forms a component part of or that is

              8        subsequently incorporated into another product.

              9              35.      PCBs easily migrate out of their original source material or enclosure and contaminate

            10 nearby surfaces, air, water, soil, and other materials. For example, PCB compounds volatilize out of

            11         building materials (such as caulk) into surrounding materials such as masonry, wood, drywall, and soil,

            12 thereby causing damage to those surrounding materials. PCBs can also escape from totally-enclosed

            13         materials (such as light ballasts) and similarly contaminate and damage surrounding materials.

            14               36.      PCBs present serious risks to the health of humans, wildlife, and the environment.

            15               37.      Humans may be exposed to PCBs through ingestion, inhalation, and dermal contact.

            16 Individuals may inhale PCBs that are emitted into the air. They may also ingest PCBs that are emitted

            17 into air and settle onto surfaces that come into contact with food or drinks. And they may absorb PCBs

            18 from physical contact with PCBs or PCB-containing materials.

            19               38.      EPA has determined that Monsanto’s PCBs are probable human carcinogens. In 1996,

            20 EPA reassessed PCB carcinogenicity, based on data related to Aroclors 1016, 1242, 1254, and 1260.10

            21         EPA’s cancer reassessment was peer reviewed by 15 experts on PCBs, including scientists from

            22 government, academia and industry, all of whom agreed that PCBs are probable human carcinogens.

            23               39.      In addition, EPA concluded that PCBs are associated with serious non-cancer health

            24 effects. From extensive studies of animals and primates using environmentally relevant doses, EPA

            25 has found evidence that PCBs exert significant toxic effects, including effects on the immune system,

            26
                       10 EPA, PCBs: Cancer Dose-Response Assessment and Application to Environmental Mixtures,
            27
               EPA/600/P-96/001F (September 1996), available at
            28 http ://www.epa. gov/epawaste/hazard/tsd/pcb s/pub s/pcb.pdf (last accessed May 5, 2014).
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                  1    the reproductive system, the nervous system, and the endocrine system.

              2                40.    PCBs affect the immune system by causing a significant decrease in the size of the

              3        thymus gland, lowered immune response, and decreased resistance to viruses and other infections. The

              4        animal studies were not able to identify a level of PCB exposure that did not affect the immune system.

              5        Human studies confirmed immune system suppression.

              6                41.    Studies of reproductive effects in human populations exposed to PCBs show decreased

              7 birth weight and a significant decrease in gestational age with increasing exposures to PCBs. Animal

              8        studies have shown that PCB exposures reduce birth weight, conception rates, live birth rates, and

              9 reduced sperm counts.

            10                 42.    Human and animal studies confirm that PCB exposure causes persistent and significant

            11         deficits in neurological development, affecting visual recognition, short-term memory, and learning.

            12         Some of these studies were conducted using the types of PCBs most commonly found in human breast

            13         milk.

            14                 43.    PCBs may also disrupt the normal function of the endocrine system. PCBs have been

            15         shown to affect thyroid hormone levels in both animals and humans. In animals, decreased thyroid

            16 hormone levels have resulted in developmental deficits, including deficits in hearing. PCB exposures

            17 have also been associated with changes in thyroid hormone levels in infants in studies conducted in the

            18 Netherlands and Japan.

            19                 44.    PCBs have been associated with other health effects including elevated blood pressure,

            20 serum triglyceride, and serum cholesterol in humans; dermal and ocular effects in monkeys and

            21         humans; and liver toxicity in rodents.

            22                 45.    Children may be affected to a greater extent than adults. The Agency for Toxic

            23         Substances and Disease Registry explained: "Younger children may be particularly vulnerable to

            24 PCBs because, compared to adults, they are growing more rapidly and generally have lower and

            25         distinct profiles of biotransformation enzymes, as well as much smaller fat deposits for sequestering

            26

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                  1    the lipophilic PCBs.’’11

              2              46.       PCBs are known to be toxic to a number of aquatic species and wildlife including fish,

              3        marine mammals, reptiles, amphibians, and birds. Exposure is associated with death, compromised

              4        immune system function, adverse effects on reproduction, development, and endocrine function. PCB

              5        exposure affects liver function, the digestive system, and nervous systems and can promote cancer in a

              6        number of animal species. The presence of PCBs can cause changes in community and ecosystem

              7        structure and function. 12

              8                        B.      Monsanto Has Long Known of PCBs’ Toxicity.

              9              47.       Monsanto was well aware of scientific literature published in the 1930s that established

            10         that inhalation in industrial settings resulted in toxic systemic effects. 13

            11               48.       An October 11, 1937, Monsanto memorandum advises that "Experimental work in

            12         animals shows that prolonged exposure to Aroclor vapors evolved at high temperatures or by repeated

            13         oral ingestion will lead to systemic toxic effects. Repeated bodily contact with the liquid Aroclors may

            14         lead to an acne-form skin eruption.’’14

            15               49.       A September 20, 1955, memo from Emmet Kelly set out Monsanto’s position with

            16         respect to PCB toxicity: "We know Aroclors are toxic but the actual limit has not been precisely

            17         defined. It does not make too much difference, it seems to me, because our main worry is what will

            18         happen if an individual develops [sic] any type of liver disease and gives a history of Aroclor exposure.

            19         I am sure the juries would not pay a great deal of attention to [maximum allowable concentrates].’’1~

            20                50.      On November 14, 1955, Monsanto’s Medical Department provided an opinion that

            21         workers should not be allowed to eat lunch in the Aroclor department:

            22

            23
                       11 Agency for Toxic Substances and Disease Registry, Toxicological Profile for Polychlorinated
            24         Biphenyls (PCBs), (November 2000), at 405, available at www.atsdr.cdc.gov (last accessed May 1,
                       2014).
            25         12 See EPA, Understanding PCB Risks, available at

            26         http ://www.epa.g~v/h~usat~nic/understandingpcbrisks.htm~#Wi~ d~ifeEc~~~gica~RiskAssessment (last
                       accessed March 5, 2015).
                       13 See Exhibits B, C, F
            27
                       14 MONS 061332, attached as Exhibit B.
            28         15 MONS 095196-7, attached as Exhibit C.
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                  1                It has long been the opinion of the Medical Department that eating in process
                                   departments is a potentially hazardous procedure that could lead to serious
              2                    difficulties. While the Aroclors are not particularly hazardous from our own
                                   experience, this is a difficult problem to define because early literature work
              3                    claimed that chlorinated biphenyls were quite toxic materials by ingestion or
                                   inhalation. 16
              4

              5              51.        On January 21, 1957, Emmet Kelly reported that after conducting its own tests, the U.S.

              6 Navy decided against using Monsanto’s Aroclors: "No matter how we discussed the situation, it was

              7 impossible to change their thinking that Pydraul 150 is just too toxic for use in a submarine." 17

              8              52.        In 1966, Kelly reviewed a presentation by Swedish researcher Soren Jensen, who stated

              9 that PCBs "appeared to be the most injurious chlorinated compounds of all tested.’’18 Jensen refers to a

            10         1939 study associating PCBs with the deaths of three young workers and concluding that "pregnant

            11         women and persons who have at any time had any liver disease are particularly susceptible.’’19 Kelly

            12 does not dispute any of Jensen’s remarks, noting only, "As far as the section on toxicology is

            13         concerned, it is true that chloracne and liver trouble can result from large doses.’’2°

            14                     C.   Monsanto Has Long Known that PCBs Were "Global Contaminants" Causing

            15 Harm to Animals and Fish.

            16               53.        At the same time, Monsanto became aware that PCBs were causing widespread

            17 contamination of the environment, far beyond the areas of its use.

            18               54.        Monsanto’s Medical Director reviewed an article by Swedish researcher Soren Jensen,

            19 who reported the detection of PCBs in the tissues of fish and wildlife in Sweden.22 The report noted

            20 that PCBs were also detected in the air over London and Hamburg and found in seals caught off the

            21

            22

            23

            24         16 Monsanto Chemical Company, Memorandum to H.B. Patrick, November 14, 1955 (no Bates
               number), attached as Exhibit D.
            25 17 MONS 095640, attached as Exhibit E.
               18
            26 19 See JDGFOX00000037-63, attached as Exhibit F.
                         ]d. at JDGFOX00000039.
               2o
            27    ]d. at JDGFOX00000037.
               21
                  See Exhibits G, H, L,
            28 22 New Scientist (December 15, 1986), MONSFOX00003427, attached as Exhibit G.
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                  1    coast of Scotland. Jensen concluded that PCBs can "be presumed to be widespread throughout the

              2        world."23

              3                 55.   A December 1968 article by Richard Risebrough identified chlorinated hydrocarbons

              4        (which include PCBs) as "the most abundant synthetic pollutants present in the global environment.’’24

              5        The article reported finding significant concentrations of PCBs in the bodies and eggs of peregrine

              6        falcons and 34 other bird species. The report linked PCBs to the rapid decline in peregrine falcon

              7        populations in the United States.

              8                 56.   Despite growing evidence of PCBs’ infiltration of every level of the global ecology,

              9        Monsanto remained steadfast in its production of Aroclors and other PCBs.

            10                  57.   On March 6, 1969, Monsanto employee W. M. Richard wrote a memorandum

            11         discussing Risebrough’s article that criticized PCBs as a "toxic substance", "widely spread by air-

            12         water; therefore, an uncontrollable pollutant.., causing extinction of peregrine falcon ... [and]

            13         endangering man himself.’’25 Richard explained that Monsanto could take steps to reduce PCB

            14         releases from its own plants but cautioned, "It will be still more difficult to control other end uses such

            15         as cutting oils, adhesives, plastics, and NCR paper. In this applications exposure to consumers is

            16         greater and the disposal problem becomes complex.’’26

            17                  58.   On September 9, 1969, Monsanto employee W.R. Richard wrote an interoffice memo

            18         titled "Defense of Aroclor.’’27 He acknowledged the role of Aroclor in water pollution: "Aroclor

            19         product is refractive, will settle out on solids - sewerage sludge - river bottoms, and apparently has a

            20         long life." He noted that Aroclors 1254 and 1260 had been found along the Gulf Coast of Florida

            21         causing a problem with shrimp; in San Francisco Bay, where it was reported to thin egg shells in

            22         birds; and in the Great Lakes. Richard advised that the company could not defend itself against all

            23         criticism: "We can’t defend vs. everything. Some animals or fish or insects will be harmed. Aroclor

            24

            25         23 Id.
                       24 R.W. Risebrough, Polychlorinated Biphenls in the Global Ecosystem, Nature, Vol. 220 (December
            26
                       14, 1968), attached as Exhibit H.
                       25 MONS 096509-096511, attached as Exhibit I.
            27
                       26 Id.

            28         27 DSW 014256-014263, attached as Exhibit J.
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                  1    degradation rate will be slow. Tough to defend against. Higher chlorination compounds will be worse

              2        [than] lower chlorine compounds. Therefore we will have to restrict uses and clean-up as much as we

              3        can, starting immediately.’’28

              4              59.      On January 29, 1970, Elmer Wheeler of the Medical Department circulated laboratory

              5        reports discussing results of animal studies. He noted: "Our interpretation is that the PCB’s are

              6 exhibiting a greater degree of toxicity in this chronic study than we had anticipated. Secondly,

              7 although there are variations depending on species of animals, the PCB’s are about the same as DDT in

              8 mammals.’’29

              9              60.      Monsanto expressed a desire to keep profiting from PCBs despite the environmental

            10 havoc in a PCB Presentation to Corporate Development Committee. The report suggests possible

            11         reactions to the contamination issue. It considered that doing nothing was "unacceptable from a legal,

            12 moral, and customer public relations and company policy viewpoint." But the option of going out of

            13 the Aroclor business was also considered unacceptable: "there is too much customer/market need and

            14 selfishly too much Monsanto profit to go out.’’3°

            15               61.      The Aroclor Ad Hoc Committee held its first meeting on September 5, 1969. The

            16 committee’s obj ectives were to continue sales and profits of Aroclors in light of the fact that PCB

            17 "may be a global contaminant.’’31 The meeting minutes acknowledge that PCB has been found in fish,

            18 oysters, shrimp, birds, along coastlines of industrialized areas such as Great Britain, Sweden, Rhine

            19 River, low countries, Lake Michigan, Pensacola Bay, and in Western wildlife. Moreover, the

            20 committee implicated the normal use of PCB-containing products as the cause of the problem: "In one

            21         application alone (highway paints), one million lbs/year are used. Through abrasion and leaching we

            22 can assume that nearly all of this Aroclor winds up in the environment.’’32

            23               62.      A month later, on October 2, 1969, the Committee reported extensive environmental

            24 contamination. The U.S. Department of Interior, Fish and Wildlife found PCB residues in dead eagles

            25
               28
            26 29 Id.
                  MONS 098480, attached as Exhibit K.
               3o
            27    Ex. A at 058737.
               31
                  MONS 030483-030486, attached as Exhibit L.
            28 32 Id.at 030485.
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                  1    and marine birds. Similarly, the Bureau of Commercial Fisheries reported finding PCBs in the river

              2        below Monsanto’s Pensacola plant. The U.S. Food and Drug Administration had discovered PCBs in

              3        milk supplies. The Committee advised that Monsanto could not protect the environment from

              4        Aroclors as "global" contaminants but could protect the continued manufacture and sale of Aroclors:

              5                      There is little probability that any action that can be taken will prevent the
                                     growing incrimination of specific polychlorinated biphenyls (the higher
              6                      chlorinated - e.g. Aroclors 1254 and 1260) as nearly global environmental
                                     contaminants leading to contamination of human food (particularly fish), the
              7                      killing of some marine species (shrimp), and the possible extinction of several
                                     species of fish eating birds.
              8                      Secondly, the committee believes that there is no practical course of action
                                     that can so effectively police the uses of these products as to prevent
              9                      environmental contamination. There are, however a number of actions which
                                     must be undertaken to prolong the manufacture, sale and use of these
            10                       particular Aroclors as well as to protect the continued use of other members of
                                     the Aroclor series.’3
            11

            12                 63.        Monsanto’s desire to protect Aroclor sales rather than the environment is reflected in

            13 the Committee’s stated objectives:

            14
                                     1.    Protect continues sales and profits of Aroclors;
            15                       2.    Permit continued development of new uses and sales, and
            16                       3.    Protect the image of the Organic Division and the Corporation as members of the
                                     business community recognizing their responsibilities to prevent and/or con-
            17                       trol contamination of the global ecosystem)4

            18                 64.        An interoffice memorandum circulated on February 16, 1970, provided talking points
            19 for discussions with customers in response to Monsanto’s decision to eliminate Aroclors 1254 and

            20         1260: "We (your customer and Monsanto) are not interested in using a product which may present a
            21         problem to our environment." Nevertheless, the memo acknowledges that Monsanto "can’t afford to
            22 lose one dollar of business." To that end, it says, "We want to avoid any situation where a customer

            23 wants to return fluid .... We would prefer that the customer use up his current inventory and purchase

            24         [new products] when available. He will then top off with the new fluid and eventually all Aroclor
            25         1254 and Aroclor 1260 will be out of his system. We don’t want to take fluid back." ~s
            26

            27 ~ DSW 014612-014624, at 014615, attached as Exhibit M.
                       34Id"
            28 ~s MONS 100123-100124, attached as Exhibit N.
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                  1            65.    In 1970, the year after Monsanto formed the "ad hoc" committee, and despite

              2        Monsanto’s knowledge of the global reach of PCB contamination, PCB production in the United States

              3        peaked at 85 million pounds.

              4                66.    Growing awareness of the ubiquitous nature of PCBs led the United States to conduct

              5        an investigation of health and environmental effects and contamination of food and other products. An

              6 interdepartmental task force concluded in May 1972 that PCBs were highly persistent, could

              7 bioaccumulate to relatively high levels, and could have serious adverse health effects on human

              8 health.36

              9                67.    After that report, environmental sampling and studies indicated that PCBs were a "more

            10 serious and continuing environmental and health threat than had been originally realized.’’37 To

            11         address these concerns, EPA undertook a study to assess PCB levels in the environment on a national

            12 basis. That study revealed widespread occurrence of PCBs in bottom sediments in several states,

            13         including California; in fish and birds; in lakes and rivers; in the Atlantic Ocean, the Pacific Ocean,

            14 and the Gulf of Mexico; sewage treatment facilities; in a variety of foods including milk, poultry,

            15         eggs, fish, meat, and grains; and in human tissues, blood, hair, and milk)8

            16                 68.    EPA’s study noted the particular burden on California. "PCBs have become a

            17 significant component of the marine food webs of southern California," were found in sediments in the

            18         Santa Barbara Basin, and found in high levels in the San Francisco Bay)9

            19                 69.    At the same time, Monsanto was promoting the use and sale of Aroclor and other PCB

            20 compounds. In a 1960 brochure, Monsanto promotes the use of Aroclors in transformers and

            21         capacitors, utility transmission lines, home appliances, electric motors, fluorescent light ballasts, wire

            22 or cable coatings, impregnants for insulation, dielectric sealants, chemical processing vessels, food

            23         cookers, potato chip fryers, drying ovens, thermostats, furnaces, and vacuum diffusion pumps.

            24 Aroclors could also be used, the brochure advertised, as a component of automotive transmission oil;

            25

            26 36 EPA, Review of PCB Levels in the Environment, EPA-560/7-76-001 (January 1976).

            27 37/d. at 1.
               38 M., passim.
            28         39Id"
    GOMEZ                                                                   14
TRIAL ATTORNEYS



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                  1    insecticides; natural waxes used in dental casting, aircraft parts, and j ewelry; abrasives; specialized

              2        lubricants; industrial cutting oils; adhesives; moisture-proof coatings; printing inks; papers; mastics;

              3        sealant; caulking compounds; tack coatings; plasticizers; resin; asphalt; paints, varnishes, and lacquers;

              4        masonry coatings for swimming pools, stucco homes, and highway paints; protective and decorative

              5        coatings for steel structures, railway tank and gondola cars; wood and metal maritime equipment; and

              6 coatings for chemical plants, boats, and highway marking. 4o

              7              70.      A 1961 brochure explains that Monsanto’s Aroclors are being used in "lacquers for

              8 women’s shoes," as "a wax for the flame proofing of Christmas trees," as "floor wax," as an

              9 adhesive for bookbinding, leather, and shoes, and as invisible marking ink used to make chenille rugs

            10 and spreads. 41

            11               71.      Thus, by February 1961, at the latest, Monsanto knew that its Aroclors were being used

            12 in a variety of industrial, commercial, household, and consumer goods. Moreover, Monsanto

            13         affirmatively encouraged these uses by encouraging salesmen to market products for these and other

            14 applications.

            15               72.      A few years later, in 1970, Monsanto tried to distance itself from the variety of

            16 applications of Aroclors that it proudly espoused a few years before. In a press release, the company

            17 claimed: " ’What should be emphasized.., is that PCB was developed over 40 years ago primarily

            18 for use as a coolant in electrical transformers and capacitors. It is also used in commercial heating and

            19 cooling systems. It is not a ’household’ item.’’42

            20                        D.      Monsanto Concealed the Nature of PCBs from Governmental Entities.

            21               73.      While the scientific community and Monsanto knew that PCBs were toxic and

            22 becoming a global contaminant, Monsanto repeatedly misrepresented these facts, telling governmental

            23         entities the exact opposite -- that the compounds were not toxic and that the company would not
                                                                              43
            24 expect to find PCBs in the environment in a widespread manner.

            25

            26 40 The Aroclor Compounds (hand dated May 1960), 0509822- 66, attached as Exhibit S.
               41 Plasticizer Patter (February 1961), 0627503-21, attached as Exhibit T.
            27
               42 See Press release (July 16, 1970), MCL000647-50, attached as Exhibit U, at MCL000648.
            28 43 See Exhibits O-R (letters to governmental agencies).
    GOMEZ                                                                   15
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                  1             74.   In a March 24, 1969 letter to Los Angeles County Air Pollution Control District,

              2        Monsanto advised that the Aroclor compounds "are not particularly toxic by oral ingestion or skin

              3        absorption.’’44 Addressing reports of PCBs found along the West Coast, Monsanto claimed ignorance

              4        as to their origin, explaining that "very little [Aroclor] would normally be expected either in the air or

              5        in the liquid discharges from a using industry.’’4s A similar letter to the Regional Water Quality

              6 Control Board explained that PCBs are associated with "no special health problems" and "no problems

              7 associated with the environment.’’46

              8                 75.   In May, 1969, Monsanto employee Elmer Wheeler spoke with a representative of the

              9 National Air Pollution Control Administration, who promised to relay to Congress the message that

            10 Monsanto "cannot conceive how the PCBs can be getting into the environment in a widespread

            11         fashion.’’47

            12                  76.   Monsanto delivered the same message to the New Jersey Department of Conservation

            13         in July, 1969, claiming first, "Based on available data, manufacturing and use experience, we do not

            14 believe the PCBs to be seriously toxic.’’48 The letter then reiterates Monsanto’s position regarding

            15         environmental contamination: "We are unable at this time to conceive of how the PCBs can become

            16 wide spread in the environment. It is certain that no applications to our knowledge have been made

            17 where the PCBs would be broadcast in the same fashion as the chlorinated hydrocarbon pesticides

            18 have been.’’49

            19 ///

            20 ///

            21         ///

            22

            23
                       44 Letter from Monsanto to Los Angeles County Air Pollution Control District (March 24, 1969),
            24 attached as Exhibit O.
                       45 Id.
            25 46 Letter from Monsanto to State of California Resources Agency (March 27, 1969), attached as

            26 Exhibit  P.
               47 Monsanto Memorandum to W.R. Richard (May 26, 1969), attached as Exhibit Q.
               48 Letter from Monsanto to Department of Conservation and Economic Development (July 23, 1969),
            27
               attached as Exhibit R.
            28
    GOMEZ                                                                   16
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                  1                                               FIRST CAUSE OF ACTION

              2                                                         PUBLIC NUISANCE

              3              77.       Plaintiff realleges and reaffirms each and every allegation set forth in all preceding

              4        paragraphs as if fully restated in this count.

              5              78.       Monsanto manufactured, distributed, marketed, and promoted PCBs in a manner that

              6 created or participated in creating a public nuisance that is harmful to health and obstructs the free use

              7 of the Bay.

              8              79.       The presence of PCBs interferes with the comfortable enj oyment of the Bay for

              9 customary uses for fishing, swimming, and other water activities.

            10               80.       The presence of PCBs interferes with the free use of the Bay for the promotion of

            11         commerce, navigation, and fisheries.

            12               81.       The presence of PCBs interferes with the free use of the Bay for ecological preservation

            13         and habitat restoration.

            14               82.       The San Francisco Bay Regional Water Quality Control Board, pursuant to the NPDES

            15 under the Clean Water Act, requires the Plaintiff to reduce their discharge of PCBs into the Bay to

            16 prevent further contamination of the already impaired body of water.

            17               83.       The presence of PCBs causes inconvenience and annoyance to Plaintiff, who is charged

            18 with reducing the PCB discharge toward TMDL levels, in order to protect plant and animal life, and

            19 the quality of water in the bay.

            20               84.       The condition affects a substantial number of people who use the Bay for commercial

            21         and recreational purposes and interferes with the rights of the public at large to clean and safe

            22 resources and environment.

            23               85.       An ordinary person would be reasonably annoyed or disturbed by the presence of toxic

            24 PCBs that endanger the health of fish, animals, and humans and degrade water quality and destroy

            25 marine habitats.

            26               86.       The seriousness of the environmental and human health risk far outweighs any social

            27 utility of Monsanto’s conduct in manufacturing PCBs and concealing the dangers posed to human

            28 health and the environment.
    GOMEZ                                                                   17
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                  1          87.       The Plaintiff has suffered and will continue to suffer harm that is different from the type

              2        of harm suffered by the general public, and the Plaintiff has incurred substantial costs deriving from

              3        state-mandated PCB TMDLs.

              4              88.       Plaintiff did not consent to the conduct that resulted in the contamination of the Bay.

              5              89.       Monsanto’s conduct was a substantial factor in causing the harm to the Plaintiff.

              6              90.       Monsanto knew or, in the exercise of reasonable care, should have known that the

              7        manufacture and sale of PCBs was causing the type of contamination now found in the Bay. Monsanto

              8        knew that PCBs would contaminate water supplies, would degrade marine habitats, would kill fish

              9        species, and would endanger birds and animals. In addition, Monsanto knew that PCBs are associated

            10         with serious illnesses and cancers in humans and that humans may be exposed to PCBs through

            11         ingestion and dermal contact. As a result, it was foreseeable to Monsanto that humans may be exposed

            12         to PCBs through swimming in contaminated waters or by eating fish from those waters. Monsanto

            13         thus knew, or should have known, that PCB contamination would seriously and unreasonably interfere

            14         with the ordinary comfort, use, and enj oyment of any coastal marine areas.

            15               91.       As a direct and proximate result of Monsanto’s creation of a public nuisance, Plaintiff

            16         has suffered, and continues to suffer, monetary damages to be proven at trial.

            17               92.       Monsanto’ s conduct was malicious, oppressive, wanton, willful, intentional, and shocks

            18         the conscience, warranting punitive and exemplary damages, because Monsanto callously decided to

            19         increase sales and develop new ways to promote PCBs, knowing PCBs are toxic, cannot be contained,

            20         and last for centuries.

            21                                                   SECOND CAUSE OF ACTION

            22                                                     EQUITABLE INDEMNITY

            23               93.       Plaintiff realleges and reaffirms each and every allegation set forth in all preceding

            24         paragraphs as if fully restated in this count.

            25               94.       Monsanto is responsible for creating the public nuisance by manufacturing, distributing,

            26         and promoting PCBs, resulting in contamination in and around the Bay.

            27               95.       Monsanto’s creation of the public nuisance contributed as a substantial factor in causing

            28         Plaintiff’ s injury and damages.
    GOMEZ                                                                   18
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                  1          96.      The conduct of Plaintiff did not contribute in any way to the creation of the public

              2        nuisance.

              3                                                 PRAYER FOR RELIEF

              4               Plaintiff prays for judgment against Defendants, j ointly and severally, as follows:

              5               1. Compensatory damages according to proof;

              6               2. Punitive damages;

              7               3. Litigation costs and attorney’s fees as provided by law;

              8               4. Pre-judgment and post-judgment interest;

              9               5. Any other and further relief as the Court deems just, proper, and equitable.

            10

            11                                             DEMAND FOR JURY TRIAL

            12                Plaintiff demands a jury trial.

            13

            14 Dated: November 10, 2015                             By:/s/John P. Fiske

            15                                                      GOMEZ TRIAL ATTORNEYS
                                                                    John H. Gomez (SBN 171485)
            16
                                                                    John P. Fiske (SBN 249256)
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                                                                    San Diego, California 92101
            18
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            19                                                      Scott Summy (pending Pro Hac Vice)
                                                                    Carla Burke (pending Pro Hac Vice)
            20
                                                                    Celeste Evangelisti (SBN 225232)
            21                                                      3102 Oak Lawn Avenue, Suite 1100
                                                                    Dallas, Texas 75219-4281
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                                                                    OFFICE OF THE CITY ATTORNEY
            23                                                      City of Oakland
                                                                    Barbara Parker (SBN 69722)
            24                                                      Otis McGee, Jr. (SBN 71885)
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            25                                                      1 Frank H. Ogawa Place, 6 Floor
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    GOMEZ                                                                  19
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                    EXHIBIT 16
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04   pah nl^] ma^ [nbe]bg`l- =l Z k^lnem+ ma^l^ bg]bob]nZel aZo^ [^^g \hibg` pbma Z]o^kl^
05   f^]b\Ze ^__^\ml+ bg\en]bg` g^nkheh`b\Ze ]ZfZ`^+ Znmhbffng^ Zg] ^g]h\kbg^ ]bl^Zl^l+ Zg]
06   \Zg\^kl- Pa^ OmZm^+ ma^ O\ahhe @blmkb\m+ Zg] ma^ D^Zema @blmkb\m g^`eb`^gmer Zeehp^] ma^
07   mhqb\ \a^fb\Zel mh ^qblm bg ma^ [nbe]bg`l+ ]n^ bg iZkm mh IhglZgmh{l hg`hbg` _Zbenk^ mh
08   pZkg Z[hnm L?>l{ ^qmk^f^ mhqb\bmr- N^`Zk]e^ll+ ma^ in[eb\ ^gmbmb^l aZ] chbgm ]nmb^l h_
1/   k^ZlhgZ[e^ \Zk^ mh ikhob]^+ fZbgmZbg+ bgli^\m+ hi^kZm^+ Zg] lni^kobl^ in[eb\ ^]n\Zmbhg _hk
10   ma^ \abe]k^g Zg] Z]neml Zm Odr RZee^r- Pa^ in[eb\ ^gmbmb^l obheZm^] ma^bk ]nmb^l [r Zeehpbg`
11   ma^ mhqb\ \a^fb\Zel mh k^fZbg bg ma^ l\ahhe [nbe]bg`l Zg] ihblhg ma^l^ \abe]k^g Zg]
12   Z]neml-
13             Pabl \Zl^ bl Z[hnm l\ahhe lZ_^mr Zg] ma^ mhqb\ \a^fb\Zel bg l\ahhe [nbe]bg`l maZm
14   ihblhg^] \abe]k^g Zg] Z]neml+ Zg] pa^ma^k ng]^k lmZm^ eZp ma^ fZgn_Z\mnk^k pbee [^ a^e]
15   Z\\hngmZ[e^ _hk bml mhqb\ ikh]n\ml+ Zg] pa^ma^k ma^ in[eb\ ^gmbmb^l maZm Zk^ h[eb`Zm^] mh
16   ikhob]^ lZ_^ l\ahhe [nbe]bg`l pbee [^ a^e] Z\\hngmZ[e^ _hk ma^ mhqb\ l\ahhe [nbe]bg`l-
17             Pa^ _heehpbg` AL= leb]^ ]^fhglmkZm^l ma^ f^\aZgblf h_ ma^ mhqb\ ihblhgbg`9


                                                                         &,'%$)"* 5 ,/#'* +((+
                                                                          <9 / *'0%,-'.2 - .,%%. 3 - /'.% :89
                                                                                 - %"..(% 1" ?>989
     COMPLAINT - 1                                                                 6:8=7 <894;;;=
                            PCBs - A Complex Problem in Buildings
          Example Scenario                            " Over 100 PCB chemicals
                                                             p p
                                                      " Multiple primary
                                                                       y sources p
                                                                                 possible
                                                      " Transport from sources to air, surfaces,
                                                                                                                                          Case: 4:23-cv-00204-HEA




                                                            dust, soil
                                                      " Secondary sources created
                        Primary Sources
                             Caulk                    " Exposures through multiple pathways
                             Light Ballast
                                                      " Ventilation and temperature effects
                                                                                                                                        #: 306




                        Secondary Sources/Sinks
                            Surrounding Materials
                            Paint
                            Dust
                                                                                                                             Doc. #: 1-3 Filed: 02/20/23




HVAC
 Unit
                                                                                                                                          Page: 253 of 463 PageID




 Office of Research and Development
 National Exposure Research Laboratory
                                                                  Primary PCB         Secondary PCB
COMPLAINT - 2                                       Ventilation                                                  Dust/Soil
                                                                  Source              Sources and Sinks
                                                                   Electronically Filed - St Louis County - August 03, 2022 - 02:35 PM
                                                                                                                 Electronically Filed - St Louis County - August 03, 2022 - 02:35 PM
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                                                #: 307



0    88'        834=C8CH >5 C74 ?0AC84B
1          0'        8LMV\Q\QM[ WN \PM 3MNMVLIV\['
2               0-   Eg 1/04 Zg] 1/05+ ma^ ?bmb^l h_ OihdZg^ Zg] O^Zmme^ Zg] ma^ OmZm^ h_
3    SZlabg`mhg ^Z\a l^iZkZm^er ln^] ma^ IhglZgmh @^_^g]Zgml _hk ma^bk khe^ bg
4    \hgmZfbgZmbg` SZlabg`mhg in[eb\ k^lhnk\^l pbma IhglZgmh{l L?>l- IZgr h_ ma^
5    _heehpbg` Zee^`Zmbhgl aZo^ [^^g fZ]^ hk Z]fbmm^] mh [r ma^ OmZm^ Zg] IhglZgmh
6    ?hfiZgr+ OhenmbZ+ Eg\-+ Zg] LaZkfZ\bZ H??+ makhn`a ma^ OmZm^{l ?hfieZbgm _hk
7    @ZfZ`^l+ Zg] IhglZgmh+ ^m Ze-{l =glp^k mh ma^ ?hfieZbgm+ hk Zk^ lhnk\^] _khf hma^k
8    in[eb\ ]h\nf^gml- See OmZm^{l ?hfieZbgm _hk @ZfZ`^l+ State v. Monsanto, et al.+ Gbg`
0/   ?hngmr ?Zl^ Jh- 05,1,18480,5,OA= (@^\^f[^k 05+ 1/05)+ Zg] @^_^g]Zgm IhglZgmh
00   ?hfiZgr ^m Ze-{l =glp^k mh ?hfieZbgm+ State v. Monsanto Company, et al.+ Jh- 1906,\o,
01   ///42 (S-@- SZla- FZg- 01+ 1/06): see also City of Seattle v. Monsanto Co.+ 126 B-
02   Onii- 2] 0/85+ 00//+ _g 1 (S-@- SZla- 1/06) (xPa^ hkb`bgZe IhglZgmh ?hfiZgr
03   hi^kZm^] pbmabg mak^^ fZbg bg]nlmkb^l9 Z`kb\nemnkZe ikh]n\ml+ \a^fb\Ze ikh]n\ml+ Zg]
04   iaZkfZ\^nmb\Zel- Eg ma^ eZm^ 088/l+ IhglZgmh ?hfiZgr ling h__ bgmh mak^^ l^iZkZm^
05   \hkihkZmbhgl+ ^Z\a k^lihglb[e^ _hk Z ]b__^k^gm bg]nlmkr9 IhglZgmh ?hfiZgr k^mZbg^] ma^
06   Z`kb\nemnkZe ikh]n\ml [nlbg^ll: OhenmbZ+ Eg\- Zllnf^] ma^ \a^fb\Ze ikh]n\ml [nlbg^ll: Zg]
07   LaZkfZ\bZ ?hkihkZmbhg Zllnf^] ma^ iaZkfZ\^nmb\Ze [nlbg^ll- AZ\a Zllnf^] \^kmZbg
08   Zll^ml Zg] ebZ[bebmb^l _khf ma^ hkb`bgZe IhglZgmh ?hfiZgr+ Zg] Zee Zk^ ]^_^g]Zgml bg mabl
1/   \Zl^y): City of Spokane v. Monsanto Co.+ ?Zl^ Jh- 1904,\o,//1/0,OIF (A-@- SZla- Fner
10   20+ 1/04): see also Solutia, Inc. v. McWane, Inc.+ 615 B-Onii-1] 0205+ 0207,08 (J-@-
11   =eZ- 1/0/) (xIhglZgmh ?hfiZgr Zg] bml ik^]^\^llhkl ikh]n\^] iher\aehkbgZm^]
12   [bia^grel (zL?>l{)v Eg 0886+ IhglZgmh \k^Zm^] OhenmbZ bg Z libg,h__ mkZglZ\mbhgv Eg
13   1///+ LaZkfZ\bZ pZl _hkf^] [r ma^ f^k`^k h_ IhglZgmh Zg] LaZkfZ\bZ & Qichagy)-
14              1-   @^_^g]Zgm IhglZgmh ?hfiZgr bl Z @^eZpZk^ \hkihkZmbhg pbma bml ikbg\biZe
15   ieZ\^ h_ [nlbg^ll bg Om- Hhnbl ?hngmr+ Ibllhnkb-
16              2-   @^_^g]Zgm OhenmbZ+ Eg\- bl Z @^eZpZk^ \hkihkZmbhg pbma bml ikbg\biZe ieZ\^ h_
17   [nlbg^ll bg Om- Hhnbl ?hngmr+ Ibllhnkb-


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                                                                                  - %"..(% 1" ?>989
     COMPLAINT - 3                                                                  6:8=7 <894;;;=
                                                                                                                Electronically Filed - St Louis County - August 03, 2022 - 02:35 PM
     Case: 4:23-cv-00204-HEA        Doc. #: 1-3 Filed: 02/20/23       Page: 255 of 463 PageID
                                               #: 308



0           3-     @^_^g]Zgm LaZkfZ\bZ HH? bl _hkf^ker dghpg Zl LaZkfZ\bZ ?hkihkZmbhg
1    Zg] bl ln\\^llhk mh ma^ hkb`bgZe IhglZgmh ?hfiZgr- LaZkfZ\bZ bl Z @^eZpZk^ ebfbm^]
2    ebZ[bebmr \hkihkZmbhg Zg] bl Z \bmbs^g h_ ma^ lmZm^l h_ J^p Uhkd Zg] @^eZpZk^- LaZkfZ\bZ
3    bl ghp Z paheer,hpg^] ln[lb]bZkr h_ L_bs^k+ Eg\-
4           4-     Pa^ hkb`bgZe IhglZgmh ?hfiZgr (xKe] IhglZgmhy) hi^kZm^] Z`kb\nemnkZe+
5    \a^fb\Ze+ Zg] iaZkfZ\^nmb\Ze [nlbg^ll^l-
6           5-     Ke] IhglZgmh [^`Zg fZgn_Z\mnkbg` L?>l Zkhng] ma^ 082/l Zg] \hgmbgn^]
7    mh fZgn_Z\mnk^ \hff^k\bZe L?>l+ bg\en]bg` L?>l nl^] bg ^e^\mkb\Ze ^jnbif^gm
8    Ziieb\Zmbhgl ln\a Zl eb`am [ZeeZlml+ makhn`a ma^ 083/l+ 084/l+ 085/l+ Zg] 086/l+ ngmbe
0/   ZiikhqbfZm^er 0866-
00          6-     =khng] 0886+ Ke] IhglZgmh ling,h__ bml \a^fb\Ze [nlbg^ll mh OhenmbZ-
01   Obg\^ 1///+ ma^ ik^l^gm hk \nkk^gm IhglZgmh ?hfiZgr aZl hi^kZm^] ma^ Z`kb\nemnkZe
02   [nlbg^ll+ pabe^ LaZkfZ\bZ k^mZbg^] ma^ iaZkfZ\^nmb\Ze [nlbg^ll-
03          7-     Ke] IhglZgmh bl ghp dghpg Zl LaZkfZ\bZ HH?-
04          8-     Ke] IhglZgmh hk`Zgbs^] OhenmbZ mh hpg Zg] hi^kZm^ bml \a^fb\Ze
05   fZgn_Z\mnkbg` [nlbg^ll- OhenmbZ Zllnf^] ma^ hi^kZmbhgl+ Zll^ml+ Zg] ebZ[bebmb^l h_ Ke]
06   IhglZgmh{l \a^fb\Ze [nlbg^ll-
07          0/-    =emahn`a OhenmbZ Zllnf^] Zg] Z`k^^] mh bg]^fgb_r LaZkfZ\bZ (ma^g dghpg
08   Zl IhglZgmh ?hfiZgr) _hk \^kmZbg ebZ[bebmb^l k^eZm^] mh ma^ \a^fb\Zel [nlbg^ll+
1/   IhglZgmh+ OhenmbZ+ Zg] LaZkfZ\bZ aZo^ Zelh ^gm^k^] bgmh Z`k^^f^gml mh laZk^ hk
10   Ziihkmbhg ebZ[bebmb^l+ Zg].hk mh bg]^fgb_r hg^ hk fhk^ ^gmbmb^l+ _hk \eZbfl Zkblbg` _khf Ke]
11   IhglZgmh'l \a^fb\Ze [nlbg^ll+ bg\en]bg` ma^ fZgn_Z\mnk^ Zg] lZe^ h_ L?>l-
12          00-    =\\hk]bg` mh IhglZgmh+ OhenmbZ+ Zg] LaZkfZ\bZ+ ma^ mak^^ ^gmbmb^l aZo^
13   ^gm^k^] bgmh \hfie^q \hkihkZm^ mkZglZ\mbhgl Zg] Z`k^^f^gml maZm ]^m^kfbg^ ma^bk
14   k^li^\mbo^ e^`Ze hk _bgZg\bZe h[eb`Zmbhgl _hk \eZbfl Zkblbg` _khf Ke] IhglZgmh{l
15   fZgn_Z\mnk^ Zg] lZe^ h_ L?>l-
16          01-    Eg 1//2+ OhenmbZ _be^] Z ohengmZkr i^mbmbhg _hk k^hk`ZgbsZmbhg ng]^k ?aZim^k
17   00 h_ ma^ Q-O- >Zgdknim\r ?h]^- OhenmbZ'l k^hk`ZgbsZmbhg pZl \hfie^m^] bg 1//7- Eg


                                                                         &,'%$)"* 5 ,/#'* +((+
                                                                          <9 / *'0%,-'.2 - .,%%. 3 - /'.% :89
                                                                                 - %"..(% 1" ?>989
     COMPLAINT - 4                                                                 6:8=7 <894;;;=
                                                                                                                Electronically Filed - St Louis County - August 03, 2022 - 02:35 PM
     Case: 4:23-cv-00204-HEA        Doc. #: 1-3 Filed: 02/20/23       Page: 256 of 463 PageID
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0    \hgg^\mbhg pbma OhenmbZ'l LeZg h_ N^hk`ZgbsZmbhg+ OhenmbZ+ LaZkfZ\bZ+ Zg] g^p IhglZgmh
1    ^gm^k^] bgmh l^o^kZe Z`k^^f^gml ng]^k pab\a IhglZgmh \hgmbgn^l mh fZgZ`^ Zg] Zllnf^
2    _bgZg\bZe k^lihglb[bebmr _hk \^kmZbg mhkm ebmb`Zmbhg Zg] ^gobkhgf^gmZe k^f^]bZmbhg k^eZm^] mh
3    ma^ \a^fb\Zel [nlbg^ll-
4           02-    IhglZgmh k^ik^l^gm^] bg Z k^\^gm Bhkf 0/,G (_hk ma^ _bl\Ze r^Zk ^g]bg`
5    =n`nlm 20+ 1/05)9 xIhglZgmh bl bgoheo^] bg ^gobkhgf^gmZe k^f^]bZmbhg Zg] e^`Ze
6    ikh\^^]bg`l mh pab\a IhglZgmh bl iZkmr bg bml hpg gZf^ Zg] ikh\^^]bg`l mh pab\a bml
7    _hkf^k iZk^gm+ LaZkfZ\bZ HH? (zLaZkfZ\bZ{) hk bml _hkf^k ln[lb]bZkr+ OhenmbZ+ Eg\-
8    (zOhenmbZ{) bl Z iZkmr [nm maZm IhglZgmh fZgZ`^l Zg] _hk pab\a IhglZgmh bl k^lihglb[e^
0/   inklnZgm mh \^kmZbg bg]^fgb_b\Zmbhg Z`k^^f^gml- Eg Z]]bmbhg+ IhglZgmh aZl ebZ[bebmb^l
00   ^lmZ[ebla^] _hk oZkbhnl ikh]n\m \eZbfl- Sbma k^li^\m mh \^kmZbg h_ ma^l^ ikh\^^]bg`l+
01   IhglZgmh aZl ^lmZ[ebla^] Z k^l^ko^ _hk ma^ ^lmbfZm^] ebZ[bebmb^l-y Pa^ ]h\nf^gm li^\b_b^l
02   maZm ma^ \hfiZgr ahe]l $434+///+///-// bg maZm k^l^ko^-
03          03-    Bhk ma^ IhglZgmh @^_^g]Zgml{ pkhg`]hbg` maZm e^Z] mh L?> \hgmZfbgZmbhg
04   Zg] mhqb\ ihblhgbg`l Zm ma^ l\ahhe [nbe]bg`l bg mabl \Zl^+ IhglZgmh+ OhenmbZ+ Zg]
05   LaZkfZ\bZ Zk^ ebZ[e^ mh ma^ LeZbgmb__l ng]^k lmZm^ mhkm eZp- Pa^l^ @^_^g]Zgml fZr [^
06   h[eb`Zm^] mh hg^ Zghma^k bg \hgmkZ\m _hk L?> mhkm ebZ[bebmb^l Zl l^m hnm bg ma^bk \hfie^q
07   \hkihkZm^ Z`k^^f^gml+ [nm maZm bl ghm ma^ ln[c^\m h_ mabl eZplnbm- Bhk inkihl^l h_ mabl
08   ?hfieZbgm+ ma^l^ @^_^g]Zgml Zk^ k^_^kk^] mh Zl xIhglZgmh-y
1/          04-    IhglZgmh{l \hg]n\m bl Z e^`Ze \Znl^ h_ ]ZfZ`^l mh ma^ LeZbgmb__l [^\Znl^
10   ma^ Odr RZee^r A]n\Zmbhg ?^gm^k l\ahhe [nbe]bg`l g^o^k phne] aZo^ [^\hf^
11   \hgmZfbgZm^] pbma x^qmk^f^er mhqb\y L?>l b_ IhglZgmh aZ] ghm bgm^gmbhgZeer ikh]n\^]
12   Zg] ikhfhm^] L?>l bg [nbe]bg` \hglmkn\mbhg Ziieb\Zmbhgl-
13          05-    Pa^ OmZm^ h_ SZlabg`mhg bl Z lho^k^b`g maZm aZl \hglmbmnmbhgZe Zg] lmZmnmhkr
14   ]nmb^l mh \bmbs^gl h_ ma^ OmZm^ h_ SZlabg`mhg+ bg\en]bg` ma^ LeZbgmb__l+ makhn`a OmZm^
15   ]^iZkmf^gml+ Z`^g\b^l+ Zg] ^fiehr^^l Zm ma^ @^iZkmf^gm h_ D^Zema+ ma^ K__b\^ h_ ma^
16   Oni^kbgm^g]^gm h_ Ln[eb\ Eglmkn\mbhg+ Zg] hma^k h__b\^l- See, e.g., SZla- OmZm^ @^iZkm- h_
17   D^Zema+ K__b\^ h_ Agobkhgf^gmZe D^Zema Zg] OZ_^mr- Fng^ 1//4+ i- 7+ ZoZbeZ[e^ Zm


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                                                                                 - %"..(% 1" ?>989
     COMPLAINT - 5                                                                 6:8=7 <894;;;=
                                                                                                                   Electronically Filed - St Louis County - August 03, 2022 - 02:35 PM
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0    ammil9..ppp-]ha-pZ-`ho.?hffngbmrZg]Agobkhgf^gm.O\ahhel.Agobkhgf^gmZeD^Zema (eZlm
1    oblbm^] Jho^f[^k 04+ 1/06)-
2           06-    Pa^ @^iZkmf^gm h_ D^Zema bl ma^ lmZm^ Z`^g\r maZm lni^kobl^l Zg] iZkmg^kl
3    pbma a^Zema ]blmkb\ml+ ln\a Zl ma^ Oghahfbla D^Zema @blmkb\m+ Zg] l\ahhe ]blmkb\ml+ ln\a Zl
4    Ihgkh^ O\ahhe @blmkb\m Zg] Qgbhg Db`a+ k^`Zk]bg` in[eb\ a^Zema lZ_^mr k^jnbk^f^gml bg
5    l\ahhe [nbe]bg`l+ bg\en]bg` ma^ l\ahhe [nbe]bg`l bg mabl \Zl^- Id.
6           07-    Pa^ K__b\^ h_ ma^ Oni^kbgm^g]^gm h_ Ln[eb\ Eglmkn\mbhg bl ma^ lmZm^ Z`^g\r
7    maZm lni^kobl^l ma^ in[eb\ ^]n\Zmbhg lrlm^f+ pab\a bg\en]^l Z]fbgblmkZmbo^ Zg] lniihkm
8    k^lihglb[bebmb^l+ _hk l\ahhe ]blmkb\ml ln\a Zl Ihgkh^ O\ahhe @blmkb\m Zg] Qgbhg Db`a- Id.
0/          08-    Pa^ K__b\^ h_ Oni^kbgm^g]^gm h_ Ln[eb\ Eglmkn\mbhg Zelh iZkmg^kl pbma ma^
00   @^iZkmf^gm h_ D^Zema Zg] hma^k Z`^g\b^l mh lniihkm lmn]^gm a^Zema Zg] lZ_^mr bg k^eZmbhg
01   mh bg]hhk Zbk jnZebmr+ bg\en]bg` ma^ Zbk jnZebmr bg ma^ l\ahhe [nbe]bg`l bg mabl \Zl^- Id.
02          1/-    Ihgkh^ O\ahhe @blmkb\m Jh- 0/2+ ].[.Z Ihgkh^ Ln[eb\ O\ahhel+ bl Z
03   SZlabg`mhg l\ahhe ]blmkb\m-
04          10-    Ihgkh^ O\ahhe @blmkb\m ikhob]^l ^]n\ZmbhgZe l^kob\^l mh _Zfbeb^l pah ebo^
05   bg Gbg` Zg] Oghahfbla ?hngmb^l-
06          11-    Qgbhg Db`a O\ahhe @blmkb\m Jh- 3/1 bl Z SZlabg`mhg l\ahhe ]blmkb\m-
07          12-    =\\hk]bg` mh mZq Z\\^llhk k^\hk]l+ Qgbhg Db`a Zii^Zkl mh [^ ma^ hpg^k h_
08   ma^ eZg] Zg] l\ahhe [nbe]bg`l _hkf^ker dghpg Zl Ihgkh^ Db`a O\ahhe (084/,0866)+
1/   Ihgkh^ Fngbhk Db`a (0866,0876)+ Ihgkh^ Ib]]e^ O\ahhe (0876,1/00)+ Zg] ghp dghpg
10   Zl ma^ Odr RZee^r A]n\Zmbhg ?^gm^k (1/00,ik^l^gm)+ eh\Zm^] Zm 240 Oahkm ?henf[bZ Omk^^m
11   Zm Dbee Zg] G^el^r Omk^^ml+ bg Ihgkh^- Eg mabl ?hfieZbgm+ mabl eh\Zmbhg fZr [^ k^_^kk^] mh
12   Zl Odr RZee^r A]n\Zmbhg ?^gm^k+ Odr RZee^r+ hk ma^ l\ahhe [nbe]bg`l-
13          13-    Pa^ Oghahfbla D^Zema @blmkb\m (xD^Zema @blmkb\my) bl Z SZlabg`mhg
14   bg]^i^g]^gm li^\bZe inkihl^ ]blmkb\m-
15          14-    Pa^ D^Zema @blmkb\m bl ma^ fngb\biZe \hkihkZmbhg k^lihglb[e^ _hk in[eb\
16   a^Zema bg Oghahfbla ?hngmr+ bg iZkm [r bgli^\mbg` Zg] ^g_hk\bg` fbgbfZe ^gobkhgf^gmZe
17   lZ_^mr k^jnbk^f^gml bg ^]n\ZmbhgZe _Z\bebmb^l+ bg\en]bg` ma^ l\ahhe [nbe]bg`l bg mabl \Zl^-


                                                                            &,'%$)"* 5 ,/#'* +((+
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                                                                                    - %"..(% 1" ?>989
     COMPLAINT - 6                                                                    6:8=7 <894;;;=
                                                                                                                Electronically Filed - St Louis County - August 03, 2022 - 02:35 PM
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0       1' 8LMV\Q\QM[ WN \PM ?TIQV\QNN['
1            0-    Pa^ LeZbgmb__l Zk^ k^lb]^gml h_ Gbg` Zg] Oghahfbla ?hngmb^l-
2            1-    Pa^ LeZbgmb__l b]^gmb_b^] bg ma^ \Zimbhg [r ma^bk bgbmbZel Zk^ fbghk \abe]k^g
3    pah p^k^ hk Zk^ lmn]^gml l^ko^] [r ma^ Ihgkh^ O\ahhe @blmkb\m- Pa^l^ LeZbgmb__l li^gm
4    mbf^ bg ma^ l\ahhe [nbe]bg`l- @n^ mh ma^ @^_^g]Zgml{ pkhg`_ne \hg]n\m+ ma^ LeZbgmb__l
5    p^k^ ^qihl^] mh mhqb\ \a^fb\Zel Zg] aZo^ ln__^k^] Z]o^kl^ f^]b\Ze \hgl^jn^g\^l-
6            2-    Pa^ LeZbgmb__l b]^gmb_b^] bg ma^ \Zimbhg [r ma^bk _nee gZf^l Zk^ Z]neml pah
7    li^gm mbf^ bg ma^ l\ahhe [nbe]bg`l- @n^ mh ma^ @^_^g]Zgml pkhg`_ne \hg]n\m+ ma^l^
8    LeZbgmb__l p^k^ ^qihl^] mh mhqb\ \a^fb\Zel Zg] aZo^ ln__^k^] Z]o^kl^ f^]b\Ze
0/   \hgl^jn^g\^l- Plaintiffs Erickson, Leahy, and Marquardt do not sue the School District.
00           3-    Pa^ LeZbgmb__l b]^gmb_b^] bg ma^ \Zimbhg Zl @h^l 0,126 Zk^ bg]bob]nZel pah
01   li^gm mbf^ bg ma^ l\ahhe [nbe]bg`l- Pa^l^ LeZbgmb__l fZr aZo^ [^^g ^qihl^] mh mhqb\
02   \a^fb\Zel Zg] ln__^k^] Z]o^kl^ f^]b\Ze \hgl^jn^g\^l+ Zl ]bl\ho^kr fZr k^o^Ze- Eg 1/05+
03   ^gobkhgf^gmZe m^lmbg` in[eb\er k^o^Ze^] ma^ mhqb\ \hgmZfbgZmbhg bg ma^ l\ahhe [nbe]bg`l-
04           4-    Eg Zee+ ma^ LeZbgmb__l Zk^ \abe]k^g+ iZk^gml+ lihnl^l+ Zg] Ihgkh^ O\ahhe
05   @blmkb\m lmZ__ f^f[^kl+ bg\en]bg` m^Z\a^kl+ pah p^k^ aZkf^] ]n^ mh ma^ \hkihkZm^ Zg]
06   `ho^kgf^gmZe pkhg`]hbg` h_ ma^ @^_^g]Zgml- Pa^ LeZbgmb__l [kbg` \eZbfl Z`Zbglm ma^
07   @^_^g]Zgml _hk ikh]n\ml ebZ[bebmr Zg] g^`eb`^g\^- Pa^ LeZbgmb__l [kbg` \eZbfl _hk i^klhgZe
08   bgcnkb^l Zl p^ee Zl lh\b^mZe Zg] \hglhkmbnf bgcnkb^l mh ma^bk _Zfber f^f[^kl-
1/           5-    Pa^ LeZbgmb__l pbee fho^ mh Ziihbgm ma^ k^jnbk^] `nZk]bZgl ad litem mh
10   k^ik^l^gm Zg] k^ob^p ma^ ebmb`Zmbhg Zg] l^mme^f^gm bgm^k^lml h_ ma^ fbghk \abe]k^g-
11   888'    E4=D4 0=3 9DA8B382C8>=
12      0'         EMV]M Q[ XZWXMZ QV :QVO 2W]V\a'
13           0-    Gbg` ?hngmr o^gn^ bl ikhi^k [^\Znl^ hg^ hk fhk^ h_ ma^ IhglZgmh
14   @^_^g]Zgml mkZglZ\ml [nlbg^ll bg Gbg` ?hngmr+ bg\en]bg` IhglZgmh+ OhenmbZ+ Zg].hk
15   LaZkfZ\bZ- N?S 3-01-/14(0)-
16           1-    Gbg` ?hngmr o^gn^ bl ikhi^k [^\Znl^ lnbm bl Z`Zbglm ma^ OmZm^+ Zg] ma^
17   LeZbgmb__l Zk^ k^lb]^gml h_ Gbg` Zg] Oghahfbla ?hngmb^l- N?S 3-81-/0/ (x=gr i^klhg hk


                                                                         &,'%$)"* 5 ,/#'* +((+
                                                                          <9 / *'0%,-'.2 - .,%%. 3 - /'.% :89
                                                                                 - %"..(% 1" ?>989
     COMPLAINT - 7                                                                 6:8=7 <894;;;=
                                                                                                               Electronically Filed - St Louis County - August 03, 2022 - 02:35 PM
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0    \hkihkZmbhg aZobg` Zgr \eZbf Z`Zbglm ma^ lmZm^ h_ SZlabg`mhg laZee aZo^ Z kb`am h_ Z\mbhg
1    Z`Zbglm ma^ lmZm^ bg ma^ lni^kbhk \hnkm- Pa^ o^gn^ _hk ln\a Z\mbhg laZee [^ Zl _heehpl9 (0)
2    Pa^ \hngmr h_ ma^ k^lb]^g\^ hk ikbg\biZe ieZ\^ h_ [nlbg^ll h_ hg^ hk fhk^ h_ ma^
3    ieZbgmb__ly)-
4               2-   Gbg` ?hngmr o^gn^ bl Zelh ikhi^k [^\Znl^ ma^ Ihgkh^ O\ahhe @blmkb\m
5    mkZglZ\ml [nlbg^ll bg Gbg` ?hngmr- N?S 3-01-/14(0)- = l\ahhe ]blmkb\m bl Z xfngb\biZe
6    \hkihkZmbhg-y N?S 28-58-/0/- R^gn^ bl ikhi^k xbg Zgr \hngmr bg pab\a ma^ ]^_^g]Zgm
7    k^lb]^lv ma^ k^lb]^g\^ h_ Z \hkihkZmbhg ]^_^g]Zgm laZee [^ ]^^f^] mh [^ bg Zgr \hngmr
8    pa^k^ ma^ \hkihkZmbhg9 (Z) PkZglZ\ml [nlbg^ll WhkX (\) mkZglZ\m^] [nlbg^ll Zm ma^ mbf^ ma^
0/   \Znl^ h_ Z\mbhg Zkhl^-y N?S 3-01-/14(0)- =emahn`a ma^ O\ahhe @blmkb\m aZl h__b\^l Zg]
00   [nbe]bg`l bg Oghahfbla ?hngmr+ bm mkZglZ\ml [nlbg^ll bg Gbg` ?hngmr Zl p^ee Zl
01   Oghahfbla ?hngmr [r ikhob]bg` ^]n\ZmbhgZe l^kob\^l mh \abe]k^g Zg] _Zfbeb^l pbmabg
02   Gbg` ?hngmr+ bg\en]bg` ma^ LeZbgmb__l+ pah Zk^ Gbg` ?hngmr k^lb]^gml- Pa^ O\ahhe
03   @blmkb\m ikhob]^l ^]n\ZmbhgZe Zg] hnmk^Z\a l^kob\^l bg Gbg` ?hngmr+ pabe^ Zelh k^\^bobg`
04   \hfi^glZmbhg _khf Gbg` ?hngmr k^lb]^gml _hk ikhob]bg` ma^l^ l^kob\^l-
05              3-   Gbg` ?hngmr o^gn^ bl Zelh ikhi^k mh ma^ ^qm^gm Zgr @^_^g]Zgm Zee^`^l e^`Ze
06   _Znem mh Z mabk],iZkmr \hkihkZm^ k^lb]^gm h_ Gbg` ?hngmr- On\a \hkihkZmbhg fZr [^ \khll,
07   \eZbf^] Z`Zbglm hk Z]]^] bg Zg Zf^g]^] \hfieZbgm [r LeZbgmb__l-
08              4-   Gbg` ?hngmr o^gn^ bl Zelh ikhi^k mh ma^ ^qm^gm Zgr @^_^g]Zgm Zee^`^l e^`Ze
1/   _Znem mh mabk],iZkmr Oghahfbla ?hngmr Zg] b_ ma^ ?hngmr [^\hf^l Z iZkmr-
10         1'        :QVO 2W]V\a B]XMZQWZ 2W]Z\ PI[ R]ZQ[LQK\QWV'
11              0-   Pabl ?hnkm aZl cnkbl]b\mbhg ho^k mabl \Zl^- SZla- ?hglm- =km- 3+ t5: N?S
12   1-/7-/0/: N?S 3-01-/1/(2)-
13   8E'        2><?;80=24 F8C7 BC0CDC>AH =>C824 A4@D8A4<4=CB
14         0'        ?TIQV\QNN[ KWUXTQML _Q\P \PM [\I\]\WZa KTIQU VW\QKM ZMY]QZMUMV\[ IVL
15                   _IQ\QVO XMZQWL[ NWZ \PM NWTTW_QVO X]JTQK MV\Q\a 3MNMVLIV\[/
16              0-   Pa^ OmZm^ h_ SZlabg`mhg:
17              1-   Ihgkh^ O\ahhe @blmkb\m Jh- 0/2+ Z.d.Z Ihgkh^ Ln[eb\ O\ahhel:


                                                                        &,'%$)"* 5 ,/#'* +((+
                                                                         <9 / *'0%,-'.2 - .,%%. 3 - /'.% :89
                                                                                - %"..(% 1" ?>989
     COMPLAINT - 8                                                                6:8=7 <894;;;=
                                                                                                               Electronically Filed - St Louis County - August 03, 2022 - 02:35 PM
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0              2-   Qgbhg Db`a O\ahhe Jh- 3/1: Zg]
1              3-   Oghahfbla D^Zema @blmkb\m-
2         1'        ?TIQV\QNN[ IZM VW\ ZMY]QZML \W OQ^M IVa [\I\]\WZa KTIQU VW\QKM \W \PM
3                   NWTTW_QVO VWV&X]JTQK MV\Q\a 3MNMVLIV\[/
4              0-   IhglZgmh ?hfiZgr:
5              1-   OhenmbZ+ Eg\-: hk
6              2-   LaZkfZ\bZ HH?+ _.d.Z LaZkfZ\bZ ?hkihkZmbhg-
7    E'        502CB A460A38=6 2>=C0<8=0C8>=% 4G?>BDA4% 0=3 ?>8B>=8=6
8         0'        <WV[IV\W XZWL]KML IVL XZWUW\ML ?21[ NZWU \PM ).+([ \W \PM ).-(['
0/             0-   Lher\aehkbgZm^] [bia^grel+ hk xL?>l+y Zk^ fbqmnk^l h_ lrgma^mb\ hk`Zgb\
00   \a^fb\Zel \hfikbl^] h_ \aehkbg^ Zmhfl ZmmZ\a^] mh Z ]hn[e^ \Zk[hg,ar]kh`^g kbg` (Z
01   x[bia^grey kbg`)- Q-O- AL=- L?>O9 ?=J?AN @KOA,NAOLKJOA =OOAOOIAJP =J@
02   =LLHE?=PEKJ PK AJRENKJIAJP=H IETPQNAO (0885) Zm 0- Q-O- Agobkhgf^gmZe
03   Lkhm^\mbhg =`^g\r+ K__b\^ h_ N^l^Zk\a Zg] @^o^ehif^gm+ JZmbhgZe ?^gm^k _hk
04   Agobkhgf^gmZe =ll^llf^gm+ SZlabg`mhg K__b\^+ SZlabg`mhg+ @?+ AL=.5//.L,85.//0B+
05   0885+ ZoZbeZ[e^ Zm ammil9..\_in[-^iZ-`ho.g\^Z.kbld.k^\hk]blieZr-\_f<]^b];01375 (eZlm
06   Z\\^ll^] Jho^f[^k 5+ 1/06)- x@b__^k^gm fbqmnk^l \Zg mZd^ hg _hkfl kZg`bg` _khf hber
07   ebjnb]l mh pZqr lheb]l-y Id.
08             1-   L?>l Zk^ \hfikbl^] h_ fZgr lbfbeZk l^fb,oheZmbe^ \a^fb\Zel \Zee^]
1/   \hg`^g^kl- = xL?> \hg`^g^ky bl Zgr lbg`e^+ ngbjn^ \a^fb\Ze \hfihng] bg ma^ L?>
10   \Zm^`hkr- Pph ang]k^] gbg^ \hg`^g^kl aZo^ [^^g b]^gmb_b^]-
11             2-   Bkhf ZiikhqbfZm^er ma^ 082/l mh 0866+ IhglZgmh pZl ma^ hger
12   fZgn_Z\mnk^k bg ma^ Qgbm^] OmZm^l maZm bgm^gmbhgZeer ikh]n\^] Zg] ikhfhm^] L?>l _hk
13   \hff^k\bZe nl^- Environmental Defense Fund v. Environmental Protection Agency+ 525
14   B-1] 0156+ 0170 _g 26 (087/) (xBkhf ma^ liZkl^ e^`bleZmbo^ ablmhkr h_ t 5(^)+ bm Zelh
15   Zii^Zkl maZm ?hg`k^ll _h\nl^] bml Zmm^gmbhg hg ma^ ]^eb[^kZm^ nl^+ fZgn_Z\mnk^+ Zg]
16   ]blmkb[nmbhg h_ L?>l- Pakhn`ahnm ma^ \hg`k^llbhgZe ]^[Zm^+ f^f[^kl h_ ?hg`k^ll
17   k^_^kk^] mh IhglZgmh ?hfiZgr Zl ma^ lhe^ ikh]n\^k h_ L?>l- See 011 ?hg`-N^\- 7183


                                                                        &,'%$)"* 5 ,/#'* +((+
                                                                         <9 / *'0%,-'.2 - .,%%. 3 - /'.% :89
                                                                                - %"..(% 1" ?>989
     COMPLAINT - 9                                                                6:8=7 <894;;;=
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0    (0865)+ k^ikbgm^] bg H^`bleZmbo^ Dblmhkr+ supra ghm^ 6+ Zm 13/ (O^gZmhk Pngg^r+ li^Zdbg`
1    bg lniihkm h_ ma^ l^\mbhg+ k^_^kk^] mh IhglZgmh Zl ma^ xlhe^ ]hf^lmb\ fZgn_Z\mnk^k h_
2    L?>{ly): id- Zm 16076+ k^ikbgm^] bg H^`bleZmbo^ Dblmhkr+ supra ghm^ 6+ Zm 477
3    (?hg`k^llfZg H^``^mm+ li^Zdbg` bg lniihkm h_ ma^ \hkk^lihg]bg` l^\mbhg bg ma^ Dhnl^
4    [bee+ k^_^kk^] mh IhglZgmh Zl xma^ hger =f^kb\Zg fZgn_Z\mnk^k h_ L?>{ly)-y)- See also
5    005 ?hg`- N^\hk] 00+584+ 80lm ?hg`k^ll+ (=ikbe 03+ 086/) (xEglh_Zk Zl ma^ IhglZgmh
6    ?h-+ ma^ lhe^ fZgn_Z\mnk^k h_ L?>'l bl \hg\^kg^]----y) Zg] 010 ?hg`- N^\hk] 22768+ 83ma
7    ?hg`k^ll+ (K\mh[^k 12+ 0864) (xPa^ lhe^ Q-O- ikh]n\^k+ IhglZgmh ?h-----y): and see Odr
8    RZee^r ?hfieZbgm+ 4`PQJQ\ 0 (_khf City of Spokane v. Monsanto Co.+ ?Zl^ 1904,\o,
0/   //1/0,OIF+ A?B Jh- 0,0 (A-@- SZla- Fner 20+ 1/04)+ >Zm^l Jhl- IKJO /4762/,
00   /47641+ ^gmbme^] xL?> Lk^l^gmZmbhg mh ?hkihkZm^ @^o^ehif^gm ?hffbmm^^y) Zm IKJO
01   /47622 (b]^gmb_rbg` hma^k ikh]n\^kl Zl xZee ^q,QO=y)-
02            3-   Pa^ fhlm \hffhg mkZ]^ gZf^ _hk L?>l bg ma^ Qgbm^] OmZm^l bl x=kh\ehk-y
03   10 ?BN t 4//-34(Z) (xLher\aehkbgZm^] [bia^grel (L?>l) k^ik^l^gm Z \eZll h_ mhqb\
04   bg]nlmkbZe \a^fb\Zel fZgn_Z\mnk^] Zg] lhe] ng]^k Z oZkb^mr h_ mkZ]^ gZf^l+ bg\en]bg`
05   =kh\ehk (Qgbm^] OmZm^l)y)-
06            4-   =kh\ehk bl Z gZf^ maZm pZl mkZ]^fZkd^] [r IhglZgmh-
07            5-   x>^mp^^g 0818 Zg] 0866+ fhk^ maZg 0-14 [beebhg ihng]l h_ L?>l p^k^
08   ikh]n\^] bg ma^ Qgbm^] OmZm^l-y =`^g\r _hk Phqb\ On[lmZg\^l Zg] @bl^Zl^ N^`blmkr
1/   (=PO@N)- 1/03- ?Zl^ Omn]b^l bg Agobkhgf^gmZe I^]b\bg^9 Lher\aehkbgZm^] >bia^grel
10   (L?>l) Phqb\bmr- =meZgmZ+ C=9 Q-O- @^iZkmf^gm h_ D^Zema Zg] DnfZg O^kob\^l+ Zm 10+
11   ZoZbeZ[e^ Zm ammil9..ppp-Zml]k-\]\-`ho.\l^f.\l^f-Zli<\l^f;2/&ih;0/+ eZlm oblbm^] hg
12   Jho^f[^k 6+ 1/06-
13      1'         <WV[IV\We[ ?21[ IZM cM`\ZMUMTa \W`QKd [aV\PM\QK KPMUQKIT['
14            0-   xL?>l Zk^ ^qmk^f^er mhqb\ mh anfZgl Zg] pbe]eb_^-y Environmental
15   Defense Fund v. Environmental Protection Agency+ 525 B-1] 0156+ 016/ (@-?- ?bk-
16   087/)-
17            1-   L?>l Zk^ Z xd^rlmhg^ iheenmZgmy Zg] xZ ikbf^ fhmboZmhk _hk ma^ ^gZ\mf^gm


                                                                      &,'%$)"* 5 ,/#'* +((+
                                                                       <9 / *'0%,-'.2 - .,%%. 3 - /'.% :89
                                                                              - %"..(% 1" ?>989
     COMPLAINT - 10                                                             6:8=7 <894;;;=
                                                                                                                 Electronically Filed - St Louis County - August 03, 2022 - 02:35 PM
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0    h_ PO?=+y ma^ Phqb\ On[lmZg\^l ?hgmkhe =\m- x>r fhlm Z\\hngml+ L?>l Zk^ ma^
1    Zk\a^mrib\Ze \a^fb\Ze obeeZbgl Z`Zbglm pab\a ma^ \hgm^fihkZkr iheenmbhg eZpl Zk^
2    ]bk^\m^]-y SbeebZf D- Nh]`^kl+ Fk- Zg] AebsZ[^ma >nke^lhg+ Polychlorinated biphenyls
3    (PCBs)+ 2 Agome- H- (S^lm) t598 (Fner 1/06) (bgm^kgZe \bmZmbhgl hfbmm^])-
4           2-     >r ma^ eZm^ 086/l+ ma^ Qgbm^] OmZm^l [Zgg^] ma^ xfZgn_Z\mnk^+ ikh\^llbg`+
5    ]blmkb[nmbhg bg \hff^k\^+ Zg] nl^ h_ iher\aehkbgZm^] [bia^grel (L?>l)-y 33 B^]- N^`-
6    20403 (IZr 20+ 0868)- Pa^ [Zg k^fZbgl bg ^__^\m- xPa^ PO?= ikhab[bml ma^ fZgn_Z\mnk^+
7    ikh\^llbg`+ ]blmkb[nmbhg+ Zg] nl^ (hma^k maZg bg Z zmhmZeer ^g\ehl^] fZgg^k{) h_
8    iher\aehkbgZm^] [bia^grel (L?>l) nge^ll ma^ AL= ]^m^kfbg^l maZm ma^ Z\mbobmr pbee ghm
0/   k^lnem bg Zg zngk^ZlhgZ[e^ kbld h_ bgcnkr mh a^Zema hk ma^ ^gobkhgf^gm-{y General Electric
00   Co. v. EPA+ 18/ B-2] 266 (@-?- ?bk- 1//1) (ahe]bg` maZm Zg AL=,blln^] `nb]Zg\^
01   ]h\nf^gm pZl Z e^`bleZmbo^ kne^ k^jnbkbg` ikbhk ghmb\^ Zg] hiihkmngbmr _hk in[eb\
02   \hff^gm)+ \bmbg` 04 Q-O-?- t 15/4(^) (1) & (2)-
03          3-     L?>l Zk^ xZfhg` ma^ fhlm lmZ[e^ \a^fb\Zel dghpg Zg] ]^\hfihl^ o^kr
04   lehper hg\^ ma^r Zk^ bg ma^ ^gobkhgf^gm--- Eg ma^ ^gobkhgf^gm+ ?21[ IZM \W`QK I\ TW_
05   KWVKMV\ZI\QWV[ \W I _QLM ^IZQM\a WN [XMKQM[+ fZkbg^ fZffZel bg\en]^]- Kg\^ L?>l
06   k^Z\a ma^ ^gobkhgf^gm+ ma^r m^g] mh lmZr ma^k^+ hk fho^ lehper bg ]ZfZ`bg` \r\e^lvy
07   SbeebZf D- Nh]`^kl+ Fk- Zg] AebsZ[^ma >nke^lhg+ Polychlorinated biphenyls (PCBs)+ 2
08   Agome- H- (S^lm) t598 (Fner 1/06) (^fiaZlbl Z]]^])+ \bmbg` bg iZkm N^lihgl^ mh Aq^fimbhg
1/   L^mbmbhgl+ 4/ B^]- N^`- 24+073 (=n`nlm 18+ 0874) (x?21[ IZM IT[W \W`QK \W UIUUIT[ I\
10   ^MZa TW_ M`XW[]ZM TM^MT[' Pa^ lnkoboZe kZm^ Zg] k^ikh]n\mbo^ ln\\^ll h_ _bla \Zg [^
11   Z]o^kl^er Z__^\m^] bg ma^ ik^l^g\^ h_ L?>l- RZkbhnl ln[e^maZe iarlbheh`b\Ze ^__^\ml
12   Zmmkb[nm^] mh L?>l aZo^ [^^g k^\hk]^] bg ma^ ebm^kZmnk^y) (^fiaZlbl Z]]^]): see also 10
13   ?BN t 4//-34(Z) (xObg\^ L?>l Zk^ mhqb\ \a^fb\Zel+ ma^ L?> \hgmZfbgZmbhg h_ _hh] Zl Z
14   k^lnem h_ ma^l^ Zg] hma^k bg\b]^gml k^ik^l^gm Z aZsZk] mh in[eb\ a^Zema-y)-
15          4-      xBhk anfZgl+ ^qihlnk^l \Znl^ Z\nm^ ^__^\ml ln\a Zl ldbg kZla^l+ ohfbmbg`+
16   Z[]hfbgZe iZbg+ Zg] m^fihkZkr [ebg]g^ll Zg] Zk^ lnli^\m^] h_ \Znlbg` [bkma ]^_^\ml+
17   fbl\ZkkbZ`^l+ Zg] \Zg\^k-y SbeebZf D- Nh]`^kl+ Fk- Zg] AebsZ[^ma >nke^lhg+


                                                                          &,'%$)"* 5 ,/#'* +((+
                                                                           <9 / *'0%,-'.2 - .,%%. 3 - /'.% :89
                                                                                  - %"..(% 1" ?>989
     COMPLAINT - 11                                                                 6:8=7 <894;;;=
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0    Polychlorinated biphenyls (PCBs)+ 2 Agome- H- (S^lm) t598 (Fner 1/06) (bgm^kgZe \bmZmbhgl
1    hfbmm^])- See also Solutia, Inc. v. McWane, Inc-+ 615 B- Onii- 1] 0205+ 0208 (J-@- =eZ-
2    1/0/) (xL?>l aZo^ [^^g _hng] mh \Znl^ \Zg\^k+ ]^\k^Zl^] _^kmbebmr+ lmbee [bkmal+ Zg] [bkma
3    ]^_^\ml bg m^lm ZgbfZel-y) (IhglZgmh \e^Zgni \hgmkb[nmbhg \Zl^)+ \bmbg` Dickerson, Inc. v.
4    United States, 764 B-1] 0466+ 0468+ 0472 (00ma ?bk-0878) (xL?>l Zk^ ab`aer mhqb\
5    \a^fb\Zel _k^jn^gmer nl^] bg ^e^\mkb\Ze mkZgl_hkf^klv O\b^gmblml aZo^ _hng] L?>
6    \hg\^gmkZmbhgl _Zk [^ehp mahl^ bgoheo^] bg mabl \Zl^ mh \Znl^ \Zg\^k+ ]^\k^Zl^] _^kmbebmr+
7    lmbee [bkmal+ Zg] [bkma ]^_^\ml bg m^lm ZgbfZel-y) (Z__bkfbg` cn]`f^gm Z`Zbglm ma^ Qgbm^]
8    OmZm^l _hk L?> ebZ[bebmr)- >hma Solutia, Inc. Zg] Dickerson \bm^] Environmental Defense
0/   Fund v. Environmental Protection Agency, 525 B-1] 0156 (@-?- ?bk- 087/)+ infra.
00         5-     Pa^ Environmental Defense Fund ]^\blbhg lnffZkbs^] k^l^Zk\a ZoZbeZ[e^
01   mh ma^ l\b^gmb_b\ \hffngbmr [r ma^ eZm^ 086/l9
02         Lher\aehkbgZm^] [bia^grel (L?>l) aZo^ [^^g fZgn_Z\mnk^] Zg] nl^]
           \hff^k\bZeer _hk _b_mr r^Zkl _hk ma^bk \a^fb\Ze lmZ[bebmr+ _bk^ k^lblmZg\^+ Zg]
03
           ^e^\mkb\Ze k^lblmZg\^ ikhi^kmb^l- Pa^r Zk^ _k^jn^gmer nl^] bg ^e^\mkb\Ze
04         mkZgl_hkf^kl Zg] \ZiZ\bmhkl- Dhp^o^k+ L?>l Zk^ ^qmk^f^er mhqb\ mh anfZgl
           Zg] pbe]eb_^- Pa^ ^qm^gm h_ ma^bk mhqb\bmr bl fZ]^ \e^Zk bg ma^ AL= Oniihkm
05         @h\nf^gm Z\\hfiZgrbg` ma^ _bgZe k^`neZmbhgl+ bg pab\a ma^ AL= K__b\^ h_
06         Phqb\ On[lmZg\^l b]^gmb_b^] l^o^kZe Z]o^kl^ ^__^\ml k^lnembg` _khf anfZg
           Zg] pbe]eb_^ ^qihlnk^ mh L?>l-
07
08         Aib]^fbheh`b\Ze ]ZmZ Zg] ^qi^kbf^gml hg eZ[hkZmhkr ZgbfZel bg]b\Zm^ maZm
           ^qihlnk^ mh L?>l ihl^ \Zk\bgh`^gb\ Zg] hma^k kbldl mh anfZgl-
1/         Aqi^kbf^gmZe ZgbfZel ]^o^ehi^] mnfhkl Z_m^k ^Zmbg` ]b^ml maZm bg\en]^]
10         \hg\^gmkZmbhgl h_ L?>l Zl ehp Zl 0// iZkml i^k fbeebhg (iif)- Aqi^kbf^gml
           hg fhgd^rl bg]b\Zm^ maZm ]b^ml pbma L?> \hg\^gmkZmbhgl h_ e^ll maZg m^g
11         iif k^]n\^ _^kmbebmr Zg] \Znl^ lmbee [bkmal Zg] [bkma ]^_^\ml- Kma^k ]ZmZ lahp
12         maZm L?>l fZr Z]o^kl^er Z__^\m ^gsrf^ ikh]n\mbhg+ ma^k^[r bgm^k_^kbg`
           pbma ma^ mk^Zmf^gm h_ ]bl^Zl^l bg anfZgl- Oniihkm @h\nf^gm+ supra ghm^ 3+
13         Zm 8,07-
14
           AL= aZl _hng] maZm L?>l pbee Z]o^kl^er Z__^\m pbe]eb_^ Zl p^ee Zl anfZgl-
15         ?hg\^gmkZmbhgl [^ehp hg^ ii[ (iZkm i^k [beebhg) Zk^ [^eb^o^] mh bfiZbk
16         k^ikh]n\mbobmr h_ ZjnZmb\ bgo^km^[kZm^l Zg] _bla- Ohf^ [bk]l ln__^k^]
           xl^o^k^ k^ikh]n\mbo^ _Zbenk^y pa^g _^] ]b^ml \hgmZbgbg` \hg\^gmkZmbhgl h_
17         hger m^g iif h_ L?>l- Id- Zm 08- >^\Znl^ L?>l \hee^\m bg pZm^kpZrl Zg]
           [bhZ\\nfneZm^ bg _bla+ _bla,^Zmbg` fZffZel kng Z li^\bZe kbld h_ Z]o^kl^
                                                                         &,'%$)"* 5 ,/#'* +((+
                                                                         <9 / *'0%,-'.2 - .,%%. 3 - /'.% :89
                                                                                - %"..(% 1" ?>989
     COMPLAINT - 12                                                               6:8=7 <894;;;=
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0          ^__^\ml- On\a fZffZel fZr aZo^ xlb`gb_b\Zgmer ab`a^k \hg\^gmkZmbhgl h_
           L?>l bg ma^bk mblln^l maZg ma^ ZjnZmb\ _hkfl ma^r _^^] hg-y Id- Zm 25-
1
2          AL= ^lmbfZm^l maZm [r 0864 ni mh 3// fbeebhg ihng]l h_ L?>l aZ] ^gm^k^]
           ma^ ^gobkhgf^gm- =iikhqbfZm^er mp^gmr,_bo^ mh mabkmr i^k\^gm h_ mabl
3          Zfhngm bl \hglb]^k^] x_k^^+y f^Zgbg` maZm bm bl Z ]bk^\m lhnk\^ h_
4          \hgmZfbgZmbhg _hk pbe]eb_^ Zg] anfZgl- Pa^ k^lm+ xfhlmer bg ma^ _hkf h_
           bg]nlmkbZe pZlm^ Zg] ]bl\Zk]^] ^g] nl^ ikh]n\ml+ bl [^eb^o^] mh [^ bg eZg]_bee
5          lbm^l Zg] manl \hglmbmnm^l Z ihm^gmbZe lhnk\^ h_ g^p _k^^ L?>l-y Id- Zm 22,23-
6          Kma^k lb`gb_b\Zgm lhnk\^l h_ L?>l bg\en]^ Zmfhlia^kb\ _Zeehnm Zg] libeel
           Zllh\bZm^] pbma ma^ nl^ hk mkZglihkmZmbhg h_ L?>l- Id- Zm 18-
7
8          AL= \hg\en]^] bg ma^ Oniihkm @h\nf^gm maZm xma^ Z]]bmbhgZe k^e^Zl^ h_
           L?>ly bgmh ma^ ^gobkhgf^gm phne] k^lnem bg pb]^lik^Z] ]blmkb[nmbhg h_ ma^
0/         L?>l Zg] xpbee ^o^gmnZeer ^qihl^ eZk`^ ihineZmbhgl h_ pbe]eb_^ Zg] fZg mh
00         L?>l-y Id- Zm 25,26- AL= \hg\en]^] _nkma^k maZm9

01                =l Z ikZ\mb\Ze fZmm^k+ bm bl ghm ihllb[e^ mh ]^m^kfbg^ Z xlZ_^y
02                e^o^e h_ ^qihlnk^ mh ma^l^ \a^fb\Zel- >^\Znl^ L?>l Zk^
                  Zek^Z]r pb]^er ]blmkb[nm^] makhn`ahnm ma^ $)*-) [bhlia^k^+
03                ma^r \nkk^gmer ihl^ Z lb`gb_b\Zgm kbld mh ma^ a^Zema h_ fZg Zl
                  p^ee Zl maZm h_ gnf^khnl hma^k ebobg` mabg`l- =l Z
04
                  \hgl^jn^g\^+ Zgr _nkma^k bg\k^Zl^ bg e^o^el h_ L?>l bg ma^
05                [bhlia^k^ bl ]^^f^] ng]^lbkZ[e^ [r AL=-
06         Id- Zm 27- >^\Znl^ xL?>l k^e^Zl^] Zgrpa^k^ bgmh ma^ ^gobkhgf^gm pbee
07         ^o^gmnZeer ^gm^k ma^ [bhlia^k^ --- AL= aZl ]^m^kfbg^] maZm Zgr ln\a k^e^Zl^
           h_ L?>l fnlm [^ \hglb]^k^] zlb`gb_b\Zgm-{y Id-
08
1/         Eg 0861+ IhglZgmh+ ma^ fZchk =f^kb\Zg fZgn_Z\mnk^k h_ L?>l+ ebfbm^] bml
           lZe^l h_ L?>l mh fZgn_Z\mnk^kl h_ mkZgl_hkf^kl Zg] \ZiZ\bmhkl- Em \^Zl^] Zee
10         fZgn_Z\mnk^ h_ L?>l bg 0866 Zg] labii^] ma^ eZlm h_ bml bgo^gmhkr [^_hk^
11         ma^ ^g] h_ maZm r^Zk- Ph]Zr+ L?>l Zk^ ikh]n\^] bg mabl \hngmkr hger Zl
           bg\b]^gmZe [rikh]n\ml h_ bg]nlmkbZe \a^fb\Ze ikh\^ll^l- Pa^k^ Zk^ gh dghpg
12         gZmnkZe lhnk\^l h_ L?>l- Id- Zm 1-
13   Environmental Defense Fund v. Environmental Protection Agency+ 525 B-1] 0156+ 016/,
14   60 (@-?- ?bk- 087/) (ahe]bg`+ bg iZkm+ maZm ma^k^ pZl gh ln[lmZgmbZe ^ob]^g\^ mh lniihkm
15   AL={l ]^\blbhg mh ^lmZ[ebla Z k^`neZmhkr \nmh__ [^ehp 4/ iif)-
16         6-     Pa^ ]^\blbhg fZ]^ hma^k _bg]bg`l9 xIhlm bfihkmZgmer+ AL= ^qik^ller _hng]
17   maZm Zgr ^qihlnk^ h_ L?>l mh ma^ ^gobkhgf^gm hk anfZgl \hne] \Znl^ Z]o^kl^ ^__^\ml-y


                                                                        &,'%$)"* 5 ,/#'* +((+
                                                                         <9 / *'0%,-'.2 - .,%%. 3 - /'.% :89
                                                                                - %"..(% 1" ?>989
     COMPLAINT - 13                                                               6:8=7 <894;;;=
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0    Environmental Defense Fund+ 525 B-1] Zm 0172,73-
1          7-     2TW[ML ?21 [a[\MU[ LM^MTWX TMIS[' =ghma^k blln^ bg ma^ ]^\blbhg k^eZm^]
2    mh ma^ k^`neZmbhg h_ ghg,^g\ehl^] nl^l h_ L?>l+ ln\a Zl x\Zk[hge^ll iZi^k+ iZbgml+
3    \hZmbg`l+ lhZil+ Zg] \hirbg` bgd mhg^kl+y o^klnl lh,\Zee^] xmhmZeer ^g\ehl^] nl^ly h_
4    L?>l ln\a Zl xmkZgl_hkf^kl+ \ZiZ\bmhkl+ Zg] ^e^\mkhfZ`g^ml-y Environmental Defense
5    Fund+ 525 B-1] Zm 0174- Pa^ \hnkm kne^] Z`Zbglm ma^ AL= hg mabl Zkmb_b\bZe ]blmbg\mbhg
6    [^\Znl^ h_ lhf^mabg` maZm bl Zelh mkn^ bg mabl \Zl^9 xinm lbfier+ \ehl^] lrlm^fl ]^o^ehi
7    e^Zdl-y Id. Zm 0174: see also 0175 (pbmg^ll xk^\h`gbs^] maZm ^gobkhgf^gmZe ehll^l \Zg
8    h\\nk makhn`a Z\\b]^gmZe knimnk^ hk e^ZdZ`^-y)-
0/         8-     Eg ma^ r^Zkl _heehpbg` ma^ [Zg+ ma^ AL= \hg_bkf^] maZm L?>l Zk^ mhqb\+ fZr
00   \Znl^ k^ikh]n\mbo^ Zg] ]^o^ehif^gmZe ^__^\ml+ Zg] fZr \Znl^ mnfhkl (xhg\h`^gb\
01   ihm^gmbZey) bg i^hie^ ^qihl^]9
02         Health effects. AL= aZl ]^m^kfbg^] maZm L?>l Zk^ mhqb\ Zg] i^klblm^gm-
           L?>l \Zg ^gm^k ma^ [h]r makhn`a ma^ eng`l+ `Zlmkhbgm^lmbgZe mkZ\m+ Zg] ldbg+
03
           \bk\neZm^ makhn`ahnm ma^ [h]r+ Zg] [^ lmhk^] bg ma^ _Zmmr mblln^-
04
           =oZbeZ[e^ ZgbfZe lmn]b^l bg]b\Zm^ Zg hg\h`^gb\ ihm^gmbZe+ ma^ ]^`k^^ mh
05         pab\a phne] ]^i^g] hg ^qihlnk^v Bnkma^k ^ib]^fbheh`b\Ze k^l^Zk\a bl
06         g^^]^] mh \hkk^eZm^ anfZg Zg] ZgbfZe ]ZmZ+ [nm AL= _bg]l gh ^ob]^g\^ mh
           ln``^lm maZm ma^ ZgbfZe ]ZmZ phne] ghm ik^]b\m Zg hg\h`^gb\ ihm^gmbZe bg
07         anfZgl-
08
           Eg Z]]bmbhg+ AL= _bg]l maZm L?>l fZr \Znl^ k^ikh]n\mbo^ ^__^\ml+
1/         ]^o^ehif^gmZe mhqb\bmr+ Zg] hg\h`^gb\bmr bg anfZgl ^qihl^] mh L?>l-
10         =oZbeZ[e^ ]ZmZ lahp maZm lhf^ L?>l aZo^ ma^ Z[bebmr mh Zem^k k^ikh]n\mbo^
           ikh\^ll^l bg fZffZebZg li^\b^l+ lhf^mbf^l ^o^g Zm ]hl^l maZm ]h ghm \Znl^
11         hma^k lb`gl h_ mhqb\bmr- =gbfZe ]ZmZ Zg] ebfbm^] ZoZbeZ[e^ anfZg ]ZmZ
12         bg]b\Zm^ maZm ik^gZmZe ^qihlnk^ mh L?>l \Zg k^lnem bg oZkbhnl ]^`k^^l h_
           ]^o^ehif^gmZe mhqb\ ^__^\ml- LhlmgZmZe ^__^\ml aZo^ [^^g ]^fhglmkZm^] bg
13         bffZmnk^ ZgbfZel _heehpbg` ^qihlnk^ mh L?>l ik^gZmZeer Zg] obZ [k^Zlm
14         fbed-

15         Eg lhf^ \Zl^l \aehkZ\g^ fZr h\\nk bg anfZgl ^qihl^] mh L?>l- O^o^k^
16         \Zl^l h_ \aehkZ\g^ Zk^ iZbg_ne Zg] ]bl_b`nkbg`+ Zg] lrfimhfl fZr i^klblm
           _hk Zg ^qm^g]^] mbf^v
17


                                                                      &,'%$)"* 5 ,/#'* +((+
                                                                       <9 / *'0%,-'.2 - .,%%. 3 - /'.% :89
                                                                              - %"..(% 1" ?>989
     COMPLAINT - 14                                                             6:8=7 <894;;;=
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0    4/ B^]- N^`- 24071+ 24072,73 (=n`nlm 18+ 0874)-
1           0/-    Pa^ AL= Zelh ]^m^kfbg^] maZm IhglZgmh{l L?>l Zk^ ikh[Z[e^ anfZg
2    \Zk\bgh`^gl- Eg 0885+ ma^ AL= k^Zll^ll^] L?> \Zk\bgh`^gb\bmr [Zl^] hg ]ZmZ k^eZm^] mh
3    =kh\ehkl 0/05+ 0131+ 0143+ Zg] 015/- Pa^ AL={l \Zg\^k k^Zll^llf^gm pZl i^^k k^ob^p^]
4    [r ^qi^kml hg L?>l+ bg\en]bg` l\b^gmblml _khf `ho^kgf^gm+ Z\Z]^fbZ+ Zg] bg]nlmkr- Q-O-
5    AL=- L?>l9 ?Zg\^k @h^l,N^lihgl^ =ll^llf^gm Zg] =iieb\Zmbhg mh Agobkhgf^gmZe
6    Ibqmnk^l (0885)- Q-O- AL=+ K__b\^ h_ N^l^Zk\a Zg] @^o^ehif^gm+ JZmbhgZe ?^gm^k _hk
7    Agobkhgf^gmZe =ll^llf^gm+ SZlabg`mhg K__b\^+ SZlabg`mhg+ @?+ AL=.5//.L,85.//0B+
8    0885+ ZoZbeZ[e^ Zm ammil9..\_in[-^iZ-`ho.g\^Z.kbld.k^\hk]blieZr-\_f<]^b];01375 (eZlm
0/   Z\\^ll^] Jho^f[^k 5+ 1/06)-
00          00-    Pabl AL= k^ihkm _hng] maZm xWcXhbgm \hglb]^kZmbhg h_ \Zg\^k lmn]b^l Zg]
01   ^gobkhgf^gmZe ikh\^ll^l e^Z]l mh Z \hg\enlbhg maZm ^gobkhgf^gmZe L?> fbqmnk^l Zk^
02   ab`aer ebd^er mh ihl^ Z kbld h_ \Zg\^k mh anfZgl-y Id. Zm 46- Eg Z]]bmbhg+ xL?>l i^klblm bg
03   ma^ [h]r+ ikhob]bg` Z \hgmbgnbg` lhnk\^ h_ bgm^kgZe ^qihlnk^ Z_m^k ^qm^kgZe ^qihlnk^
04   lmhil- Pa^k^ fZr [^ `k^Zm^k,maZg,ikhihkmbhgZe ^__^\ml _khf e^ll,maZg,eb_^mbf^ ^qihlnk^+
05   ^li^\bZeer _hk i^klblm^gm fbqmnk^l Zg] _hk ^Zker,eb_^ ^qihlnk^-y Id. Zm 47,48-
06          01-    Pa^ 0885 AL= k^ihkm Zelh ghm^] maZm xL?>l Zelh aZo^ lb`gb_b\Zgm
07   ^\heh`b\Ze Zg] anfZg a^Zema ^__^\ml hma^k maZg \Zg\^k+ bg\en]bg` g^nkhmhqb\bmr+
08   k^ikh]n\mbo^ Zg] ]^o^ehif^gmZe mhqb\bmr+ bffng^ lrlm^f lniik^llbhg+ ebo^k ]ZfZ`^+ ldbg
1/   bkkbmZmbhg+ Zg] ^g]h\kbg^ ]blknimbhg- Phqb\ ^__^\ml aZo^ [^^g h[l^ko^] _khf Z\nm^ Zg]
10   \akhgb\ ^qihlnk^l mh L?> fbqmnk^l pbma oZkrbg` \aehkbg^ \hgm^gm-y Id. Zm ob-
11          02-    Eg 1///+ ma^ =`^g\r _hk Phqb\ On[lmZg\^l Zg] @bl^Zl^ N^`blmkr (=PO@N)+
12   blln^] Z in[eb\ a^Zema lmZm^f^gm k^`Zk]bg` L?> ^qihlnk^- Em ghm^] maZm xWlXdbg \hg]bmbhgl+
13   ln\a Zl Z\g^ Zg] kZla^l+ fZr h\\nk bg i^hie^ ^qihl^] mh ab`a e^o^el h_ L?>lv Ohf^
14   lmn]b^l bg phkd^kl ln``^lm maZm ^qihlnk^ mh L?>l fZr Zelh \Znl^ bkkbmZmbhg h_ ma^ ghl^
15   Zg] eng`l+ `Zlmkhbgm^lmbgZe ]bl\hf_hkm+ \aZg`^l bg ma^ [ehh] Zg] ebo^k+ Zg] ]^ik^llbhg Zg]
16   _Zmb`n^-y =`^g\r _hk Phqb\ On[lmZg\^l Zg] @bl^Zl^ N^`blmkr (=PO@N)- 1///-
17   Phqb\heh`b\Ze ikh_be^ _hk iher\aehkbgZm^] [bia^grel (L?>l)- =meZgmZ+ C=9 Q-O-


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0    @^iZkmf^gm h_ D^Zema Zg] DnfZg O^kob\^l+ Ln[eb\ D^Zema O^kob\^+ Zm 3- Pa^ in[eb\ a^Zema
1    lmZm^f^gm lnffZkbs^] ^qi^kbf^gmZe ZgbfZe lmn]b^l _bg]bg` ebo^k ]ZfZ`^+ Zg^fbZ+ Z\g^,
2    ebd^ ldbg \hg]bmbhgl+ lmhfZ\a bgcnkb^l+ markhb] bgcnkb^l+ db]g^r ]ZfZ`^+ bfiZbk^] bffng^
3    lrlm^f _ng\mbhg+ [^aZobhkZe Zem^kZmbhgl+ ^g]h\kbg^ ]blknimbhg+ Zg] bfiZbk^] k^ikh]n\mbhg-
4    Id. Zm 4-
5            03-    2PQTLZMV IZM UWZM ^]TVMZIJTM \W ?21 M`XW[]ZM' Pa^ 1/// =PO@N
6    lmZm^f^gm Zelh lnffZkbs^] lmn]b^l m^g]bg` mh lahp ^__^\ml bg L?>,^qihl^] \abe]k^g9 ehp
7    [bkmap^b`am: ikh[e^fl pbma fhmhk ldbeel: ]^\k^Zl^l bg lahkm,m^kf f^fhkr: Zg] ^__^\ml hg
8    ma^ bffng^ lrlm^f- Id. Zm 5- Pa^ k^ihkm ghm^] maZm \abe]k^g Zk^ fhk^ oneg^kZ[e^ mh L?>
0/   ^qihlnk^ maZg Z]neml+ Zemahn`a ma^ khnm^l h_ ^qihlnk^ Zk^ ma^ lZf^9
00           ?abe]k^g Zk^ ^qihl^] mh L?>l bg ma^ lZf^ pZr Zl Zk^ Z]neml9 [r ^Zmbg`
             \hgmZfbgZm^] _hh]+ [k^Zmabg` bg]hhk Zbk bg [nbe]bg`l maZm aZo^ ^e^\mkb\Ze
01
             ]^ob\^l \hgmZbgbg` L?>l+ Zg] ]kbgdbg` \hgmZfbgZm^] pZm^k- >^\Znl^ h_
02           ma^bk lfZee^k p^b`am+ \abe]k^g{l bgmZd^ h_ L?>l i^k dbeh`kZf h_ [h]r
             p^b`am fZr [^ `k^Zm^k maZg maZm h_ Z]neml-
03           v
04           Em bl ihllb[e^ maZm \abe]k^g \hne] [^ ^qihl^] mh L?>l _heehpbg` mkZglihkm h_
             ma^ \a^fb\Ze hg \ehmabg` _khf ma^ iZk^gm{l phkdieZ\^ mh ma^ ahf^- Dhnl^
05           ]nlm bg ahf^l h_ phkd^kl ^qihl^] mh L?>l \hgmZbg^] ab`a^k maZg Zo^kZ`^
06           e^o^el h_ L?>l- L?>l aZo^ Zelh [^^g _hng] hg ma^ \ehmabg` h_ _bk^_b`am^kl
             _heehpbg` mkZgl_hkf^k _bk^l- Pa^ fhlm ebd^er pZr bg_Zgml pbee [^ ^qihl^] bl
07           _khf [k^Zlm fbed maZm \hgmZbgl L?>l- B^mnl^l bg ma^ phf[ Zk^ Zelh ^qihl^]
08           _khf ma^ ^qihl^] fhma^k-
             -v
1/           >^\Znl^ ma^ [kZbg+ g^kohnl lrlm^f+ bffng^ lrlm^f+ markhb]+ Zg]
10           k^ikh]n\mbo^ hk`Zgl Zk^ lmbee ]^o^ehibg` bg ma^ _^mnl Zg] \abe]+ ma^ ^__^\ml h_
             L?>l hg ma^l^ mZk`^m lrlm^fl fZr [^ fhk^ ikh_hng] Z_m^k ^qihlnk^ ]nkbg`
11           ma^ ik^gZmZe Zg] g^hgZmZe i^kbh]l+ fZdbg` _^mnl^l Zg] \abe]k^g fhk^
12           lnl\^imb[e^ mh L?>l maZg Z]neml-

13   Id. Zm 4,5- Eg Z]]bmbhg+ xUhng`^k \abe]k^g fZr [^ iZkmb\neZker oneg^kZ[e^ mh L?>l
14   [^\Znl^+ \hfiZk^] mh Z]neml+ ma^r Zk^ `khpbg` fhk^ kZib]er Zg] `^g^kZeer aZo^ ehp^k Zg]
15   ]blmbg\m ikh_be^l h_ [bhmkZgl_hkfZmbhg ^gsrf^l+ Zl p^ee Zl fn\a lfZee^k _Zm ]^ihlbml _hk
16   l^jn^lm^kbg` ma^ ebihiabeb\ L?>l-y Id. Zm 270-
17           04-    2PQTLZMV IZM VW\ [UITT IL]T\[' Pa^ =PO@N mhqb\heh`b\Ze ikh_be^ _hk L?>l


                                                                           &,'%$)"* 5 ,/#'* +((+
                                                                           <9 / *'0%,-'.2 - .,%%. 3 - /'.% :89
                                                                                  - %"..(% 1" ?>989
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0    k^bm^kZm^] ma^l^ ]^o^ehif^gmZe \hg\^kgl pabe^ \Znmbhgbg` Z`Zbglm ma^ _ZeeZ\r maZm \abe]k^g
1    ihll^ll ma^ lZf^ e^o^e h_ k^lbeb^g\^ mh mhqb\ ^qihlnk^ Zl Z]neml9 x?abe]k^g Zk^ ghm lfZee
2    Z]nemlv ?abe]k^g Zelh aZo^ Z ehg`^k k^fZbgbg` eb_^mbf^ bg pab\a mh ^qik^ll ]ZfZ`^ _khf
3    \a^fb\Zel: mabl ihm^gmbZe bl iZkmb\neZker k^e^oZgm mh \Zg\^k-y Id. Zm 27/,70-
4           05-    FWZSXTIKM ?21 M`XW[]ZM KIV KWV\IUQVI\M PWUM[' Pa^ =PO@N
5    lmZm^f^gm k^bm^kZm^] maZm phkdieZ\^ ^qihlnk^ mh L?>l \Zg k^lnem bg ma^ phkd^k{l ahf^
6    [^\hfbg` \hgmZfbgZm^] pbma L?>l9 xE_ rhn Zk^ ^qihl^] mh L?>l bg ma^ phkdieZ\^+ bm
7    fZr [^ ihllb[e^ mh \Zkkr ma^f ahf^ _khf phkdv E_ mabl bl ma^ \Zl^+ rhn lahne] lahp^k
8    Zg] \aZg`bg` \ehmabg` [^_hk^ e^Zobg` phkd+ Zg] rhnk phkd \ehma^l lahne] [^ d^im
0/   l^iZkZm^ _khf hma^k \ehma^l Zg] eZng]^k^] l^iZkZm^er-y Id. Zm 6-
00          06-    ?21 M`XW[]ZM IVL KIZLQW^I[K]TIZ LIUIOM' = 1/00 =PO@N Z]]^g]nf
01   mh ma^ mhqb\heh`b\Ze ikh_be^ _hk L?>l k^ihkm^] hg fhk^ k^\^gm k^l^Zk\a+ bg\en]bg` ZgbfZe
02   lmn]b^l lahpbg` \Zk]bhoZl\neZk ]ZfZ`^ _heehpbg` L?> ^qihlnk^- =`^g\r _hk Phqb\
03   On[lmZg\^l Zg] @bl^Zl^ N^`blmkr (=PO@N)- 1/00- =]]^g]nf mh ma^ mhqb\heh`b\Ze ikh_be^
04   _hk iher\aehkbgZm^] [bia^grel (L?>l)- =meZgmZ+ C=9 Q-O- =PO@N+ @boblbhg h_
05   Phqb\heh`r Zg] Agobkhgf^gmZe I^]b\bg^+ Zm 0-
06          07-    ?21 M`XW[]ZM IVL \aXM * LQIJM\M[' Pa^ 1/00 Z]]^g]nf k^ihkm^] k^l^Zk\a
07   maZm xL?> ^qihlnk^ pZl lmkhg`er k^eZm^] mh ik^oZe^g\^ h_ mri^ 1 ]bZ[^m^l f^eebmnl-y Id. Zm
08   1,2-
1/          08-    ?21 M`XW[]ZM IVL LMNQKQMV\ QUU]VM N]VK\QWV' Pa^ 1/00 Z]]^g]nf
10   k^ihkm^] k^l^Zk\a xln``^lmbg` ihllb[e^ bfiZbk^] bffngheh`b\ ]^o^ehif^gmy bg \abe]k^g+
11   Zg] ma^ k^lneml h_ Zghma^k lmn]r maZm xbfieb^] maZm ^qihlnk^ mh L?>l bl Z ihllb[e^ \Znl^ h_
12   ]^_b\b^gm bffng^ _ng\mbhg bg \abe]k^g-y Id. Zm 3-
13          1/-    ?21 M`XW[]ZM IVL VM]ZWLMOMVMZI\Q^M LQ[MI[M[' Pa^ 1/00 Z]]^g]nf
14   k^ihkm^] hma^k k^l^Zk\a xmaZm ^qihlnk^ mh L?>l ebd^er aZl Zg ^__^\m hg g^nkh]^`^g^kZmbo^
15   ]bl^Zl^l _hk phf^g [nm ghm f^g+y bg\en]bg` Zfrhmkhiab\ eZm^kZe l\e^khlbl (=HO+ Zelh
16   dghpg Zl fhmhk g^nkhg ]bl^Zl^)+ LZkdbglhg{l ]bl^Zl^+ Zg] ]^f^gmbZ- Id. Zm 3-
17          10-    ?21 M`XW[]ZM IVL VM]ZWJMPI^QWZIT MNNMK\[% IV`QM\a' Pa^ 1/00


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                                                                            <9 / *'0%,-'.2 - .,%%. 3 - /'.% :89
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0    Z]]^g]nf k^ihkm^] ZgbfZe lmn]b^l k^l^Zk\a xmaZm ^qihlnk^ mh L?>l fZr ^q^km Zgqbh`^gb\
1    [^aZobhk-y Id. Zm 4- =g Zgqbh`^gb\ hk iZgb\h`^gb\ ln[lmZg\^ bl hg^ maZm \Znl^l Zgqb^mr-
2           11-    ?21 M`XW[]ZM IVL KMV\ZIT VMZ^W][ [a[\MU MNNMK\[' Pa^ 1/00 Z]]^g]nf
3    k^ihkm^] ZgbfZe lmn]b^l k^l^Zk\a lahpbg` bgab[bm^] Zg] ]^ik^ll^] \^gmkZe g^kohnl lrlm^f
4    ^__^\ml _heehpbg` L?> ^qihlnk^- Id. Zm 4,5-
5           12-    ?21 M`XW[]ZM IVL KPQTLZMVe[ XMZUIVMV\ \MM\P' Pa^ 1/00 Z]]^g]nf
6    k^ihkm^] anfZg lmn]b^l lahpbg` xZ ]hl^,k^lihgl^ k^eZmbhglabi [^mp^^g L?> ^qihlnk^
7    Zg] ]^o^ehif^gm ^gZf^e ]^_^\ml h_ i^kfZg^gm m^^ma bg \abe]k^g-y Id. Zm 6-
8           13-    ?21 M`XW[]ZM IVL [M`]IT LM^MTWXUMV\' Pa^ 1/00 Z]]^g]nf k^ihkm^]
0/   anfZg lmn]b^l k^l^Zk\a lahpbg` bfiZbk^] l^qnZe ]^o^ehif^gm+ bg\en]bg` Z ihlbmbo^
00   Zllh\bZmbhg [^mp^^g ab`a mhmZe L?> \hg\^gmkZmbhgl Zg] \krimhk\ab]blf (ng]^l\^g]^]
01   m^lmb\e^l) bg [hrl- =ghma^k lmn]r xln``^lm^] maZm ^o^g ehp e^o^el h_ L?>l aZ] Z kh[nlm
02   g^`Zmbo^ bfiZ\m hg `hgZ]Ze ahkfhg^l bg g^p[hkgl-y Id. Zm 6,7- =ghma^k lmn]r h_ `bkel
03   ^qihl^] mh L?>l xln``^lm^] maZm ^o^g Zm ehp e^o^el h_ ^lmkh`^gb\ L?>l+ ma^ mbf^ mh
04   f^gZk\a^ ZmmZbgf^gm pZl ]^\k^Zl^]+y Zg] ma^ xf^]bZg Z`^ Zm f^gZk\a^ _hk mabl \hahkm
05   (027 `bkel) pZl 01-1 r^Zkl-y Id. Zm 8- =ghma^k lmn]r _hng] xmaZm ^qihlnk^ mh \^kmZbg L?>
06   \hg`^g^kl fZr bgm^k_^k^ pbma anfZg k^ikh]n\mbo^ ]^o^ehif^gmy bg [hma [hrl Zg] `bkel-
07   Id. Zm 8- =gbfZe lmn]b^l Zelh _hng] x]hl^,k^eZm^] ikhehg`Zmbhg h_ ma^ ^lmkhnl \r\e^ bg
08   _^fZe^ h__likbg`+y Zg] x\aZg`^l bg [h]r p^b`am+ [h]r e^g`ma+ mZbe e^g`ma+ Zg] p^b`aml h_
1/   db]g^rl+ m^lm^l+ hoZkb^l+ Zg] nm^knl-y Id. Zm 8-
10          14-    1ZWIL [XMK\Z]U WN MNNMK\[' = 1/03 =PO@N in[eb\Zmbhg lmZm^] maZm
11   h\\niZmbhgZe ^qihlnk^ mh L?>l \Zg k^lnem bg Z x[khZ] li^\mknf h_ ^__^\ml maZm bg\en]^l
12   bg\k^Zl^] e^o^el h_ lhf^ ebo^k ^gsrf^l+ pbma ihllb[e^ a^iZmb\ ]ZfZ`^+ \aehkZ\g^ Zg]
13   k^eZm^] ]^kfZe e^lbhgl+ Zg] k^libkZmhkr ikh[e^fl-y =`^g\r _hk Phqb\ On[lmZg\^l Zg]
14   @bl^Zl^ N^`blmkr (=PO@N)- 1/03- ?Zl^ Omn]b^l bg Agobkhgf^gmZe I^]b\bg^9
15   Lher\aehkbgZm^] >bia^grel (L?>l) Phqb\bmr- =meZgmZ+ C=9 Q-O- @^iZkm- h_ D^Zema Zg]
16   DnfZg O^kob\^l+ Zm 28+ ZoZbeZ[e^ Zm ammil9..ppp-Zml]k-\]\-`ho.\l^f.\l^f-Zli<\l^f;2/&ih;0/+
17   eZlm oblbm^] hg Jho^f[^k 6+ 1/06- Pa^ _heehpbg` bg_hkfZmbhg k^_^k^g\^l mabl 1/03


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0    =PO@N in[eb\Zmbhg-
1           15-      0K]\M M`XW[]ZM \W ?21[' Ob`gl Zg] lrfimhfl h_ Z\nm^ ^qihlnk^ mh L?>l
2    \Zg bg\en]^ \aehkZ\g^+ ^r^ bkkbmZmbhg+ gZnl^Z+ ohfbmbg`+ Zg] ^e^oZm^] ebo^k ^gsrf^l Zg]
3    Zem^k^] ebo^k _ng\mbhg- Id.Zm 44,45-
4           16-      2PZWVQK M`XW[]ZM \W ?21[' Ob`gl Zg] lrfimhfl h_ \akhgb\ ^qihlnk^ mh
5    L?>l \Zg bg\en]^ Z[]hfbgZe iZbg+ Zghk^qbZ+ cZng]b\^+ gZnl^Z+ ohfbmbg`+ p^b`am ehll+
6    nkhihkiarkbZ+ a^Z]Z\a^+ ]bssbg^ll+ Zg] ^]^fZ- Id. Zm 45,46-
7           17-      CW`QK ZM[XWV[M[ \W ?21[' =gbfZe lmn]b^l aZo^ lahpg maZm x\hff^k\bZe
8    L?>l ^eb\bm Z [khZ] kZg`^ h_ mhqb\ k^lihgl^l bg\en]bg`9
0/                      =\nm^ e^maZebmr+
00                      >h]r p^b`am ehll+
                        ?Zk\bgh`^g^lbl+
01                      @^kfZe mhqb\bmr+
02                      BZmmr ebo^k+
                        C^ghmhqb\bmr+
03                      D^iZmhf^`Zer+
04                      Effnghlniik^llbo^ ^__^\ml+
                        J^nkhmhqb\bmr+
05
                        LhkiarkbZ+
06                      N^ikh]n\mbo^ Zg] ]^o^ehif^gmZe mhqb\bmr+
07                      Parfb\ Zmkhiar+ Zg]
                        Parkhb] ahkfhg^,e^o^e Zem^kZmbhgl-y
08
1/   Id. Zm 28,3/-

10          18-      3MZUI\WTWOQKIT MNNMK\[' x?hg\enlbo^ ^ob]^g\^ maZm ^qihlnk^ mh L?>l

11   bg]n\^l Z]o^kl^ ]^kfZe ^__^\ml bg anfZgl ^qblmly9

12          ?aehkZ\g^ Zg] k^eZm^] ]^kfZe e^lbhgl aZo^ [^^g k^ihkm^] bg phkd^kl
            h\\niZmbhgZeer ^qihl^] mh L?>l-
13          v
            Pa^ \abg+ i^kbhk[bmZe+ Zg] fZeZk Zk^Zl Zk^ fhlm h_m^g bgoheo^]+ Zemahn`a
14
            e^lbhgl fb`am Zelh Zii^Zk bg Zk^Zl ghm nlnZeer Z__^\m^] [r Z\g^ one`Zkbl
15          (^-`-+ ma^ \a^lm+ Zkfl+ mab`al+ `^gbmZebZ+ Zg] [nmmh\dl)- Pa^ fhlm ]blmbg\mbo^
            e^lbhgl Zk^ \rlmb\ Zg] f^Zlnk^ 0,0/ ff+ Zemahn`a \hf^]hgZe e^lbhgl \Zg
16
            Zelh [^ ik^l^gm-
17          v
            ?aehkZ\g^ `^g^kZeer bg]b\Zm^l lrlm^fb\ mhqb\bmr Zg] \Zg [^ \Znl^] [r ghm

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0           hger ]^kfZe \hgmZ\m [nm Zelh bg`^lmbhg h_ L?>lv ?aehkZ\g^ mrib\Zeer
            ]^o^ehil p^^dl hk fhgmal Z_m^k ^qihlnk^- Pa^ e^lbhgl Zk^ h_m^g k^_kZ\mhkr
1
            mh mk^Zmf^gm Zg] \Zg eZlm _hk r^Zkl hk ]^\Z]^l-
2
            Eg Z]]bmbhg mh \aehkZ\g^+ hma^k ]^kfZe ^__^\ml ghm^] lhf^ L?>,^qihl^]
3           phkd^kl bg\en]^ ib`f^gmZmbhg ]blmnk[Zg\^l h_ ldbg Zg] gZbel+ ^krma^fZ Zg]
4           mab\d^gbg` h_ ma^ ldbg+ Zg] [nkgbg` l^glZmbhgl-
5    Id. Zm 30,31 (bgm^kgZe \bmZmbhgl hfbmm^])-
6           2/-       AMXZWL]K\Q^M IVL LM^MTWXUMV\IT MNNMK\[' xN^ikh]n\mbo^ _ng\mbhg fZr [^
7    ]blknim^] [r ^qihlnk^ mh L?>l+y Zg] xg^nkh[^aZobhkZe Zg] ]^o^ehif^gm ]^_b\bml aZo^
8    [^^g k^ihkm^] bg g^p[hkgl ^qihl^] mh L?>l bg nm^kh-y Id. Zm 34- ?abe]k^g [hkg mh phf^g
0/   ^qihl^] mh L?>l ^qab[bm^] lmZmblmb\Zeer lb`gb_b\Zgm ]^\k^Zl^l bg `^lmZmbhgZe Z`^+ [bkma
00   p^b`am+ Zg] a^Z] \bk\nf_^k^g\^- Id. Zm 32- Db`a^k e^o^el h_ L?> ^qihlnk^ \hkk^eZm^] pbma
01   p^Zd^k k^_e^q^l+ `k^Zm^k fhmhk bffZmnkbmr+ Zg] fhk^ ikhghng\^] lmZkme^ k^lihgl^l- Id. Zm
02   32,33- Bheehp,ni lmn]b^l h_ ma^ \abe]k^g h_ maZm \hahkm x]^fhglmkZm^] maZm ma^ ^__^\ml h_
03   i^kbgZmZe ^qihlnk^ mh L?>l Zk^ i^klblm^gm-y Id. Zm 33- =m _hnk r^Zkl h_ Z`^+ ma^ \abe]k^g
04   lmbee aZ] ]^_b\bml bg p^b`am `Zbg+ ]^ik^ll^] k^lihglbo^g^ll+ Zg] k^]n\^] i^k_hkfZg\^ hg
05   ma^ oblnZe k^\h`gbmbhg f^fhkr m^lm- Id. Zm 33- x=m 00 r^Zkl h_ Z`^+ ma^ \abe]k^g h_ ab`aer
06   ^qihl^] fhma^kl p^k^ mak^^ mbf^l fhk^ ebd^er maZg \hgmkhel mh aZo^ ehp _nee,l\Ze^ EM
07   l\hk^l: mpb\^ Zl ebd^er mh eZ` [^abg] Zm e^Zlm 1 r^Zkl bg k^Z]bg` \hfik^a^glbhg: Zg] fhk^
08   ebd^er mh aZo^ ]b__b\nemr iZrbg` Zmm^gmbhg-y Id. Zm 33 (bgm^kgZe \bmZmbhg hfbmm^])-
1/          20-       4VLWKZQVM MNNMK\[' xPa^ ^ib]^fbheh`b\Ze lmn]b^l ln``^lm Z ebgd [^mp^^g
10   ^qihlnk^ mh L?>l Zg] markhb] ahkfhg^ mhqb\bmr bg anfZgl-y Id. Zm 35- xParkhb]
11   ahkfhg^l Zk^ ^ll^gmbZe _hk ghkfZe [^aZobhkZe+ bgm^ee^\mnZe+ Zg] g^nkheh`b\ ]^o^ehif^gm-
12   Panl+ ma^ ]^_b\bml bg e^Zkgbg`+ f^fhkr+ Zg] Zmm^gmbhg ikh\^ll^l Zfhg` ma^ h__likbg` h_
13   phf^g ^qihl^] mh L?>l Zk^ iZkmbZeer hk ik^]hfbgZgmer f^]bZm^] [r Zem^kZmbhgl bg
14   ahkfhgZe [bg]bg` mh ma^ markhb] ahkfhg^ k^\^imhk-y Id. xN^\^gm lmn]b^l bg ihineZmbhgl
15   ^qihl^] mh L?>l Zg] \aehkbgZm^] i^lmb\b]^l _hng] Z ]hl^,]^i^g]^gm ^e^oZm^] kbld h_
16   ]bZ[^m^l-y Id.
17          21-       7MXI\QK MNNMK\[' x=emahn`a ebo^k ]ZfZ`^ bl \hffhg bg ZgbfZel ^qihl^] mh


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0    L?>l+ ho^km a^iZmhmhqb\bmr bl ng\hffhg bg anfZgl- Aqihlnk^ mh L?>l \Zg bg\k^Zl^
1    l^knf e^o^el h_ a^iZmb\ ^gsrf^l Zg] \Zg bg]n\^ fb\khlhfZe ^gsrf^ _ng\mbhg-y Id. Zm 35,
2    37-
3           22-    =M]ZWTWOQKIT MNNMK\[' =]neml ^qihl^] mh L?>l aZo^ [^^g lahpg mh aZo^
4    lb`gb_b\Zgmer `k^Zm^k fhmhk k^mZk]Zmbhg: ihhk^k k^lneml hg \^kmZbg f^fhkr Zg] Zmm^gmbhg
5    m^lml: Zg] ab`a^k l\hk^l hg lmZg]Zk]bs^] \hg_nlbhg l\Ze^ maZg ]b] \hgmkhe Z]neml- Id. Zm 40-
6           23-    0LLQ\QWVIT IL^MZ[M MNNMK\[' xK\\niZmbhgZe Zg] ^ib]^fbheh`b\ lmn]b^l aZo^
7    ln``^lm^] hk ]^fhglmkZm^] hma^k Z]o^kl^ a^Zema ^__^\ml _khf ^qihlnk^ mh L?>l+y
8    bg\en]bg` \Zk]bhoZl\neZk+ `Zlmkhbgm^lmbgZe+ `^g^mb\+ bffng^+ fnl\nehld^e^mZe+ Zg]
0/   g^nkheh`b\Ze lrlm^fl- Id. Zm 40,41-
00          24-    0LLQ\QWVIT [QOV[ IVL [aUX\WU[' Pa^ =PO@N xZ]obl^l iZmb^gml mh \hglnem
01   ma^bk iarlb\bZgl b_ ma^r ]^o^ehi lb`gl hk lrfimhfl h_ L?> ^qihlnk^ ln\a Zl9 Zii^mbm^
02   ehll: chbgm iZbg: gZnl^Z: ldbg ]blhk]^kl+ \aZg`^l+ hk ]bl\hehkZmbhg: [k^Zlm \aZg`^l hk
03   enfil: Zg].hk lmhfZ\a ]blmk^ll Zg] iZbg-y Id. Zm 57-
04          25-    7QOPTa \W`QK ?233[ IVL ?235[' xK\\niZmbhgZe ^qihlnk^ mh L?>l fZr
05   [^ Z\\hfiZgb^] [r ^qihlnk^ mh \aehkbgZm^] ]b[^gsh]bhqbg Zg] ]b[^gsh_nkZg
06   \hgmZfbgZgml+ pab\a Zk^ fn\a fhk^ mhqb\ maZg L?>l bg \hfiZkZmbo^ ZgbfZe lmn]b^l-
07   Pa^l^ ln[lmZg\^l \Zg \Znl^ \akhgb\ _Zmb`n^ Zg] ^e^oZm^] ebo^k ^gsrf^l-y Id. Zm 46-
08          26-    ?21[ IZM I cXZWJIJTM P]UIV KIZKQVWOMV'd Pa^ @^iZkmf^gm h_ D^Zema
1/   Zg] DnfZg O^kob\^l Zg] ma^ Agobkhgf^gmZe Lkhm^\mbhg =`^g\r x\hglb]^k L?>l Z
10   ikh[Z[e^ anfZg \Zk\bgh`^g-y Id. Zm 40- Eg Z]]bmbhg+ Zg] xhg ma^ [Zlbl h_ ln__b\b^gm
11   ^ob]^g\^ h_ \Zk\bgh`^gb\bmr bg anfZgl Zg] ^qi^kbf^gmZe ZgbfZel+ ma^ E=N?
12   WEgm^kgZmbhgZe =`^g\r _hk N^l^Zk\a hg ?Zg\^kX \eZllb_b^] L?>l Zl \Zk\bgh`^gb\ mh
13   anfZgl-y Id- L?> ^qihlnk^ aZl [^^g ebgd^] mh \Zg\^kl h_ ma^ ebo^k+ `Zee[eZ]]^k+ [bebZkr
14   mkZ\m+ [kZbg+ lmhfZ\a+ bgm^lmbgZe+ markhb]+ fr^ehfZ (\Zg\^k h_ ieZlfZ \^eel+ pab\a \Zg
15   ]ZfZ`^ ma^ [hg^l+ bffng^ lrlm^f+ db]g^rl+ Zg] k^] [ehh] \^ee \hngm)+ ghg,Dh]`dbg
16   erfiahfZ (Z \Zg\^k maZm lmZkml bg ma^ erfiaZmb\ lrlm^f)+ Zg] ma^ ldbg+ ln\a Zl fZeb`gZgm
17   f^eZghfZl- Id. Zm 37,4/- Eg Z]]bmbhg+ x]ZmZ _khf ZgbfZe lmn]b^l aZo^ lahpg maZm L?>l


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0    \Znl^ `Zlmkhbgm^lmbgZe mkZ\m mnfhkl+ a^iZmh\Zk\bghfZl+ e^nd^fbZ+ erfiahfZl+ Zg]
1    ibmnbmZkr mnfhkl-y Id. Zm 4/-
2            27-   80A2/ c?21[ IZM KIZKQVWOMVQK \W P]UIV['d Eg 1/05+ ma^ Egm^kgZmbhgZe
3    =`^g\r _hk N^l^Zk\a hg ?Zg\^k in[ebla^] Zg Zll^llf^gm hg ma^ \Zk\bgh`^gb\bmr h_ L?>l-
4    Egm^kgZmbhgZe =`^g\r _hk N^l^Zk\a hg ?Zg\^k- E=N? fhgh`kZial hg ma^ ^oZenZmbhg h_
5    \Zk\bgh`^gb\ kbldl mh anfZgl+ ohenf^ 0/6- Lher\aehkbgZm^] Zg] Lher[khfbgZm^]
6    >bia^grel (1/05)+ ZoZbeZ[e^ Zm ammi9..fhgh`kZial-bZk\-_k.AJC.Ihgh`kZial.ohe0/6.bg]^q-iai (eZlm
7    Z\\^ll^] Jho^f[^k 5+ 1/06- Pa^ E=N? k^ihkm \hg\en]^]+ xPa^k^ bl sufficient evidence bg
8    anfZgl _hk ma^ \Zk\bgh`^gb\bmr h_ iher\aehkbgZm^] [bia^grel (L?>l)- L?>l \Znl^
0/   fZeb`gZgm f^eZghfZ- Lhlbmbo^ Zllh\bZmbhgl aZo^ [^^g h[l^ko^] _hk ghg,Dh]`dbg
00   erfiahfZ Zg] \Zg\^k h_ ma^ [k^Zlm--- L?>l Zk^ carcinogenic to humans.y Id. Zm 328
01   (^fiaZlbl bg hkb`bgZe)-
02           28-   FQLM ZIVOM WN KIVKMZ[ IVL TM[QWV[' =gbfZe Zg] anfZg lmn]b^l lahp
03   Zllh\bZmbhgl [^mp^^g L?> ^qihlnk^ Zg] hma^k \Zg\^kl Zg] e^lbhgl ghm li^\b_b\Zeer
04   ^gnf^kZm^] Z[ho^- Pa^l^ \Zg bg\en]^ ikhlmZm^ \Zg\^k+ m^lmb\neZk \Zg\^k+ iZg\k^Zmb\
05   \Zg\^k+ eng` \Zg\^k+ fhnma \Zg\^k+ nm^kbg^ \Zg\^k+ Zg] ghg,g^hieZlmb\ e^lbhgl h_ ma^ ebo^k+
06   markhb] `eZg]+ hoZkr+ hob]n\m+ nm^knl+ eng`+ Z]k^gZe \hkm^q+ iZg\k^Zl+ db]g^r+ a^Zkm+
07   marfnl+ lie^^g+ \ebmhkZe `eZg]+ f^l^gm^kb\ Zkm^kr+ hkZe fn\hlZ+ [hg^ fZkkhp+ Zg] [eZ]]^k-
08   See, e.g., =`^g\r _hk Phqb\ On[lmZg\^l Zg] @bl^Zl^ N^`blmkr (=PO@N)- 1/00- =]]^g]nf
1/   mh ma^ mhqb\heh`b\Ze ikh_be^ _hk iher\aehkbgZm^] [bia^grel (L?>l)- =meZgmZ+ C=9 Q-O-
10   =PO@N+ @boblbhg h_ Phqb\heh`r Zg] Agobkhgf^gmZe I^]b\bg^+ Zm 0/,03-
11      2'         <WV[IV\W SVM_ ?12[ _MZM \W`QK% J]\ XZWUW\ML \PMU _Q\PW]\ _IZVQVO['
12           0-    xIhglZgmh pZl p^ee ZpZk^ h_ l\b^gmb_b\ ebm^kZmnk^ in[ebla^] bg ma^ 082/l
13   maZm ^lmZ[ebla^] maZm bgaZeZmbhg h_ L?>l bg bg]nlmkbZe l^mmbg`l k^lnem^] bg mhqb\ lrlm^fb\
14   ^__^\ml bg anfZgl-y OmZm^ h_ SZlabg`mhg{l ?hfieZbgm _hk @ZfZ`^l Z`Zbglm IhglZgmh+ i-
15   01+ u 38+ ?Zl^ Jh- 05,1,18480,5+ Gbg` ?hngmr Oni^kbhk ?hnkm (@^\- 7+ 1/05)-
16           1-    = 0826 IhglZgmh f^fhkZg]nf Z]obl^] maZm xAqi^kbf^gmZe phkd bg
17   ZgbfZel lahpl maZm ikhehg`^] ^qihlnk^ mh =kh\ehk oZihkl ^oheo^] Zm ab`a m^fi^kZmnk^l hk


                                                                          &,'%$)"* 5 ,/#'* +((+
                                                                           <9 / *'0%,-'.2 - .,%%. 3 - /'.% :89
                                                                                  - %"..(% 1" ?>989
     COMPLAINT - 22                                                                 6:8=7 <894;;;=
                                                                                                               Electronically Filed - St Louis County - August 03, 2022 - 02:35 PM
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0    [r k^i^Zm^] hkZe bg`^lmbhg pbee e^Z] mh lrlm^fb\ mhqb\ ^__^\ml- N^i^Zm^] [h]ber \hgmZ\m
1    pbma ma^ ebjnb] =kh\ehkl fZr e^Z] mh Zg Z\g^,_hkf ldbg ^knimbhg-y Id. Zm u 4/: see Odr
2    RZee^r ?hfieZbgm+ 4`PQJQ\ 1 (_khf City of Spokane v. Monsanto Co.+ ?Zl^ 1904,\o,
3    //1/0,OIF+ A?B Jh- 0,1 (A-@- SZla- Fner 20+ 1/04)+ IKJO /50221)-
4           2-     = 0844 f^fhkZg]nf ^gmbme^] x=NK?HKN PKTE?EPUy [r IhglZgmh
5    I^]b\Ze @bk^\mhk Aff^m G^eer lnffZkbs^] IhglZgmh{l ihlbmbhg hg L?> mhqb\bmr9 xS^
6    dghp =kh\ehkl Zk^ mhqb\ [nm ma^ Z\mnZe ebfbm aZl ghm [^^g ik^\bl^er ]^_bg^]- Em ]h^l ghm
7    fZd^ mhh fn\a ]b__^k^g\^+ bm l^^fl mh f^+ [^\Znl^ hnk fZbg phkkr bl paZm pbee aZii^g b_
8    Zg bg]bob]nZe ]^o^ehil Zgr mri^ h_ ebo^k ]bl^Zl^ Zg] `bo^l Z ablmhkr h_ =kh\ehk ^qihlnk^- E
0/   Zf lnk^ ma^ cnkb^l phne] ghm iZr Z `k^Zm ]^Ze h_ Zmm^gmbhg mh I=?l WfZqbfnf ZeehpZ[e^
00   \hg\^gmkZm^lX-y OmZm^ h_ SZlabg`mhg{l ?hfieZbgm _hk @ZfZ`^l Z`Zbglm IhglZgmh+ i- 01+ u
01   40+ ?Zl^ Jh- 05,1,18480,5+ Gbg` ?hngmr Oni^kbhk ?hnkm (@^\- 7+ 1/05): see Odr RZee^r
02   ?hfieZbgm+ 4`PQJQ\ 2 (_khf City of Spokane v. Monsanto Co.+ ?Zl^ 1904,\o,//1/0,OIF+
03   A?B Jh- 0,2 (A-@- SZla- Fner 20+ 1/04)+ IKJO /84085,86) Zm 1-
04          3-     = 0844 x?KJBE@AJPE=Hy f^fhkZg]nf [r IhglZgmh{l I^]b\Ze
05   @^iZkmf^gm lmZm^] maZm phkd^kl lahne] ghm [^ Zeehp^] mh ^Zm eng\a bg ma^ =kh\ehk
06   ]^iZkmf^gm- Pak^^ k^Zlhgl p^k^ ikhob]^]+ bg\en]bg` ma^ _Z\m maZm x=kh\ehk oZihkl Zg]
07   hma^k ikh\^ll oZihkl \hne] \hgmZfbgZm^ ma^ eng\a^l nge^ll ma^r p^k^ ikhi^ker ikhm^\m^]-y
08   See Odr RZee^r ?hfieZbgm+ 4`PQJQ\ 3 (_khf City of Spokane v. Monsanto Co.+ ?Zl^ 1904,
1/   \o,//1/0,OIF+ A?B Jh- 0,3 (A-@- SZla- Fner 20+ 1/04) Zm 1-
10          4-     Eg Z]]bmbhg+ Z_m^k ghmbg` maZm xma^ \aZg\^ h_ \hgmZfbgZmbg` aZg]l Zg]
11   ln[l^jn^gmer \hgmZfbgZmbg` ma^ _hh] bl Z ]^_bgbm^ ihllb[bebmr+y ma^ I^]b\Ze @^iZkmf^gm
12   lmZm^] maZm
13          Em aZl ehg` [^^g ma^ hibgbhg h_ ma^ I^]b\Ze @^iZkmf^gm maZm ^Zmbg` bg
            ikh\^ll ]^iZkmf^gml bl Z ihm^gmbZeer aZsZk]hnl ikh\^]nk^ maZm \hne] e^Z] mh
14
            l^kbhnl ]b__b\nemb^l- Sabe^ ma^ =kh\ehkl Zk^ ghm iZkmb\neZker aZsZk]hnl _khf
15          hnk hpg ^qi^kb^g\^+ mabl bl Z ]b__b\nem ikh[e^f mh ]^_bg^ [^\Znl^ MIZTa
            TQ\MZI\]ZM _WZS KTIQUML \PI\ KPTWZQVI\ML JQXPMVaT[ _MZM Y]Q\M \W`QK
16
            UI\MZQIT[ Ja QVOM[\QWV WZ QVPITI\QWV' Eg Zgr \Zl^ pa^k^ Z phkdfZg
17          \eZbf^] iarlb\Ze aZkf _khf Zgr \hgmZfbgZm^] _hh]+ bm phne] [^ ^qmk^f^er
            ]b__b\nem hg ma^ [Zlbl h_ iZlm ebm^kZmnk^ k^ihkml mh \hngm^k ln\a \eZbfl-

                                                                        &,'%$)"* 5 ,/#'* +((+
                                                                         <9 / *'0%,-'.2 - .,%%. 3 - /'.% :89
                                                                                - %"..(% 1" ?>989
     COMPLAINT - 23                                                               6:8=7 <894;;;=
                                                                                                                Electronically Filed - St Louis County - August 03, 2022 - 02:35 PM
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0    Id. (^fiaZlbl Z]]^]): see also OmZm^ h_ SZlabg`mhg{l ?hfieZbgm _hk @ZfZ`^l Z`Zbglm
1    IhglZgmh+ ii- 01,02+ u 41+ ?Zl^ Jh- 05,1,18480,5+ Gbg` ?hngmr Oni^kbhk ?hnkm (@^\- 7+
2    1/05)-
3             5-   = 0846 bgm^kgZe f^fhkZg]nf [r IhglZgmh I^]b\Ze @bk^\mhk Aff^m G^eer
4    k^ihkm^] maZm+ Z_m^k bm \hg]n\m^] bml hpg m^lml+ ma^ Q-O- JZor ]^\b]^] Z`Zbglm nlbg`
5    IhglZgmh{l =kh\ehkl9 xJh fZmm^k ahp p^ ]bl\nll^] ma^ lbmnZmbhg+ bm pZl bfihllb[e^ mh
6    \aZg`^ ma^bk mabgdbg` maZm W=kh\ehk,\hgmZbgbg`X Lr]kZne 04/ bl cnlm mhh mhqb\ _hk nl^ bg Z
7    ln[fZkbg^-y OmZm^ h_ SZlabg`mhg{l ?hfieZbgm _hk @ZfZ`^l Z`Zbglm IhglZgmh+ i- 02+ u
8    42+ ?Zl^ Jh- 05,1,18480,5+ Gbg` ?hngmr Oni^kbhk ?hnkm (@^\- 7+ 1/05): see Odr RZee^r
0/   ?hfieZbgm+ 4`PQJQ\ 4 (_khf City of Spokane v. Monsanto Co.+ ?Zl^ 1904,\o,//1/0,OIF+
00   A?B Jh- 0,4 WA-@- SZla- Fner 20+ 1/04X) Zm 1-
01            6-   Pa^k^_hk^+ [r ma^ 084/l+ IhglZgmh dg^p maZm bml L?>l Z.d.Z x=kh\ehkl Zk^
02   mhqb\ [nm ma^ Z\mnZe ebfbm aZl ghm [^^g ik^\bl^er ]^_bg^]-y Supra Zm u R-?-2- L^kaZil
03   k^_e^\mbg` hg mabl+ IhglZgmh{l I^]b\Ze @bk^\mhk G^eer fZ]^ ma^ k^ZlhgZ[e^ h[l^koZmbhg
04   maZm xcnkb^l phne] ghm iZr Z `k^Zm ]^Ze h_ Zmm^gmbhgy mh ^qihlnk^ ebfbml l^m [r ma^ bg]nlmkr-
05   Id. Pabl bl k^ZlhgZ[e^ [^\Znl^ lh,\Zee^] ^qihlnk^ ebfbml aZo^ ghm [^^g [Zl^] hg anfZg
06   ln[c^\m m^lmbg`+ pab\a phne] [^ ng^mab\Ze- Eglm^Z]+ ma^ bg]nlmkr ^qmkZiheZm^] lh,\Zee^]
07   anfZg ^qihlnk^ ebfbml _khf eZ[hkZmhkr m^lml h_ lfZee fZffZel ebd^ kZml+ `nbg^Z ib`l+
08   kZ[[bml+ Zg] ]h`l+ pah aZo^ Z ebfbm^] Z[bebmr mh k^ihkm hk ]^fhglmkZm^ \hfieZbgml
1/   _heehpbg` L?> ^qihlnk^ [^_hk^ ]rbg`whk [^bg` dbee^]wZg] ma^g ]bll^\m^] _hk ma^
10   iZmaheh`b\Ze ^qZfbgZmbhg h_ e^lbhgl- See, e.g.+ 4`PQJQ\[ ; Zg] A- N^`Zk]e^ll+ IhglZgmh
11   Zelh dg^p maZm x^Zker ebm^kZmnk^ phkd \eZbf^] maZm \aehkbgZm^] [bia^grel p^k^ jnbm^ mhqb\
12   fZm^kbZel [r bg`^lmbhg hk bgaZeZmbhg-y Supra Zm u R-?-4-
13            7-   Eg 0855 hk 0856+ IhglZgmh I^]b\Ze @bk^\mhk Aff^m G^eer k^ob^p^] Z
14   l\b^gmb_b\ ik^l^gmZmbhg [r Qgbo^klbmr h_ Omh\dahef k^l^Zk\a^k Ohk^g F^gl^g+ pah lmZm^]
15   maZm L?>l xZii^Zk mh [^ ma^ fhlm bgcnkbhnl \aehkbgZm^] \hfihng]l h_ Zee m^lm^]-y See Odr
16   RZee^r ?hfieZbgm+ 4`PQJQ\ 5 (_khf City of Spokane v. Monsanto Co.+ ?Zl^ 1904,\o,
17   //1/0,OIF+ A?B Jh- 0,5 WA-@- SZla- Fner 20+ 1/04X)+ Zm F@CBKT//////27 (Zm


                                                                          &,'%$)"* 5 ,/#'* +((+
                                                                          <9 / *'0%,-'.2 - .,%%. 3 - /'.% :89
                                                                                 - %"..(% 1" ?>989
     COMPLAINT - 24                                                                6:8=7 <894;;;=
                                                                                                                Electronically Filed - St Louis County - August 03, 2022 - 02:35 PM
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0    [hmmhf)- N^l^Zk\a^k F^gl^g k^_^kk^] mh Z 0828 lmn]r Zllh\bZmbg` L?>l pbma ma^ ]^Zmal h_
1    mak^^ rhng` phkd^kl Zg] \hg\en]bg` maZm xik^`gZgm phf^g Zg] i^klhgl pah aZo^ Zm Zgr
2    mbf^ aZ] Zgr ebo^k ]bl^Zl^ Zk^ iZkmb\neZker lnl\^imb[e^-y Id. Zm F@CBKT//////28-
3    IhglZgmh I^]b\Ze @bk^\mhk G^eer ]b] ghm ]blinm^ ma^ k^l^Zk\a^k{l k^fZkdl+ ghmbg` bg ma^
4    0856 e^mm^k mh ma^ N^l^Zk\a @boblbhg h_ JZmbhgZe ?Zla N^`blm^k+ maZm x=l _Zk Zl ma^ l^\mbhg
5    hg mhqb\heh`r bl \hg\^kg^]+ bm bl mkn^ maZm \aehkZ\g^ Zg] ebo^k mkhn[e^ \Zg k^lnem _khf eZk`^
6    ]hl^l-y Id. Zm F@CBKT//////26: see also OmZm^ h_ SZlabg`mhg{l ?hfieZbgm _hk
7    @ZfZ`^l Z`Zbglm IhglZgmh+ i- 02+ u 43+ ?Zl^ Jh- 05,1,18480,5+ Gbg` ?hngmr Oni^kbhk
8    ?hnkm (@^\- 7+ 1/05)- I^]b\Ze @bk^\mhk G^eer ]b] ghm ]^_bg^ ma^ m^kf xeZk`^ ]hl^l-y
0/          8-     >r ma^ eZmm^k aZe_ h_ ma^ 085/l+ IhglZgmh [^\Zf^ ZpZk^ maZm L?>l p^k^
00   \Znlbg` pb]^lik^Z] \hgmZfbgZmbhg h_ ma^ ^gobkhgf^gm- See Odr RZee^r ?hfieZbgm+
01   4`PQJQ\[ 6% 7% Zg] ; (_khf City of Spokane v. Monsanto Co.+ ?Zl^ 1904,\o,//1/0,OIF+
02   A?B Jh- 0,6+ 0,7+ 0,02 WA-@- SZla- Fner 20+ 1/04X): see also OmZm^ h_ SZlabg`mhg{l
03   ?hfieZbgm _hk @ZfZ`^l Z`Zbglm IhglZgmh+ i- 03+ ?Zl^ Jh- 05,1,18480,5+ Gbg` ?hngmr
04   Oni^kbhk ?hnkm (@^\- 7+ 1/05)-
05          0/-    @^libm^ ma^ `khpbg` ^ob]^g\^ h_ aZkf \Znl^] mh ebobg` mabg`l [r L?>
06   \hgmZfbgZmbhg+ IhglZgmh k^fZbg^] lm^Z]_Zlm bg bml ikh]n\mbhg h_ L?>l- See OmZm^ h_
07   SZlabg`mhg{l ?hfieZbgm _hk @ZfZ`^l Z`Zbglm IhglZgmh+ i- 08+ u 5/+ ?Zl^ Jh- 05,1,
08   18480,5+ Gbg` ?hngmr Oni^kbhk ?hnkm (@^\- 7+ 1/05)-
1/          00-    Eg IZk\a h_ 0858+ IhglZgmh ^fiehr^^ S-I- Nb\aZk] pkhm^ Z
10   f^fhkZg]nf ^gmbme^] x=NK?HKN SEH@HEBA =??QO=PEKJOy mh IhglZgmh
11   ^fiehr^^ Aef^k Sa^^e^k- See Odr RZee^r ?hfieZbgm+ 4`PQJQ\ 8 (_khf City of Spokane v.
12   Monsanto Co.+ ?Zl^ 1904,\o,//1/0,OIF+ A?B Jh- 0,8 WA-@- SZla- Fner 20+ 1/04X)+
13   >Zm^l Jh- IKJO /854/8,00- Eg ma^ f^fhkZg]nf+ Nb\aZk] k^lihg]^] mh Z 0857 Zkmb\e^
14   bg Nature \kbmb\bsbg` L?>l Zl [^bg` (bg Nb\aZk]{l iZkZiakZlbg`) xZ iheenmZgmv Z mhqb\
15   ln[lmZg\^wpbma gh i^kfbllb[e^ ZeehpZ[e^ e^o^elv WZg]X Z mhqb\ ln[lmZg\^ ^g]Zg`^kbg`
16   fZg abfl^e_+ bfierbg` maZm ma^ W^qmbg\mbhgX h_ ma^ i^k^`kbg^ _Ze\hg bl Z e^Z]bg` bg]b\Zmhk
17   h_ mabg`l mh \hf^-y Id. Zm IKJO /854/8- Nb\aZk] Zelh k^lihg]^] mh Z 0858 Zkmb\e^ bg


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0    Science k^`Zk]bg` ma^ Agobkhgf^gmZe @^_^gl^ Bng]{l e^`Ze lmkZm^`r+ pab\a Nb\aZk]
1    lnffZkbs^] bg iZkm [r pkbmbg` maZm
2          Pa^l^ i^hie^ Zm A@B Zk^ lZrbg` p^ fnlm ghm inm lmk^ll hg Zgr ebobg` mabg`
           makhn`a Z \aZg`^ bg Zbk hk pZm^k ^gobkhgf^gm- AZ`e^l+ ieZgm eb_^+ Zgrmabg`
3
           pab\a ebo^l hk [k^Zma^l- Pabl `khni bl inlabg` aZk] hg ma^ ^qm^glbhg h_ ma^
4          phk] aZkf_ne- Pa^r \eZbf z^gsrf^ bg]n\^k{ Z\mbobmr bl ma^ k^Ze mak^Zm h_
           @@P Zg] L?>{l Zg] Zk^ nlbg` ma^l^ Zk`nf^gml mh ikho^ maZm o^kr lfZee
5          Zfhngml h_ \aehkbgZm^] ar]kh\Zk[hgl Zk^ zaZkf_ne-{
6
7    Id. (^fiaZlbl bg hkb`bgZe)- Nb\aZk]l Zelh ^qieZbg^] maZm IhglZgmh \hne] mZd^ lm^il mh
8    k^]n\^ L?> k^e^Zl^l _khf bml hpg _Z\mhkb^l+ [nm a^ \Znmbhg^] maZm xEm pbee [^ lmbee fhk^
0/   ]b__b\nem mh \hgmkhe hma^k ^g] nl^l ln\a Zl \nmmbg` hbel+ Z]a^lbo^l+ ieZlmb\l+ Zg] J?N
00   iZi^k- Eg ma^l^ Ziieb\Zmbhgl+ ^qihlnk^ mh \hglnf^kl bl `k^Zm^k Zg] ma^ ]blihlZe ikh[e^f
01   [^\hf^l \hfie^q-y Id. Zm IKJO /8540/: see also OmZm^ h_ SZlabg`mhg{l ?hfieZbgm _hk
02   @ZfZ`^l Z`Zbglm IhglZgmh+ ii- 03,04+ ?Zl^ Jh- 05,1,18480,5+ Gbg` ?hngmr Oni^kbhk
03   ?hnkm (@^\- 7+ 1/05)-
04         01-    @nkbg` mabl mbf^ i^kbh]+ xma^ \hhk]bgZmbhg h_ ma^ @boblbhg ^__hkm aZl [^^g
05   ikbg\biZeer ma^ k^lihglb[bebmr S-N- Nb\aZk] Zg] A-L- Sa^^e^k pbma lniihkm _khf N-A-
06   G^ee^k Zg] ?nffbg` LZmhg-y See Odr RZee^r ?hfieZbgm+ 4`PQJQ\ < (_khf City of
07   Spokane v. Monsanto Co.+ ?Zl^ 1904,\o,//1/0,OIF+ A?B Jh- 0,02 WA-@- SZla- Fner 20+
08   1/04X)+ >Zm^l Jh- @OS /03512-
1/         02-    Eg O^im^f[^k h_ 0858+ IhglZgmh ^fiehr^^ S-N- Nb\aZk] pkhm^ Zg
10   bgm^kh__b\^ f^fhkZg]nf ^gmbme^] x@ABAJOA KB =NK?HKN-y See Odr RZee^r
11   ?hfieZbgm+ 4`PQJQ\ 9 (_khf City of Spokane v. Monsanto Co.+ ?Zl^ 1904,\o,//1/0,OIF+
12   A?B Jh- 0,0/ WA-@- SZla- Fner 20+ 1/04X)+ >Zm^l Jh- @OS /03145,52- Pa^
13   f^fhkZg]nf l^m hnm IhglZgmh{l `^g^kZe iheb\r hg ]^_^g]bg` ebmb`Zmbhg Z`Zbglm ma^
14   in[eb\9 xIZd^ ma^ Chom-+ OmZm^l Zg] Qgbo^klbmb^l ikho^ ma^bk \Zl^-y Pa^ f^fhkZg]nf
15   Z\dghpe^]`^]+ ahp^o^k+ maZm IhglZgmh
16         \Zg{m ]^_^g] ol- ^o^krmabg`- BWUM IVQUIT[ WZ NQ[P WZ QV[MK\[ _QTT JM
17         PIZUML' =kh\ehk ]^`kZ]Zmbhg kZm^ pbee [^ lehp- Phn`a mh ]^_^g] Z`Zbglm-
           Db`a^k \aehkbgZmbhg \hfihng]l pbee [^ phkl^ WmaZgX ehp^k \aehkbg^

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                                                                       <9 / *'0%,-'.2 - .,%%. 3 - /'.% :89
                                                                              - %"..(% 1" ?>989
     COMPLAINT - 26                                                             6:8=7 <894;;;=
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0          \hfihng]l- Pa^k^_hk^ p^ pbee aZo^ mh k^lmkb\m nl^l Zg] \e^Zg,ni Zl fn\a
           Zl p^ \Zg+ lmZkmbg` bff^]bZm^er-
1
2    Id. Zm @OS /03145 (^fiaZlbl Z]]^])- >Zl^] hg mabl+ IhglZgmh dg^p [r ma^ eZm^ 085/l
3    maZm xlhf^ ZgbfZel hk _bla hk bgl^\ml pbee [^ aZkf^]y bg ma^ `^g^kZe ^gobkhgf^gm+ pa^k^
4    L?> \hgmZfbgZmbhg bl ehp Zg] ]b__nl^wZl hiihl^] mh L?> \hgmZfbgZmbhg bg Z fhk^
5    ^g\ehl^] liZ\^ ln\a Zl Z \eZllkhhf+ Zl lahpg [^ehp- Pa^ 0858 f^fhkZg]nf Zelh
6    hnmebg^] IhglZgmh{l ieZgl _hk \aZee^g`bg` l\b^gmb_b\ lmn]b^l h_ ma^ mhqb\bmr h_ L?>l9
7
8
0/
00
01
02
03
04
05
06   Id. Zm @OS /03145- Pa^ f^fhkZg]nf Zelh hnmebg^] IhglZgmh{l hpg ieZgl _hk \akhgb\
07   mhqb\bmr lmn]b^l nlbg` ZgbfZel- Id. Zm @OS /03151,52: see also OmZm^ h_ SZlabg`mhg{l
08   ?hfieZbgm _hk @ZfZ`^l Z`Zbglm IhglZgmh+ i- 04+ u 5/+ ?Zl^ Jh- 05,1,18480,5+ Gbg`
1/   ?hngmr Oni^kbhk ?hnkm (@^\- 7+ 1/05)-
10         03-    Eg FZgnZkr h_ 086/+ Aef^k Sa^^e^k h_ IhglZgmh{l I^]b\Ze @^iZkmf^gm
11   \bk\neZm^] eZ[hkZmhkr k^lneml h_ bml ZgbfZe lmn]b^l- Pa^ f^fhkZg]nf pZl ^gmbme^] xOmZmnl
12   h_ =kh\ehk Phqb\heh`b\Ze Omn]b^l-y See Odr RZee^r ?hfieZbgm+ 4`PQJQ\ : (_khf City of
13   Spokane v. Monsanto Co.+ ?Zl^ 1904,\o,//1/0,OIF+ A?B Jh- 0,00 WA-@- SZla- Fner 20+
14   1/04X)+ >Zm^l Jh- IKJO /8737/- Sa^^e^k lmZm^]+ xKnk bgm^kik^mZmbhg bl maZm \PM ?21[
15   IZM M`PQJQ\QVO I OZMI\MZ LMOZMM WN \W`QKQ\a QV \PQ[ KPZWVQK [\]La \PIV _M PIL
16   IV\QKQXI\ML' O^\hg]er+ Zemahn`a ma^k^ Zk^ oZkbZmbhgl ]^i^g]bg` hg li^\b^l h_ ZgbfZel+ ma^
17   L?>l Zk^ Z[hnm ma^ lZf^ Zl @@P bg fZffZel-y Id. (^fiaZlbl Z]]^])-


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                                                                         <9 / *'0%,-'.2 - .,%%. 3 - /'.% :89
                                                                                - %"..(% 1" ?>989
     COMPLAINT - 27                                                               6:8=7 <894;;;=
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0          04-    IhglZgmh ^qik^ll^] Z ]^lbk^ mh d^^i ikh_bmbg` _khf L?>l ]^libm^ ma^
1    k^l^Zk\a lahpbg` L?> mhqb\bmr- See Odr RZee^r ?hfieZbgm+ 4`PQJQ\ 0- Eg ma^ xL?>
2    Lk^l^gmZmbhg mh ?hkihkZm^ @^o^ehif^gm ?hffbmm^^+y IhglZgmh lmZm^] maZm x@hWbg`X
3    ghmabg` pZl \hglb]^k^] ngZ\\^imZ[e^ _khf Z e^`Ze+ fhkZe+ \nlmhf^k+ in[eb\ k^eZmbhgl &
4    \hfiZgr iheb\r ob^pihbgm-y Id. Zm IKJO /47626- >nm ma^ Zem^kgZmbo^ h_ lmhiibg` L?>
5    ikh]n\mbhg Zg] ikhfhmbhg+ Zg] bglm^Z] `hbg` hnm h_ ma^ =kh\ehk [nlbg^ll+ xpZl
6    \hglb]^k^] ngZ\\^imZ[e^ _khf Z @boblbhgZe ob^pihbgmv ma^k^ bl mhh fn\a
7    \nlmhf^k.fZkd^m g^^] Zg] l^e_blaer mhh fn\a IhglZgmh ikh_bm mh `h hnm-y Id-
8          05-    IhglZgmh _hkf^] Zg bgm^kgZe =kh\ehk =] Dh\ ?hffbmm^^ pahl^ h[c^\mbo^l+
0/   xZ`k^^] mh [r ma^ ?hffbmm^^+y p^k^ mh xln[fbm k^\hff^g]Zmbhgl _hk Z\mbhg pab\a pbee9
00   0- L^kfbm \hgmbgn^] lZe^l Zg] ikh_bml h_ =kh\ehkl Zg] P^kia^grel- 1- L^kfbm \hgmbgn^]
01   ]^o^ehif^gm h_ nl^l Zg] lZe^l- 2- Lkhm^\m bfZ`^ h_ Kk`Zgb\ @boblbhg Zg] h_ ma^
02   ?hkihkZmbhg-y OmZm^ h_ SZlabg`mhg{l ?hfieZbgm _hk @ZfZ`^l Z`Zbglm IhglZgmh+ ii- 04,
03   05+ u 51+ ?Zl^ Jh- 05,1,18480,5+ Gbg` ?hngmr Oni^kbhk ?hnkm (@^\- 7+ 1/05): see Odr
04   RZee^r ?hfieZbgm+ 4`PQJQ\ ; (_khf City of Spokane v. Monsanto Co.+ ?Zl^ 1904,\o,
05   //1/0,OIF+ A?B Jh- 0,01 WA-@- SZla- Fner 20+ 1/04X)+ >Zm^l Jh- IKJO /2/372,75
06   (x?KJBE@AJPE=H IEJQPAO KB =NK?HKN z=@ DK?{ ?KIIEPPAAy)- IhglZgmh
07   l^m ma^l^ [nlbg^ll h[c^\mbo^l ]^libm^ dghpbg` maZm L?>l aZ] [^^g _hng] bg ma^
08   ^gobkhgf^gm+ pbe]eb_^+ Zg] ma^ _hh] \aZbg+ Zl L?>l xfZr [^ Z `eh[Ze \hgmZfbgZgm-y Id. Eg
1/   ma^l^ \hg_b]^gmbZe fbgnm^l+ IhglZgmh k^\h`gbs^] ma^ ikh[e^f h_ L?> x^gobkhgf^gmZe
10   \hgmZfbgZmbhg [r \nlmhf^kl-y Id. Zm IKJO /2/374 (xKnk bg,ieZgm ikh[e^fl Zk^ o^kr
11   lfZee ol- ikh[e^fl h_ ]^Zebg` pbma ^gobkhgf^gmZe \hgmZfbgZmbhg [r \nlmhf^kl-y)-
12         06-    Eg K\mh[^k h_ 0858+ IhglZgmh{l =kh\ehk x=] Dh\y ?hffbmm^^ blln^] bml
13   \hg_b]^gmbZe k^ihkm- See Odr RZee^r ?hfieZbgm+ 4`PQJQ\ < (_khf City of Spokane v.
14   Monsanto Co.+ ?Zl^ 1904,\o,//1/0,OIF+ A?B Jh- 0,02 WA-@- SZla- Fner 20+ 1/04X)+
15   >Zm^l Jh- @OS /03501,13- Pa^ \hffbmm^^ k^ihkm^] ^gobkhgf^gmZe L?> \hgmZfbgZmbhg
16   \Znlbg` ma^ dbeebg` h_ fZkbg^ li^\b^l Zg] ma^ ihllb[e^ ^qmbg\mbhg h_ l^o^kZe li^\b^l h_
17   [bk]l- Id. Zm @OS /03504- Eg Z]]bmbhg+ xma^ \hffbmm^^ [^eb^o^l maZm ma^k^ bl gh ihllb[e^


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                                                                       <9 / *'0%,-'.2 - .,%%. 3 - /'.% :89
                                                                              - %"..(% 1" ?>989
     COMPLAINT - 28                                                             6:8=7 <894;;;=
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0    ikZ\mb\Ze \hnkl^ h_ Z\mbhg maZm \Zg lh ^__^\mbo^er iheb\^ ma^ nl^l h_ ma^l^ ikh]n\ml Zl mh
1    ik^o^gm \hfie^m^er lhf^ ^gobkhgf^gmZe \hgmZfbgZmbhg-y Id. (ng]^kl\hk^ Zg]
2    lmkbd^makhn`a bg hkb`bgZe)- Pa^ k^ihkm hnmebg^] Z ieZg mh ikhm^\m IhglZgmh{l \hkihkZm^
3    bgm^k^lml9 xPa^k^ Zk^+ ahp^o^k Z gnf[^k h_ ihllb[e^ Z\mbhgl pab\a fnlm [^ ng]^kmZd^g bg
4    hk]^k mh ikhehg` ma^ fZgn_Z\mnk^+ lZe^+ Zg] nl^ h_ ma^l^ iZkmb\neZk =kh\ehkl Zl p^ee Zl mh
5    ikhm^\m ma^ \hgmbgn^] nl^ h_ hma^k f^f[^kl h_ ma^ =kh\ehk l^kb^l-y Id. (lmkbd^makhn`a Zg]
6    ng]^kl\hk^ bg hkb`bgZe)-
7           07-    Pa^ \hffbmm^^ h__^k^] k^\hff^g]Zmbhgl+ bg\en]bg` ghmb_rbg` L?>
8    x\nlmhf^kl h_ ^gobkhgf^gmZe \hgmZfbgZmbhg ikh[e^fl-y Id. Zm @OS /03505- Pa^ [Zlbl _hk
0/   ma^ k^\hff^g]Zmbhg+ bg iZkm+ \hg\^kg^] k^ihkml h_ L?> ^gobkhgf^gmZe \hgmZfbgZmbhg Zg]
00   IhglZgmh{l dghpe^]`^ h_ ma^ f^\aZgblfl h_ L?> k^e^Zl^l9
01
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16   Id. Zm @OS /03507-
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                                                                               - %"..(% 1" ?>989
     COMPLAINT - 29                                                              6:8=7 <894;;;=
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0           08-   @^libm^ ma^ ^gobkhgf^gmZe ]ZfZ`^ \Znl^] [r bml L?> ikh]n\ml+ IhglZgmh
1    pZl \e^Zker \hg\^kg^] Z[hnm ehlbg` ma^ ikh]n\mbhg h_ L?>l Zg] ma^ Zllh\bZm^] xlZe^l h_
2    mabl o^kr ikh_bmZ[e^ l^kb^l h_ \hfihng]ly9
3
4
5
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8
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01
02   Id. Zm @OS /03513-
03          1/-   Pa^k^_hk^+ [r 086/+ ma^ ^l\Zi^ h_ L?>l bgmh lnkkhng]bg` ^gobkhgf^gml Zg]
04   ma^ k^lnembg` \hgmZfbgZmbhg pZl ghm hger k^ZlhgZ[er _hk^l^^Z[e^+ [nm ma^ ikh[e^f pZl
05   dghpg mh IhglZgmh- Eg Z]]bmbhg+ ma^ ^l\Zi^ h_ IhglZgmh{l L?>l by PCB customers and
06   users bgmh lnkkhng]bg` ^gobkhgf^gml pZl ghm hger k^ZlhgZ[er _hk^l^^Z[e^+ [nm pZl dghpg
07   mh IhglZgmh- See also OmZm^ h_ SZlabg`mhg{l ?hfieZbgm _hk @ZfZ`^l Z`Zbglm IhglZgmh+
08   ii- 12,13+ u 88+ ?Zl^ Jh- 05,1,18480,5+ Gbg` ?hngmr Oni^kbhk ?hnkm (@^\- 7+ 1/05)-
1/          10-   >r 086/+ IhglZgmh Zelh dg^p maZm bml L?>l ^qab[bm^] Z `k^Zm^k ]^`k^^ h_
10   mhqb\bmr maZg IhglZgmh ik^obhnler Zgmb\biZm^]- Supra Zm u R-?-03-
11          11-   @^libm^ mabl dghpe^]`^+ IhglZgmh \ahl^ ghm mh pZkg bml \nlmhf^kl Zg] ma^
12   in[eb\ k^`Zk]bg` ma^ anfZg a^Zema ]Zg`^kl h_ IhglZgmh{l L?>l- =gr lmZm^f^gml fZ]^
13   [r IhglZgmh bg maZm k^`Zk] aZo^ [^^g bgln__b\b^gm mh \hgo^r ma^ Z\mnZe ]Zg`^kl ihl^] [r
14   L?>l- Eglm^Z]+ IhglZgmh{l ^__hkml p^k^ Zg] \hgmbgn^ mh [^ _h\nl^] hg ikhm^\mbg` bml hpg
15   ikh_bml-
16          12-   =g bgm^kh__b\^ f^fhkZg]nf \bk\neZm^] bg B^[knZkr h_ 086/ maZm ikhob]^]
17   mZedbg` ihbgml _hk ]bl\nllbhgl [r IhglZgmh k^ik^l^gmZmbo^l pbma L?> \nlmhf^kl-


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                                                                                - %"..(% 1" ?>989
     COMPLAINT - 30                                                               6:8=7 <894;;;=
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0    IhglZgmh bg_hkf^] bml L?> k^ik^l^gmZmbo^l maZm IhglZgmh x\Zg{m Z__hk] mh ehl^ hg^
1    ]heeZk h_ [nlbg^ll-y Ph maZm ^g]+ IhglZgmh lmZm^]+ xS^ pZgm mh Zohb] Zgr lbmnZmbhg pa^k^
2    Z \nlmhf^k pZgml mh k^mnkg _enb]v S^ phne] ik^_^k maZm ma^ \nlmhf^k nl^ ni abl \nkk^gm
3    bgo^gmhkr Zg] ink\aZl^ Wg^p ikh]n\mlX pa^g ZoZbeZ[e^- D^ pbee ma^g mhi h__ pbma ma^ g^p
4    _enb] Zg] ^o^gmnZeer Zee =kh\ehk 0143 Zg] =kh\ehk 015/ pbee [^ hnm h_ abl lrlm^f- S^
5    ]hg{m pZgm mh mZd^ _enb] [Z\d-y See Odr RZee^r ?hfieZbgm+ 4`PQJQ\ = (_khf City of
6    Spokane v. Monsanto Co.+ ?Zl^ 1904,\o,//1/0,OIF+ A?B Jh- 0,03 WA-@- SZla- Fner 20+
7    1/04X)+ Zm 1 (^fiaZlbl bg hkb`bgZe): see also OmZm^ h_ SZlabg`mhg{l ?hfieZbgm _hk
8    @ZfZ`^l Z`Zbglm IhglZgmh+ i- 06+ u 56+ ?Zl^ Jh- 05,1,18480,5+ Gbg` ?hngmr Oni^kbhk
0/   ?hnkm (@^\- 7+ 1/05)-
00         13-    Eg khn`aer mabl lZf^ mbf^ i^kbh]+ IhglZgmh Z]obl^] in[eb\ h__b\bZel maZm
01   IhglZgmh{l L?>l xZk^ ghm iZkmb\neZker mhqb\ [r hkZe bg`^lmbhg hk ldbg Z[lhkimbhgy Zg]
02   xbg_k^jn^gm ^qihlnk^ mh L?> oZihk lahne] ghm \Znl^ bee ^__^\ml-y See Odr RZee^r
03   ?hfieZbgm+ 4`PQJQ\[ > Zg] ? (_khf City of Spokane v. Monsanto Co.+ ?Zl^ 1904,\o,
04   //1/0,OIF+ A?B Jh- 0,04+ 0,05 WA-@- SZla- Fner 20+ 1/04X): see also OmZm^ h_
05   SZlabg`mhg{l ?hfieZbgm _hk @ZfZ`^l Z`Zbglm IhglZgmh+ i- 1/+ u 65+ ?Zl^ Jh- 05,1,
06   18480,5+ Gbg` ?hngmr Oni^kbhk ?hnkm (@^\- 7+ 1/05) (xSabe^ ma^ l\b^gmb_b\ \hffngbmr
07   Zg] IhglZgmh dg^p maZm L?>l p^k^ mhqb\ Zg] [^\hfbg` Z `eh[Ze \hgmZfbgZgm+ IhglZgmh
08   k^i^Zm^]er fblik^l^gm^] ma^l^ _Z\ml+ m^eebg` `ho^kgf^gmZe ^gmbmb^l ma^ ^qZ\m hiihlbm^w
1/   maZm ma^ \hfihng]l p^k^ ghm mhqb\ Zg] maZm ma^ \hfiZgr phne] ghm ^qi^\m mh _bg] L?>l
10   bg ma^ ^gobkhgf^gm bg Z pb]^lik^Z] fZgg^k-y)-
11         14-    IhglZgmh Zelh h__^k^] ma^ f^llZ`^ mh Z f^f[^k h_ ?hg`k^ll maZm IhglZgmh
12   x\Zgghm \hg\^bo^ ahp ma^ L?>l \Zg [^ `^mmbg` bgmh ma^ ^gobkhgf^gm bg Z pb]^lik^Z]
13   _Zlabhg-y See Odr RZee^r ?hfieZbgm+ 4`PQJQ\[ @ (_khf City of Spokane v. Monsanto Co.+
14   ?Zl^ 1904,\o,//1/0,OIF+ A?B Jh- 0,06 WA-@- SZla- Fner 20+ 1/04X): see also OmZm^ h_
15   SZlabg`mhg{l ?hfieZbgm _hk @ZfZ`^l Z`Zbglm IhglZgmh+ i- 10+ u 68+ ?Zl^ Jh- 05,1,
16   18480,5+ Gbg` ?hngmr Oni^kbhk ?hnkm (@^\- 7+ 1/05)-
17         15-    IhglZgmh Zelh k^ik^l^gm^] mh Zghma^k `ho^kgf^gmZe h__b\bZe maZm x>Zl^] hg


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0    ZoZbeZ[e^ ]ZmZ+ fZgn_Z\mnkbg` Zg] nl^ ^qi^kb^g\^+ p^ ]h ghm [^eb^o^ ma^ iher\aehkbgZm^]
1    [bia^grel mh [^ l^kbhnler mhqb\-y See Odr RZee^r ?hfieZbgm+ 4`PQJQ\ A (_khf City of
2    Spokane v. Monsanto Co.+ ?Zl^ 1904,\o,//1/0,OIF+ A?B Jh- 0,07 WA-@- SZla- Fner 20+
3    1/04X) Zm 2: see also OmZm^ h_ SZlabg`mhg{l ?hfieZbgm _hk @ZfZ`^l Z`Zbglm IhglZgmh+ i-
4    10+ u 7/+ ?Zl^ Jh- 05,1,18480,5+ Gbg` ?hngmr Oni^kbhk ?hnkm (@^\- 7+ 1/05)-
5           16-    ?e^Zker+ IhglZgmh{l dghpe^]`^ h_ L?> mhqb\bmr ]^^i^g^] [^mp^^g ma^
6    082/l Zg] ma^ 086/l- @^libm^ bml dghpe^]`^ h_ L?> mhqb\bmr+ IhglZgmh bgm^gmbhgZeer
7    ikh]n\^] Zg] ikhfhm^] L?>l x_hk nl^ bg Z pb]^ kZg`^ h_ bg]nlmkbZe Zg] ahnl^ahe] `hh]l+
8    bg\en]bg` ^e^\mkb\Ze ^jnbif^gm+ iZbgm+ l^ZeZgml+ _hh] \hhd^kl+ _nkgZ\^l+ _ehhk pZq+
0/   bgl^\mb\b]^l+ en[kb\Zgml+ fhblmnk^,ikhh_ \hZmbg`l+ iZi^kl+ ZliaZem+ e^Zma^k Z]a^lbo^+ Zg]
00   lmn\\h-y City of Seattle v. Monsanto Co.+ 126 B- Onii- 2] 0/85+ 00// (S-@- SZla- 1/06)-
01          17-    xPahn`a IhglZgmh pZl ZpZk^ h_ L?>l{ mhqb\bmr Zg] ikhi^glbmr mh e^Z\a+ bm
02   ]^gb^] hk fblk^ik^l^gm^] mahl^ _Z\ml mh `ho^kgf^gm bgo^lmb`Zmhkl- IhglZgmh \hgmbgn^] mh
03   fZgn_Z\mnk^+ ikhfhm^+ Zg] ikh_bm _khf bml L?>l-y Id. (bgm^kgZe \bmZmbhgl hfbmm^]) (ahe]bg`
04   maZm O^Zmme^{l \eZbfl Z`Zbglm IhglZgmh _hk in[eb\ gnblZg\^ Zg] ^jnbmZ[e^ bg]^fgbmr Zk^
05   ghm ik^^fim^] [r SZlabg`mhg{l Lkh]n\m HbZ[bebmr =\m (SLH=): O^Zmme^{l \hffhg eZp
06   ikh]n\m ebZ[bebmr \eZbfl Zk^ ghm ik^^fim^] [r SLH= mh ma^ ^qm^gm ma^r Zkhl^ hg hk [^_hk^
07   0870: O^Zmme^{l \eZbfl Zk^ ghm mbf^,[Zkk^]: BMI\\TM [\I\ML I KTIQU NWZ X]JTQK V]Q[IVKM%
08   \PM KW]Z\ ZMRMK\QVO <WV[IV\We[ IZO]UMV\ \PI\ IVa QV\MZ^MVQVO IK\[ WN \PQZL XIZ\QM[
1/   K]\ WNN XZW`QUI\M KI][I\QWV% JMKI][M []KP IK\[ _MZM NWZM[MMIJTM: O^Zmme^ eZ\d^]
10   lmZg]bg` mh [kbg` ikh]n\m ebZ[bebmr \eZbfl: O^Zmme^ lmZm^] Z \eZbf _hk g^`eb`^g\^: Zg]
11   O^Zmme^ _Zbe^] mh Zee^`^ _Z\ml lniihkmbg` bml \eZbf _hk ^jnbmZ[e^ bg]^fgbmr)-
12          18-    IhglZgmh bgm^gmbhgZeer _Zbe^] mh pZkg \nlmhf^kl Zg] ma^ in[eb\ k^`Zk]bg`
13   ma^ mhqb\bmr Zg] aZsZk]l h_ bml L?> ikh]n\ml- See, e.g., Nevada Power Co. v. Monsanto
14   Co.+ 844 B-1] 02/3+ 02/5,/6 (8ma ?bk- 0881) (xJ^oZ]Z Lhp^k ]bl\ho^k^] bgm^kgZe
15   ]h\nf^gml h_ ma^ IZgn_Z\mnk^kl pab\a J^oZ]Z Lhp^k \hgm^g]l lahp maZm ma^
16   IZgn_Z\mnk^k{l ng]^klmZg]bg` h_ ma^ ]Zg`^kl h_ L?>l bg ma^ 085/l Zg] ^Zker 086/l pZl
17   fn\a fhk^ Z]oZg\^] maZg ma^ `^g^kZe lmZm^ h_ dghpe^]`^ bg ma^ l\b^gmb_b\ \hffngbmry)


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                                                                                  - %"..(% 1" ?>989
     COMPLAINT - 32                                                                 6:8=7 <894;;;=
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0    (ahe]bg`+ bg iZkm+ maZm bm pZl Z _Z\m jn^lmbhg Zl mh pa^ma^k J^oZ]Z Lhp^k{l _kZn] Zg]
1    _Zbenk^ mh pZkg \eZbfl p^k^ [Zkk^] [r ma^ J^oZ]Z lmZmnm^ h_ ebfbmZmbhgl)-
2             2/-   IhglZgmh{l L?>l p^k^ ghm k^ZlhgZ[er lZ_^ bg \hglmkn\mbhg [^\Znl^ ma^r
3    p^k^ nglZ_^w"^qmk^f^er mhqb\ywmh Zg ^qm^gm [^rhg] maZm pab\a phne] [^ \hgm^fieZm^]
4    [r Zg hk]bgZkr \hglnf^k- Pa^ ^qmk^f^ mhqb\bmr h_ IhglZgmh{l L?>l pZl Z ikhqbfZm^
5    \Znl^ h_ LeZbgmb__l{ ]ZfZ`^l-
6             20-   IhglZgmh{l L?>l p^k^ ghm k^ZlhgZ[er lZ_^ Zl ]^lb`g^] ng]^k Z [ZeZg\bg`
7    m^lm hk ng]^k Z \hglnf^k ^qi^\mZmbhgl m^lm+ pab\a pZl Z ikhqbfZm^ \Znl^ h_ LeZbgmb__l{
8    ]ZfZ`^l-
0/            21-   IhglZgmh{l L?>l p^k^ Zg ngZohb]Z[er nglZ_^ ikh]n\m+ pab\a pZl Z
00   ikhqbfZm^ \Znl^ h_ LeZbgmb__l{ ]ZfZ`^l-
01            22-   IhglZgmh{l L?>l p^k^ ghm k^ZlhgZ[er lZ_^ ]n^ mh bgZ]^jnZm^ pZkgbg`l
02   pa^g fZgn_Z\mnk^] hk Z_m^k fZgn_Z\mnk^-
03            23-   =gr IhglZgmh pZkgbg`l mh ma^ ghg,IhglZgmh iZkmb^l bg mabl \Zl^ Zm ma^
04   mbf^ h_ fZgn_Z\mnk^ k^`Zk]bg` ma^ ^qmk^f^ mhqb\bmr h_ L?>l+ p^k^ bgZ]^jnZm^ Zg] Z
05   ikhqbfZm^ \Znl^ h_ LeZbgmb__l{ ]ZfZ`^l-
06            24-   =gr IhglZgmh pZkgbg`l mh ma^ ghg,IhglZgmh iZkmb^l bg mabl \Zl^ Z_m^k
07   fZgn_Z\mnk^wZg] ni mh ma^ ik^l^gm ]Zrwk^`Zk]bg` ma^ ^qmk^f^ mhqb\bmr h_ IhglZgmh{l
08   L?>l+ aZo^ [^^g bgZ]^jnZm^+ pab\a pZl Z ikhqbfZm^ \Znl^ h_ LeZbgmb__l{ ]ZfZ`^l-
1/            25-   @n^ mh ma^bk ^qmk^f^ mhqb\bmr+ IhglZgmh{l L?>l g^o^k aZ] Z xnl^_ne lZ_^
10   eb_^-y
11            26-   IhglZgmh aZ] Z\mnZe dghpe^]`^ h_ ma^ ]^_^\m Zg] ma^ ]Zg`^k h_ bml L?>l+
12   [nm lahp^] \hfie^m^ bg]b__^k^g\^ hk \hgl\bhnl ]blk^`Zk] _hk ma^ lZ_^mr h_ hma^kl [r
13   ikh]n\bg` Zg] ikhfhmbg` L?>l ZgrpZr-
14       3'         ?21&KI]TSQVO IVL ?21&TQOP\ JITTI[\[ KI][M ?21&KWV\IUQVI\QWV'
15            0-    IhglZgmh fZgn_Z\mnk^] L?>l maZm p^k^ bg\hkihkZm^] [r IhglZgmh{l
16   \nlmhf^kl Zl ieZlmb\bs^kl bg \Znedbg`+ iZbgml+ Zg] l^ZeZgml- Eg ma^l^ _hkfl+ IhglZgmh{l
17   L?>l p^k^ nl^] bg bgm^kbhk Zg] ^qm^kbhk pbg]hpl+ ]hhkl+ Zg] fZlhgkr chbgml-


                                                                        &,'%$)"* 5 ,/#'* +((+
                                                                         <9 / *'0%,-'.2 - .,%%. 3 - /'.% :89
                                                                                - %"..(% 1" ?>989
     COMPLAINT - 33                                                               6:8=7 <894;;;=
                                                                                                              Electronically Filed - St Louis County - August 03, 2022 - 02:35 PM
     Case: 4:23-cv-00204-HEA       Doc. #: 1-3 Filed: 02/20/23      Page: 285 of 463 PageID
                                              #: 338



0           1-     Ao^g mh]Zr+ \Znedbg` pbma ab`a L?> e^o^el Zk^ nlnZeer lmbee _e^qb[e^ Zg]
1    h_m^g eZk`^er bgmZ\m-
2           2-     L?>,\Znedbg` ^fbml L?>l+ pab\a fb`kZm^ bgmh ma^ Zbk Zg] g^Zk[r fZm^kbZel+
3    bg\en]bg` Z]chbgbg` phh]+ \^f^gm+ Zg] [kb\d: Zbk Zg] ]nlm bglb]^ l\ahhel: lhbe g^Zk l\ahhe
4    [nbe]bg`l+ Zg] hma^k fZm^kbZel Zg] _nkgblabg`-
5           3-     Pa^ _heehpbg` bg_hkfZmbhg \hf^l _khf Z in[eb\Zmbhg h_ ma^ Qgbm^] OmZm^l
6    Agobkhgf^gmZe Lkhm^\mbhg =`^g\r (1/03+ ii- 6,8)- PahfZl+ G- (1/03)- L?>l bg l\ahhe
7    [nbe]bg`l9 l^glb[e^ lm^il mh a^Zemab^k l\ahhe ^gobkhgf^gml- SZlabg`mhg+ @?9 Q-O- AL=
8    K__b\^ h_ N^l^Zk\a Zg] @^o^ehif^gm-
0/   ..
00   ..
01   ..
02
     ..
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17   ..


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                                                                        <9 / *'0%,-'.2 - .,%%. 3 - /'.% :89
                                                                               - %"..(% 1" ?>989
     COMPLAINT - 34                                                              6:8=7 <894;;;=
                          PCB Sources – Caulk and Other Sealants

                                         $ U.S. Production of Aroclors as a plasticizer ingredient
                                              " 1958 - 4 million lbs.
                                              " 1969 - 19 million lbs.
                                              " 1971 – 0 lbs.
                                                                                                                                               Case: 4:23-cv-00204-HEA




                                         $ PCBs were sometimes added to caulk during construction


                                           U d for
                                                f
                                                                                                                                             #: 339




                                         $ Used
                                              " Exterior and interior windows and doors
                                              " Exterior and interior joints
                                                                                                                                  Doc. #: 1-3 Filed: 02/20/23




                                              " Window glazing
                                              " Other locations/seams (plumbing, casework, etc.)


                                         $ Caulk with PCBs > 50 parts per million (ppm) is not an
                                           allowed use
                                                                                                                                               Page: 286 of 463 PageID




 Office of Research and Development                                                                                         7
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COMPLAINT - 35
                                                                        Electronically Filed - St Louis County - August 03, 2022 - 02:35 PM
                          PCB Sources – Caulk and Other Sealants

                                         $ In several northeastern schools:

                                             " 18% of 427 interior caulk/sealant samples >50 ppm PCBs
                                             " 6% of interior samples >100,000 ppm (10% by weight)
                                                                                                                                              Case: 4:23-cv-00204-HEA




                                             " 63% of 73 exterior caulk/sealant samples >50 ppm PCBs
                                             " 34% of exterior samples >100,000 ppm
                                                                                                                                            #: 340




                                             " Highest level was 440,000 ppm PCBs (44% by weight)


                                         $ We e have
                                                 a e found
                                                      ou d that
                                                              a cau
                                                                 caulk with high
                                                                              g PCB
                                                                                 C levels
                                                                                    e e s is
                                                                                           s usually
                                                                                             usua y sstill
                                                                                                                                 Doc. #: 1-3 Filed: 02/20/23




                                           flexible and often largely intact


                                         $ Visual identification of caulk with PCBs is not reliable
                                                                                                                                              Page: 287 of 463 PageID




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COMPLAINT - 36
                                                                       Electronically Filed - St Louis County - August 03, 2022 - 02:35 PM
                          PCB Sources – Caulk and Other Sealants

                                         $ PCBs in caulk/sealants move over time into:
                                              " Adjoining wood, cement, brick
                                              " Air and dust inside schools
                                              " Soil near school buildings
                                                                                                                                            Case: 4:23-cv-00204-HEA




                                                                         g
                                              " Other materials/furnishings

                                         $ Emissions of PCBs into the air can be quite substantial
                                              " Emissions can create indoor air levels above
                                                                                                                                          #: 341




                                                recommended concentrations
                                              " As the temperature increases, emissions increase
                                                                    p
                                              " Ventilation is an important factor
                                                                                                                               Doc. #: 1-3 Filed: 02/20/23




                                         $ Although installed 40 – 60 years ago, high PCB levels
                                           remain and emissions will continue far into the future

                                         $ Other PCB sources, like coatings and paints, will act much
                                           like caulk in releasing PCBs into the environment
                                                                                                                                            Page: 288 of 463 PageID




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COMPLAINT - 37
                                                                     Electronically Filed - St Louis County - August 03, 2022 - 02:35 PM
                                                                                                                Electronically Filed - St Louis County - August 03, 2022 - 02:35 PM
     Case: 4:23-cv-00204-HEA        Doc. #: 1-3 Filed: 02/20/23       Page: 289 of 463 PageID
                                               #: 342



0           4-     =l lmZm^] [r ma^ AL= (supra+ i- 8)+ L?>,\Znedbg` Zg] hma^k l^ZeZgml bg
1    l\ahhe [nbe]bg`l \Zg \k^Zm^ bg]hhk Zbk e^o^el Z[ho^ k^\hff^g]^] \hg\^gmkZmbhgl- Eg
2    Z]]bmbhg+ xab`a L?> e^o^el k^fZbg Zg] ^fbllbhgl pbee \hgmbgn^ _Zk bgmh ma^ _nmnk^-y Id.
3           5-     IhglZgmh{l L?>l p^k^ Zelh ikh]n\^] Zg] ikhfhm^] Zl \hfihg^gml h_
4    ^e^\mkb\Ze ^jnbif^gm ln\a Zl mkZgl_hkf^kl+ fhmhk lmZkm \ZiZ\bmhkl+ Zg] eb`ambg` [ZeeZlml-
5           6-     x?hff^k\bZe L?> fbqmnk^l oZkr _khf \hehke^ll mh ]Zkd [khpg hbel+ Zg]
6    _khf obl\hnl ebjnb]l mh lmb\dr k^lbghnl l^fblheb]l- =emahn`a L?>l ^oZihkZm^ lehper Zm
7    khhf m^fi^kZmnk^+ ma^ oheZmbebmr h_ L?>l bg\k^Zl^l ]kZfZmb\Zeer pbma ^o^g Z lfZee kbl^ bg
8    m^fi^kZmnk^- Ajnbif^gm maZm \hgmZbgl L?>l \Zg ho^ka^Zm Zg] oZihkbs^ lb`gb_b\Zgm
0/   jnZgmbmb^l h_ ma^l^ \hfihng]l+ \k^Zmbg` Zg bgaZeZmbhg aZsZk] maZm \Zg [^ fZ`gb_b^] [r
00   ihhk o^gmbeZmbhgy (=PO@N+ 1/03+ i- 14)-
01          7-     =l lmZm^] [r ma^ OmZm^ h_ SZlabg`mhg+ xL?>l ^Zlber fb`kZm^ hk oheZmbebs^
02   hnm h_ ma^bk hkb`bgZe lhnk\^ fZm^kbZe hk ^g\ehlnk^ Zg] \hgmZfbgZm^ ^gobkhgf^gmZe f^]bZ
03   ln\a Zl Zbk+ lhbe+ lmhkfpZm^k+ Zg] l^]bf^gm- Bhk ^qZfie^+ ?21 KWUXW]VL[ ^WTI\QTQbM W]\
04   WN J]QTLQVO UI\MZQIT[ "[]KP I[ KI]TS# IVL QV\W \PM []ZZW]VLQVO MV^QZWVUMV\' ?21[
05   KIV IT[W M[KIXM NZWU \W\ITTa MVKTW[ML UI\MZQIT[ "[]KP I[ TQOP\ JITTI[\[# IVL [QUQTIZTa
06   KWV\IUQVI\M IVL LIUIOM \PM MV^QZWVUMV\'y OmZm^ h_ SZlabg`mhg{l ?hfieZbgm _hk
07   @ZfZ`^l Z`Zbglm IhglZgmh+ i- 8+ u 26+ ?Zl^ Jh- 05,1,18480,5+ Gbg` ?hngmr Oni^kbhk
08   ?hnkm (@^\- 7+ 1/05) (^fiaZlbl Z]]^])-
1/          8-     =l lmZm^] [r ma^ OmZm^ h_ SZlabg`mhg+ xL?>l ik^l^gm l^kbhnl kbldl mh ma^
10   a^Zema h_ anfZglv DnfZgl fZr [^ ^qihl^] mh L?>l makhn`a bg`^lmbhg+ bgaZeZmbhg+ Zg]
11   ]^kfZe \hgmZ\m- Eg]bob]nZel fZr bgaZe^ L?>l maZm Zk^ ^fbmm^] bgmh ma^ Zbk- Pa^r fZr Zelh
12   bg`^lm L?>l maZm Zk^ ^fbmm^] bgmh Zbk Zg] l^mme^ hgmh lnk_Z\^l maZm \hf^ bgmh \hgmZ\m pbma
13   _hh] hk ]kbgdl- =g] ma^r fZr Z[lhk[ L?>l _khf iarlb\Ze \hgmZ\m pbma L?>l hk L?>,
14   \hgmZbgbg` fZm^kbZel-y OmZm^ h_ SZlabg`mhg{l ?hfieZbgm _hk @ZfZ`^l Z`Zbglm IhglZgmh+
15   i- 8+ u 27,28+ ?Zl^ Jh- 05,1,18480,5+ Gbg` ?hngmr Oni^kbhk ?hnkm (@^\- 7+ 1/05)-
16          0/-    ?21 TQOP\ JITTI[\[ ZMTMI[M ?21[' Pa^ ik^\^]bg` bg_hkfZmbhg \hf^l _khf
17   ma^ lZf^ AL= in[eb\Zmbhg k^`Zk]bg` L?>l bg l\ahhe [nbe]bg`l (AL=+ 1/03+ ii- 0/,00)-


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                                                                          <9 / *'0%,-'.2 - .,%%. 3 - /'.% :89
                                                                                 - %"..(% 1" ?>989
     COMPLAINT - 38                                                                6:8=7 <894;;;=
                         PCB Sources – Fluorescent Light Ballasts


                                         $ Fluorescent and high intensity light ballast capacitors
                                              " Prior to 1977 - Many (most?) contained PCBs
                                                                                                                                             Case: 4:23-cv-00204-HEA




                                              " 1977 – 1978 - Some new ballasts contained PCBs
                                                Aft 1978
                                              " After         - No
                                                                N new ballasts
                                                                      b ll t manufactured
                                                                                 f t d w PCBs
                                                                                          PCB


                                         $ Some PCB-containing ballasts remain in place
                                                                                                                                           #: 343




                                              " In several northeastern schools, 24% - 95% of the light
                                                ballasts likely contained PCBs
                                                                                                                                Doc. #: 1-3 Filed: 02/20/23




                                         $ Most PCB-containing ballasts have exceeded their expected
                                           lifetimes


                                         $ Failure and release of PCBs will continue and may increase
                                                                                                                                             Page: 290 of 463 PageID




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 National Exposure Research Laboratory
COMPLAINT - 39
                                                                      Electronically Filed - St Louis County - August 03, 2022 - 02:35 PM
                         PCB Sources – Fluorescent Light Ballasts

                                         $ PCBs are continuously released into the air from intact,
                                           functioning
                                                     g light
                                                         g ballasts
                                              " When lights are off, emissions are low
                                                                                                                                              Case: 4:23-cv-00204-HEA




                                              " When lights are on, the ballast heats up, and emissions
                                                increase several
                                                         several-fold
                                                                 fold


                                         $ PCB ballasts can fail, releasing PCB vapors into the air and
                                           liquid PCBs onto surfaces
                                                                                                                                            #: 344




                                              " Air levels of PCBs can become quite large
                                              " Surfaces can be contaminated
                                                                                                                                 Doc. #: 1-3 Filed: 02/20/23




                                              " Significant impact/costs to remediate


                                         $ Residues from previously failed ballasts can remain in light
                                           fixtures even if the ballast is replaced
                                              " The impact on PCBs in the school environment has not
                                                been determined
                                                                                                                                              Page: 291 of 463 PageID




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 National Exposure Research Laboratory
COMPLAINT - 40
                                                                       Electronically Filed - St Louis County - August 03, 2022 - 02:35 PM
                                                                                                                   Electronically Filed - St Louis County - August 03, 2022 - 02:35 PM
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                                               #: 345



0    =l lmZm^] (i- 0/)+ L?>,\hgmZbgbg` eb`am [ZeeZlml p^k^ fZgn_Z\mnk^] ngmbe ma^ eZm^ 086/l-
1    (xHb`am [ZeeZlmly Zk^ \hfihg^gml h_ eb`am _bqmnk^l bg [nbe]bg`l-) Pa^ x_Zbenk^ Zg] k^e^Zl^
2    h_ L?>l pbee \hgmbgn^ Zg] fZr bg\k^Zl^y bg l\ahhe [nbe]bg`l \hgmZbgbg` L?>,eb`am
3    [ZeeZlml- Id. Pabl bl [^\Znl^ xL?>l Zk^ \hgmbgnhnler k^e^Zl^] bgmh ma^ Zbk _khf bgmZ\m+
4    _ng\mbhgbg` eb`am [ZeeZlml- Sa^g eb`aml Zk^ h__+ ^fbllbhgl Zk^ ehp- Sa^g eb`aml Zk^ hg+ ma^
5    [ZeeZlm a^Zml ni+ Zg] ^fbllbhgl bg\k^Zl^ l^o^kZe,_he]-y Id. Zm 00-
6           00-    5IQTML ?21 JITTI[\[ KI][M PQOP TM^MT[ WN ?21 KWV\IUQVI\QWV' Eg
7    Z]]bmbhg+ xL?> [ZeeZlml \Zg _Zbe+ k^e^Zlbg` L?> oZihkl bgmh ma^ Zbk Zg] ebjnb] L?>l hgmh
8    lnk_Z\^l-y Id. Sa^g maZm h\\nkl+ x=bk e^o^el h_ L?>l \Zg [^\hf^ jnbm^ eZk`^- Onk_Z\^l
0/   \Zg [^ \hgmZfbgZm^]-y Id.
00          01-    CW`QK ?233[ IVL ?235[' =elh h_ \hg\^kg Zk^ ma^ ^qmk^f^er mhqb\
01   \a^fb\Ze [rikh]n\ml h_ _Zbebg` L?>,eb`am [ZeeZlml+ bg\en]bg` ]bhqbgl Zg] _nkZgl- BZbebg`
02   L?>,[ZeeZlml maZm irkhers^ ma^bk L?> \hgm^gml `^g^kZm^ Zg] ^fbm Z]]bmbhgZe mhqb\
03   \a^fb\Zel \Zee^] iher\aehkbgZm^] ]b[^gsh]bhqbgl (L?@@l) Zg] iher\aehkbgZm^]
04   ]b[^gsh_nkZgl (L?@Bl)- 4/ B^]- N^`- 18+060 (Fner 06+ 0874): Ahrens v. Pacific Gas &
05   Electric Co.+ 086 ?Ze-=ii-2] 0023+ 0028+ _g 1+ 132 ?Ze-Nimk- 31/ (0877)-
06          02-    Ko^k mbf^+ l\ahhe [nbe]bg` fZm^kbZel [^\hf^ l^\hg]Zkr lhnk\^l h_ L?>
07   \hgmZfbgZmbhg Z_m^k Z[lhk[bg` L?>l ^fbmmbg` _khf ma^ ikbfZkr \hgmZfbgZmbhg lhnk\^l+ Zl
08   beenlmkZm^] bg mabl ]bZ`kZf Zg] bg ma^ _heehpbg` AL= leb]^l (1/03+ ii- 01+ 1)9
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                                                                             <9 / *'0%,-'.2 - .,%%. 3 - /'.% :89
                                                                                    - %"..(% 1" ?>989
     COMPLAINT - 41                                                                   6:8=7 <894;;;=
                         PCB Sources – Secondary Sources/Sinks


                                         $ PCBs released from primary sources are absorbed into
                                           other materials in the school environment over time
                                                                                                                                            Case: 4:23-cv-00204-HEA




                                         $ Following g removal of primary                          y
                                                                        y sources, PCBs in secondary
                                           sources may be released into the school environment and
                                           result in continuing exposures
                                                                                                                                          #: 346




                                         $ In some cases, secondary sources may need to be
                                           considered for additional remedial actions following
                                           removal/remediation of primary sources
                                                                                                                               Doc. #: 1-3 Filed: 02/20/23
                                                                                                                                            Page: 293 of 463 PageID




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 National Exposure Research Laboratory
COMPLAINT - 42
                                                                     Electronically Filed - St Louis County - August 03, 2022 - 02:35 PM
                            PCBs - A Complex Problem in Buildings
          Example Scenario                            " Over 100 PCB chemicals
                                                             p p
                                                      " Multiple primary
                                                                       y sources p
                                                                                 possible
                                                      " Transport from sources to air, surfaces,
                                                                                                                                          Case: 4:23-cv-00204-HEA




                                                            dust, soil
                                                      " Secondary sources created
                        Primary Sources
                             Caulk                    " Exposures through multiple pathways
                             Light Ballast
                                                      " Ventilation and temperature effects
                                                                                                                                        #: 347




                        Secondary Sources/Sinks
                            Surrounding Materials
                            Paint
                            Dust
                                                                                                                             Doc. #: 1-3 Filed: 02/20/23




HVAC
 Unit
                                                                                                                                          Page: 294 of 463 PageID




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 National Exposure Research Laboratory
                                                                  Primary PCB         Secondary PCB
COMPLAINT - 43                                      Ventilation                                                  Dust/Soil
                                                                  Source              Sources and Sinks
                                                                   Electronically Filed - St Louis County - August 03, 2022 - 02:35 PM
                                                                                                              Electronically Filed - St Louis County - August 03, 2022 - 02:35 PM
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                                              #: 348



0          03-    Bhk ma^l^ Zg] hma^k k^Zlhgl+ l\ahhe [nbe]bg`l lahne] ghm \hgmZbg
1    IhglZgmh{l L?>l-
2          04-    Sa^g Z k^ZlhgZ[er \Zk^_ne fZgn_Z\mnk^k e^Zkgl maZm bml ikh]n\m bl mhqb\ Zg]
3    ihl^l in[eb\ a^Zema aZsZk]l+ ma^ fZgn_Z\mnk^k lmhil fZgn_Z\mnkbg` bm+ k^\Zeel bml ikh]n\m+
4    Zg] pZkgl ma^ in[eb\ Z[hnm ma^ ikh]n\m-
5          05-    >nm IhglZgmh g^o^k k^\Zee^] L?>l+ ]^libm^ dghpbg` ma^bk mhqb\bmr Zg]
6    ]Zg`^k mh in[eb\ a^Zema- Eglm^Z]+ IhglZgmh \hgmbgn^] mh ikhfhm^ L?>l+ iZkmb\neZker bg
7    ^e^\mkb\Ze Ziieb\Zmbhgl+ ngmbe L?>l p^k^ [Zgg^]-
8          06-    IhglZgmh ]b] ghm pZkg nl^kl h_ L?>l+ ln\a Zl ma^ OmZm^+ ma^ O\ahhe
0/   @blmkb\m+ Qgbhg Db`a+ ma^ D^Zema @blmkb\m+ hk ma^ LeZbgmb__l+ maZm IhglZgmh{l L?>l Zk^
00   ^qmk^f^er mhqb\ Zg] ihl^ Z in[eb\ a^Zema aZsZk]-
01         07-    IhglZgmh ikhob]^] ma^ in[eb\ pbma gh pZkgbg`l+ ghmb\^l+ [nee^mbgl+ hk
02   bg_hkfZmbhg maZm L?>l Zk^ ^qmk^f^er mhqb\ Zg] ihl^ Z in[eb\ a^Zema aZsZk]- =gr
03   bg_hkfZmbhg ikhob]^] [r IhglZgmh ]nkbg` hk Z_m^k fZgn_Z\mnk^ aZl [^^g bgZ]^jnZm^-
04         08-    IhglZgmh{l L?>l aZo^ \hgmZfbgZm^] l\ahhe [nbe]bg`l bg SZlabg`mhg+
05   bg\en]bg` ma^ l\ahhe [nbe]bg`l bg mabl \Zl^+ \Znlbg` aZkf mh h\\niZgml h_ ma^ [nbe]bg`l+
06   bg\en]bg` ma^ LeZbgmb__l- =l lahpg Z[ho^+ mabl pZl ghm hger k^ZlhgZ[er _hk^l^^Z[e^+ bm pZl
07   Z\mnZeer dghpg mh IhglZgmh maZm ln\a aZkf phne] \hf^ mh mabk] iZkmb^l ln\a Zl ma^
08   LeZbgmb__l- =\\hk]bg`er+ ma^ LeZbgmb__l l^^d ]ZfZ`^l Z`Zbglm IhglZgmh-
1/         1/-    Em pZl Zelh k^ZlhgZ[er _hk^l^^Z[e^+ [Zl^] hg IhglZgmh{l ablmhkr h_
10   ^qi^kb^g\^ pbma L?> \nlmhf^kl Zg] nl^kl+ maZm lhf^ bgli^\mhkl+ hpg^kl+ hi^kZmhkl+
11   ikhob]^kl+ hk fZbgmZbg^kl h_ [nbe]bg`l phne] ^g`Z`^ bg g^`eb`^gm \hg]n\m maZm \Znl^l
12   aZkf mh mabk] iZkmb^l [r ^qihlbg` ma^f mh IhglZgmh{l L?>l-
13         10-    Qg_hkmngZm^er+ IhglZgmh{l L?>l \hgmbgn^ mh \hgmZfbgZm^ l\ahhe [nbe]bg`l
14   [nbem [^_hk^ 087/+ bg\en]bg` ma^ l\ahhe [nbe]bg`l bg mabl \Zl^- =l lahpg Z[ho^+ mabl bl
15   [^\Znl^ IhglZgmh bgm^gmbhgZeer ikh]n\^] Zg] ikhfhm^] L?>l bg Z oZkb^mr h_
16   \hglmkn\mbhg Ziieb\Zmbhgl- =l Z k^lnem h_ IhglZgmh{l \hg]n\m+ bm pZl k^ZlhgZ[er
17   _hk^l^^Z[e^ maZm IhglZgmh{l L?>l phne] [^ bg\hkihkZm^] bg [nbe]bg`l+ bg\en]bg` ma^


                                                                       &,'%$)"* 5 ,/#'* +((+
                                                                        <9 / *'0%,-'.2 - .,%%. 3 - /'.% :89
                                                                               - %"..(% 1" ?>989
     COMPLAINT - 44                                                              6:8=7 <894;;;=
                                                                                                               Electronically Filed - St Louis County - August 03, 2022 - 02:35 PM
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0    l\ahhe [nbe]bg`l bg mabl \Zl^+ Zg] phne] \hgmZfbgZm^ \eZllkhhfl nl^] [r i^hie^+
1    bg\en]bg` ma^ LeZbgmb__l+ \Znlbg` ma^f ]ZfZ`^l- IhglZgmh{l L?> \hgmZfbgZmbhg h_ Odr
2    RZee^r A]n\Zmbhg ?^gm^k pZl Z e^`Ze \Znl^ h_ bgcnkr mh ma^ LeZbgmb__l-
3           11-    =l lahpg bg ma^ _heehpbg` AL= leb]^ (1/03+ i- 05)+ xK\\niZgml bg l\ahhel
4    pbma bgm^kbhk L?> lhnk\^l pbee [^ ^qihl^] mh L?>l bg ma^ bg]hhk Zbk+ ]nlm+ Zg] hg lnk_Z\^l
5    makhn`a ma^bk ghkfZe Z\mbobmb^l-y Bhk ma^ LeZbgmb__l Zg] hma^kl bg ln\a l\ahhe [nbe]bg`l+
6    xAqihlnk^l pbee h\\nk makhn`a bgaZeZmbhg+ bg`^lmbhg+ Zg] ]^kfZe \hgmZ\m-y
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17   Pa^ _nee AL= leb]^ Zii^Zkl hg ma^ _heehpbg` iZ`^9


                                                                         &,'%$)"* 5 ,/#'* +((+
                                                                         <9 / *'0%,-'.2 - .,%%. 3 - /'.% :89
                                                                                - %"..(% 1" ?>989
     COMPLAINT - 45                                                               6:8=7 <894;;;=
                            Exposures to PCBs in the School Environment

                                                  $ Occupants in schools with interior PCB sources will be
                                                    exposed to PCBs in the indoor air, dust, and on surfaces
                                                    th
                                                    through
                                                          h their
                                                            th i normall activities
                                                                           ti iti
                                                                                                                                                   Case: 4:23-cv-00204-HEA




                                                  $ In school buildings with exterior PCB sources, exposures
                                                    may occur through contact with contaminated soil


                                                  $ Exposures will occur through inhalation, ingestion, and
                                                                                                                                                 #: 350




                                                    dermal contact
                                                                                                                                      Doc. #: 1-3 Filed: 02/20/23




Figure from 2009 NIEHS L. Birnbaum presentation
                                                                                                                                                   Page: 297 of 463 PageID




        Office of Research and Development                                                                                     16
        National Exposure Research Laboratory
       COMPLAINT - 46
                                                                            Electronically Filed - St Louis County - August 03, 2022 - 02:35 PM
                                                                                                               Electronically Filed - St Louis County - August 03, 2022 - 02:35 PM
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0             12-   =l lahpg bg ma^ ablmhkr [^ehp+ ma^ Odr RZee^r A]n\Zmbhg ?^gm^k [nbe]bg`l
1    p^k^ \hgmZfbgZm^] pbma IhglZgmh{l L?>l- Pabl _Z\m pZl in[eb\er k^o^Ze^] bg 1/05
2    _heehpbg` ^gobkhgf^gmZe m^lmbg` ]hg^ bg k^lihgl^ mh l^o^k^er lb\d^g^] Zg] ]bl^Zl^]
3    m^Z\a^kl Zg] ho^k hg^ ang]k^] Odr RZee^r bg]bob]nZel k^ihkmbg` mh ma^ Oghahfbla D^Zema
4    @blmkb\m beeg^ll^l k^eZm^] mh ma^ l\ahhe [nbe]bg`l- Pa^ @^_^g]Zgml{ pkhg`]hbg` e^] mh ma^
5    L?> \hgmZfbgZmbhg Zg] \Znl^] L?> ^qihlnk^ bg ma^ LeZbgmb__l+ \Znlbg` ma^f ]ZfZ`^l-
6             13-   xIhglZgmh{l L?> \hgmZfbgZmbhg \hglmbmnm^l bgcnkr mh ma^ OmZm^{l in[eb\
7    gZmnkZe k^lhnk\^l Zg] mh hma^k ikhi^kmr Zg] pZm^kl h_ ma^ OmZm^ Wh_ SZlabg`mhgX+ _hk
8    pab\a ma^ OmZm^ l^^dl ]ZfZ`^l+ bg\en]bg` hg [^aZe_ h_ bml^e_ Zg] hg [^aZe_ h_ bml k^lb]^gml
0/   bg bml parens patriae \ZiZ\bmr-y OmZm^ h_ SZlabg`mhg{l ?hfieZbgm _hk @ZfZ`^l Z`Zbglm
00   IhglZgmh+ i- 4+ u 05+ ?Zl^ Jh- 05,1,18480,5+ Gbg` ?hngmr Oni^kbhk ?hnkm (@^\- 7+
01   1/05)-
02      4'          CPM [KPWWT J]QTLQVO[ JMKIUM \W`QK% QVR]ZQVO KPQTLZMV IVL IL]T\['
03            0-    7Q[\WZa WN \PM [KPWWT J]QTLQVO[' OmZkmbg` bg ma^ 084/l+ ma^ l\ahhe \Zfinl
04   eh\Zm^] bg Ihgkh^ Zm 240 Oahkm ?henf[bZ Omk^^m+ g^Zk Dbee+ G^el^r+ Zg] OZfl Omk^^ml+ pZl
05   dghpg Zl Ihgkh^ Qgbhg Db`a O\ahhe hk Ihgkh^ Db`a O\ahhe-
06            1-    Ph]Zr+ ma^ mZq Z\\^llhk k^\hk]l b]^gmb_r ma^ ikhi^kmr Zl [^ehg`bg` mh Qgbhg
07   Db`a O\ahhe @blmkb\m 3/19
08
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16            2-    Pa^ _heehpbg` iZ`^ bl Z mkn^ Zg] \hkk^\m \hir h_ Z iZ`^ h_ mabl `ho^kgf^gm
17   k^\hk]+ pab\a bl Zelh ZmmZ\a^] Zl 4`PQJQ\ B9


                                                                        &,'%$)"* 5 ,/#'* +((+
                                                                         <9 / *'0%,-'.2 - .,%%. 3 - /'.% :89
                                                                                - %"..(% 1" ?>989
     COMPLAINT - 47                                                               6:8=7 <894;;;=
                                                                                                      Electronically Filed - St Louis County - August 03, 2022 - 02:35 PM
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                                                                       - %"..(% 1" ?>989
     COMPLAINT - 48                                                      6:8=7 <894;;;=
                                                                                                              Electronically Filed - St Louis County - August 03, 2022 - 02:35 PM
     Case: 4:23-cv-00204-HEA      Doc. #: 1-3 Filed: 02/20/23       Page: 300 of 463 PageID
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0          3-     Kma^k iZ`^l bg ma^ mZq Z\\^llhk{l _be^ _hk mabl ikhi^kmr k^_^k^g\^ Qgbhg Db`a
1    O\ahhe @blmkb\m 3/1 Zl p^ee Zl xO\ahhe @blmkb\m 0/2+y bg\en]bg` mabl ^q\^kim ]Zm^] =ikbe
2    02+ 088/9
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15   = xOEPA OGAP?Dy h_ ma^ \Zfinl lahpl l\ahhe [nbe]bg`l [nbem bg 084/+ 0852+ 0854+ Zg]
16   0857- Pa^ lbm^ ld^m\a bl lahpg hg ma^ _heehpbg` iZ`^- Pa^ \hg_b`nkZmbhg h_ ma^ l\ahhe
17   [nbe]bg`l Zm ma^ \Zfinl Zii^Zkl ma^ lZf^ mh]Zr9


                                                                       &,'%$)"* 5 ,/#'* +((+
                                                                        <9 / *'0%,-'.2 - .,%%. 3 - /'.% :89
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     COMPLAINT - 49                                                              6:8=7 <894;;;=
                                                                                                      Electronically Filed - St Louis County - August 03, 2022 - 02:35 PM
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                                                                <9 / *'0%,-'.2 - .,%%. 3 - /'.% :89
                                                                       - %"..(% 1" ?>989
     COMPLAINT - 50                                                      6:8=7 <894;;;=
                                                                                                                 Electronically Filed - St Louis County - August 03, 2022 - 02:35 PM
     Case: 4:23-cv-00204-HEA         Doc. #: 1-3 Filed: 02/20/23     Page: 302 of 463 PageID
                                                #: 355



0          4-        Pabl l\ahhe \Zfinl bl eh\Zm^] bg Ihgkh^+ SZlabg`mhg+ pbmabg ma^
1    bgli^\mbhg cnkbl]b\mbhg h_ ma^ Oghahfbla D^Zema @blmkb\m-
2          5-        =\\hk]bg` mh bml hpg lmZm^f^gml+ xWmXa^ Oghahfbla D^Zema @blmkb\m bgli^\ml
3    Zee l\ahhel (in[eb\ Zg] ikboZm^) bg hk]^k mh o^kb_r \hfiebZg\^ pbma fbgbfZe ^gobkhgf^gmZe
4    lmZg]Zk]l _hk ^]n\Zmbhg _Z\bebmb^l+ Zl i^k S=? 135,255,/3/-y D^Zema @blmkb\m xbgli^\mhkl
5    fZr \a^\d eb`ambg`+ o^gmbeZmbhg+ Zg] lZ_^mr ^jnbif^gm-y Pa^ ^g_hk\^f^gm k^jnbk^f^gml
6    Zk^ lmZm^] bg D^Zema @blmkb\m e^mm^kl Zg] SZlabg`mhg eZp- N?S 32-1/-/4/(4)-
7          6-        Pa^ _Z\ml h_ ma^ _heehpbg` bgli^\mbhglwZg] ma^ eZ\d h_ ZggnZe bgli^\mbhgl
8    bg k^\^gm ]^\Z]^lwbl [Zl^] hg Oghahfbla D^Zema @blmkb\m{l k^lihgl^l mh Ln[eb\ N^\hk]l
0/   =\m k^jn^lml-
00         7-        Bkhf ma^ eZm^ 084/l makhn`a 088/+ ma^ Oghahfbla D^Zema @blmkb\m
01   \hg]n\m^] bgli^\mbhgl h_ ma^l^ l\ahhe [nbe]bg`l hg Z khn`aer ZggnZe [Zlbl- @nkbg` mabl
02   mbf^+ bgli^\mhkl k^`neZker \bm^] Ihgkh^ O\ahhe @blmkb\m _hk obheZmbg` k^jnbk^f^gml _hk
03   fbgbfnf eb`ambg` bgm^glbmb^l _hk ma^l^ l\ahhe [nbe]bg`l- @^libm^ ma^l^ \bmZmbhgl+
04   ZiiZk^gmer gh i^gZemb^l hk ^g_hk\^f^gm Z\mbhgl p^k^ mZd^g-
05         8-        Bhk ^qZfie^+ Z Oghahfbla D^Zema @blmkb\m l\ahhe bgli^\mbhg k^ihkm+ ]Zm^]
06   0862+ k^\hk]^] \h]^ obheZmbhgl _hk o^gmbeZmbhg+ eb`ambg`+ Zg] lZ_^mr _hk ma^l^ l\ahhe
07   [nbe]bg`l- Pa^ bgli^\mhk pkhm^+ xHb`ambg` bl ln[lmZg]Zk] bg Z gnf[^k h_ ieZ\^l bg mabl
08   [nbe]bg` Zl aZl [^^g k^ihkm^] ^o^kr r^Zk lbg\^ ma^ l\ahhe pZl [nbem-y K\m- 04+ 0862
1/   O\ahhe Egli^\mbhg k^ihkm [r Oghahfbla D^Zema @blmkb\m+ mh Ihgkh^ #0/2+ Ihgkh^ Db`a
10   O\ahhe (>Zm^l lmZfi^] ////43) (^fiaZlbl bg hkb`bgZe)-
11         0/-       Hb`ambg` \hgmbgn^] mh [^ ln[lmZg]Zk] bg ln[l^jn^gm ]^\Z]^l- Pabl bl
12   lb`gb_b\Zgm [^\Znl^+ r^Zkl eZm^k+ ma^ lZf^ ln[lmZg]Zk] eb`ambg` _bqmnk^l bg ma^l^ l\ahhe
13   [nbe]bg`l ^qihl^] ma^ LeZbgmb__l mh L?>l Zg] hma^k mhqb\ \a^fb\Zel-
14         00-       =khng] 0866+ ma^ nlZ`^ h_ ma^ l\ahhe [nbe]bg`l \aZg`^] _khf ma^ Db`a
15   O\ahhe ikh`kZf mh ma^ Ihgkh^ Fngbhk Db`a-
16         01-       =emahn`a Ihgkh^ Ln[eb\ O\ahhel \hkk^\m^] lhf^ lZ_^mr lmZg]Zk] obheZmbhgl
17   ho^k ma^ r^Zkl+ hma^k lZ_^mr lmZg]Zk] obheZmbhgl bg ma^ l\ahhe [nbe]bg`l i^klblm^]- Bhk


                                                                        &,'%$)"* 5 ,/#'* +((+
                                                                           <9 / *'0%,-'.2 - .,%%. 3 - /'.% :89
                                                                                  - %"..(% 1" ?>989
     COMPLAINT - 51                                                                 6:8=7 <894;;;=
                                                                                                               Electronically Filed - St Louis County - August 03, 2022 - 02:35 PM
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0    ^qZfie^+ Z e^mm^k ]Zm^] 087/ _khf ma^ D^Zema @blmkb\m mh Ihgkh^ O\ahhe @blmkb\m k^ihkm^]
1    \hfieZbgml k^eZm^] mh o^gmbeZmbhg+ lZgbmZmbhg Zg] ^gobkhgf^gmZe \hg]bmbhgl+ Zg] ghm^] maZm+
2    xpbma ebmme^ ^q\^imbhg+ ma^l^ ikh[e^fl aZo^ [^^g ghm^] hg hnk bgli^\mbhg k^ihkml _hk ma^
3    iZlm l^o^kZe r^Zkl- >^\Znl^ h_ ma^ ihllb[e^ a^Zema Zg] lZ_^mr bfiZ\m nihg rhnk lmn]^gml
4    Zg] lmZ__+ p^ _^^e bm bl bfihkmZgm maZm ln[lmZgmbZe \aZg`^l [^ fZ]^-y Fng^ 02+ 087/
5    Oghahfbla D^Zema @blmkb\m e^mm^k mh Ihgkh^ O\ahhe @blmkb\m (>Zm^l lmZfi^] ////7/,70)-
6           02-    Pa^ 0870 D^Zema @blmkb\m bgli^\mbhg k^ihkm _hk ma^l^ l\ahhe [nbe]bg`l \bm^]
7    ]^_b\b^g\b^l bg Zk^Zl k^eZm^] mh o^gmbeZmbhg Zg] eb`ambg`+ lmZmbg` xeb`ambg` bl ihhk bg
8    \eZllkhhfl Zg] k^lmkhhfl bg ma^ ih]l W\eZllkhhflX-y 0870 D^Zema @blmkb\m bgli^\mbhg
0/   k^ihkm mh Ihgkh^ O\ahhe @blmkb\m (>Zm^l lmZfi^] ///0/4,/7)-
00          03-    Pa^ 0871+ 0873+ Zg] 0874 bgli^\mbhg k^ihkml ghm^] lbfbeZk ]^_b\b^g\b^l- Bhk
01   ^qZfie^+ ma^ 0873 k^ihkm lmZm^]+ x=l p^ aZo^ ihbgm^] hnm _hk l^o^kZe r^Zkl ghp+ ih]
02   \eZllkhhf eb`ambg` bl ihhk-y 0873 D^Zema @blmkb\m bgli^\mbhg k^ihkm mh Ihgkh^ O\ahhe
03   @blmkb\m (>Zm^l lmZfi^] ///007,13)-
04          04-    =khng] 0876+ ma^ nlZ`^ h_ ma^ l\ahhe [nbe]bg`l \aZg`^] _khf [^bg` ma^
05   Ihgkh^ Fngbhk Db`a mh ma^ Ihgkh^ Ib]]e^ O\ahhe-
06          05-    Eg ma^ 088/l+ ma^ D^Zema @blmkb\m hger \hg]n\m^] lZ_^mr bgli^\mbhgl bg 088/
07   Zg] 0885- (Eg 0888+ ma^k^ pZl Z \hfieZbgm bgo^lmb`Zmbhg k^ihkmwghm Zg bgli^\mbhg
08   k^ihkmwk^`Zk]bg` ihhk dbm\a^g o^gmbeZmbhg-) Pa^k^ p^k^ gh D^Zema @blmkb\m bgli^\mbhgl h_
1/   ma^ l\ahhe [nbe]bg`l bg 0880+ 0881+ 0882+ 0883+ hk 0884- Eg ma^ 0885 bgli^\mbhg k^ihkm+
10   ma^ D^Zema @blmkb\m Z`Zbg \bm^] Ihgkh^ O\ahhe @blmkb\m _hk o^gmbeZmbhg Zg] eb`ambg` \h]^
11   obheZmbhgl bg ma^l^ l\ahhe [nbe]bg`l-
12          06-    Pa^ D^Zema @blmkb\m ]b] ghm \hg]n\m Z k^`neZk bgli^\mbhg h_ ma^l^ l\ahhe
13   [nbe]bg`l bg 0886+ 0887+ 0888+ 1///+ 1//0+ 1//1+ 1//2+ hk 1//3-
14          07-    >r ma^ r^Zk 1///+ Ihgkh^ Ln[eb\ O\ahhel aZ] Z\mnZe dghpe^]`^ maZm bml
15   l\ahhe [nbe]bg`l [nbem [^_hk^ 087/ fZr \hgmZbg L?>,eb`am [ZeeZlml- Pa^ Ihgkh^ O\ahhe
16   @blmkb\mwmakhn`a Z iheb\r ZiiZk^gmer ikhfne`Zm^] [r Z OmZm^ Z`^g\rw^lmZ[ebla^] Z
17   xHECDPEJC =J@ >=HH=OP @EOLKO=H LNK?A@QNAOy iheb\r- Em k^jnbk^]


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     COMPLAINT - 52                                                               6:8=7 <894;;;=
                                                                                                               Electronically Filed - St Louis County - August 03, 2022 - 02:35 PM
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0    bgli^\mbhg h_ Zee eb`am [ZeeZlml ]nkbg` ma^ lnff^k h_ 1///- See u 2- L?>,eb`am [ZeeZlml
1    fnlm ma^g [^ fZkd^] _hk b]^gmb_b\Zmbhg- Id. Pa^g x0TT JITTI[\[ \PI\ IZM I[[]UML \W
2    KWV\IQV ?21[ U][\ JM LQ[XW[ML WN I[ PIbIZLW][ _I[\M'y Id. Zm u 3 (^fiaZlbl Z]]^])-
3          08-    Pa^ OmZm^+ ma^ D^Zema @blmkb\m+ Ihgkh^ O\ahhe @blmkb\m+ Zg] Qgbhg Db`a Zee
4    lahne] aZo^ ^glnk^] ma^ k^fhoZe Zg] k^f^]bZmbhg h_ L?>l Zg] hma^k mhqb\ \a^fb\Zel
5    _khf ma^ l\ahhe [nbe]bg`l- Pa^ in[eb\ ^gmbmr @^_^g]Zgml p^k^ g^`eb`^gm bg ghm ]hbg` lh+
6    pab\a pZl Z ikhqbfZm^ \Znl^ h_ LeZbgmb__l{ ]ZfZ`^l-
7          1/-    Pa^ D^Zema @blmkb\m lahne] aZo^ ^g_hk\^] ma^ fbgbfnf ^gobkhgf^gmZe
8    lZ_^mr lmZg]Zk]l k^eZmbg` mh eb`ambg` bgm^glbmb^l- E_ ma^ D^Zema @blmkb\m aZ] ]hg^ lh lbg\^
0/   087/+ ma^ g^p eb`am _bqmnk^l phne] aZo^ [^^g L?>,_k^^- Pa^ D^Zema @blmkb\m{l eZ\d h_
00   Z\mbhg+ iZkmb\neZker bg eb`am h_ bml Z\mnZe dghpe^]`^ h_ ]^\Z]^l h_ lZ_^mr \h]^ obheZmbhgl+
01   pZl g^`eb`^gm Zg] Z ikhqbfZm^ \Znl^ h_ LeZbgmb__l{ ]ZfZ`^l-
02         10-    Pa^ 1//2 xD^Zema Zg] OZ_^mr Cnb]^y [r ma^ OmZm^ @^iZkmf^gm h_ D^Zema Zg]
03   Oni^kbgm^g]^gm h_ Ln[eb\ Eglmkn\mbhg li^\b_b\Zeer k^\h`gbs^] ma^ ^qblm^g\^ h_ L?>l bg
04   l\ahhe [nbe]bg`l9
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13   K__b\^ h_ Oni^kbgm^g]^gm h_ Ln[eb\ Eglmkn\mbhg Zg] @^iZkmf^gm h_ D^Zema- KOLE,@KD
14   O\ahhe D^Zema Zg] OZ_^mr Cnb]^+ FZgnZkr 1//2+ i- 15-
15         11-    Pa^ OmZm^{l _Zbenk^ mh k^jnbk^ ma^ k^fhoZe h_ L?>l _khf ma^ l\ahhe
16   [nbe]bg`l pZl g^`eb`^gm Zg] Z ikhqbfZm^ \Znl^ h_ LeZbgmb__l{ ]ZfZ`^l-
17         12-    Pa^ g^`eb`^g\^ h_ ma^ in[eb\ ^gmbmr @^_^g]Zgml Zeehp^] L?>l mh k^fZbg bg


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     COMPLAINT - 53                                                               6:8=7 <894;;;=
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0    ma^ l\ahhe [nbe]bg`l+ pab\a pZl Z ikhqbfZm^ \Znl^ h_ L?>l k^fZbgbg` bg ma^ he] Ihgkh^
1    Ib]]e^ O\ahhe+ eZm^k dghpg Zl Odr RZee^r A]n\Zmbhg ?^gm^k+ pab\a \hgmZfbgZm^] ma^
2    bg]hhk Zbk Zg] ln[l^jn^gmer ihblhg^] \abe]k^g Zg] Z]neml+ bg\en]bg` ma^ LeZbgmb__l-
3           13-    Em fZr [^ maZm ma^ OmZm^+ bml ]^iZkmf^gml+ bml ^fiehr^^l+ hk hma^k in[eb\
4    ^gmbmr @^_^g]Zgml+ p^k^ ghm _neer ZpZk^ h_ ma^ ]Zg`^kl h_ L?>l ]n^ mh Z eZ\d h_ pZkgbg`l
5    _khf IhglZgmh- IhglZgmh{l lmZm^f^gml k^`Zk]bg` L?>l aZo^ ablmhkb\Zeer Zg]
6    \hglblm^gmer fbgbfbs^] ma^ kbld h_ L?>l mh anfZg a^Zema- On\a lmZm^f^gml fZr aZo^
7    ]^\^bo^]+ fble^]+ hk enee^] ma^ OmZm^ hk hma^k in[eb\ ^gmbmr @^_^g]Zgml bgmh bgZ\mbhg
8    k^`Zk]bg` ma^ k^fhoZe h_ L?>l _khf l\ahhe [nbe]bg`l-
0/          14-    Pa^ 1//2 OmZm^ iheb\r Zelh k^jnbk^] fbgbfnf eb`am bgm^glbmb^l bg l\ahhe
00   [nbe]bg`l- D^k^ bl ^q\^kim _khf maZm iheb\r k^jnbkbg` fbgbfnf eb`ambg`9
01
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14          15-    =l lmZm^] Z[ho^+ b_ ma^l^ fbgbfnf eb`ambg` k^jnbk^f^gml aZ] [^^g ^g_hk\^]
15   [r ma^ D^Zema @blmkb\m+ Qgbhg Db`a+ Ihgkh^ Ln[eb\ O\ahhel+ hk ma^ OmZm^ Zm Zgr mbf^ lbg\^
16   087/+ Ihgkh^ O\ahhe @blmkb\m phne] aZo^ ngbglmZee^] ma^ L?>,eb`am [ZeeZlml Zm ma^ l\ahhe
17   [nbe]bg`l Zg] bglmZee^] \h]^ \hfiebZgm+ ghg,L?> eb`am [ZeeZlml- Pabl phne] aZo^


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                                                                         <9 / *'0%,-'.2 - .,%%. 3 - /'.% :89
                                                                                - %"..(% 1" ?>989
     COMPLAINT - 54                                                               6:8=7 <894;;;=
                                                                                                                          Electronically Filed - St Louis County - August 03, 2022 - 02:35 PM
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0    ik^o^gm^] hk fbgbfbs^] fn\a h_ ma^ L?> \hgmZfbgZmbhg Zg] ln[l^jn^gm L?> ihblhgbg`
1    h_ ma^ LeZbgmb__l- >^\Znl^ ma^ in[eb\ ^gmbmr @^_^g]Zgml ]b] ghm ]h mabl+ ahp^o^k+ ma^
2    LeZbgmb__l p^k^ ^qihl^] mh L?> \hgmZfbgZmbhg- Pa^ in[eb\ ^gmbmr @^_^g]Zgml{ g^`eb`^g\^
3    pZl Z ikhqbfZm^ \Znl^ h_ LeZbgmb__l{ ]ZfZ`^l-
4            16-     Pa^ OmZm^ Zg] hma^k in[eb\ ^gmbmr @^_^g]Zgml dg^p hk lahne] aZo^ dghpg
5    maZm ma^ ^qblm^g\^ h_ L?>l bg l\ahhe [nbe]bg`l ihl^l Z ]Zg`^k mh \abe]k^g Zg] Z]neml- Pa^
6    ihm^gmbZe b`ghkZg\^ h_ ma^ OmZm^+ mahn`a g^`eb`^gm+ bl k^_e^\m^] bg ma^ Z[l^g\^ h_ L?>
7    ]bl\nllbhg bg ma^ OmZm^{l O\ahhe Eg]hhk =bk MnZebmr >^lm IZgZ`^f^gm LkZ\mb\^l IZgnZe
8    (Jho- 1//2)+ ZoZbeZ[e^ Zm ammil9..ppp-]ha-pZ-`ho.?hffngbmrZg]Agobkhgf^gm.O\ahhel.Agobkhgf^gmZeD^Zema (eZlm
0/   oblbm^] Jho^f[^k 04+ 1/06)- Lk^lnfZ[er+ Z]^jnZm^ pZkgbg`l hk bglmkn\mbhgl [r IhglZgmh
00   lahne] aZo^ k^\mb_b^] hk Zf^ebhkZm^] ma^ g^`eb`^g\^ h_ ma^ in[eb\ ^gmbmr @^_^g]Zgml Zg]
01   ik^o^gm^] lhf^ hk Zee h_ LeZbgmb__l{ ]ZfZ`^l-
02           17-     Eg ma^ 1///l+ ma^ D^Zema @blmkb\m hger \hg]n\m^] lZ_^mr bgli^\mbhgl h_ ma^l^
03   l\ahhe [nbe]bg`l bg 1//4+ 1//6+ Zg] 1//8-
04           18-     Eg ma^ 1//4 bgli^\mbhg e^mm^k Zg] k^ihkm+ ma^ D^Zema @blmkb\m lmZm^]+ Zl nlnZe+
05   maZm bml xbgli^\mhkl fZr \a^\d eb`ambg`+ o^gmbeZmbhg+ Zg] lZ_^mr ^jnbif^gmy mh xo^kb_r
06   \hfiebZg\^ pbma fbgbfZe ^gobkhgf^gmZe lmZg]Zk]l _hk ^]n\ZmbhgZe _Z\bebmb^l+ Zl i^k S=?
07   135,255,/3/-y Pa^ D^Zema @blmkb\m \bm^] Ihgkh^ O\ahhe @blmkb\m _hk o^gmbeZmbhg Zg]
08   eb`ambg` lmZg]Zk] obheZmbhgl+ [nm Z`Zbg _Zbe^] mh ^g_hk\^ \hfiebZg\^- 1//4 D^Zema @blmkb\m
1/   e^mm^k Zg] bgli^\mbhg k^ihkm mh Ihgkh^ O\ahhe @blmkb\m (>Zm^l lmZfi^] ///035,40)-
10           2/-     Bhk ?K1 \hg\^gmkZmbhg ebfbml+ =ODN=A OmZg]Zk] 51,1//0 k^\hff^g]l gh
11   fhk^ maZg 6// iif Z[ho^ ma^ hnm]hhk \hg\^gmkZmbhg Zl ma^ nii^k ebfbm _hk h\\nib^]
12   \eZllkhhfl+ pab\a bl nlnZeer Zkhng] 0+/// iif- ?Zk[hg ]bhqb]^ bl Zg ZliarqbZm^ maZm+
13   pa^g f^Zlnk^]+ l^ko^l Zl Z ikhqr _hk ma^ jnZebmr h_ o^gmbeZmbhg bg h\\nib^] \eZllkhhfl-
14           20-     Pa^ 1//4 bgli^\mbhg k^ihkm pZl ma^ _bklm D^Zema @blmkb\m k^ihkm mh f^Zlnk^
15   Zg] k^\hk] \Zk[hg ]bhqb]^ Zbk jnZebmr obheZmbhgl Zm ma^ l\ahhe [nbe]bg`l- Pa^ k^ihkm
16   k^\hk]^] 14 k^Z]bg`l bg 14 l^iZkZm^ \eZllkhhfl Zm ma^l^ l\ahhe [nbe]bg`l maZm ^q\^^]^]
17   0+/// iif h_ \Zk[hg ]bhqb]^- Obq k^Z]bg`l p^k^ Z[ho^ 0+4// iif- Bhnk k^Z]bg`l p^k^


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     COMPLAINT - 55                                                                          6:8=7 <894;;;=
                                                                                                                Electronically Filed - St Louis County - August 03, 2022 - 02:35 PM
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0    Z[ho^ 1+/// iif- Pph k^Z]bg`l p^k^ Z[ho^ 2+/// iif- Id. Zm 038-
1           21-    =l bg iZlm r^Zkl+ ahp^o^k+ ma^ D^Zema @blmkb\m ]b] ghm ^g_hk\^ \hfiebZg\^
2    pbma ma^ fbgbfZe ^gobkhgf^gmZe lmZg]Zk]l _hk ma^ l\ahhe [nbe]bg`l-
3           22-    Eg 1//4+ ma^ OmZm^ in[ebla^] bml _ZfbebZkbmr pbma ihhk bg]hhk Zbk jnZebmr Zg]
4    ahp bm Z__^\ml \abe]k^g- Pa^ OmZm^ \hfiZk^] l^glbmbo^ hk oneg^kZ[e^ bg]bob]nZel ebd^
5    \abe]k^g mh x\ZgZkb^l bg ma^ \hZe fbg^-y Pa^ bgmkh]n\mbhg bl k^ikbgm^] a^k^9
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17   SZla- OmZm^ @^iZkmf^gm h_ D^Zema+ K__b\^ h_ Agobkhgf^gmZe D^Zema & OZ_^mr-


                                                                         &,'%$)"* 5 ,/#'* +((+
                                                                          <9 / *'0%,-'.2 - .,%%. 3 - /'.% :89
                                                                                 - %"..(% 1" ?>989
     COMPLAINT - 56                                                                6:8=7 <894;;;=
                                                                                                               Electronically Filed - St Louis County - August 03, 2022 - 02:35 PM
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0    N^lihg]bg` mh Eg]hhk =bk MnZebmr ?hg\^kgl bg hnk O\ahhel- Fng^ 1//4+ i- 4+ ZoZbeZ[e^ Zm
1    ammil9..ppp-]ha-pZ-`ho.?hffngbmrZg]Agobkhgf^gm.O\ahhel.Agobkhgf^gmZeD^Zema (eZlm
2    oblbm^] Jho^f[^k 04+ 1/06)-
3          23-    @^libm^ mabl dghpe^]`^+ ma^ OmZm^ ]b] ghm lni^kobl^ ma^ k^fhoZe h_ mhqb\
4    Zg] aZsZk]hnl ln[lmZg\^l ln\a Zl L?>l _khf ma^ l\ahhe [nbe]bg`l- Pabl pZl g^`eb`^gm
5    Zg] Z ikhqbfZm^ \Znl^ h_ LeZbgmb__l{ ]ZfZ`^l-
6          24-    Eg 1//5+ ma^ D^Zema @blmkb\m ]b] ghm \hg]n\m Zg bgli^\mbhg h_ ma^l^ l\ahhe
7    [nbe]bg`l-
8          25-    Eg 1//6+ ma^ D^Zema @blmkb\m bgli^\m^] ma^ l\ahhe [nbe]bg`l Zg] ghm^] xma^k^
0/   p^k^ l^o^kZe bm^fl ghm^] ]nkbg` mabl lZ_^mr bgli^\mbhg maZm Zii^Zk VW\ \W PI^M JMMV
00   ILLZM[[ML lbg\^ ma^ eZlm bgli^\mbhg \hg]n\m^] bg 1//4-y 1//6 D^Zema @blmkb\m e^mm^k Zg]
01   bgli^\mbhg k^ihkm mh Ihgkh^ Ln[eb\ O\ahhel (>Zm^l lmZfi^] ///042,48) (^fiaZlbl
02   Z]]^])- Pabl bg\en]^] o^gmbeZmbhg obheZmbhgl Zl p^ee Zl fhk^ maZg Z ]hs^g ?K1
03   f^Zlnk^f^gml bg ]b__^k^gm \eZllkhhfl maZm ^q\^^]^] 0+/// iif+ pbma _bo^ f^Zlnk^f^gml
04   maZm ^q\^^]^] 0+4// iif- Id. Zm 043+ 045,46- Pa^ D^Zema @blmkb\m Zelh \bm^] Ihgkh^
05   O\ahhe @blmkb\m _hk obheZmbg` fbgbfnf eb`am bgm^glbmr lmZg]Zk]l bg ma^ Inlb\ khhfl+ ma^
06   Hb[kZkr+ Zg] Z aZe_,]hs^g \eZllkhhfl- Id. Zm 042+ 044-
07         26-    Eg 1//6+ ma^ D^Zema @blmkb\m ]b] ghm ^g_hk\^ \hfiebZg\^ pbma ma^ fbgbfZe
08   ^gobkhgf^gmZe lmZg]Zk]l _hk ma^ l\ahhe [nbe]bg`l-
1/         27-    Eg 1//6+ ma^ O\ahhe @blmkb\m k^\^bo^] bml OmZm^ Omn]r Zg] Onko^r [r Zg
10   Zk\abm^\mnk^ _bkf+ Dnmm^[Zee & Kk^fnl+ k^`Zk]bg` ma^ @blmkb\m{l in[eb\ ^]n\ZmbhgZe
11   _Z\bebmb^l- Pa^ lmn]r k^ihkm^] mh ma^ O\ahhe @blmkb\m maZm ma^ l\ahhe [nbe]bg`l+ ma^g dghpg
12   Zl ma^ Ihgkh^ Ib]]e^ O\ahhe+ aZo^ lZ_^mr blln^l- Pa^ Ihgkh^ Ib]]e^ O\ahhe xbl
13   ]^m^kbhkZmbg` Zm Z kZm^ pab\a ^q\^^]l maZm h_ ghkfZe fZbgm^gZg\^ ^__hkml Zg] _ng]bg`-y
14   1//6 Dnmm^[Zee & Kk^fnl OmZm^ Omn]r Zg] Onko^r _hk Ihgkh^ O\ahhe @blmkb\m+ i- 108-
15   xPa^ e^o^e h_ ]^m^kbhkZmbhg Zm mabl _Z\bebmr bl ma^ fhlm l^o^k^ h_ Zgr l\ahhe pbmabg ma^
16   @blmkb\m-y Id. Zm Aq^\nmbo^ OnffZkr- Pa^ lmn]r k^\hff^g]^] ]^fheblabg` ma^ ^qblmbg`
17   \eZllkhhfl Zg] eb[kZkr- Id. Zm 08- xJhg^ h_ ma^ ^qblmbg` DR=? ^jnbif^gm bl bg


                                                                        &,'%$)"* 5 ,/#'* +((+
                                                                         <9 / *'0%,-'.2 - .,%%. 3 - /'.% :89
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     COMPLAINT - 57                                                               6:8=7 <894;;;=
                                                                                                                 Electronically Filed - St Louis County - August 03, 2022 - 02:35 PM
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0    \hfiebZg\^ pbma \nkk^gm \h]^l-y Id. Zm 58- Pa^ lmn]r k^ihkm^] maZm ma^ eb`ambg` pZl
1    ]^_b\b^gm+ Zg] k^\hff^g]^] maZm ma^ eb`ambg` lrlm^f [^ ni`kZ]^] Zg] k^ieZ\^]
2    makhn`ahnm ma^ _Z\bebmr- Id. Zm 6/+ 07- DZsZk]hnl fZm^kbZe ^qblm^] bg ma^ l\ahhe [nbe]bg`l9
3    xPa^ \Zfinl bl k^ihkm^] mh \hgmZbg _kbZ[e^ Zl[^lmhl \hgmZbgbg` fZm^kbZe ln\a Zl ibi^
4    bglneZmbhg Zg] ghg,_kbZ[e^ obgre Zl[^lmhl _ehhk mbe^- Pa^ ?eZllkhhf.Hb[kZkr [nbe]bg`
5    \hgmZbgl bglneZm^] Zl[^lmhl iZg^el Zm ma^ pbg]hp Zk^Zl-y Id. Zm 00- Pa^ lmn]r ]b] ghm
6    f^gmbhg L?>l+ [nm k^\hff^g]^] Z aZsZk]hnl fZm^kbZe lnko^r [r Zg bg]^i^g]^gm
7    \hglnemZgm bg \hgcng\mbhg pbma ieZggbg` h_ _nmnk^ fh]^kgbsZmbhg+ Z]]bmbhgl+ hk
8    k^ieZ\^f^gml- Id. Pa^ lmn]r lmZm^] maZm xma^ Ihgkh^ Ib]]e^ O\ahhe bl bg g^^] h_
0/   bff^]bZm^ k^ghoZmbhg Zg] ni`kZ]^lv 4`Q[\QVO TQNM [INM\a Q[[]M[% MVMZOa QVMNNQKQMVKQM[%
00   IVL KWLM Q[[]M[ _QTT KWV\QV]M \W M`Q[\ ]V\QT [QOVQNQKIV\ IK\QWV Q[ \ISMV \W KWZZMK\ \PM[M
01   LMNQKQMVKQM[-y Id. Zm OnffZkr+ 14 (^fiaZlbl Z]]^])-
02            28-     Pa^ Ihgkh^ O\ahhe @blmkb\m ]b] ghm _heehp ma^l^ k^\hff^g]Zmbhgl bg 1//6+
03   [nm bglm^Z] \hgmbgn^] mh nl^ ma^ l\ahhe [nbe]bg`l bg ma^bk \hg]bmbhg _hk l^o^kZe fhk^
04   r^Zkl-
05            3/-     Eg 1//7+ ma^ D^Zema @blmkb\m ]b] ghm \hg]n\m Zg bgli^\mbhg h_ ma^l^ l\ahhe
06   [nbe]bg`l-
07            30-     Eg 1//8+ ma^ D^Zema @blmkb\m bgli^\m^] ma^ l\ahhe [nbe]bg`l Zg] ghm^] xma^k^
08   p^k^ l^o^kZe bm^fl ghm^] ]nkbg` mabl lZ_^mr bgli^\mbhg maZm Zii^Zk VW\ \W PI^M JMMV
1/   ILLZM[[ML lbg\^ ma^ eZlm bgli^\mbhg \hg]n\m^] bg 1//6-y 1//8 D^Zema @blmkb\m e^mm^k Zg]
10   bgli^\mbhg k^ihkm mh Ihgkh^ O\ahhe @blmkb\m (>Zm^l lmZfi^] ///143,51) (^fiaZlbl
11   Z]]^])- Pa^ k^i^Zm^] obheZmbhgl bg\en]^] lZ_^mr lmZg]Zk]l k^eZmbg` mh o^gmbeZmbhg+ eb`ambg`+
12   Zg] Zbk jnZebmr+ bg\en]bg` khn`aer Z ]hs^g khhfl pa^k^ ?K1 e^o^el ^q\^^]^] 0+/// iif-
13   Id. Zm 143,50-
14            31-     =`Zbg+ ma^ D^Zema @blmkb\m ]b] ghm ^g_hk\^ \hfiebZg\^ pbma ma^ fbgbfZe
15   ^gobkhgf^gmZe lZ_^mr k^jnbk^f^gml _hk ma^l^ l\ahhe [nbe]bg`l-
16            32-     Eg 1/0/+ ma^ D^Zema @blmkb\m ]b] ghm \hg]n\m Zg bgli^\mbhg h_ ma^l^ l\ahhe
17   [nbe]bg`l- Pa^ D^Zema @blmkb\m Zelh ]b] ghm ^g_hk\^ \hfiebZg\^-


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                                                                                  - %"..(% 1" ?>989
     COMPLAINT - 58                                                                 6:8=7 <894;;;=
                                                                                                                Electronically Filed - St Louis County - August 03, 2022 - 02:35 PM
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0           33-    Eg IZr h_ 1/00+ ma^ D^Zema @blmkb\m bgli^\m^] ma^ l\ahhe [nbe]bg`l Zg]
1    ghm^] xma^k^ p^k^ l^o^kZe bm^fl ghm^] ]nkbg` mabl lZ_^mr bgli^\mbhg maZm Zii^Zk VW\ \W
2    PI^M JMMV ILLZM[[ML lbg\^ ma^ eZlm bgli^\mbhg \hg]n\m^] bg 1//8-y 1/00 D^Zema @blmkb\m
3    e^mm^k Zg] bgli^\mbhg k^ihkm mh Ihgkh^ O\ahhe @blmkb\m (>Zm^l lmZfi^] ///16/) (^fiaZlbl
4    Z]]^])- N^i^Zm^] obheZmbhgl bg\en]^] lZ_^mr lmZg]Zk]l k^eZmbg` mh o^gmbeZmbhg Zg] eb`ambg`-
5    Id. Zm 155,6/- Pabl k^ihkm ]b] ghm f^Zlnk^ Zg] k^\hk] ?K1 e^o^el-
6           34-    >nm ma^ D^Zema @blmkb\m ]b] ghm ^g_hk\^ \hfiebZg\^ pbma ma^ fbgbfZe
7    ^gobkhgf^gmZe lZ_^mr k^jnbk^f^gml _hk ma^l^ l\ahhe [nbe]bg`l-
8           35-    E_ ma^ D^Zema @blmkb\m hk ma^ OmZm^ aZ] ^g_hk\^] \hfiebZg\^ pbma fbgbfnf
0/   eb`ambg` lZ_^mr k^jnbk^f^gml bg 1/00+ ma^g Ihgkh^ O\ahhe @blmkb\m (hk Qgbhg Db`a) phne]
00   aZo^ ngbglmZee^] ma^ mhqb\ L?>,eb`am [ZeeZlml Zm ma^ l\ahhe [nbe]bg`l Zg] bglmZee^] \h]^
01   \hfiebZgm+ ghg,L?> eb`am [ZeeZlml- Pabl phne] aZo^ k^]n\^] ma^ L?> \hgmZfbgZmbhg Zg]
02   ln[l^jn^gm L?> ihblhgbg` h_ ma^ LeZbgmb__l- >nm ma^ D^Zema @blmkb\m Zg] ma^ OmZm^ ]b] ghm
03   ^g_hk\^ \hfiebZg\^- PaZm pZl g^`eb`^gm Zg] Z ikhqbfZm^ \Znl^ h_ LeZbgmb__l{ ]ZfZ`^l-
04          36-    Bheehpbg` ma^ likbg` h_ 1/00+ ma^ Ihgkh^ O\ahhe @blmkb\m k^fho^] ma^
05   fb]]e^ l\ahhe ikh`kZf _khf ma^ l\ahhe [nbe]bg`l-
06          37-    Pa^ O\ahhe @blmkb\m \ahl^ mh fho^ Zg ^]n\Zmbhg ikh`kZf \Zee^] Odr RZee^r
07   A]n\Zmbhg ?^gm^k bgmh ma^ l\ahhe [nbe]bg`l-
08          38-    Odr RZee^r A]n\Zmbhg ?^gm^k pZl Zg] bl Zg Zem^kgZmbo^ dbg]^k`Zkm^g makhn`a
1/   mp^e_ma `kZ]^ ^]n\Zmbhg ikh`kZf- K_m^g+ iZk^gml li^gm mbf^ pbma ma^bk \abe]k^g bg ma^
10   \eZllkhhfl- IZgr fhma^kl p^k^ Zelh ik^`gZgm hk aZ] bg_Zgml pbma ma^f Zm l\ahhe-
11          4/-    Pa^ ikh`kZf pZl _hkf^ker lbmnZm^] bg Z pZk^ahnl^ liZ\^ bg Ihgkh^- Pa^
12   nl^ h_ ma^ pZk^ahnl^ liZ\^ \hlm ma^ Ihgkh^ O\ahhe @blmkb\m l^o^kZe ang]k^] mahnlZg]
13   ]heeZkl i^k r^Zk bg k^gm- Ph Zohb] iZrbg` maZm fhg^r+ ma^ O\ahhe @blmkb\m \ahl^ mh [k^Zd
14   bml e^Zl^ pbma ma^ pZk^ahnl^ eZg]ehk]+ ln^ ma^ eZg]ehk]+ Zg] fho^ ma^ Odr RZee^r ikh`kZf
15   bgmh ma^ he] Ihgkh^ Ib]]e^ O\ahhe- Pa^ ebmb`Zmbhg e^] mh Z 1/02 l^mme^f^gm bg pab\a ma^
16   O\ahhe @blmkb\m iZb] $8//+/// mh iZkmb^l k^eZm^] mh ma^ bgm^k^lml h_ ma^ pZk^ahnl^ eZg]ehk]-
17          40-    Eg ma^ lnff^k h_ 1/00+ ma^ Ihgkh^ O\ahhe @blmkb\m ]b] ghm \hg]n\m Z


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                                                                                 - %"..(% 1" ?>989
     COMPLAINT - 59                                                                6:8=7 <894;;;=
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0    aZsZk]hnl fZm^kbZe lnko^r h_ ma^ he] Ihgkh^ Ib]]e^ O\ahhe- Pa^ O\ahhe @blmkb\m Zelh
1    _Zbe^] mh \hg]n\m Zgr aZsZk]hnl fZm^kbZe Z[Zm^f^gm hk k^ghoZmbhg phkd h_ ma^ l\ahhe
2    [nbe]bg`l-
3           41-    Eglm^Z]+ ma^ Ihgkh^ O\ahhe @blmkb\m+ hk ma^ Z]fbgblmkZmhkl _hk ma^ Odr
4    RZee^r A]n\Zmbhg Lkh`kZf+ bgobm^] Odr RZee^r ikh`kZf m^Z\a^kl+ iZk^gml+ Zg] \abe]k^g mh
5    ohengm^^k mh \e^Zg ma^ he] Ihgkh^ Ib]]e^ O\ahhe- =l Z k^lnem+ Odr RZee^r ikh`kZf
6    m^Z\a^kl+ iZk^gml+ Zg] \abe]k^g phkd^] ]nkbg` ma^ lnff^k mh k^fho^ lhf^ he] \Zki^ml+
7    iZbgm lhf^ pZeel+ Zg] \e^Zg \eZllkhhfl- Pabl pZl ma^ _bklm ^qihlnk^ maZm ma^l^ bg]bob]nZel+
8    bg\en]bg` lhf^ h_ ma^ LeZbgmb__l+ aZ] mh ma^ mhqb\ \hgmZfbgZmbhg Zm ma^l^ l\ahhe [nbe]bg`l-
0/          42-    Pa^ Ihgkh^ O\ahhe @blmkb\m Z]fbgblm^k^] ma^ Odr RZee^r A]n\Zmbhg
00   ikh`kZf Zm mabl eh\Zmbhg+ lmZkmbg` bg O^im^f[^k h_ 1/00-
01          43-    Eg ma^ 1/0/l+ ma^ D^Zema @blmkb\m hger \hg]n\m^] lZ_^mr bgli^\mbhgl h_ ma^l^
02   l\ahhe [nbe]bg`l bg 1/00+ 1/02+ Zg] 1/05-
03          44-    Eg @^\^f[^k h_ 1/00+ ma^ D^Zema @blmkb\m bgli^\m^] Odr RZee^r A]n\Zmbhg
04   ?^gm^k+ ghp h\\nirbg` ma^ lbm^ h_ ma^ he] Ihgkh^ Ib]]e^ O\ahhe [nbe]bg`l- =l bg iZlm
05   r^Zkl+ ma^ D^Zema @blmkb\m \bm^] ma^ Ihgkh^ O\ahhe @blmkb\m _hk obheZmbhgl h_ ikbfZkr Zg]
06   l^\hg]Zkr l\ahhe lZ_^mr k^jnbk^f^gml+ S=? 135,255- FZg- 1/00 D^Zema @blmkb\m e^mm^k Zg]
07   k^ihkm mh ma^ Ihgkh^ O\ahhe @blmkb\m (>Zm^l lmZfi^] ///162,68)- Pa^ D^Zema @blmkb\m
08   \bm^] ma^ O\ahhe @blmkb\m _hk obheZmbhgl h_ o^gmbeZmbhg Zg] eb`ambg` bgm^glbmr k^jnbk^f^gml-
1/          45-    Eg 1/00+ ma^ D^Zema @blmkb\m ]b] ghm ^g_hk\^ \hfiebZg\^ pbma fbgbfZe
10   ^gobkhgf^gmZe lZ_^mr k^jnbk^f^gml _hk ma^l^ l\ahhe [nbe]bg`l-
11          46-    Eg 1/01+ ma^ D^Zema @blmkb\m ]b] ghm \hg]n\m Zg bgli^\mbhg h_ ma^l^ l\ahhe
12   [nbe]bg`l- Pa^ D^Zema @blmkb\m Zelh ]b] ghm ^g_hk\^ \hfiebZg\^-
13          47-    Eg 1/02+ ma^ D^Zema @blmkb\m bgli^\m^] Odr RZee^r A]n\Zmbhg ?^gm^k- =l bg
14   iZlm r^Zkl+ ma^ D^Zema @blmkb\m \bm^] ma^ O\ahhe @blmkb\m _hk obheZmbhgl h_ ikbfZkr Zg]
15   l^\hg]Zkr l\ahhe lZ_^mr k^jnbk^f^gml+ S=? 135,255+ bg\en]bg` eb`ambg` bgm^glbmr Zg]
16   o^gmbeZmbhg k^jnbk^f^gml- 1/02 D^Zema @blmkb\m e^mm^k Zg] k^ihkm mh ma^ O\ahhe @blmkb\m
17   (>Zm^l lmZfi^] ///172,76)- Pa^ \Zk[hg ]bhqb]^ e^o^el bg _hnk \eZllkhhfl pZl f^Zlnk^]


                                                                          &,'%$)"* 5 ,/#'* +((+
                                                                           <9 / *'0%,-'.2 - .,%%. 3 - /'.% :89
                                                                                  - %"..(% 1" ?>989
     COMPLAINT - 60                                                                 6:8=7 <894;;;=
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0    Zg] ^q\^^]^] 0+/// iif- Id. Zm 172-
1          48-    Eg 1/02+ ma^ D^Zema @blmkb\m ]b] ghm ^g_hk\^ \hfiebZg\^ pbma fbgbfZe
2    ^gobkhgf^gmZe k^jnbk^f^gml _hk ma^l^ l\ahhe [nbe]bg`l-
3          5/-    Eg 1/03+ ma^ D^Zema @blmkb\m ]b] ghm \hg]n\m Zg bgli^\mbhg h_ ma^l^ l\ahhe
4    [nbe]bg`l- Pa^ D^Zema @blmkb\m Zelh ]b] ghm ^g_hk\^ \hfiebZg\^-
5          50-    Bkhf 1/00 makhn`a 1/05+ ma^ l\ahhe [nbe]bg`l \hgmbgn^] mh aZo^ L?>,
6    \Znedbg` Zg] L?>,eb`am [ZeeZlml+ lhf^ h_ pab\a _Zbe^] ho^k mbf^ Zg] e^Zd^] L?>l Zg]
7    irkhers^] L?> [rikh]n\ml ln\a Zl ]bhqbgl Zg] _nkZgl bgmh ma^ bg]hhk Zbk h_ ma^ l\ahhe
8    [nbe]bg`l-
0/         51-    Em bl ngdghpg ^qZ\mer ahp fZgr L?>,eb`am [ZeeZlml _Zbe^]+ _nf^]+ e^Zd^]+
00   hk lfhd^] L?>l hk L?> [rikh]n\ml bgmh ma^ Odr RZee^r \eZllkhhfl [^mp^^g 1/00 Zg]
01   1/05- =\\hk]bg` mh Z 1/03 O\ahhe @blmkb\m f^fhkZg]nf+ ahp^o^k+ [r maZm mbf^ bm
02   Zii^Zkl maZm fhk^ maZg 0// eb`am [ZeeZlml aZ] _Zbe^]+ k^lnembg` bg xBbqmnk^l k^jnbkbg`
03   fZbgm^gZg\^ \e^Zgbg`-y See IO@CY/03155-
04         52-    Bkhf 1/00 makhn`a 1/05+ ma^ Ihgkh^ O\ahhe @blmkb\m ]h^l ghm Zii^Zk mh
05   aZo^ \hg]n\m^] Zgr ^gobkhgf^gmZe m^lmbg` k^`Zk]bg` ma^ oZkbhnl e^o^el h_ L?>l+ ]bhqbgl+
06   hk _nkZgl bg ma^ l\ahhe [nbe]bg`l ]nkbg` L?>,eb`am [ZeeZlm _Zbenk^ ^o^gml hk bg ma^bk
07   bff^]bZm^ Z_m^kfZma-
08         53-    Omn]^gml Zg] m^Z\a^kl pbmg^ll^] ]b__^k^gm L?>,eb`am [ZeeZlm _Zbenk^l bg
1/   ]b__^k^gm \eZllkhhfl- Pa^ _Zbebg` L?>,eb`am [ZeeZlml [nkg^]+ _nf^]+ hk lfhd^] oZihkl
10   bgmh ma^ \eZllkhhfl- Ohf^ _Zbebg` L?>,eb`am [ZeeZlml Zelh ]kbii^] L?> _enb]l hgmh ma^
11   ]^ldl Zg] \Zki^ml- Pa^ Ihgkh^ O\ahhe @blmkb\m{l lhenmbhg _hk hg^ ln\a L?> e^Zd pZl mh
12   inm Z [n\d^m ng]^k ma^ e^Zdbg` [ZeeZlm+ pab\a \hee^\m^] Z in]]e^ h_ L?> _enb]- Pabl hi^g
13   \hee^\mbhg h_ L?> _enb]l pZl ]hg^ pabe^ \abe]k^g nl^] ma^ \eZllkhhf- Pa^ [n\d^m pZl e^_m
14   bg ieZ\^ _hk l^o^kZe ]Zrl- Pa^ L?>,lmZbg^] \Zki^m pZl e^_m bg ieZ\^ ^o^g ehg`^k-
15         54-    Kg^ Odr RZee^r m^Z\a^k k^\hk]^] lhf^ L?>,eb`am [ZeeZlm _Zbenk^l Zg]
16   ikh[Z[e^ _Zbenk^l ]nkbg` mabl mbf^ i^kbh]- Bhk ^qZfie^+ bg =ikbe 1/03 Z x[ZeeZlm bg JhgZ{l
17   khhf \Zn`am _bk^ Zg] p^ \hne] lf^ee ma^ lfhd^ bg khhfl =+ ? Zg] @ Zg] ma^ aZeepZrl-y


                                                                         &,'%$)"* 5 ,/#'* +((+
                                                                          <9 / *'0%,-'.2 - .,%%. 3 - /'.% :89
                                                                                 - %"..(% 1" ?>989
     COMPLAINT - 61                                                                6:8=7 <894;;;=
                                                                                                                 Electronically Filed - St Louis County - August 03, 2022 - 02:35 PM
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0    =ghma^k [ZeeZlm _Zbe^] Zg] \k^Zm^] xZ [Z] lf^eey ma^ _heehpbg` p^^d- Ohf^ m^Z\a^kl
1    [^`Zg k^l^Zk\abg` ma^ blln^+ bgli^\mbg` ho^ka^Z] eb`aml bg ma^ khhfl+ Zg] k^ihkmbg` ma^bk
2    \hg\^kgl mh ma^ Ihgkh^ O\ahhe @blmkb\m- D^k^ bl hg^ iahmh (mZd^g [r Z m^Z\a^k ]nkbg` maZm
3    mbf^) h_ lmZbg^] eb`am _bqmnk^ ahnlbg`+ Zehg` pbma ma^ m^Z\a^k{l ghm^l9
4
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11          55-    Eg k^lihgl^ mh hma^k eb`am [ZeeZlm _Zbenk^l+ ma^ Ihgkh^ O\ahhe @blmkb\m
12   fZbgm^gZg\^ ]^iZkmf^gm lmZ__ h_m^g inm ma^ lmZbg^] eb`am _bqmnk^ ahnlbg` fZm^kbZel (Zehg`
13   pbma \e^Zgbg` kZ`l) bg aZeepZrl hk e^Zgbg` Z`Zbglm \eZllkhhf pZeel- Ohf^ ln\a ahnlbg`
14   fZm^kbZel p^k^ e^_m bg \hffhg Zk^Zl _hk p^^dl-
15          56-    Eg 1/03+ Zm e^Zlm mak^^ Odr RZee^r m^Z\a^kl ln[fbmm^] bg]hhk Zbk jnZebmr
16   k^ihkml _hk \eZllkhhfl+ k^ihkmbg` lrfimhfl h_ Z\nm^ a^Z]Z\a^l+ lbgnl blln^l+ [nkgbg`
17   ^r^l+ xik^llnk^y bg ma^ a^Z]+y lg^^sbg`+ Zg] g^\d iZbg- Jho- 03+ 1/03 ORA? Lk^ebfbgZkr


                                                                          &,'%$)"* 5 ,/#'* +((+
                                                                           <9 / *'0%,-'.2 - .,%%. 3 - /'.% :89
                                                                                  - %"..(% 1" ?>989
     COMPLAINT - 62                                                                 6:8=7 <894;;;=
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0    Eg]hhk =bk MnZebmr =ll^llf^gm+ AZlm Lh]+ [r ADOE+ i- 1-
1           57-    Pa^ Ihgkh^ O\ahhe @blmkb\m dg^p maZm ma^ Odr RZee^r A]n\Zmbhg ?^gm^k
2    \eZllkhhfl Zg] \hffhg Zk^Zl \hgmZbg^] L?>,eb`am [ZeeZlml- Pa^ Ihgkh^ O\ahhe @blmkb\m
3    Zelh dg^p maZm ma^ L?>,[ZeeZlml phne] _Zbe Zg] fZd^ xZ o^kr gZlmr lf^ee _beebg` Z
4    \eZllkhhf-y Pa^ Odr RZee^r ikbg\biZe Z\dghpe^]`^] mabl mh ma^ Odr RZee^r lmZ__+
5    Zemahn`a ma^ ikbg\biZe Zllnk^] lmZ__ maZm ma^ [nbe]bg` bl xlZ_^-y D^k^ bl iZkm h_ ma^ Odr
6    RZee^r ikbg\biZe{l f^llZ`^ mh ma^ lmZ__ bg =ikbe h_ 1/039
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12          58-    Pa^ Odr RZee^r ikbg\biZe Zelh mhe] iZk^gml maZm ma^r lahne] ghm \hfieZbg
13   Z[hnm ma^ \hg]bmbhg h_ ma^ l\ahhe [nbe]bg`l hk ^el^ ma^r \hne] ehl^ ma^bk ikh`kZf- Eglm^Z]+
14   ma^ ikbg\biZe lZb] maZm iZk^gml lahne] [^ `kZm^_ne mh aZo^ ma^ \Zfinl-
15          6/-    Eg k^lihgl^ mh \hfieZbgml bg 1/03 [r lhf^ m^Z\a^kl+ ahp^o^k+ ma^ Ihgkh^
16   O\ahhe @blmkb\m fZbgm^gZg\^ ]^iZkmf^gm \hg]n\m^] lhf^ bgli^\mbhgl Zg] ]k^p lhf^
17   fZil h_ ma^ l\ahhe [nbe]bg` \^bebg`l Zg] eb`am _bqmnk^l- Ohf^ fZil Zk^ ZmmZ\a^] mh mabl


                                                                         &,'%$)"* 5 ,/#'* +((+
                                                                         <9 / *'0%,-'.2 - .,%%. 3 - /'.% :89
                                                                                - %"..(% 1" ?>989
     COMPLAINT - 63                                                               6:8=7 <894;;;=
                                                                                                            Electronically Filed - St Louis County - August 03, 2022 - 02:35 PM
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0    \hfieZbgm Zl 4`PQJQ\ C- @b__^k^gm Zk^Zl h_ ma^ l\ahhe [nbe]bg`l Zk^ ]^ib\m^] Zl lahpbg`
1    L?>,eb`am [ZeeZlm e^Zdl- D^k^ bl Z ihkmbhg h_ hg^ h_ ma^ fZil (Z eZm^k ]kZ_m o^klbhg h_
2    IO@CY/03342)+ ehhdbg` ni Zm ma^ \^bebg` h_ ma^ lhnma ih]9
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16         60-    Eg K\mh[^k h_ 1/03+ ma^ Ihgkh^ O\ahhe @blmkb\m ]bk^\mhk h_ _Z\bebmb^l Zg]
17   hi^kZmbhgl k^\hk]^] \Zk[hg ]bhqb]^ e^o^el h_ 0+6// iif bg hg^ \eZllkhhf- EHSI 2014


                                                                     &,'%$)"* 5 ,/#'* +((+
                                                                      <9 / *'0%,-'.2 - .,%%. 3 - /'.% :89
                                                                             - %"..(% 1" ?>989
     COMPLAINT - 64                                                            6:8=7 <894;;;=
                                                                                                                Electronically Filed - St Louis County - August 03, 2022 - 02:35 PM
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0    Report. Eg Jho^f[^k h_ 1/03+ khn`aer m^g f^Zlnk^f^gml h_ \eZllkhhf Zk^Zl lahp^]
1    ?K1 Z[ho^ 0+/// iif- Id. Zm 6- =g bg]^i^g]^gm \hgmkZ\mhk+ ADO,Egm^kgZmbhgZe+ Eg\-+
2    \hg\en]^] maZm xma^k^ bl ghm Z fhe] ikh[e^f bg ma^ \eZllkhhfl Zll^ll^]+y Zg] lmZm^] maZm
3    xma^ k^ihkm^] lrfimhfl pab\a bg\en]^ a^Z]Z\a^l+ lbgnl blln^l Zg] lg^^sbg` Zk^ fhk^
4    ebd^er k^eZm^] mh ng]^k,o^gmbeZmbhg h_ ma^ liZ\^l Zl bg]b\Zm^] [r bg]hhk \Zk[hg ]bhqb]^
5    \hg\^gmkZmbhgl maZm ^q\^^] 0+/// iZkml i^k fbeebhg (iif) ]nkbg` \eZllkhhf l^llbhgl-y Id.
6    Zm 0- =emahn`a x\Zk[hg ]bhqb]^ bl \hglb]^k^] Z lnkkh`Zm^ _hk hma^k Zbk[hkg^
7    \hgmZfbgZgml+y g^bma^k ma^ O\ahhe @blmkb\m ghk ADOE Zii^Zk mh aZo^ f^Zlnk^] ma^
8    \hg\^gmkZmbhgl h_ L?>l hk hma^k mhqbgl bg ma^ \eZllkhhfl Zm mabl mbf^- Id. Zm 01-
0/          61-    >r 1/03+ b_ ghm ^Zkeb^k+ ma^ OmZm^ (makhn`a bml @^iZkmf^gm h_ D^Zema) aZ]
00   Z\mnZe dghpe^]`^ h_ L?>,eb`am [ZeeZlm _Zbenk^l Zg] L?> \hgmZfbgZmbhg Zm ma^ Odr RZee^r
01   l\ahhe [nbe]bg`l- Pa^ OmZm^ Zelh dg^p maZm ^o^g ZiiZk^gmer bgmZ\m Zg] ghg,e^Zdbg` L?>,
02   eb`am [ZeeZlml \Zg k^e^Zl^ L?>l bgmh ma^ Zbk- (O^^ [^ehp-) @^libm^ mabl dghpe^]`^+ ma^
03   OmZm^ mhhd gh Z\mbhg mh ik^o^gm mhqb\ ^qihlnk^ Zg] ikhm^\m ma^ \abe]k^g Zg] Z]neml pah
04   nl^] mahl^ l\ahhe [nbe]bg`l-
05          62-    Eg k^lihgl^ mh hg^ lmn]^gm{l \hfieZbgml h_ a^Z]Z\a^l+ ma^ D^Zema @blmkb\m
06   \hg]n\m^] Z _b^e] bgo^lmb`Zmbhg Zg] _hng] maZm \eZllkhhf xZbk_ehp pZl ehp (?K1 ab`a)-y
07   FZg- 1/04 D^Zema @blmkb\m Bb^e] Ego^lmb`Zmbhg N^ihkm (>Zm^l Jh- ///178)-
08          63-    =iZkm _khf maZm _b^e] bgo^lmb`Zmbhg+ ma^ D^Zema @blmkb\m \hg]n\m^] gh
1/   k^`neZk+ \hfik^a^glbo^ bgli^\mbhg h_ ma^ l\ahhe [nbe]bg`l bg 1/04-
10          64-    @^libm^ ma^ D^Zema @blmkb\m{l eZ\d h_ bgli^\mbhgl bg ma^ _Zee h_ 1/04+ ma^
11   D^Zema @blmkb\m aZ] Z\mnZe dghpe^]`^ maZm Odr RZee^r m^Z\a^kl k^ihkm^] [^bg` lb\d^g^] [r
12   ma^ l\ahhe [nbe]bg`l-
13          65-    Eg ma^ _Zee h_ 1/04+ hg^ Odr RZee^r m^Z\a^k pZl mZd^g ZpZr _khf ma^ l\ahhe
14   [nbe]bg`l [r Zf[neZg\^ ]n^ mh g^nkheh`b\Ze lrfimhfl- Oa^ eZm^k k^lb`g^] ]n^ mh beeg^ll^l
15   la^ Zmmkb[nm^] mh ma^ l\ahhe [nbe]bg`l- Pa^ ln[lmbmnm^ m^Z\a^k pah mhhd a^k ieZ\^ [^`Zg
16   aZobg` g^nkheh`b\Ze lrfimhfl bg ma^ p^^dl maZm _heehp^]+ bg\en]bg` Z l^bsnk^+ ngmbe a^
17   Zelh k^lb`g^] pbmabg mak^^ fhgmal h_ Zllnfbg` ma^ ihlm- IZgr hma^k m^Z\a^kl ]^o^ehi^]


                                                                          &,'%$)"* 5 ,/#'* +((+
                                                                          <9 / *'0%,-'.2 - .,%%. 3 - /'.% :89
                                                                                 - %"..(% 1" ?>989
     COMPLAINT - 65                                                                6:8=7 <894;;;=
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0    ]bl^Zl^l ebd^ markhb] ]blhk]^kl+ DZlabfhmh{l @bl^Zl^+ Zg] \Zg\^kl- Nhn`aer Z ]hs^g+ b_
1    ghm fhk^+ m^Z\a^kl k^lb`g^] _khf phkdbg` bg ma^l^ l\ahhe [nbe]bg`l- HZm^k+ khn`aer Z
2    ]hs^g m^Z\a^kl Zelh _be^] Z ngbhg `kb^oZg\^ Z`Zbglm ma^ Ihgkh^ O\ahhe @blmkb\m _hk ma^
3    mhqb\ \hgmZfbgZmbhg bg ma^ l\ahhe [nbe]bg`l- ?abe]k^g Zg] iZk^gml bg ma^l^ \eZllkhhfl
4    Zelh ]^o^ehi^] \hg\^kgbg` lrfimhfl Zg] ]bl^Zl^l+ Zl hnmebg^] [^ehp-
5            66-   >^\Znl^ ma^ \Z_^m^kbZ x`Zma^kbg` Zk^Zy pZl mhh lfZee mh Z\\hffh]Zm^
6    ^o^krhg^ _hk f^Zembf^l+ \abe]k^g Zg] Z]neml k^`neZker Zm^ eng\a^l Zg] lgZ\dl bg ma^bk
7    \eZllkhhfl-
8            67-   >r ma^ ^g] h_ 1/04+ b_ ghm ^Zkeb^k+ ma^ D^Zema @blmkb\m aZ] Z\mnZe dghpe^]`^
0/   maZm ma^ l\ahhe [nbe]bg`l \hgmZbg^] L?> libeel Zg] L?>,\hgmZbgbg` fZm^kbZel-
00           68-   @^libm^ mabl dghpe^]`^+ Zg] nihg k^jn^lm [r ma^ O\ahhe @blmkb\m+ bg 1/04
01   ma^ D^Zema @blmkb\m \Zg\^e^] ma^ k^`neZk bgli^\mbhg h_ ma^ l\ahhe [nbe]bg`l- Pa^ D^Zema
02   @blmkb\m \Zg\^e^] ma^ bgli^\mbhg l\a^]ne^] _hk O^im^f[^k h_ 1/04+ Zg] bglm^Z]
03   k^l\a^]ne^] bm mh @^\^f[^k h_ 1/04- Qihg k^jn^lm [r ma^ O\ahhe @blmkb\m+ ahp^o^k+ ma^
04   D^Zema @blmkb\m Zelh \Zg\^e^] ma^ bgli^\mbhg l\a^]ne^] _hk @^\^f[^k h_ 1/04- Pa^ D^Zema
05   @blmkb\m ]^eZr^] ma^ bgli^\mbhg ngmbe FZgnZkr h_ 1/05-
06           7/-   =l bg 1/03 Zg] ik^obhnl r^Zkl+ ma^ D^Zema @blmkb\m ]b] ghm ^g_hk\^
07   \hfiebZg\^ pbma ma^ fbgbfnf ^gobkhgf^gmZe lZ_^mr k^jnbk^f^gml _hk ma^l^ [nbe]bg`l bg
08   1/04-
1/           70-   @nkbg` 1/04 Zg] 1/05+ ma^ D^Zema @blmkb\m k^\^bo^] Zg] \hfibe^]
10   \hfieZbgml Z[hnm beeg^ll^l Zllh\bZm^] pbma ma^ [nbe]bg`l-
11           71-   >nm D^Zema @blmkb\m lmZ__ mhe] \hfieZbgbg` Odr RZee^r _Zfbeb^l Zg] m^Z\a^kl
12   maZm ma^ D^Zema @blmkb\m phne] ghm mZd^ Zgr ^g_hk\^f^gm Z\mbhg Z`Zbglm ma^ O\ahhe @blmkb\m
13   nge^ll ^o^gmnZeer fZgr i^hie^ [^\Zf^ lb\d-
14           72-   >^mp^^g IZk\a h_ 1/02 Zg] FZgnZkr h_ 1/05+ ma^ D^Zema @blmkb\m \hg]n\m^]
15   gh k^`neZk bgli^\mbhg Zg] blln^] gh k^`neZk bgli^\mbhg k^ihkm mh ma^ Ihgkh^ O\ahhe
16   @blmkb\m k^`Zk]bg` ma^l^ l\ahhe [nbe]bg`l-
17           73-   Eg @^\^f[^k h_ 1/04 Zg] FZgnZkr h_ 1/05+ ma^ Ihgkh^ O\ahhe @blmkb\m


                                                                       &,'%$)"* 5 ,/#'* +((+
                                                                        <9 / *'0%,-'.2 - .,%%. 3 - /'.% :89
                                                                               - %"..(% 1" ?>989
     COMPLAINT - 66                                                              6:8=7 <894;;;=
                                                                                                                  Electronically Filed - St Louis County - August 03, 2022 - 02:35 PM
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0    \hgmkZ\m^] pbma ^gobkhgf^gmZe ^g`bg^^kl mh \hg]n\m bg]hhk Zbk jnZebmr lZfie^l+ pab\a
1    p^k^ ma^g ZgZers^] bg Z eZ[hkZmhkr _hk L?> \hgm^gm- Ohf^ Zbk lZfie^l p^k^ mZd^g pabe^
2    \eZll^l p^k^ bg l^llbhg- =iiZk^gmer ng[^dghpglm mh ma^ ^gobkhgf^gmZe ^g`bg^^kl+ mabl Zbk
3    jnZebmr lZfiebg` h_ bg]hhk \eZllkhhf Zbk pZl ]hg^ pbma ^qm^kbhk pbg]hpl Zg] ]hhkl pb]^
4    hi^g+ k^g]^kbg` ma^ k^lneml bgoZeb]- @nkbg` ma^ m^lmbg`+ m^Z\a^kl Zg] lmn]^gml phk^ ma^bk
5    pbgm^k \hZml bg ma^ \eZllkhhfl- Kma^k Zbk lZfie^l p^k^ ZiiZk^gmer mZd^g ho^k ma^ aheb]Zr
6    [k^Zd pa^g \eZllkhhf Zbk m^fi^kZmnk^l p^k^ ehp- Kg^ OmZm^ (@^iZkmf^gm h_ D^Zema)
7    h__b\bZe ^fZbe^] hma^k h__b\bZel+ jn^lmbhgbg` ma^ oZeb]bmr h_ ma^l^ k^lneml9
8
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00
01
02   See Oghahfbla D^Zema @blmkb\m N^lihgl^ mh Ln[eb\ N^\hk] N^jn^lml+ >Zm^l Jh- ///268-
03          74-    >r @^\^f[^k h_ 1/04+ ma^ D^Zema @blmkb\m Zg] ma^ OmZm^ @^iZkmf^gm h_
04   D^Zema k^\^bo^] k^ihkml maZm xfnembie^ m^Z\a^kl aZo^ Z]o^kl^ a^Zema blln^l bg\en]bg`
05   ]bssbg^ll+ gZnl^Z Zg] a^Z]Z\a^l+y Zg] maZm ma^ l\ahhe [nbe]bg`l \hgmZbg^] [hma ebo^ Zg]
06   _Zbe^] L?> eb`am [ZeeZlml+ Z\\hk]bg` mh Z mbf^ebg^ \k^Zm^] [r D^Zema @blmkb\m bgo^lmb`Zmhk
07   =fZg]Z Vr\a9
08
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17   See Oghahfbla D^Zema @blmkb\m N^lihgl^ mh Ln[eb\ N^\hk] N^jn^lml+ >Zm^l Jh- ///357-


                                                                            &,'%$)"* 5 ,/#'* +((+
                                                                            <9 / *'0%,-'.2 - .,%%. 3 - /'.% :89
                                                                                   - %"..(% 1" ?>989
     COMPLAINT - 67                                                                  6:8=7 <894;;;=
                                                                                                                Electronically Filed - St Louis County - August 03, 2022 - 02:35 PM
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0           75-    >r mabl mbf^+ b_ ghm ^Zkeb^k+ ma^ D^Zema @blmkb\m pZl ZpZk^ h_ k^ihkml h_
1    lb\d^g^] \abe]k^g (x^g]h\kbg^ hk ahkfhgZe blln^ly) bg Z]]bmbhg mh ma^ xfnembie^ m^Z\a^kl
2    pbma Z]o^kl^ a^Zema blln^l+y Z\\hk]bg` mh bgli^\mhk Vr\a{l \akhgheh`r9
3
4
5
6
7    See Oghahfbla D^Zema @blmkb\m N^lihgl^ mh Ln[eb\ N^\hk] N^jn^lml+ >Zm^l Jh- ///356-
8           76-    I^Zgpabe^+ ma^ D^Zema @blmkb\m k^\^bo^] k^ihkm h_ fnembie^ m^Z\a^kl pah
0/   p^k^ xhnm hg f^]b\Ze e^Zo^y9
00
01
02
03   Id.
04          77-    @^libm^ mabl dghpe^]`^+ gh in[eb\ ^gmbmr @^_^g]Zgm \hg]n\m^] Z a^Zema
05   bfiZ\m Zll^llf^gm hg ma^ Odr RZee^r ihineZmbhg- Eglm^Z]+ ma^ in[eb\ ^gmbmr @^_^g]Zgml
06   d^im ma^ l\ahhe [nbe]bg`l hi^g Zg] bg nl^-
07          78-    Eg FZgnZkr h_ 1/05+ ma^ D^Zema @blmkb\m \hg]n\m^] Zg bgli^\mbhg Zg] blln^]
08   Z k^ihkm mh ma^ Ihgkh^ O\ahhe @blmkb\m- =l bg ik^obhnl r^Zkl+ ma^ D^Zema @blmkb\m \bm^] ma^
1/   O\ahhe @blmkb\m _hk gnf^khnl obheZmbhgl h_ S=? 135,255+ bg\en]bg` khn`aer mp^gmr
10   obheZmbhgl h_ fbgbfnf eb`ambg` bgm^glbmr lZ_^mr k^jnbk^f^gml Zl p^ee Zl obheZmbhgl h_
11   o^gmbeZmbhg lmZg]Zk]l-
12          8/-    Pa^ D^Zema @blmkb\m k^ihkm mh ma^ O\ahhe @blmkb\m ]b] ghm f^gmbhg L?>l+
13   L?> libeel+ hk ma^ lb\dg^ll^l h_ Odr RZee^r m^Z\a^kl+ iZk^gml+ Zg] \abe]k^g-
14          80-    I^Zgpabe^+ ma^ in[eb\ ^gmbmr @^_^g]Zgml e^Zkg^] maZm+ bg Z]]bmbhg mh ma^
15   L?> \hgmZfbgZmbhg+ ma^ l\ahhe [nbe]bg`l p^k^ \hgmZfbgZm^] pbma f^mZel (bg\en]bg` e^Z])
16   bg ma^ l\ahhe ]kbgdbg` pZm^k+ kZ]hg bg ma^ bg]hhk Zbk+ ]blmnk[^] Zl[^lmhl _b[^kl+ Zg] fhe]l+
17   bg\en]bg` [eZ\d fhe]-


                                                                         &,'%$)"* 5 ,/#'* +((+
                                                                          <9 / *'0%,-'.2 - .,%%. 3 - /'.% :89
                                                                                 - %"..(% 1" ?>989
     COMPLAINT - 68                                                                6:8=7 <894;;;=
                                                                                                                Electronically Filed - St Louis County - August 03, 2022 - 02:35 PM
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0           81-    >r IZk\a+ D^Zema @blmkb\m bgli^\mhk Vr\a ghm^] Z k^ihkm maZm i^hie^ aZ]
1    [^^g bee _khf ma^ l\ahhe [nbe]bg`l _hk r^Zkl+ [Z\d pa^g ma^ \Zfinl pZl ma^ Ihgkh^
2    Ib]]e^ O\ahhe- O^iZkZm^er+ ma^ Everett Herald g^pliZi^k in[ebla^] ma^ _Z\m maZm ma^
3    O\ahhe @blmkb\m xk^\^bo^] ^b`am \hfieZbgml Z[hnm beeg^ll^l ihm^gmbZeer ebgd^] mh Zbk jnZebmr
4    _khf 1//0 mh 1/04-y See Oghahfbla D^Zema @blmkb\m N^lihgl^ mh Ln[eb\ N^\hk] N^jn^lml
5    Zm >Zm^l Jh- ///354- Pa^ IZk\a \hfieZbgZgm mh ma^ D^Zema @blmkb\m k^ihkm^] maZm x6/
6    i^hie^ Zk^ dghpg mh [^ bee _khf Odr RZee^r- Ihk^ ]hg{m pZgm mh [^ Z]]^] mh ma^ eblm _hk
7    _^Zk h_ k^i^k\nllbhglv L^hie^ Zk^ o^kr l\Zk^] mh k^ihkm lrfimhfl Zg] chbg `khni-y Id- Zm
8    >Zm^l Jh- ///364- Pabl gnf[^k `k^p bg ma^ \hfbg` fhgmal-
0/          82-    = Ihgkh^ O\ahhe @blmkb\m Z]fbgblmkZmhk+ Fhag IZggbq+ ]blfbll^] ma^l^
00   iZk^gmZe Zg] m^Z\a^k \hg\^kgl Zm Z \hffngbmr f^^mbg`+ lmZmbg` maZm xE_ hger 0/% h_ ma^
01   ihineZmbhg ^o^k k^Z\m^] mh ma^ ^gobkhgf^gm+ maZm phne] [^ ghkfZe-y See Oghahfbla
02   D^Zema @blmkb\m N^lihgl^ mh Ln[eb\ N^\hk] N^jn^lml+ >Zm^l Jh- ///363- IZggbq Zelh
03   k^ihkm^]er lmZm^] maZm ma^ k^ihkm^] beeg^ll^l \hne] ghm [^ \Znl^] [r ma^ ]blmnk[^] Zl[^lmhl
04   _b[^kl bg ma^ l\ahhe [nbe]bg`l+ [^\Znl^ eng` ]bl^Zl^l \Znl^] [r Zl[^lmhl _b[^k ^qihlnk^ ]h
05   ghm Zii^Zk ngmbe ]^\Z]^l Z_m^k ^qihlnk^-
06          83-    I^Zgpabe^+ D^Zema @blmkb\m bgli^\mhk Vr\a k^ihkm^] mh a^k \hee^Z`n^l
07   k^`Zk]bg` Z ]hs^g dghpg \Zl^l h_ Odr RZee^r \abe]k^g ^qi^kb^g\bg` xik^\h\bhnl
08   in[^kmr+y pab\a bl Z iZmaheh`b\Ze ^Zker,hgl^m h_ in[^kmr \Znl^] [r ahkfhgZe hk ^g]h\kbg^
1/   ]blknimbhgl- Id. Zm >Zm^l Jh- ///474-
10          84-    >r =ikbe+ D^Zema @blmkb\m bgli^\mhk Vr\a ni]Zm^] a^k \akhgheh`r mh k^_e^\m
11   Z]]bmbhgZe bg_hkfZmbhg+ bg\en]bg` ghm^l hg Zg ^gobkhgf^gmZe k^ihkm hg ma^ [nbe]bg`l9
12
13
14
15
16   Id. Zm ///481-
17          85-    D^Zema @blmkb\m bgli^\mhk Vr\a \k^Zm^] Z lik^Z]la^^m h_ lhf^ lrfimhfl Zg]


                                                                         &,'%$)"* 5 ,/#'* +((+
                                                                          <9 / *'0%,-'.2 - .,%%. 3 - /'.% :89
                                                                                 - %"..(% 1" ?>989
     COMPLAINT - 69                                                                6:8=7 <894;;;=
                                                                                                              Electronically Filed - St Louis County - August 03, 2022 - 02:35 PM
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0    ]bl^Zl^l h_ 52 Odr RZee^r \hfieZbgZgml pah aZ] \hf^ _hkpZk] mh k^ihkm Z]o^kl^ f^]b\Ze
1    Z__^\ml- Pa^ D^Zema @blmkb\m lik^Z]la^^m bl ZmmZ\a^] Zl 4`PQJQ\ D (>Zm^l Jh- ///482,85)-
2           86-    @^libm^ mabl dghpe^]`^+ ma^ in[eb\ ^gmbmr @^_^g]Zgml lmbee d^im ma^ l\ahhe
3    [nbe]bg`l hi^g Zg] bg nl^-
4           87-    Pa^ Ihgkh^ O\ahhe @blmkb\m{l ^gobkhgf^gmZe \hgmkZ\mhkl \k^Zm^] Z fZi
5    ^gmbme^] xL?> Hb`am Bbqmnk^ ?e^Zgbg`+y bg pab\a k^] ]hml lahp^] ma^ eb`am _bqmnk^l
6    makhn`ahnm ma^ l\ahhe [nbe]bg`l- Em bl ZmmZ\a^] Zl 4`PQJQ\ E Zehg` pbma Z fZi lahpbg`
7    O\ahhe @blmkb\m k^f^]bZmbhg Z\mbobmb^l bg ma^ likbg` h_ 1/05'
8           88-    Pa^ l\ahhe [nbe]bg` fZil lahp ma^ khhf gZf^l Zg] ma^ khhfl{ L?> eb`am
0/   _bqmnk^lwma^ ZML LW\[wmaZm g^^]^] \e^Zgbg`- D^k^ pZl ma^ Inlb\ Nhhf Zg] bml k^] ]hml9
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04          0//-   D^k^ pZl ma^ CZma^kbg` =k^Z+ pa^k^ \abe]k^g Zg] Z]neml Zm^ Zg] lh\bZebs^]9
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                                                                       &,'%$)"* 5 ,/#'* +((+
                                                                        <9 / *'0%,-'.2 - .,%%. 3 - /'.% :89
                                                                               - %"..(% 1" ?>989
     COMPLAINT - 70                                                              6:8=7 <894;;;=
                                                                                                               Electronically Filed - St Louis County - August 03, 2022 - 02:35 PM
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0           0/0-   D^k^ pZl >nbe]bg` 1+ =gg^q+ pab\a ahnl^] \eZllkhhfl =+ >+ ?+ @+ Zg] B+
1    fZkd^] pbma ma^ k^] ]hml bg ma^ \eZllkhhfl+ Zehg` pbma >nbe]bg` 0+ ma^ K__b\^9
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7
8
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02          0/1-   D^k^ p^k^ ma^ gnf^khnl L?> eb`am _bqmnk^l maZm g^^]^] \e^Zgbg` bg
03   >nbe]bg` 4+ pa^k^ ma^ Hb[kZkr Zg] ma^ ih] \eZllkhhfl 0+ 1+ 2+ 3+ 4+ 5+ 6+ 7+ 8+ 0/+ 00+ 01+
04   02+ 03+ 04+ 05+ 06+ 07+ 08+ Zg] 1/ p^k^ eh\Zm^]- Jhm^ ma^ _k^jn^g\r h_ k^] ]hml9
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                                                                         &,'%$)"* 5 ,/#'* +((+
                                                                         <9 / *'0%,-'.2 - .,%%. 3 - /'.% :89
                                                                                - %"..(% 1" ?>989
     COMPLAINT - 71                                                               6:8=7 <894;;;=
                                                                                                                Electronically Filed - St Louis County - August 03, 2022 - 02:35 PM
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0           0/2-   >r ma^ ^g] h_ =ikbe h_ 1/05+ 70 bg]bob]nZel aZ] \hf^ _hkpZk] mh k^ihkm mh
1    D^Zema @blmkb\m bgli^\mhk Vr\a k^`Zk]bg` ma^bk ]bl^Zl^l Zg] lrfimhfl ma^r Zllh\bZm^]
2    pbma Odr RZee^r A]n\Zmbhg ?^gm^k9
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08   See Oghahfbla D^Zema @blmkb\m N^lihgl^ mh Ln[eb\ N^\hk] N^jn^lml+ >Zm^l Jh- ///522-
1/          0/3-   Pa^ D^Zema @blmkb\m l^gm Zm e^Zlm mph e^mm^kl bg Fng^ mh ma^ O\ahhe @blmkb\m
10   k^`Zk]bg` ^e^oZm^] L?> e^o^el+ ma^ \ehlnk^ h_ lhf^ \eZllkhhfl+ Zg] k^jnbk^] lnff^kmbf^
11   k^f^]bZmbhg h_ ma^ [nbe]bg`l- See 4`PQJQ\[ F) Zg] F*- Pa^ D^Zema @blmkb\m e^mm^kl \bm^]
12   S=? 135,255,03/+ lmZmbg` xma^ ^qblm^g\^ h_ nglZ_^ \hg]bmbhgl pab\a ik^l^gm Z ihm^gmbZe
13   aZsZk] mh h\\niZgml h_ ma^ l\ahhe Zk^ bg obheZmbhg h_ ma^l^ k^`neZmbhgl-y Id. >r ma^ ^g] h_
14   Fng^+ ma^ D^Zema @blmkb\m pZl ZpZk^ h_ xho^k 0// iZk^gml+ m^Z\a^kl Zg] \abe]k^g WpahX
15   aZo^ k^ihkm^] beeg^ll maZm ma^r Zllh\bZm^ pbma ma^ [nbe]bg`-y Id. Zm S1-
16          0/4-   =iZkm _khf Z \ehl^] \eZllkhhf hk mph+ Odr RZee^r A]n\Zmbhg ?^gm^k
17   k^fZbg^] hi^g makhn`a Fng^ h_ 1/05-


                                                                          &,'%$)"* 5 ,/#'* +((+
                                                                          <9 / *'0%,-'.2 - .,%%. 3 - /'.% :89
                                                                                 - %"..(% 1" ?>989
     COMPLAINT - 72                                                                6:8=7 <894;;;=
                                                                                                            Electronically Filed - St Louis County - August 03, 2022 - 02:35 PM
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0          0/5-   =ghma^k gZf^ _hk L?>,eb`am [ZeeZlml bl xC&)* TQOP\[-y Pa^ Ihgkh^ O\ahhe
1    @blmkb\m fZ]^ Z fZi h_ Z__^\m^] \eZllkhhfl Zm ma^ Odr RZee^r \Zfinl9
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10   See Ihgkh^ O\ahhe @blmkb\m{l N^lihgl^ mh Ln[eb\ N^\hk]l N^jn^lml+ >Zm^l Jh-
11   IO@CY/03388-
12         0/6-   >^_hk^ ma^ 1/05 l\ahhe r^Zk pZl ho^k+ ma^ Ihgkh^ O\ahhe @blmkb\m aZ]
13   ]blihl^] h_ Zm e^Zlm 0+537 ihng]l h_ L?>,eb`am [ZeeZlml9
14
15
16
17   See IO@CY/0313/,30 (aZsZk]hnl pZlm^ ]blihlZe fZgb_^lm)-


                                                                     &,'%$)"* 5 ,/#'* +((+
                                                                      <9 / *'0%,-'.2 - .,%%. 3 - /'.% :89
                                                                             - %"..(% 1" ?>989
     COMPLAINT - 73                                                            6:8=7 <894;;;=
                                                                                                               Electronically Filed - St Louis County - August 03, 2022 - 02:35 PM
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0              0/7-   =khng] mabl lZf^ mbf^+ ma^ Ihgkh^ O\ahhe @blmkb\m Zii^Zk^] mh aZo^
1    ihll^ll^] Z Lhp^kLhbgm k^`Zk]bg` ma^ ]Zg`^kl h_ L?>,eb`am [ZeeZlml- D^k^ Zk^ mph h_ ma^
2    leb]^l9
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11   See IO@CY/03017+ /03024- =l lahpg ^Zkeb^k bg mabl ?hfieZbgm+ ma^ eblm h_ ma^l^ Z]o^kl^
12   a^Zema ^__^\ml ]n^ mh L?> ^qihlnk^ bl ghm \hfie^m^-
13             0/8-   Pa^ Ihgkh^ O\ahhe @blmkb\m{l ^gobkhgf^gmZe \hglnemZgml \hg]n\m^] Z ebmZgr
14   h_ Zbk+ pbi^+ Zg] \Znedbg` lZfie^ m^lml _hk L?>l [^mp^^g FZgnZkr Zg] Fng^ h_ 1/05-
15   N^lneml oZkb^] Zm ]b__^k^gm eh\Zmbhgl Zg] ]b__^k^gm mbf^l pbmabg ma^ l\ahhe [nbe]bg`l+ pbma
16   lhf^ k^lneml Zl xghg^ ]^m^\m^]+y hma^k k^lneml \aZkZ\m^kbs^] Zl [^bg` xehpy hk xlZ_^y [r
17   ma^ in[eb\ ^gmbmr @^_^g]Zgml+ Zg] pbma hma^k k^lneml k^\h`gbs^] Zl [^bg` xab`a-y IZgr


                                                                        &,'%$)"* 5 ,/#'* +((+
                                                                         <9 / *'0%,-'.2 - .,%%. 3 - /'.% :89
                                                                                - %"..(% 1" ?>989
     COMPLAINT - 74                                                               6:8=7 <894;;;=
                                                                                                              Electronically Filed - St Louis County - August 03, 2022 - 02:35 PM
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0    pbi^ lZfie^l Zii^Zk mh aZo^ [^^g mZd^g after ]^^i \e^Zgbg`- @^libm^ ma^ \e^Zgbg` ^__hkml+
1    L?> m^lm k^lneml bg IZr h_ 1/05 p^k^ Zfhg` ma^ fhk^ ^e^oZm^] e^o^el h_ L?>l ]^m^\m^]-
2           00/-   >r ma^ likbg` h_ 1/05+ lhf^ _Zfbeb^l aZ] ng^gkhee^] _khf Odr RZee^r ]n^
3    mh ma^ Z]o^kl^ f^]b\Ze ^__^\ml maZm ma^r Zllh\bZm^] pbma ma^ l\ahhe [nbe]bg`l- Kma^k
4    _Zfbeb^l lmZr^] ^gkhee^] ngmbe Fng^ h_ 1/05+ aZobg` [^^g ^bma^k ngZpZk^ h_ ma^ k^ihkml Zg]
5    m^lml h_ ^gobkhgf^gmZe \hgmZfbgZmbhg+ hk aZobg` [^^g Zllnk^] [r ma^ Ihgkh^ O\ahhe
6    @blmkb\m maZm ma^ l\ahhe [nbe]bg`l p^k^ lZ_^-
7           000-   =_m^k lhf^ k^f^]bZmbhg bg ma^ lnff^k h_ 1/05+ ma^ Ihgkh^ O\ahhe @blmkb\m
8    k^lnf^] Odr RZee^r \eZll^l bg O^im^f[^k-
0/          001-   Ohf^ _Zfbeb^l Zmm^fim^] mh k^mnkg mh Odr RZee^r bg ma^ _Zee+ [nm ng^gkhee^]
00   Z_m^k k^,^qi^kb^g\bg` Z]o^kl^ f^]b\Ze lrfimhfl maZm ma^r ik^obhnler ^qi^kb^g\^] bg ma^
01   l\ahhe [nbe]bg`l- Sbma ma^ dghpe^]`^ maZm ma^ l\ahhe [nbe]bg`l aZ] [^^g \hgmZfbgZm^]
02   pbma mhqb\ \a^fb\Zel+ ma^l^ _Zfbeb^l ng^gkhee^]- Pa^bk lihml p^k^ ma^g _bee^] [r hma^k
03   _Zfbeb^l hg ma^ pZbmeblm _hk ma^ l\ahhe ikh`kZf (Odr RZee^r bl Z ihineZk ikh`kZf)+ pabe^
04   ma^ Ihgkh^ O\ahhe @blmkb\m Zllnk^] ma^ in[eb\ maZm ma^ l\ahhe [nbe]bg`l p^k^ lZ_^-
05          002-   Pa^ D^Zema @blmkb\m Zg] O\ahhe @blmkb\m aZ] lhf^ dghpe^]`^ maZm mabl pZl
06   aZii^gbg`+ Zl lahpg bg mabl _Zee 1/05 ^fZbe [r bgli^\mhk Vr\a mh l\ahhe Z]fbgblmkZmhkl9
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     COMPLAINT - 75                                                              6:8=7 <894;;;=
                                                                                                                Electronically Filed - St Louis County - August 03, 2022 - 02:35 PM
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0    See Oghahfbla D^Zema @blmkb\m N^lihgl^ mh Ln[eb\ N^\hk] N^jn^lml+ >Zm^l Jh- //0287:
1    see also >Zm^l Jh- //071/ (Odr RZee^r iZk^gm ^fZbebg` Vr\a maZm xDhi^ mh a^Zk
2    lhf^mabg` pbee \aZg`^ _hk hnk db]l Zg] _Zfbeb^l- S^ ]h eho^ mabl ikh`kZf- =l lh fZgr
3    maZm \kr maZm ma^r lmbee _^^e lb\d pa^g ma^r \hf^ g^Zk ma^ [nbe]bg` lh \Zgghm \hf^ WsicX-y)-
4           003-   @^\Z]^l h_ L?> h__,`Zllbg`+ e^Zdl+ libeel+ Zg] _nf^ ^o^gml+ ahp^o^k+
5    \Znl^] ma^l^ l\ahhe [nbe]bg`l mh [^\hf^ l^\hg]Zkber \hgmZfbgZm^] Zl eZk`^ mhqb\ xlbgdl-y
6    PaZm bl+ ihkhnl fZm^kbZel ebd^ eb[kZkr [hhdl+ iZi^kl+ [kb\dl+ Zg] \Zki^ml Z[lhk[^] ma^
7    L?>l ho^k ma^ r^Zkl Zg] ghp k^e^Zl^ L?>l [Z\d bgmh ma^ bg]hhk Zbk- LeZbgmb__l pah aZo^
8    [^^g l^glbmbs^] mh L?> \hgmZfbgZmbhg Z_m^k ln__^kbg` L?> ihblhgbg` lmbee \Zgghm ^gm^k hk
0/   nl^ ma^l^ l\ahhe [nbe]bg`l pbmahnm ln__^kbg` ng\hf_hkmZ[e^+ iZbg_ne+ hk ]^[bebmZmbg`
00   k^Z\mbhgl+ ]^libm^ ma^ O\ahhe @blmkb\m inkihkm^]er ngbglmZeebg` ma^ ikbfZkr lhnk\^l h_
01   L?>l (ma^ L?>,\Znedbg` Zg] ma^ L?>,eb`am [ZeeZlml) [r ma^ lnff^k h_ 1/05-
02          004-   Agobkhgf^gmZe m^lml ]nkbg` ma^ 1/05,1/06 l\ahhe r^Zk \hgmbgn^] mh ]^m^\m
03   e^o^el h_ L?>l bg ma^ Zbk Zg] \eZllkhhfl h_ ma^l^ l\ahhe [nbe]bg`l mh oZkrbg` ]^`k^^l+
04   Zemahn`a fZgr k^lneml lahp^] xghg^ ]^m^\m^]y Zm ma^ k^ihkmbg` ebfbml- (Pa^k^ bl Z ebfbm mh
05   ma^ l^glbmbobmr h_ ma^ Zbk lZfiebg` Zg] eZ[hkZmhkr m^lmbg`-)
06          005-   =l [^_hk^+ Zm e^Zlm lhf^ ^gobkhgf^gmZe m^lml p^k^ \hg]n\m^] pbma ma^
07   \eZllkhhf pbg]hpl xpb]^ hi^g+y Zl k^ihkm^] mh D^Zema @blmkb\m bgli^\mhk Vr\a9
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15   See Oghahfbla D^Zema @blmkb\m N^lihgl^ mh Ln[eb\ N^\hk] N^jn^lml+ >Zm^l Jh- //0406-
16          006-   =\\hk]bg` mh ma^ D^Zema @blmkb\m+ xO^o^g h_ ma^ khhfl maZm p^k^ m^lm^]
17   ]nkbg` ma^ L?> Zbk lZfiebg` bg]b\Zm^] e^o^el bg ^q\^ll h_ ^lmZ[ebla^] ^qihlnk^ ebfbml-y


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     COMPLAINT - 76                                                                6:8=7 <894;;;=
                                                                                                                  Electronically Filed - St Louis County - August 03, 2022 - 02:35 PM
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0    Id. Zm //0413-
1           007-   Pa^ Ihgkh^ O\ahhe @blmkb\m p^gm mh ma^ ik^ll mh \eZbf maZm ln\a r^Zk,1/06
2    L?> k^lneml p^k^ x_Zel^ ihlbmbo^l-y Oni^kbgm^g]^gm Ofbma fZ]^ mabl \eZbf mh k^ihkm^kl-
3    Oa^ Zelh \eZbf^] maZm Zgr iZlm lrfimhfl k^ihkm^] [r f^f[^kl h_ ma^ Odr RZee^r
4    A]n\Zmbhg \hffngbmr p^k^ fbghk Zg] ebd^ x\he]l-y Pabl pZl ghm mkn^- Oa^ dg^p mabl
5    lmZm^f^gm pZl ghm mkn^ [^\Znl^ iZk^gml Zg] m^Z\a^kl aZ] ik^obhnler k^ihkm^] mh a^k
6    l^kbhnl beeg^ll^l Zg] ]bl^Zl^l+ bg\en]bg` l^qnZe ]^o^ehif^gmZe ]blhk]^kl bg rhng`
7    \abe]k^g Z_m^k ma^r [^`Zg Zmm^g]bg` \eZll^l bg ma^ l\ahhe [nbe]bg`l-
8           008-   Pa^ l^kob\^l h_ ma^ ^gobkhgf^gmZe \hglnemZgm p^k^ m^kfbgZm^]-
0/          01/-   On[l^jn^gm L?> m^lmbg` k^lneml Zii^Zk^] mh [^ ehp^k (hk xghg^ ]^m^\m^]y)
00   maZg ma^ ik^,k^f^]bZmbhg m^lmbg` k^lneml-
01          010-   Qgmbe eZlm r^Zk+ pa^g ma^ L?> Zg] hma^k mhqb\ \hgmZfbgZmbhg [^\Zf^
02   in[eb\+ ma^ O\ahhe @blmkb\m d^im ma^ Odr RZee^r lmZ__+ iZk^gml+ Zg] \abe]k^g bg ma^ ]Zkd
03   Z[hnm ma^ Z\mnZe mhqb\ \hgmZfbgZmbhg bg ma^ l\ahhe [nbe]bg`l-
04          011-   Pph hnm h_ mak^^ OPAI m^Z\a^kl Zm ma^ ikh`kZf aZo^ k^ihkm^]er aZ] \Zg\^k
05   lbg\^ 1/00- Pak^^ rhng` iZk^gml h_ OPAI lmn]^gml aZo^ ]b^] h_ \Zg\^k- Pph \abe]k^g
06   aZo^ k^ihkm^]er ]b^] h_ \Zg\^k- Kma^k \abe]k^g Zg] Z]neml pah li^gm mbf^ bg ma^ l\ahhe
07   [nbe]bg`l aZo^ Zelh ln__^k^] \Zg\^kl+ ^g]h\kbg^ ]blhk]^kl+ Znmhbffng^ ]blhk]^kl+
08   g^nkheh`b\Ze ]blhk]^kl+ Zg] fbl\ZkkbZ`^l-
1/          012- Obg\^ ma^ Ihgkh^ O\ahhe @blmkb\m fho^] ma^ Odr RZee^r A]n\Zmbhg
10   ikh`kZf bgmh ma^ he] Ihgkh^ Ib]]e^ O\ahhe bg 1/00+ fZgr [nm i^kaZil ghm Zee \abe]k^g
11   Zg] Z]neml pah li^gm mbf^ bg ma^ l\ahhe [nbe]bg`l ]^o^ehi^] lrfimhfl- Pa^ lrfimhfl
12   oZkb^] bg ma^bk mri^ Zg] bgm^glbmr- Pa^r bg\en]^] ^r^ bkkbmZmbhg+ oblbhg ]b__b\nemb^l+ _k^jn^gm
13   \he]l Zg] bg_^\mbhgl+ makhZm bkkbmZmbhg+ ghl^ [e^^]l+ Zee^k`b^l+ ZlmafZ+ i^klblm^gm \hn`al+
14   ]b__b\nemr [k^Zmabg`+ a^Zkm iZeibmZmbhgl+ a^Z]Z\a^l+ mk^fhkl+ gnf[g^ll+ mbg`ebg`+
15   \hg_nlbhg+ f^fhkr ehll+ \hg\^gmkZmbhg ]b__b\nemb^l+ ]^ik^llbhg+ Zgqb^mr+ e^Zkgbg`
16   ikh[e^fl+ ]bssbg^ll+ gZnl^Z+ ohfbmbg`+ Z[]hfbgZe iZbg+ `Zlmkhbgm^lmbgZe blln^l+ chbgm iZbg+
17   markhb] blln^l+ in[^kmr Z[ghkfZebmb^l+ p^b`am blln^l+ p^Zdg^ll+ _Zmb`n^+ \abeel+ gb`am


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     COMPLAINT - 77                                                                  6:8=7 <894;;;=
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0    lp^Zml+ ldbg kZla^l hk abo^l hk [eblm^kl+ ldbg \rlml+ i^^ebg` ldbg+ Zg] hma^k \hfieZbgml-
1           013-   Pa^ _k^jn^g\r Zg] l^o^kbmr h_ ma^ lrfimhfl Zii^Zk^] mh [^ ihlbmbo^er
2    \hkk^eZm^] pbma ma^ oneg^kZ[bebmr h_ ma^ bg]bob]nZe Zg] ma^ Zfhngm h_ mbf^ li^gm bg ma^
3    l\ahhe [nbe]bg`l- Pa^ lrfimhfl Zg] ]bl^Zl^l phkl^g^] ho^k mbf^ _hk ma^l^ bg]bob]nZel-
4           014-   Orfimhf l^o^kbmr `^g^kZeer bfikho^] ]nkbg` aheb]Zr [k^Zdl+ pa^g ma^
5    \abe]k^g Zg] Z]neml li^gm mbf^ ZpZr _khf ma^ l\ahhe [nbe]bg`l-
6           015-   =m ]b__^k^gm mbf^l ]nkbg` ma^ iZlm _^p r^Zkl+ lhf^ Odr RZee^r iZk^gml Zg]
7    m^Z\a^kl kZbl^] l^kbhnl a^Zema \hg\^kgl Zllh\bZm^] pbma ma^ l\ahhe [nbe]bg`l mh ma^
8    Ihgkh^ O\ahhe @blmkb\m Zg] ma^ D^Zema @blmkb\m- Qgmbe fb],1/05+ ma^ O\ahhe @blmkb\m Zg]
0/   ma^ D^Zema @blmkb\m ]b] ghm Zii^Zk mh mZd^ ma^ \hg\^kgl l^kbhnler-
00          016-   Bhk ^qZfie^+ bg 1/03 ma^ Ihgkh^ O\ahhe @blmkb\m a^Z] h_ fZbgm^gZg\^+
01   NZeia Ubg`ebg`+ mhe] mph m^Z\a^kl maZm ma^r lahne] ghm [^ \hg\^kg^] Z[hnm ma^ L?>,eb`am
02   [ZeeZlml- D^ Z]]^] maZm a^ pZl bg Rb^mgZf Zg] ^qihl^] mh =`^gm KkZg`^+ Zg] L?>,eb`am
03   [ZeeZlml Zk^ ghmabg` mh phkkr Z[hnm bg \hfiZkblhg-
04          017-   =]fbgblmkZmhkl _hk ma^ O\ahhe @blmkb\m ikhfbl^] lhf^ m^Z\a^kl maZm Zee
05   L?>,eb`am [ZeeZlml phne] [^ k^fho^] Zg] k^ieZ\^] pbma lZ_^ eb`am _bqmnk^l ]nkbg` ma^
06   lnff^k h_ 1/03- Pabl \e^Zker pZl ghm ]hg^-
07          018- =ghma^k O\ahhe @blmkb\m Z]fbgblmkZmhk kb]b\ne^] iZk^gml h_ xlb\d \abe]k^gy
08   Zl ghm [^bg` bgm^k^lm^] bg `hbg` mh l\ahhe-
1/          02/- Pa^ Ihgkh^ O\ahhe @blmkb\m+ hk bml Odr RZee^r ikbg\biZe+ Z\mbo^er
10   ]bl\hnkZ`^] Odr RZee^r m^Z\a^kl _khf laZkbg` ^gobkhgf^gmZe lZ_^mr \hg\^kgl pbma Odr
11   RZee^r _Zfbeb^l-
12          020- Pa^ Ihgkh^ O\ahhe @blmkb\m+ hk bml Odr RZee^r ikbg\biZe+ Zelh Z\mbo^er
13   ]bl\hnkZ`^] iZk^gml _khf _bebg` bg]hhk Zbk jnZebmr \hfieZbgml pbma ma^ O\ahhe @blmkb\m-
14          021- Pa^ Odr RZee^r ikbg\biZe Zelh Z]fhgbla^] hg^ m^Z\a^k _hk \Zg\^eebg`
15   \eZll^l ]n^ mh a^k \hg\^kgl Z[hnm lZ_^mr bg a^k \eZllkhhf-
16          022-   PaZm lZf^ m^Z\a^k ]^o^ehi^] DZlabfhmh{l @bl^Zl^ (Z markhb] ]blhk]^k) Z_m^k
17   m^Z\abg` bg maZm \eZllkhhf-


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                                                                           <9 / *'0%,-'.2 - .,%%. 3 - /'.% :89
                                                                                  - %"..(% 1" ?>989
     COMPLAINT - 78                                                                 6:8=7 <894;;;=
                                                                                                                Electronically Filed - St Louis County - August 03, 2022 - 02:35 PM
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0           023-   Ohf^ i^hie^ pah li^gm mbf^ bg ma^l^ l\ahhe [nbe]bg`l \hi^ pbma ldbg
1    blln^l- Qgebd^ a^Z]Z\a^l+ `Zlmkh,bgm^lmbgZe iZbg+ hk hma^k bgm^kgZe fZeZ]b^l+ ldbg ]blhk]^kl
2    \Zg [^ iahmh`kZia^]- D^k^ Zk^ iahmh`kZial h_ \abe]k^g+ iZk^gml+ Zg] m^Z\a^kl lahpbg`
3    ldbg lehn`abg`+ [eblm^kl+ kZla^l+ ib`f^gmZmbhg \aZg`^l+ Z g^nkheh`b\Ze ]blhk]^k+ Zg] Z \rlm9
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     COMPLAINT - 79                                                                6:8=7 <894;;;=
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     COMPLAINT - 80                                                      6:8=7 <894;;;=
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17   Pa^l^ iahmhl (Z[ho^) lahp [eblm^kl Zg] lehn`abg` ldbg bg Odr RZee^r Z]neml Zg] \abe]k^g-


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                                                                       <9 / *'0%,-'.2 - .,%%. 3 - /'.% :89
                                                                              - %"..(% 1" ?>989
     COMPLAINT - 81                                                             6:8=7 <894;;;=
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                                                                       - %"..(% 1" ?>989
     COMPLAINT - 82                                                      6:8=7 <894;;;=
                                                                                                             Electronically Filed - St Louis County - August 03, 2022 - 02:35 PM
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17   D^k^ Zk^ ldbg ib`f^gmZmbhg \aZg`^l bg Z Odr RZee^r Z]nem Zg] Z \abe] (Z[ho^ Zg] [^ehp)9


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                                                                       <9 / *'0%,-'.2 - .,%%. 3 - /'.% :89
                                                                              - %"..(% 1" ?>989
     COMPLAINT - 83                                                             6:8=7 <894;;;=
                                                                                                      Electronically Filed - St Louis County - August 03, 2022 - 02:35 PM
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     COMPLAINT - 84                                                      6:8=7 <894;;;=
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0    D^k^ bl \aehkZ\g^ hg ma^ [Z\d h_ Z Odr RZee^r iZk^gm9
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     COMPLAINT - 85                                                          6:8=7 <894;;;=
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03   Odr RZee^r \abe]k^g Zg] Z]neml Zelh \hi^ pbma abo^l+ kZla^l+ Zg] Z\g^- D^k^ Zk^ iahmhl h_
04   _nee [h]r abo^l (Z[ho^) Zg] Z\g^ Zg] kZla^l ([^ehp) bg Odr RZee^r \abe]k^g9
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     COMPLAINT - 86                                                              6:8=7 <894;;;=
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     COMPLAINT - 87                                                      6:8=7 <894;;;=
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17   Pabl bl ma^ _bklm \rlm (h_ Z \enlm^k) k^fho^] _khf Z Odr RZee^r `bke{l l\Zei mabl iZlm r^Zk-


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                                                                           <9 / *'0%,-'.2 - .,%%. 3 - /'.% :89
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     COMPLAINT - 88                                                                 6:8=7 <894;;;=
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0    Pa^ iahmh`kZial Z[ho^ Zk^ h_ Z[hnm Z ]hs^g ]b__^k^gm Odr RZee^r bg]bob]nZel pah
1    ]^o^ehi^] ldbg+ g^nkheh`b\Ze+ Zg] hma^k ]blhk]^kl Zl iZkm h_ ma^ \hglm^eeZmbhg h_ lrfimhfl
2    ma^r Zmmkb[nm^ mh mbf^ li^gm bg ma^ l\ahhe [nbe]bg`l [^_hk^ ma^ O\ahhe @blmkb\m k^f^]bZm^]
3    ma^ [nbe]bg`l- Kma^k iahmh`kZial h_ \abe]k^g Zg] Z]neml bg ma^ ahlibmZe+ pa^ma^k ]n^ mh
4    ^g\^iaZebmbl+ \Zk]bZ\ ikh[e^fl+ [k^Zmabg` ikh[e^fl+ Zg] g^nkheh`b\Ze ]blhk]^klwZee h_
5    pab\a aZo^ aZii^g^] mh Odr RZee^r \abe]k^g Zg] Z]nemlwZk^ ghm bg\en]^]- LeZbgmb__l pbee
6    k^jn^lm ^gmkr h_ Z ikhm^\mbo^ hk]^k k^`Zk]bg` LeZbgmb__l{ f^]b\Ze k^\hk]l+ b]^gmb_bZ[e^
7    iahmh`kZial+ Zg] k^eZm^] i^klhgZe bg_hkfZmbhg-
8           024-   =\\hk]bg` mh ma^ Ihgkh^ O\ahhe @blmkb\m{l Zmmhkg^r+ hg^ ]^_^gl^ Zll^km^]
0/   [r ma^ O\ahhe @blmkb\m bl maZm ma^ e^o^el h_ mhqb\ \hgmZfbgZmbhg p^k^ g^o^k ab`a ^ghn`a mh
00   \Znl^ Zgrhg^ aZkf-
01          025-   Pa^ D^Zema @blmkb\m{l ablmhkr h_ \bmbg` Ihgkh^ Ln[eb\ O\ahhel _hk \h]^ Zg]
02   lZ_^mr ]^_b\b^g\b^l Zm ma^l^ l\ahhe [nbe]bg`l ^lmZ[ebla^l mph [Zlb\ _Z\ml9 (0) Ihgkh^
03   O\ahhe @blmkb\m Zg] Qgbhg Db`a aZo^ aZ] Z ablmhkr lbg\^ ma^ 084/l h_ ihhk fZbgm^gZg\^
04   Zg] lZ_^mr \hfiebZg\^ _hk ma^l^ l\ahhe [nbe]bg`l ni mh ik^l^gm,]Zr: Zg] (1) Oghahfbla
05   D^Zema @blmkb\m dg^p maZm ma^l^ l\ahhe [nbe]bg`l ln__^k^] _khf ihhk fZbgm^gZg\^ Zg]
06   ghg,\hfiebZg\^ pbma lZ_^mr k^jnbk^f^gml+ iZkmb\neZker bg Zk^Zl h_ o^gmbeZmbhg Zg] eb`ambg`-
07          026-   @^libm^ mabl dghpe^]`^+ ma^ Ihgkh^ O\ahhe @blmkb\m Zg] Qgbhg Db`a ]b]
08   ghm ^g_hk\^ \hfiebZg\^ pbma ma^ fbgbfnf lZ_^mr k^jnbk^f^gml Zm ma^l^ l\ahhe [nbe]bg`l-
1/   PaZm pZl g^`eb`^gm Zg] Z ikhqbfZm^ \Znl^ h_ LeZbgmb__l{ ]ZfZ`^l-
10          027- @^libm^ mabl dghpe^]`^+ ma^ Oghahfbla D^Zema @blmkb\m ]b] ghm ^g_hk\^
11   x\hfiebZg\^ pbma fbgbfZe ^gobkhgf^gmZe lmZg]Zk]l _hk ^]n\Zmbhg _Z\bebmb^l+ Zl i^k S=?
12   135,255,/3/+y pab\a pZl ma^ inkihl^ h_ ma^ D^Zema @blmkb\m{l bgli^\mbhgl+ ngmbe eZm^ eZlm
13   r^Zk- PaZm pZl g^`eb`^gm Zg] Z ikhqbfZm^ \Znl^ h_ LeZbgmb__l{ ]ZfZ`^l-
14         028- Pa^ OmZm^ aZl \hglmbmnmbhgZe Zg] lmZmnmhkr ]nmb^l mh ikhob]^ _hk Zg]
15   lni^kobl^ ma^ Z]fbgblmkZmbhg h_ ^]n\ZmbhgZe l^kob\^l bg SZlabg`mhg-
16         03/-    Pa^ OmZm^ Zelh dg^p maZm fZgr h_ bml l\ahhe [nbe]bg` bg `^g^kZewZg] ma^l^
17   l\ahhe [nbe]bg`l li^\b_b\Zeerw\hgmZbg^] mhqb\ \a^fb\Zel ln\a Zl L?>l-


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                                                                                - %"..(% 1" ?>989
     COMPLAINT - 89                                                               6:8=7 <894;;;=
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0           030-   Pa^ OmZm^ @^iZkmf^gml h_ A\heh`r Zg] D^Zema [hma k^\h`gbs^] maZm L?>l
1    x\Zg \Znl^ Z]o^kl^ a^Zema ^__^\ml bg anfZgl Zg] pbe]eb_^ bg\en]bg` \Zg\^k Zg] aZkf mh
2    bffng^+ g^kohnl+ Zg] k^ikh]n\mbo^ lrlm^fl- L?>l ]blknim markhb] ahkfhg^ e^o^el bg
3    ZgbfZel Zg] anfZgl+ abg]^kbg` `khpma Zg] ]^o^ehif^gm-y OmZm^ h_ SZla- @^iZkmf^gm h_
4    A\heh`r Zg] @^iZkmf^gm h_ D^Zema- L?> ?a^fb\Ze =\mbhg LeZg (B^[- 1/04)+ i- 01+
5    ZoZbeZ[e^ Zm ammil9.._hkmk^ll-pZ-`ho.^\r.in[eb\Zmbhgl.OnffZkrLZ`^l.04/6/0/-amfe+ (eZlm
6    Z\\^ll^] Jho^f[^k 03+ 1/06)-
7           031-   Pa^l^ ]^iZkmf^gml h_ ma^ OmZm^ aZo^ Zelh [^^g ZpZk^ maZm mhqb\ L?>l
8    i^klblm bg l\ahhe [nbe]bg`l [nbem [^_hk^ 0868+ Zg] Zk^ ZpZk^ maZm mabl k^ik^l^gml Z ]Zg`^k
0/   mh ma^ h\\niZgml h_ ma^ [nbe]bg`l9 xS^ Zk^ ^li^\bZeer \hg\^kg^] Z[hnm ^qihlnk^ mh
00   \abe]k^g bg l\ahhe [nbe]bg`l pbma he] eZfi [ZeeZlml Zg] hma^k L?>,\hgmZbgbg` [nbe]bg`
01   fZm^kbZel-y Id. Zm 01-
02          032-   Pa^ ]^iZkmf^gml h_ ma^ OmZm^ dghp maZm he] [ZeeZlml xZk^ Zm Z ab`a kbld _hk
03   _Zbebg` (]kbiibg`+ lfhdbg`+ Zg] \Zm\abg` _bk^)-y Id. Zm 04 (iZk^gma^mb\Ze ^qieZgZmbhg bg
04   hkb`bgZe)- Pa^ OmZm^ k^\h`gbs^] maZm ma^ he] [ZeeZlml k^e^Zl^ L?>l bgmh ma^ Zbk [k^Zma^] [r
05   \abe]k^g Zg] hma^k i^hie^ bg l\ahhe [nbe]bg`l9
06          >ZeeZlm _Zbenk^l \Zg ^qihl^ \abe]k^g mh \hg\^gmkZm^] L?> hbel Zg] ^e^oZm^]
            L?>l bg Zbk- Hhp \hg\^gmkZmbhgl h_ ehp^k \aehkbgZm^] L?> \hg`^g^kl Zk^
07
            \hgmbgnZeer k^e^Zl^] _khf eZfi [ZeeZlml- Sa^g [ZeeZlml _Zbe+ ab`a
08          \hg\^gmkZmbhgl h_ Z [khZ]^k li^\mknf h_ \hg`^g^kl Zk^ k^e^Zl^]+ lh bm bl
            bfihkmZgm mh _bg] Zg] k^fho^ ma^ eZfi [ZeeZlml [^_hk^ ma^r _Zbe-
1/   Id.
10          033-   @^libm^ k^\h`gbsbg` mabl ]Zg`^k+ ma^ OmZm^ ]b] ghm k^jnbk^ Zg] lni^kobl^ ma^
11   k^fhoZe h_ L?>l _khf ma^l^ l\ahhe [nbe]bg`l- Pa^ OmZm^{l bgZ\mbhg \k^Zm^] hk bg\k^Zl^]
12   ma^ kbld h_ aZkf mh ma^ LeZbgmb__l+ \Znlbg` ma^f ]ZfZ`^l- Pabl pZl g^`eb`^gm Zg] Z
13   ikhqbfZm^ \Znl^ h_ LeZbgmb__l{ ]ZfZ`^l-
14          034-   OmZm^] ]b__^k^gmer+ Z k^ZlhgZ[er \Zk^_ne `ho^kgf^gmZe ^gmbmr ^lmZ[ebla^l Zg]
15   ^g_hk\^l iheb\b^l mh k^fho^ mhqb\ \a^fb\Zel ln\a Zl L?>l _khf l\ahhe [nbe]bg`l mh
16   ik^o^gm mhqb\ ^qihlnk^ Zg] mh ikhm^\m \abe]k^g+ m^Z\a^kl+ Zg] iZk^gml _khf lb\dg^ll+
17   ]bl^Zl^+ Zg] ]^Zma-


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     COMPLAINT - 90                                                               6:8=7 <894;;;=
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0             035-   = k^ZlhgZ[er \Zk^_ne ikhob]^k h_ l\ahhe [nbe]bg`l k^fho^l mhqb\ \a^fb\Zel
1    ln\a Zl L?>l mh ik^o^gm mhqb\ ^qihlnk^ Zg] mh ikhm^\m \abe]k^g+ m^Z\a^kl+ Zg] iZk^gml
2    _khf lb\dg^ll+ ]bl^Zl^+ Zg] ]^Zma-
3             036-   >khZ]er li^Zdbg`+ Z k^ZlhgZ[er \Zk^_ne l\ahhe [nbe]bg` bgli^\mhk k^jnbk^l Z
4    [nbe]bg` hpg^k hk hi^kZmhk mh \hfier pbma ma^ fbgbfnf ^gobkhgf^gmZe lZ_^mr
5    k^jnbk^f^gml mh ik^o^gm bgcnkr Zg] mh ikhm^\m ma^ [nbe]bg`{l h\\niZgml _khf aZkf-
6             037-   Oi^\b_b\Zeer+ Z k^ZlhgZ[er \Zk^_ne l\ahhe [nbe]bg` bgli^\mhk k^jnbk^l Z
7    l\ahhe [nbe]bg` hpg^k hk hi^kZmhk mh k^fho^ mhqb\ \a^fb\Zel ln\a Zl L?>l mh ik^o^gm
8    mhqb\ ^qihlnk^ Zg] mh ikhm^\m \abe]k^g+ m^Z\a^kl+ Zg] iZk^gml _khf lb\dg^ll+ ]bl^Zl^+ Zg]
0/   ]^Zma-
00            038-   Pa^ in[eb\ ^gmbmr @^_^g]Zgml{ _Zbenk^l mh ikhm^\m ma^ Odr RZee^r \abe]k^g
01   Zg] Z]neml _khf k^ZlhgZ[er _hk^l^^Z[e^ aZkfl p^k^ g^`eb`^gm-
02            04/- Pa^ in[eb\ ^gmbmr @^_^g]Zgml{ g^`eb`^g\^ bg ma^l^ Zg] hma^k pZrl pZl
03   k^ZlhgZ[er _hk^l^^Z[e^ mh IhglZgmh Zg] ]h^l ghm l^ko^ mh \nm h__ ma^ \aZbg h_ \ZnlZmbhg
04   h_ LeZbgmb__l{ ]ZfZ`^l-
05            040- Oi^\b_b\Zeer+ ma^ OmZm^+ ma^ Ihgkh^ O\ahhe @blmkb\m+ Zg] Qgbhg Db`a nl^]
06   IhglZgmh{l L?>l bg Z k^ZlhgZ[er _hk^l^^Z[e^ fZgg^k+ i.e- Zl \hfihg^gml h_ \Znedbg` Zg]
07   eb`am _bqmnk^l bgm^`kZe mh ma^ lmkn\mnk^l h_ ma^ l\ahhe [nbe]bg`l- Pa^ nl^ h_ L?>l [r ma^
08   in[eb\ ^gmbmr @^_^g]Zgml pZl ghm lh ab`aer ^qmkZhk]bgZkr Zl mh [^ ng_hk^l^^Z[e^- Eg _Z\m+
1/   ma^ nl^ h_ L?>l [r ma^l^ @^_^g]Zgml pZl \hglblm^gm pbma IhglZgmh{l bgm^g]^] ikhfhmbhg
10   h_ bml L?>l+ i.e.+ Zl \hfihg^gml h_ \Znedbg` Zg] eb`am _bqmnk^l- Eg Z]]bmbhg+ ma^ \hgmbgn^]
11   nl^ h_ L?>l bg l\ahhe [nbe]bg`l bl Zelh k^ZlhgZ[er _hk^l^^Z[e^+ Zl mahnlZg]l h_ l\ahhe
12   [nbe]bg`l Z\khll ma^ Qgbm^] OmZm^l \hgmbgn^ mh nl^ Zg] \hgmZbg L?>l-
13            041- @n^ mh ma^ g^`eb`^g\^ h_ ma^ in[eb\ ^gmbmr @^_^g]Zgml+ ahp^o^k+ ma^
14   LeZbgmb__l p^k^ ^qihl^] mh L?>l Zg] hma^k mhqb\ \hgmZfbgZmbhg- Pa^bk g^`eb`^g\^ pZl Z
15   ikhqbfZm^ \Znl^ h_ LeZbgmb__l{ ]ZfZ`^l-
16            042-   =emahn`a ma^ in[eb\ ^gmbmr @^_^g]Zgml Zg] ma^ LeZbgmb__l xnl^]y IhglZgmh{l
17   L?>l Zl \hfihg^gml h_ ma^ lmkn\mnk^l Zg] _bqmnk^l h_ ma^ l\ahhe [nbe]bg`l+ ma^ LeZbgmb__l


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     COMPLAINT - 91                                                               6:8=7 <894;;;=
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0    ma^fl^eo^l ]b] ghm xfblnl^y IhglZgmh{l L?>l-
1               043-   Pa^ in[eb\ ^gmbmr @^_^g]Zgml{ _Zbenk^l mh k^jnbk^ Zg] lni^kobl^ ma^ k^fhoZe
2    h_ L?>l _khf ma^ l\ahhe [nbe]bg`l pZl \Znl^] bg iZkm [r IhglZgmh{l pkhg`_ne \hg]n\m-
3    Pabl bl [^\Znl^ IhglZgmh bgm^gmbhgZeer fblk^ik^l^gm^] _Z\ml Z[hnm bml L?> ikh]n\ml+ hk
4    bgm^gmbhgZeer \hg\^Ze^] bg_hkfZmbhg Z[hnm L?>l+ Zg] mabl pkhg`_ne \hg]n\m pZl Z
5    ikhqbfZm^ \Znl^ h_ LeZbgmb__l{ ]ZfZ`^l-
6               044-   Oi^\b_b\Zeer+ IhglZgmh ikhob]^] gh pZkgbg`l+ ghmb\^l+ hk [nee^mbgl mh ma^
7    OmZm^+ ma^ Oghahfbla D^Zema @blmkb\m+ ma^ Ihgkh^ O\ahhe @blmkb\m+ Qgbhg Db`a+ hk ma^
8    LeZbgmb__l+ pab\a phne] aZo^ Ze^km^] ma^f mh ma^ _nee ^qm^gm h_ ma^ ]Zg`^kl h_ mhqb\ L?>
0/   ^qihlnk^ bg l\ahhe [nbe]bg`l- Pa^ k^Zlhg bl mabl9 IhglZgmh ikh_bm^] _hk ]^\Z]^l [r
00   ikh]n\bg` Zg] ikhfhmbg` L?>l+ Zg] IhglZgmh \hgmbgn^l mh aZo^ Z lmkhg` _bgZg\bZe
01   bgm^k^lm bg ]^grbg` ma^ ^gobkhgf^gmZe ]Zg`^kl Zg] a^Zema aZsZk]l Zllh\bZm^] pbma mhqb\
02   \hgmZfbgZmbhg \Znl^] [r IhglZgmh{l L?>l-
03              045-   @n^ mh ma^ @^_^g]Zgml{ pkhg`_ne \hg]n\m+ ma^ LeZbgmb__l aZo^ ln__^k^] iZlm
04   ]ZfZ`^l Zg] pbee ln__^k _nmnk^ ]ZfZ`^l- @ZfZ`^l bg\en]^l k^ZlhgZ[e^ _^Zkl h_ ik^l^gm
05   Zg] _nmnk^ Z]o^kl^ f^]b\Ze \hgl^jn^g\^l- Wilson v. Key Tronic Corp.+ 3/ Sg- =ii- 7/1+
06   6/0 L-1] 407 (0874) (pa^k^ ]^_^g]Zgm hi^kZm^] Z mhqb\ eZg]_bee maZm ihblhg^] eh\Ze p^ee
07   pZm^k+ ieZbgmb__l{ _^Zkl h_ ik^l^gm Zg] _nmnk^ a^Zema ikh[e^fl lm^ffbg` _khf Z\mnZe
08   bg`^lmbhg h_ ma^ mhqb\ \a^fb\Zel Zk^ k^ZlhgZ[e^ Zg] ma^k^_hk^ \hfi^glZ[e^)-
1/   E8'        ;460; 2>=C4GC 0=3 20DB4B >5 02C8>=
10         0'          B\I\M TI_ XZW\MK\[ QVLQ^QL]IT ZQOP\[' LeZbgmb__l [kbg` \eZbfl _hk ]ZfZ`^l
11   Z`Zbglm ma^ gZf^] @^_^g]Zgml ng]^k lmZm^ eZp hger _hk lmkb\m ikh]n\ml ebZ[bebmr+ g^`eb`^g\^+
12   Zg] ^q^fieZkr ]ZfZ`^l+ Zl hnmebg^] [^ehp+ Zg] ng]^k hma^k Ziieb\Z[e^ lmZm^ eZp k^f^]b^l
13   Zl ]bl\ho^kr fZr k^o^Ze-
14              Pa^ LeZbgmb__l k^li^\m_neer k^jn^lm maZm ma^ `nZkZgm^^l h_ ma^ SZlabg`mhg OmZm^
15   ?hglmbmnmbhg p^b`a bg ma^ \hglb]^kZmbhg h_ e^`Ze knebg`l bg mabl \Zl^- x=ee ihebmb\Ze ihp^k
16   bl bga^k^gm bg ma^ i^hie^+ Zg] `ho^kgf^gml ]^kbo^ ma^bk cnlm ihp^kl _khf ma^ \hgl^gm h_
17   ma^ `ho^kg^]+ Zg] Zk^ ^lmZ[ebla^] mh ikhm^\m Zg] fZbgmZbg bg]bob]nZe kb`aml-y SZla-


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     COMPLAINT - 92                                                                 6:8=7 <894;;;=
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0    ?hglm-+ =km- E+ t 0- Pa^ SZlabg`mhg Onik^f^ ?hnkm k^\h`gbs^l xmaZm ma^ cn]b\bZkr aZl
1    Zfie^ ihp^k mh ikhm^\m \hglmbmnmbhgZe ikhoblbhgl maZm ehhd mh ikhm^\mbhg h_ i^klhgZe
2    z`nZkZgm^^l+{y bg\en]bg` xcn]b\bZeer ^g_hk\^Z[e^ Z__bkfZmbo^ ]nmb^l h_ ma^ OmZm^-y Seattle
3    School Dist. No. 1 v. State of Washington+ 8/ Sg-1] 365+ 4/1+ 474 L-1] 60 (0867)- Pabl
4    bg\en]^l ma^ xiZkZfhngm ]nmr hg ma^ OmZm^ mh fZd^ Zfie^ ikhoblbhg _hk ma^ ^]n\Zmbhgy h_
5    \abe]k^g- Id. ?hnkml aZo^ xZfie^ ihp^ky mh ikhm^\m ln\a \hglmbmnmbhgZe `nZkZgm^^l Zg]
6    i^klhgZe kb`aml9
7            Sa^g bm \hf^l mh \hglb]^kbg` bg]bob]nZe kb`aml ln\a Zl Zk^ ikhm^\m^] [r ma^
             `nZkZgmb^l+ maZm ma^ kb`am mh mkbZe [r cnkr laZee k^fZbg bgobheZm^: maZm gh
8
             i^klhg laZee [^ ]^ikbo^] h_ eb_^+ eb[^kmr hk ikhi^kmr pbmahnm ]n^ ikh\^ll h_
0/           eZp: maZm gh eZp laZee `kZgm mh Zgr \bmbs^g hk \eZll h_ \bmbs^gl ikbobe^`^l hk
             bffngbmb^l pab\a nihg ma^ lZf^ m^kfl laZee ghm ^jnZeer [^ehg` mh Zee
00           \bmbs^gl: Zg] fZgr hma^k \hglmbmnmbhgZe `nZkZgmb^l maZm ehhd mh ikhm^\mbhg h_
01           i^klhgZe kb`aml+ ma^ \hnkml aZo^ Zfie^ ihp^k+ Zg] pbee `h mh Zgr e^g`ma
             pbmabg ma^ ebfbml h_ cn]b\bZe ikh\^]nk^+ mh ikhm^\m ln\a \hglmbmnmbhgZe
02           `nZkZgmb^l-
03
04   Seattle School Dist. No. 1 v. State of Washington+ 8/ Sg-1] 365+ 4/0+ 474 L-1] 60 (0867)
05   (ahe]bg` bg iZkm maZm ma^ l\ahhe ]blmkb\m+ iZk^gml+ Zg] l\ahhe \abe]k^g pah p^k^ _Z\^] pbma
06   ]^m^kbhkZmbg` [nbe]bg`l Zg] hma^k lahkm_Zeel+ aZ] lmZg]bg` mh ln^ ma^ OmZm^ _hk bml obheZmbhgl
07   h_ bml iZkZfhngm ]nmr mh fZd^ Zfie^ ikhoblbhg _hk ma^ ^]n\Zmbhg h_ \abe]k^g)+ jnhmbg`
08   Gottstein v. Lister+ 77 SZla- 351+ 382+ 042 L- 484 (0804)-
1/      1'          ?TIQV\QNN[ IZM NI]T\&NZMM' @^_^g]Zgml \Zgghm Zee^`^ hk lahp _Z\ml maZm phne]
10   lniihkm Z \eZbf maZm ma^ LeZbgmb__l+ pah li^gm mbf^ bg ma^l^ l\ahhe [nbe]bg`l+ Zk^ lhf^ahp
11   Zm,_Znem _hk ma^ mhqb\ \hgmZfbgZmbhg Zg] ihblhgbg`- Pa^ LeZbgmb__l Zk^ _Znem,_k^^-
12      2'          =MOTQOMVKM KTIQU[ IZM KW^MZML KTIQU[' Pa^ \eZbfl Z`Zbglm ma^ in[eb\ ^gmbmb^l
13   Zk^ _hk g^`eb`^gm ikhoblbhg+ ^lmZ[eblaf^gm+ fZbgm^gZg\^+ bgli^\mbhg+ Zg] lni^koblbhg h_ ma^
14   l\ahhe [nbe]bg`l+ pab\a p^k^ Z e^`Ze \Znl^ h_ LeZbgmb__l{ ]ZfZ`^l- OmZm^] ]b__^k^gmer+ ma^
15   in[eb\ ^gmbmb^l g^`eb`^gmer fZgZ`^] ma^ lZ_^mr h_ ma^ l\ahhe [nbe]bg`l+ pab\a \Znl^] ma^
16   LeZbgmb__l{ mh ln__^k ]ZfZ`^l- Jh xiheenmbhg ^q\enlbhgy phne] Ziier mh ]^gr \ho^kZ`^+ ^o^g
17   b_ ln\a Zg ^q\enlbhg ^qblml bg Zgr iheb\r h_ bglnkZg\^ bg mabl \Zl^- Xia v. ProBuilders


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                                                                                    - %"..(% 1" ?>989
     COMPLAINT - 93                                                                   6:8=7 <894;;;=
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0    Specialty Insur. Co.+ 077 Sg-1] 060+ 282 L-2] 637 (1/06).
1       3'         3MNMVLIV\[e RWQV\ IVL [M^MZIT TQIJQTQ\QM[' Pa^l^ \eZbfl k^eZm^ mh g^`eb`^g\^
2    Zg] ikh]n\m ebZ[bebmr _hk xaZsZk]hnl ln[lmZg\^ly maZm \hgmZfbgZm^] ma^ l\ahhe [nbe]bg`l Zg]
3    ihblhg^] ma^ LeZbgmb__l- =l Z k^lnem+ Zee @^_^g]Zgml Zk^ chbgmer Zg] l^o^kZeer ebZ[e^ _hk Zee h_
4    LeZbgmb__l{ ]ZfZ`^l- N?S 3-11-/6/(2): Coulter v. Asten Group, Inc.+ 024 Sg- =ii- 502+
5    035 L-2] 333 (1//5)+ k^\hglb]^kZmbhg ]^gb^]+ k^ob^p ]^gb^]+ 050 Sg-1] 0/00+ 055 L-2]
6    0106-
7       4'         <WV[IV\W 3MNMVLIV\[e XZWL]K\ TQIJQTQ\QM[ \W \PM ?TIQV\QNN['
8            0-    ?21[ IZM I XZWL]K\' IhglZgmh{l L?>l Zk^ Z xikh]n\my ng]^k SZlabg`mhg
0/   eZp- N?S 6-61-/0/(2)-
00           1-    B\ZQK\ XZWL]K\ TQIJQTQ\a% VW\ ZMI[WVIJTa [INM QV KWV[\Z]K\QWV "F?8
01   ))('()#' = fZgn_Z\mnk^k h_ Z ikh]n\m bl ebZ[e^ b_ bml ikh]n\m pZl ghm k^ZlhgZ[er lZ_^ bg
02   \hglmkn\mbhg Zg] mabl pZl Z ikhqbfZm^ \Znl^ h_ ieZbgmb__{l ]ZfZ`^l- 5 SZla- LkZ\-+ SZla-
03   LZmm^kg Fnkr Eglmk- ?bo- SLE 00/-/0 (5ma ^]-)- = ikh]n\m bl ghm k^ZlhgZ[er lZ_^ bg
04   \hglmkn\mbhg pa^g bm bl xnglZ_^ mh Zg ^qm^gm [^rhg] maZm pab\a phne] [^ \hgm^fieZm^] [r
05   ma^ hk]bgZkr \hglnf^k-y Id.+ \bmbg` N?S 6-61-/2/(2)- IhglZgmh{l L?>l Zk^ ^qmk^f^er
06   mhqb\+ Zg] ma^bk mhqb\bmr pZl Z ikhqbfZm^ \Znl^ h_ LeZbgmb__l{ ]ZfZ`^l- Pa^ ^qblm^g\^ h_
07   IhglZgmh{l L?>l bg ma^ \hglmkn\mbhg fZm^kbZel+ \Znedbg`+ Zg] eb`am [ZeeZlml h_ ma^ l\ahhe
08   [nbe]bg` pZl nglZ_^ mh Zg ^qm^gm [^rhg] maZm pab\a pZl \hgm^fieZm^] [r ma^ hma^k
1/   @^_^g]Zgml+ ma^bk ^fiehr^^l+ Zg] ma^ LeZbgmb__l pah xnl^]y ma^ L?>,\hgmZbgbg` fZm^kbZel
10   bg ma^ l\ahhe [nbe]bg`l+ pab\a \hgmZfbgZm^] ma^ [nbe]bg`l Zg] \Znl^] L?>,ihblhgbg` bg
11   ma^ LeZbgmb__l Zg] hma^kl- IhglZgmh bl lmkb\mer ebZ[e^ _hk LeZbgmb__l{ ]ZfZ`^l-
12           2-    B\ZQK\ XZWL]K\ TQIJQTQ\a% VW\ ZMI[WVIJTa [INM I[ LM[QOVML "F?8 ))('(*#'
13   = fZgn_Z\mnk^k h_ Z ikh]n\m bl ebZ[e^ b_ bml ikh]n\m pZl ghm k^ZlhgZ[er lZ_^ Zl ]^lb`g^] Zm
14   ma^ mbf^ bm e^_m ma^ fZgn_Z\mnk^k{l \hgmkhe Zg] mabl pZl Z ikhqbfZm^ \Znl^ h_ ieZbgmb__{l
15   ]ZfZ`^l- = ikh]n\m fZr [^ ghm k^ZlhgZ[er lZ_^ Zl ]^lb`g^] ng]^k ^bma^k Z [ZeZg\bg` m^lm
16   hk Z \hglnf^k ^qi^\mZmbhgl m^lm- 5 SZla- LkZ\-+ SZla- LZmm^kg Fnkr Eglmk- ?bo- SLE
17   00/-/1 (5ma ^]-)-


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                                                                             <9 / *'0%,-'.2 - .,%%. 3 - /'.% :89
                                                                                    - %"..(% 1" ?>989
     COMPLAINT - 94                                                                   6:8=7 <894;;;=
                                                                                                                 Electronically Filed - St Louis County - August 03, 2022 - 02:35 PM
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0           =m ma^ mbf^ IhglZgmh fZgn_Z\mnk^] L?>l+ ma^k^ pZl Z ab`a ebd^ebahh] maZm ma^
1    L?>l phne] \Znl^ bgcnkb^l lbfbeZk mh maZm \eZbf^] [r ma^ LeZbgmb__l+ Zg] ma^ l^kbhnlg^ll h_
2    ma^ bgcnkb^l bl lb`gb_b\Zgm- Pabl hnmp^b`a^] Zgr x[nk]^gy hg IhglZgmh mh ]^lb`g Z
3    ikh]n\m maZm phne] aZo^ ik^o^gm^] ma^ bgcnkb^l (i.e.+ Zem^kgZmbo^ \a^fb\Zel hk f^\aZgblfl
4    nl^] bg \Znedbg`+ eb`am [ZeeZlml+ Zg] hma^k Ziieb\Zmbhgl+ maZm Zk^ ghm x^qmk^f^er mhqb\y)+
5    Zg] Zgr Z]o^kl^ ^__^\m maZm Z ikZ\mb\Ze Zg] _^Zlb[e^ Zem^kgZmbo^ ]^lb`g phne] aZo^ hg ma^
6    nl^_neg^ll h_ ma^ ikh]n\m- Id. IhglZgmh bl Zelh ebZ[e^ ng]^k ma^ \hglnf^k ^qi^\mZmbhgl
7    m^lm+ \hglb]^kbg` ma^ _heehpbg` _Z\mhkl9 ma^ k^eZmbo^ \hlm mh ma^ O\ahhe @blmkb\m h_ k^ieZ\bg`
8    ma^ \Znedbg`+ eb`am [ZeeZlm _bqmnk^l+ Zg] hma^k fZm^kbZel eZm^k ]bl\ho^k^] mh [^
0/   \hgmZfbgZm^] pbma IhglZgmh{l L?>l: ma^ l^kbhnlg^ll h_ aZkf \Znl^] [r ^qihlnk^ mh
00   L?>l bl ab`a: ma^ \hlm mh IhglZgmh h_ ^ebfbgZmbg` L?> ikh]n\mbhg phne] aZo^
01   ^ebfbgZm^] L?> ikh_bml+ pabe^ ma^ _^Zlb[bebmr h_ ^ebfbgZmbg` hk fbgbfbsbg` ma^ kbld pZl
02   k^Z]ber ZoZbeZ[e^ mh IhglZgmh: Zg] hma^k _Z\mhkl Zl fZr [^ k^o^Ze^] bg ]bl\ho^kr- Id.
03          IhglZgmh{l L?>l p^k^ ghm k^ZlhgZ[er lZ_^ Zl ]^lb`g^] Zg] mabl pZl Z ikhqbfZm^
04   \Znl^ h_ LeZbgmb__l{ bgcnkb^l _heehpbg` ^qihlnk^ mh IhglZgmh{l L?>l- Pabl pZl k^ZlhgZ[er
05   _hk^l^^Z[e^ [r IhglZgmh- Eg Z]]bmbhg+ Zgr \eZbf^] xfblnl^y h_ mhqb\ L?>,\hgmZbgbg`
06   ikh]n\ml [r hma^k @^_^g]Zgml+ mabk] iZkmb^l+ hk ^o^g ma^ LeZbgmb__l+ pZl Zelh k^ZlhgZ[er
07   _hk^l^^Z[e^- N^`Zk]e^ll+ Z ikh]n\m \Zg [^ xghm k^ZlhgZ[er lZ_^y ^o^g mahn`a ma^ kbld maZm
08   bm phne] \Znl^ ma^ ieZbgmb__{l aZkf hk lbfbeZk aZkfl pZl ghm _hk^l^^Z[e^ [r ma^
1/   fZgn_Z\mnk^k Zm ma^ mbf^ ma^ ikh]n\m e^_m ma^ fZgn_Z\mnk^k{l \hgmkhe- Id. ([kZ\d^m^]
10   fZm^kbZe)- =l ]^lb`g^]+ L?>l p^k^ ghm k^ZlhgZ[er lZ_^+ Zg] IhglZgmh bl lmkb\mer ebZ[e^ _hk
11   LeZbgmb__l{ ]ZfZ`^l-
12          3-     ;QIJQTQ\a NWZ VMOTQOMVKM% c2WUUMV\ :d ]VI^WQLIJTa ]V[INM XZWL]K\[
13   "F?8 ))('(*'()#' = \a^fb\Ze fZgn_Z\mnk^k aZl Z ]nmr mh nl^ k^ZlhgZ[e^ \Zk^ mh ]^lb`g
14   \a^fb\Zel maZm Zk^ k^ZlhgZ[er lZ_^- xN^ZlhgZ[e^ \Zk^y f^Zgl ma^ \Zk^ maZm Z k^ZlhgZ[er
15   ikn]^gm \a^fb\Ze fZgn_Z\mnk^k phne] ^q^k\bl^ bg ma^ lZf^ hk lbfbeZk \bk\nflmZg\^l- =
16   _Zbenk^ mh nl^ k^ZlhgZ[e^ \Zk^ bl g^`eb`^g\^- 5 SZla- LkZ\-+ SZla- LZmm^kg Fnkr Eglmk- ?bo-
17   SLE 00/-/1-/0 (5ma ^]-)-


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                                                                           <9 / *'0%,-'.2 - .,%%. 3 - /'.% :89
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     COMPLAINT - 95                                                                 6:8=7 <894;;;=
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0           Pa^ jn^lmbhg h_ pa^ma^k Z fZgn_Z\mnk^k ^q^k\bl^] k^ZlhgZ[e^ \Zk^ bl mh [^
1    ]^m^kfbg^] [r paZm ma^ fZgn_Z\mnk^k dg^p hk k^ZlhgZ[er lahne] aZo^ dghpg Zm ma^ mbf^
2    h_ ma^ ieZbgmb__{l bgcnkr- Eg ]^m^kfbgbg` paZm Z fZgn_Z\mnk^k k^ZlhgZ[er lahne] aZo^
3    dghpg bg k^`Zk] mh ]^lb`gbg` bml ikh]n\m+ Z cnkr lahne] \hglb]^k ma^ _heehpbg`9 Z
4    \a^fb\Ze fZgn_Z\mnk^k aZl Z ]nmr mh nl^ k^ZlhgZ[e^ \Zk^ mh m^lm+ ZgZers^+ Zg] bgli^\m ma^
5    ikh]n\m bm l^eel+ Zg] bl ik^lnf^] mh dghp paZm m^lml phne] aZo^ k^o^Ze^]: Zg] Z \a^fb\Ze
6    fZgn_Z\mnk^k aZl Z ]nmr mh nl^ k^ZlhgZ[e^ \Zk^ mh d^^i Z[k^Zlm h_ l\b^gmb_b\ dghpe^]`^+
7    ]bl\ho^kb^l+ Z]oZg\^l+ Zg] k^l^Zk\a bg ma^ _b^e]+ Zg] bl ik^lnf^] mh dghp paZm bl
8    bfiZkm^] ma^k^[r- Id.
0/          Bkhf ma^ _bklm ]^\Z]^ h_ fZgn_Z\mnk^+ IhglZgmh dg^p maZm bml L?>l p^k^ mhqb\-
00   Pa^ l\b^gmb_b\ k^l^Zk\a k^`Zk]bg` ma^ mhqb\bmr h_ L?>l bg\k^Zl^] ho^k mbf^- @^libm^ ma^
01   Z\mnZe Zg] bfiZkm^] dghpe^]`^ h_ L?> mhqb\bmr+ IhglZgmh \hgmbgn^] ikh]n\bg` L?>l lh
02   IhglZgmh ikh_bm^] _khf ma^bk lZe^l- IhglZgmh hger lmhii^] ikh]n\bg` L?>l ]n^ mh
03   _^]^kZe Z\mbhg [Zggbg` ma^bk ikh]n\mbhg- L?>l p^k^ g^o^k k^ZlhgZ[er lZ_^- Pa^r Zk^
04   mhqb\+ ]nkZ[e^+ i^klblm^gm+ [bhZ\\nfneZm^+ Zg] Zk^ dghpg mh fb`kZm^ _khf ma^bk lhnk\^
05   fZm^kbZe mh \hgmZfbgZm^ ma^ lnkkhng]bg` ^gobkhgf^gm- >r ma^bk o^kr gZmnk^ Zl lrgma^mb\
06   \a^fb\Zel+ L?>l p^k^ Zg] Zk^ ngZohb]Z[er nglZ_^ ikh]n\ml- IhglZgmh pZl g^`eb`^gm Zg]
07   bl ebZ[e^ _hk LeZbgmb__l{ ]ZfZ`^l-
08          4-     ;QIJQTQ\a NWZ NIQT]ZM \W XZW^QLM _IZVQVO[ _PMV UIV]NIK\]ZML "F?8
1/   ))('(+#' = fZgn_Z\mnk^k aZl Z ]nmr mh lniier ikh]n\ml maZm Zk^ k^ZlhgZ[er lZ_^- =
10   ikh]n\m fZr [^ ghm k^ZlhgZ[er lZ_^ [^\Znl^ Z]^jnZm^ pZkgbg`l hk bglmkn\mbhgl p^k^ ghm
11   ikhob]^] pbma ma^ ikh]n\m- Pabl \Zg [^ ikho^g ^bma^k makhn`a Z [ZeZg\bg` m^lm hk Z
12   \hglnf^k ^qi^\mZmbhgl m^lm- 5 SZla- LkZ\-+ SZla- LZmm^kg Fnkr Eglmk- ?bo- SLE 00/-/2
13   (5ma ^]-)-
14          Pa^ [ZeZg\bg` m^lm ^lmZ[ebla^l maZm IhglZgmh bl ebZ[e^9 Zm ma^ mbf^ h_ fZgn_Z\mnk^+
15   ma^k^ pZl Z ebd^ebahh] maZm L?>l phne] \Znl^ bgcnkr hk ]ZfZ`^ lbfbeZk mh maZm \eZbf^] [r
16   ma^ LeZbgmb__l+ Zg] `bo^g ma^ l^kbhnlg^ll h_ ma^ bgcnkb^l hk ]ZfZ`^l+ ma^ eZ\d h_ pZkgbg`l
17   [r IhglZgmh p^k^ bgZ]^jnZm^: Zg] IhglZgmh \hne] aZo^ ikhob]^] Z]^jnZm^ pZkgbg`l hk


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                                                                        <9 / *'0%,-'.2 - .,%%. 3 - /'.% :89
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     COMPLAINT - 96                                                              6:8=7 <894;;;=
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0    bglmkn\mbhgl- IhglZgmh \hne] aZo^ ikhob]^] pZkgbg`lw[nm \ahl^ ghm mh ikhob]^ Zgr
1    pZkgbg`lwln\a Zl x20DC8>=/ 2>=C08=B ?21B "?WTaKPTWZQVI\ML 1QXPMVaT[#% 0
2    C>G82       4=E8A>=<4=C0;              2>=C0<8=0=C            A4@D8A8=6               B?4280;
3    70=3;8=6 0=3 38B?>B0;-y IhglZgmh ik^lnfZ[er \ahl^ ghm mh ikhob]^ ln\a L?>
4    pZkgbg`l [^\Znl^ ma^ pZkgbg`l phne] aZo^ k^]n\^] L?> lZe^l Zg] ikh_bml-
5           Pa^ \hglnf^k ^qi^\mZmbhgl m^lm Zelh ikho^l maZm IhglZgmh bl ebZ[e^9 ma^
6    \hglmkn\mbhg fZm^kbZel Zg] _bqmnk^l \hgmZbgbg` L?>l Zk^ ghm \a^Zi+ Zg] ma^bk k^ieZ\^f^gm
7    [r ma^ O\ahhe @blmkb\m Zg] ma^ OmZm^ phne] ebd^er [^ Z _Z\mhk \hglb]^k^]: ma^ l^kbhnlg^ll
8    h_ ihm^gmbZe ]blhk]^kl Zg] ]bl^Zl^l (bg\en]bg` k^ikh]n\mbo^ mhqb\bmr Zg] \Zg\^kl) \Znl^]
0/   [r L?> ^qihlnk^ bl ^qmk^f^er ab`a+ ^li^\bZeer \hglb]^kbg` ma^ oneg^kZ[bebmr h_ \abe]k^g:
00   ma^ \hlm Zg] _^Zlb[bebmr h_ ^ebfbgZmbg` hk fbgbfbsbg` ma^ kbld Zk^ ln[lmZgmbZe: Zg] hma^k
01   _Z\mhkl Zl ]bl\ho^kr fZr k^o^Ze- Id.
02          IhglZgmh{l L?>l p^k^ ghm k^ZlhgZ[er lZ_^ [^\Znl^ Z]^jnZm^ pZkgbg`l hk
03   bglmkn\mbhgl p^k^ ghm ikhob]^]+ Zg] mabl pZl Z ikhqbfZm^ \Znl^ h_ LeZbgmb__l{ bgcnkb^l- =l Z
04   k^lnem+ IhglZgmh bl ebZ[e^ _hk LeZbgmb__l{ ]ZfZ`^l-
05          5-     ;QIJQTQ\a NWZ NIQT]ZM \W XZW^QLM _IZVQVO[ IN\MZ UIV]NIK\]ZM "F?8
06   ))('(+'()#' = fZgn_Z\mnk^k aZl Z ]nmr mh lniier ikh]n\ml maZm Zk^ k^ZlhgZ[er lZ_^- =
07   ikh]n\m fZr [^ ghm k^ZlhgZ[er lZ_^ [^\Znl^ Z]^jnZm^ pZkgbg`l hk bglmkn\mbhgl p^k^ ghm
08   ikhob]^] Z_m^k ma^ ikh]n\m pZl fZgn_Z\mnk^]- 5 SZla- LkZ\-+ SZla- LZmm^kg Fnkr Eglmk-
1/   ?bo- SLE 00/-/2-/0 (5ma ^]-)- L?>l Zk^ ghm k^ZlhgZ[er lZ_^ [^\Znl^ Z]^jnZm^ pZkgbg`l
10   hk bglmkn\mbhgl p^k^ ghm ikhob]^] Z_m^k ma^r p^k^ fZgn_Z\mnk^]9 (0) IhglZgmh e^Zkg^]+ hk
11   Z k^ZlhgZ[er ikn]^gm fZgn_Z\mnk^k lahne] aZo^ e^Zkg^]+ Z[hnm ma^ ]Zg`^kl \hgg^\m^]
12   pbma L?>l (pabe^ Zg]) Z_m^k ma^r p^k^ fZgn_Z\mnk^]: (1) pbmahnm Z]^jnZm^ pZkgbg`l hk
13   bglmkn\mbhgl+ L?>l Zk^ nglZ_^ mh Zg ^qm^gm [^rhg] maZm pab\a phne] [^ \hgm^fieZm^] [r
14   Zg hk]bgZkr nl^k ln\a Zl ma^ O\ahhe @blmkb\m+ ma^ OmZm^+ hk ma^ LeZbgmb__l: Zg] (2) IhglZgmh
15   _Zbe^] mh ikhob]^ pZkgbg`l hk bglmkn\mbhgl \hg\^kgbg` ma^ ]Zg`^kl h_ L?>l bg ma^ fZgg^k
16   maZm Z k^ZlhgZ[er ikn]^gm fZgn_Z\mnk^k phne] Z\m bg ma^ lZf^ hk lbfbeZk \bk\nflmZg\^l-
17   >^\Znl^ IhglZgmh ]b] ghm ikhob]^ Z]^jnZm^ pZkgbg`l hk bglmkn\mbhgl Z_m^k bml L?>l p^k^


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     COMPLAINT - 97                                                                6:8=7 <894;;;=
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0    fZgn_Z\mnk^] Zg] mabl pZl Z ikhqbfZm^ \Znl^ h_ LeZbgmb__l{ bgcnkb^l+ IhglZgmh bl ebZ[e^
1    _hk LeZbgmb__l{ ]ZfZ`^l-
2           6-     =W c][MN]T [INM TQNMd LMNMV[M% [\I\]\M LWM[ VW\ IXXTa' = lmZmnm^ h_ k^ihl^
3    ^gZ\m^] bg 0870 ikhob]^l Z ]^_^gl^ mh lhf^ ikh]n\m fZgn_Z\mnk^kl- Em ikhob]^l maZm xZ
4    ikh]n\m l^ee^k laZee ghm [^ ln[c^\m mh ebZ[bebmr mh Z \eZbfZgm _hk aZkf ng]^k mabl \aZim^k b_
5    ma^ ikh]n\m l^ee^k ikho^l [r Z ik^ihg]^kZg\^ h_ ma^ ^ob]^g\^ maZm ma^ aZkf pZl \Znl^]
6    Z_m^k ma^ ikh]n\m{l znl^_ne lZ_^ eb_^{ aZ] ^qibk^]-y N?S 6-61-/5/(0)- Pa^ lmZmnm^ Zelh
7    ikhob]^l maZm xzQl^_ne lZ_^ eb_^{ [^bg`l Zm ma^ mbf^ h_ ]^ebo^kr h_ ma^ ikh]n\m Zg] ^qm^g]l
8    _hk ma^ mbf^ ]nkbg` pab\a ma^ ikh]n\m phne] ghkfZeer [^ ebd^er mh i^k_hkf hk [^ lmhk^] bg
0/   Z lZ_^ fZgg^k-y N?S 6-61-/5/(0)- Pa^ lmZmnm^ \k^Zm^l Z ik^lnfimbhg9 xE_ ma^ aZkf pZl
00   \Znl^] fhk^ maZg mp^eo^ r^Zkl Z_m^k ma^ mbf^ h_ ]^ebo^kr Wh_ ma^ ikh]n\mX+ Z ik^lnfimbhg
01   Zkbl^l maZm ma^ aZkf pZl \Znl^] Z_m^k ma^ nl^_ne lZ_^ eb_^ aZ] ^qibk^]- Pabl ik^lnfimbhg
02   fZr hger [^ k^[nmm^] [r Z ik^ihg]^kZg\^ h_ ma^ ^ob]^g\^-y N?S 6-61-/5/(1)-
03          IhglZgmh{l L?>l p^k^ bglmZee^] bg ma^ l\ahhe [nbe]bg`l _khf ma^ 084/l makhn`a
04   ma^ 086/l- =emahn`a ma^ L?>,\Znedbg` Zg] L?>,eb`am [ZeeZlml \hgmbgn^] mh aZo^ useful
05   ikh]n\m ebo^l ni mh ma^ mbf^ h_ k^f^]bZmbhg bg 1/05+ ma^ L?>l ma^fl^eo^l g^o^k aZ] safe
06   ebo^l ]n^ mh ma^bk ^qmk^f^ mhqb\bmr- IhglZgmh dg^p maZm L?>l p^k^ mhqb\+ [nm bm ikhob]^]
07   gh Z]^jnZm^ pZkgbg`l- =l Z k^lnem+ ma^ in[eb\ ^gmbmr @^_^g]Zgml p^k^ e^_m ngbg_hkf^] [r
08   ma^ fZgn_Z\mnk^k Z[hnm ma^ ^qm^gm h_ ma^ mkn^ ]Zg`^kl h_ L?>l- Qi mh ma^ ik^l^gm ]Zr+
1/   L?>l k^fZbg^] Zl mhqb\ Zl ma^r p^k^ pa^g IhglZgmh ikh]n\^] Zg] ikhfhm^] ma^f- >r
10   ma^ 087/l+ ma^ AL= m^kf^] L?>l x^qmk^f^er mhqb\-y Pa^ lmZmnm^ h_ k^ihl^ k^jnbk^l Z
11   ikh]n\m mh aZo^ aZ] Z nl^_ne lZ_^ eb_^ pa^g fZgn_Z\mnk^]: ma^ ieZbg f^Zgbg` h_ xlZ_^+y
12   ahp^o^k+ ]h^l ghm bg\en]^ x^qmk^f^er mhqb\-y @n^ mh ma^bk ^qmk^f^ mhqb\bmr+ IhglZgmh{l
13   L?>l g^o^k aZ] Z lZ_^ eb_^- L?>l Zk^ ghm Zg] p^k^ ghm k^ZlhgZ[er lZ_^ ikh]n\ml- L?>l
14   p^k^ Zg] lmbee Zk^ ngZohb]Z[er nglZ_^ ikh]n\ml- = ]^_^gl^ maZm Ziieb^l mh ikh]n\ml aZobg`
15   Z xnl^_ne lZ_^ eb_^y \Zgghm Zg] ]h^l ghm Ziier mh L?>l-
16          7-     =W c][MN]T [INM TQNMd LMNMV[M% \PM QVLMNQVQ\M XMZ[Q[\MVKM WN ?21[ UMIV[
17   IV QVLMNQVQ\M c][MN]Td TQNM' Eg ma^ Zem^kgZmbo^+ ma^ \a^fb\Ze lmZ[bebmr Zg] i^klblm^g\^ h_


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                                                                                 - %"..(% 1" ?>989
     COMPLAINT - 98                                                                6:8=7 <894;;;=
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0    L?>l f^Zgl ma^r aZo^ Zg bg]^_bgbm^er ehg` xnl^_ney eb_^- Eg ma^ l\ahhe [nbe]bg`l+ ma^
1    L?>,eb`am [ZeeZlml \hgmbgn^] mh i^k_hkf ma^bk _ng\mbhgl _hk ]^\Z]^l+ bg _Z\m+ ngmbe 1/05
2    pa^g ma^r p^k^ ngbglmZee^]- Hbd^pbl^+ ma^ L?>,\hgmZbgbg` \Znedbg` \hgmbgn^] mh i^k_hkf
3    bml _ng\mbhg h_ l^Zebg` `Zil [^mp^^g pZeel+ pbg]hp _kZf^l+ Zg] fZlhgkr chbgml+ ngmbe ma^
4    \Znedbg` pZl k^fho^] bg 1/05- Pa^ nmbebmr h_ ma^ L?>l \hgmbgn^] ngbgm^kknim^] _khf ma^
5    mbf^ h_ ma^bk bglmZeeZmbhg bg ma^ l\ahhe [nbe]bg`l ngmbe 1/05+ Zg] ma^ L?>l i^k_hkf^] ma^bk
6    _ng\mbhgl makhn`ahnm maZm mbf^- N?S 6-61-/5/(0) (xzQl^_ne lZ_^ eb_^{ [^`bgl Zm ma^ mbf^
7    h_ ]^ebo^kr h_ ma^ ikh]n\m Zg] ^qm^g]l _hk ma^ mbf^ ]nkbg` pab\a ma^ ikh]n\m phne]
8    ghkfZeer [^ ebd^er mh i^k_hkfvy)- Pa^ ikh]n\m l^ee^k lmZmnm^ h_ k^ihl^ ikhob]^l
0/   IhglZgmh gh ]^_^gl^ bg mabl \Zl^-
00          8-     =W c][MN]T [INM TQNMd LMNMV[M% [\I\]\WZa M`KMX\QWV IXXTQM[' Eg ma^
01   Zem^kgZmbo^+ b_ ma^ ?hnkm _bg]l maZm L?>l aZ] Z lZ_^ eb_^+ ma^g Z lmZmnmhkr ^q\^imbhg Ziieb^l
02   mh ]^ikbo^ IhglZgmh h_ ma^ ]^_^gl^- x= ikh]n\m l^ee^k fZr [^ ln[c^\m mh ebZ[bebmr _hk aZkf
03   \Znl^] [r Z ikh]n\m [^rhg] bml nl^_ne lZ_^ eb_^ b_v Pa^ ikh]n\m l^ee^k bgm^gmbhgZeer
04   fblk^ik^l^gml _Z\ml Z[hnm bml ikh]n\m+ hk bgm^gmbhgZeer \hg\^Zel bg_hkfZmbhg Z[hnm bm+ Zg]
05   maZm \hg]n\m pZl Z ikhqbfZm^ \Znl^ h_ ma^ \eZbfZgm{l aZkf-y N?S 6-61-/5/(0)([)-
06   IhglZgmh aZl bgm^gmbhgZeer fblk^ik^l^gm^] _Z\ml Z[hnm L?>l+ hk aZl bgm^gmbhgZeer
07   \hg\^Ze^] bg_hkfZmbhg Z[hnm ma^f+ Zg] maZm \hg]n\m pZl Z ikhqbfZm^ \Znl^ h_ LeZbgmb__l{
08   aZkfl- Jh xnl^_ne lZ_^ eb_^y ]^_^gl^ Ziieb^l ng]^k mabl lmZmnmhkr ^q\^imbhg-
1/          0/-    B\I\]\M WN TQUQ\I\QWV[' Bhk ma^ LeZbgmb__l+ ma^ ikh]n\m ebZ[bebmr \eZbfl ]b]
10   ghm Z\\kn^ ngmbe likbg` h_ 1/05+ pa^g ma^ O\ahhe @blmkb\m{l ^gobkhgf^gmZe ar`b^gblml
11   k^ihkm^] maZm IhglZgmh{l L?>l \hgmZfbgZm^] ma^ l\ahhe [nbe]bg`l- N?S 6-61-/5/(2):
12   North Coast Air Services, Ltd. v. Grumman Corp.+ 000 Sg-1] 204+ 648 L-1] 3/4 (0877):
13   05 SZla- LkZ\-+ Phkm HZp Zg] LkZ\mb\^ t 0/905 (3ma ^]-) (K\m- 1/06 ni]Zm^) (x= mak^^ r^Zk
14   ]bl\ho^kr kne^ Ziieb^l+ pbma ma^ ikhoblbhg maZm ma^ lmZmnm^ [^`bgl mh kng pa^g zma^
15   \eZbfZgm ]bl\ho^k^] hk bg ma^ ^q^k\bl^ h_ ]n^ ]beb`^g\^ lahne] aZo^ ]bl\ho^k^] ma^ aZkf
16   Zg] bml \Znl^-{y)- xPa^ SZlabg`mhg Onik^f^ ?hnkm aZl a^e] maZm mabl lmZmnm^ ^qm^g]l ma^
17   ebfbmZmbhgl i^kbh] [^rhg] ma^ mbf^ pa^g ma^ aZkf h\\nkk^] bg \bk\nflmZg\^l pa^g ma^


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     COMPLAINT - 99                                                                6:8=7 <894;;;=
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0    \eZbfZgm phne] aZo^ gh k^Zlhg mh dghp Z[hnm ma^ \ZnlZe \hgg^\mbhg mh Z ]^_^\mbo^
1    ikh]n\m-y Id.+ \bmbg` North Coast Air Services, Ltd.+ 000 Sg-1] 204- >^_hk^ likbg` h_
2    1/05+ ma^ LeZbgmb__l aZ] gh k^Zlhg mh dghp maZm Zgr aZkf maZm h\\nkk^] pZl \Znl^] [r
3    L?>l Zg] maZm ma^r p^k^ fZgn_Z\mnk^] [r IhglZgmh-
4           00-    5WZM[MMIJQTQ\a' Bhk ]^\Z]^l+ IhglZgmh ikh]n\^] Zg] ikhfhm^] L?>l _hk Z
5    pb]^ oZkb^mr h_ Ziieb\Zmbhgl+ bg\en]bg` [nbe]bg` fZm^kbZel Zg] _bqmnk^l ln\a Zl \Znedbg`
6    Zg] eb`am [ZeeZlml- IhglZgmh{l L?>l p^k^ bglmZee^] bg ma^l^ l\ahhe [nbe]bg`l [^mp^^g ma^
7    084/l Zg] ma^ 086/l- Pa^l^ [nbe]bg` Ziieb\ZmbhglwZg] IhglZgmh{l L?>lwZk^ lmZ[e^
8    Zg] ]nkZ[e^- Em pZl _hk^l^^Z[e^ maZm IhglZgmh{l L?>l phne] [^ bglmZee^] bg ln\a
0/   [nbe]bg`l+ phne] i^klblm ni mh ma^ ik^l^gm ]Zr+ Zg] phne] aZkf i^hie^ ln\a Zl ma^
00   LeZbgmb__l- Pabl bl ]n^ mh l^o^kZe _Z\mhkl- Pa^ _bklm bl ma^ lmZ[bebmr Zg] ]nkZ[bebmr h_ L?>l+
01   dghpg mh IhglZgmh- L?>l ]h ghm k^Z]ber [k^Zd]hpg hk ]^\hfihl^- Pabl bl hg^ h_ ma^bk
02   nmbebmb^l Zg] Z k^Zlhg maZm IhglZgmh ikh]n\^] Zg] ikhfhm^] ma^f-
03          Pa^ l^\hg] bl ma^ dghpg ikhi^glbmr h_ L?>l mh fb`kZm^ _khf ma^bk lhnk\^l Zg]
04   \hgmZfbgZm^ ma^ lnkkhng]bg` ^gobkhgf^gm- IhglZgmh aZl dghpg _hk l^o^kZe ]^\Z]^l maZm
05   L?>l fb`kZm^ _khf ma^bk lhnk\^l bgmh ma^bk lnkkhng]bg` ^gobkhgf^gml Zg] aZkf ma^
06   hk`Zgblfl maZm ebo^ bg mahl^ ^gobkhgf^gml- Ko^k ma^ r^Zkl+ ma^ L?>l fb`kZm^] _khf ma^bk
07   lhnk\^l bg \Znedbg` Zg] eb`am [ZeeZlml bgmh ma^ lnkkhng]bg` [nbe]bg` fZm^kbZel ln\a Zl
08   [kb\dl+ \Zki^ml+ Zg] eb[kZkr [hhdl+ Zee h_ pab\a Zk^ Z[lhkimbo^ Zg] Z\m Zl Z mhqb\ xlbgd-y =l
1/   lahpg [r ma^ AL=+ ma^ mhqb\ lbgd ma^g Z\ml Zl Z l^\hg]Zkr lhnk\^ h_ mhqb\ ^qihlnk^ mh
10   h\\niZgml h_ ma^ l\ahhe [nbe]bg`l+ bg Z]]bmbhg mh ma^ hg`hbg` ikbfZkr lhnk\^l h_ L?>
11   ^qihlnk^- Eg k^\^gm r^Zkl+ libd^l bg bg]hhk Zbk mhqb\bmr h\\nkk^] ]n^ mh L?>,eb`am [ZeeZlm
12   _Zbenk^l bg pab\a L?> ebjnb] ]kbii^] hgmh \Zki^ml Zg] ]^ldl bg \eZllkhhfl+ Zg] bg pab\a
13   _Zbebg` L?>,eb`am [ZeeZlml o^gm^] oZihkl Zg] irkhers^] [rikh]n\ml ln\a Zl ]bhqbgl Zg]
14   _nkZglwpab\a Zk^ ab`aer mhqb\ Zl p^ee Zl _hk^l^^Z[e^ [rikh]n\mlwbgmh \eZllkhhf Zbk-
15   Pa^ ho^kZee mhqb\bmr h_ ma^ l\ahhe [nbe]bg`l `kZ]nZeer bg\k^Zl^] ^o^kr r^Zk ngmbe 1/05+
16   pa^g bgli^\mhkl ]bl\ho^k^] ma^ L?> \hgmZfbgZmbhg Zg] ma^ D^Zema @blmkb\m hk]^k^] ma^
17   O\ahhe @blmkb\m mh k^f^]bZm^ ma^ [nbe]bg`l-


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     COMPLAINT - 100                                                                6:8=7 <894;;;=
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0           Pa^ mabk] _Z\mhk fZdbg` ma^ i^klblm^g\^ h_ L?>l _hk^l^^Z[e^ bg ma^l^ l\ahhe
1    [nbe]bg`l bl maZm IhglZgmh ikhob]^] gh pZkgbg`l k^`Zk]bg` ma^bk mhqb\bmr- IhglZgmh{l
2    dghpbg` bgZ\mbhg fZ]^ bm fhk^ ebd^er maZm ma^ hma^k @^_^g]Zgml phne] ghm Z\m+ \Znlbg`
3    fhk^ i^hie^+ bg\en]bg` l\ahhe \abe]k^g+ mh [^\hf^ ihblhg^] [r IhglZgmh{l L?>l- Eg
4    lahkm+ bm pZl _hk^l^^Z[e^ maZm IhglZgmh{l L?>l phne] [^ e^_m bg ieZ\^ _hk ]^\Z]^l bg ma^
5    l\ahhe [nbe]bg`l pabe^ \hgmZfbgZmbg` mahl^ [nbe]bg`l Zg] lehper ihblhgbg` ma^ i^hie^
6    pah nl^ ma^ [nbe]bg`l-
7           Em pZl Zelh _hk^l^^Z[e^ maZm hma^k i^hie^ Zg] ^gmbmb^l fZr [^ g^`eb`^gm bg ma^bk
8    ikhoblbhg+ fZbgm^gZg\^+ bgli^\mbhg+ hk lni^koblbhg h_ ma^ l\ahhe [nbe]bg`l+ ^li^\bZeer ]n^
0/   mh IhglZgmh{l _Zbenk^l mh pZkg- =gr Zee^`Zmbhg [r IhglZgmh h_ xfblnl^y h_ mhqb\ L?>,
00   \hgmZbgbg` ikh]n\ml [r hma^k @^_^g]Zgml+ mabk] iZkmb^l+ hk ^o^g ma^ LeZbgmb__l+ pZl Z
01   _hk^l^^Z[e^ xfblnl^y bg iZkm _hk mabl k^Zlhg- N^`Zk]e^ll+ Z ikh]n\m \Zg [^ xghm k^ZlhgZ[er
02   lZ_^y ^o^g mahn`a ma^ kbld maZm bm phne] \Znl^ ma^ ieZbgmb__{l aZkf hk lbfbeZk aZkfl pZl
03   ghm _hk^l^^Z[e^ [r ma^ fZgn_Z\mnk^k Zm ma^ mbf^ ma^ ikh]n\m e^_m ma^ fZgn_Z\mnk^k{l
04   \hgmkhe- See SLE 000-/1+ ,-/2 ([kZ\d^m^] fZm^kbZe)- L?>l p^k^ ghm Zg] lmbee Zk^ ghm
05   k^ZlhgZ[er lZ_^- IhglZgmh bl lmkb\mer ebZ[e^ _hk LeZbgmb__l{ ]ZfZ`^l-
06          01-    <Q[[W]ZQ M`MUXTIZa LIUIOM[ IXXTa' xSZlabg`mhg \hnkml pbee Ziier ma^
07   ingbmbo^ ]ZfZ`^l eZp h_ hma^k cnkbl]b\mbhgl bg ikh]n\m ebZ[bebmr \Zl^l+ b_ pZkkZgm^] ng]^k
08   \ahb\^ h_ eZp ikbg\bie^l- Eg ln\a Z lbmnZmbhg+ ma^ cnkr bglmkn\mbhgl hg ingbmbo^ ]ZfZ`^l
1/   lahne] \hg_hkf mh ma^ eZpl h_ ma^ hma^k lmZm^-y 5 SZla- LkZ\-+ SZla- LZmm^kg Fnkr Eglmk-
10   ?bo- SLE 00/-// (5ma ^]-)+ \bmbg` Singh v. Edwards Lifesciences Corp.+ 040 Sg- =ii-
11   026+ 032,33+ 10/ L-2] 226 (1//8)- Qg]^k Z \ahb\^ h_ eZp ZgZerlbl+ ma^ Ibllhnkb eZp h_
12   ingbmbo^ ]ZfZ`^l Ziieb^l [^\Znl^ IhglZgmh{l k^\de^ll ]^\blbhgl Zg] k^ik^a^glb[e^
13   \hg]n\m mhhd ieZ\^ Zm IhglZgmh{l a^Z]jnZkm^kl bg Ibllhnkb- Eg ikh]n\ml ebZ[bebmr \Zl^l
14   ng]^k Ibllhnkb eZp+ ^q^fieZkr hk ingbmbo^ ]ZfZ`^l Zk^ ZoZbeZ[e^ xb_ ma^ ]^_^g]Zgm aZ]
15   Z\mnZe dghpe^]`^ h_ ma^ ]^_^\m Zg] ma^ ]Zg`^k Zg] lahp^] \hfie^m^ bg]b__^k^g\^ hk
16   \hgl\bhnl ]blk^`Zk] _hk ma^ lZ_^mr h_ hma^kl [r l^eebg` ma^ ikh]n\m ZgrpZr-y 23 Ih- LkZ\-+
17   L^klhgZe Egcnkr Zg] Phkml DZg][hhd t 4-3 (1/06 ^]-)+ u 06(^)- IhglZgmh ikh]n\^] Zg]


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0    ikhfhm^] L?>l+ Zg ngk^ZlhgZ[er ]Zg`^khnl ikh]n\m+ pbma Z\mnZe dghpe^]`^ h_ ma^bk
1    ]Zg`^kl- Id. Zm u 00- IhglZgmh dghpbg`er \hg\^Ze^] ma^ aZsZk]l h_ bml L?>l Zg]
2    fZkd^m^] ma^f Zl lZ_^ _hk hi^g Zg] \ehl^] Ziieb\Zmbhgl bg hk]^k mh fZqbfbs^ IhglZgmh{l
3    ikh_bml _khf L?> lZe^l- See, e.g., City of San Jose v. Monsanto Co.+ 120 B- Onii- 2] 246+
4    255 (J-@- ?Ze- 1/06) (]^grbg` IhglZgmh{l fhmbhg mh ]blfbll ma^ \eZbf _hk ingbmbo^
5    ]ZfZ`^l hg ma^l^ _Z\ml pabe^ ahe]bg` maZm ma^ ?bmb^l lmZm^] Z \eZbf _hk in[eb\ gnblZg\^
6    [Zl^] hg L?> \hgmZfbgZmbhg)-
7       5'         ?]JTQK MV\Q\a VMOTQOMVKM'
8            0-    B\IVLQVO WN \PM B\I\M \W JM []ML' Pa^ OmZm^ fZr [^ ln^] _hk bml
0/   pkhg`]hbg` maZm ]ZfZ`^l bml k^lb]^gml9 xPa^ lmZm^ h_ SZlabg`mhg+ pa^ma^k Z\mbg` bg bml
00   `ho^kgf^gmZe hk ikhikb^mZkr \ZiZ\bmr+ laZee [^ ebZ[e^ _hk ]ZfZ`^l Zkblbg` hnm h_ bml
01   mhkmbhnl \hg]n\m mh ma^ lZf^ ^qm^gm Zl b_ bm p^k^ Z ikboZm^ i^klhg hk \hkihkZmbhg-y N?S
02   3-81-/8/- Pa^ OmZm^{l xpZbo^k Wh_ bffngbmrX bl o^kr [khZ]-y OmZm^ h_ SZlabg`mhg FH=N?
03   N^ihkm 00,7 (1/00)9 OmZm^ Nbld IZgZ`^f^gm LkZ\mb\^l bg SZlabg`mhg Zm 4-
04           1-    B\I\Me[ LQZMK\ TQIJQTQ\a NWZ VMOTQOMVKM' x= i^klhg \hg]n\mbg` Zg Z\mbobmr
05   makhn`a l^koZgml hk hma^k Z`^gml bl ln[c^\m mh ebZ[bebmr _hk aZkf k^lnembg` _khf abl \hg]n\m
06   b_ a^ bl g^`eb`^gm hk k^\de^ll (Z) bg `bobg` bfikhi^k hk Zf[b`nhnl hk]^kl hk bg _Zbebg` mh
07   fZd^ ikhi^k k^`neZmbhgl-y N^lmZm^f^gm (O^\hg]) h_ =`^g\r+ t 102(Z): see also ?hff^gm
08   ` (xEgZ]^jnZm^ k^`neZmbhgl- = fZlm^k bl g^`eb`^gm b_ a^ _Zbel mh nl^ \Zk^ mh ikhob]^ ln\a
1/   k^`neZmbhgl Zl Zk^ k^ZlhgZ[er g^\^llZkr mh ik^o^gm ng]n^ kbld h_ aZkf mh mabk] i^klhgl hk
10   mh hma^k l^koZgml _khf ma^ \hg]n\m h_ mahl^ phkdbg` ng]^k abf- O^^ t 4/7 Zg] ma^
11   N^lmZm^f^gm h_ Phkml+ t 206- Kg^ pah ^g`Z`^l bg Zg ^gm^kikbl^ bl ng]^k Z ]nmr mh
12   Zgmb\biZm^ Zg] mh `nZk] Z`Zbglm ma^ anfZg mkZbml h_ abl ^fiehr^^l pab\a nge^ll k^`neZm^]
13   Zk^ ebd^er mh aZkf hma^kl- D^ bl ebd^pbl^ k^jnbk^] mh fZd^ ln\a k^ZlhgZ[e^ k^`neZmbhgl Zl
14   ma^ lbs^ hk \hfie^qbmr h_ abl [nlbg^ll fZr k^jnbk^-y)- Pa^ OmZm^ `Zo^ bfikhi^k hk
15   Zf[b`nhnl hk]^kl hk _Zbe^] mh fZd^ ikhi^k k^`neZmbhgl k^ZlhgZ[er g^\^llZkr mh ik^o^gm
16   ng]n^ kbld h_ aZkf mh \abe]k^g Zg] Z]neml Zm Odr RZee^r A]n\Zmbhg ?^gm^k- Pa^ OmZm^
17   g^`eb`^gmer ikhob]^]+ fZbgmZbg^]+ Zg] lni^kobl^] ^]n\Zmbhg bg ma^l^ l\ahhe [nbe]bg`l-


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0    Pa^ OmZm^{l g^`eb`^g\^ ^qihl^] ma^ LeZbgmb__l mh mhqb\ \a^fb\Zel Zg] \Znl^] aZkf- Pa^
1    OmZm^ bl ]bk^\mer ebZ[e^ mh ma^ LeZbgmb__l _hk bml hpg g^`eb`^g\^-
2           2-     B\I\Me[ ^QKIZQW][ TQIJQTQ\a \PZW]OP VMOTQOMVKM WN Q\[ IOMV\[' =gr
3    g^`eb`^g\^ h_ Z OmZm^ Z`^gm pbmabg ma^ l\hi^ h_ abl hk a^k Znmahkbmr bl ma^ g^`eb`^g\^ h_
4    ma^ OmZm^- 5 SZla- LkZ\-+ SZla- LZmm^kg Fnkr Eglmk- ?bo- SLE 4/-/2 (5ma ^]-) (fh]b_b^])-
5    ?hglmbmnmbhgZe Zg] lmZmnmhkr ikhoblbhgl xbfihl^ hg ma^ lmZm^ Zg h[eb`Zmbhg mh ikhob]^ Zg
6    bgm^`kZm^] lrlm^f h_ Z`^g\b^l _hk ma^ Z\jnblbmbhg+ \hglmkn\mbhg+ _bgZg\bg`+ Z]fbgblmkZmbhg+
7    lni^koblbhg+ fZbgm^gZg\^+ Zg] hi^kZmbhg h_ in[eb\ l\ahhel-y Nh[^km B- Qmm^k Zg] Dn`a @-
8    Oibms^k+ Pa^ SZlabg`mhg OmZm^ ?hglmbmnmbhg 043 (1//1): State ex. Rel. DuPont-Fort Lewis
0/   School Dist. No. 7 v. Bruno+ 51 Sg-1] 68/+ 273 L-1] 5/7 (0852)- xPa^ lmZm^ ^q^k\bl^l bml
00   lho^k^b`g ihp^kl Zg] _ne_beel bml ]nmb^l h_ ikhob]bg` ^]n\Zmbhg eZk`^er [r f^Zgl h_ Z
01   in[eb\ l\ahhe lrlm^f ng]^k ma^ ]bk^\mbhg Zg] Z]fbgblmkZmbhg h_ ma^ OmZm^ Oni^kbgm^g]^gm
02   h_ Ln[eb\ Eglmkn\mbhg+ OmZm^ >hZk] h_ A]n\Zmbhg+ l\ahhe ]blmkb\ml+ Zg] \hngmr l\ahhe
03   [hZk]l-y Edmonds School Dist. No. 15 v. City of Mountlake Terrace+ 66 Sg-1] 5/8+ 500+
04   354 L-1] 066 (086/): see also N^lmZm^f^gm (O^\hg]) h_ =`^g\r+ t 103 (0847)- OmZm^
05   ^fiehr^^l g^`eb`^gmer ikhob]^]+ bgli^\m^]+ fZbgmZbg^]+ hi^kZm^]+ Zg] lni^kobl^] ma^
06   ^]n\Zmbhg bg ma^l^ l\ahhe [nbe]bg`l+ \Znlbg` LeZbgmb__l mh [^\hf^ ^qihl^] mh mhqb\
07   \a^fb\Zel Zg] ln__^k ]ZfZ`^l- Pa^ OmZm^ bl ob\Zkbhnler ebZ[e^ _hk mabl g^`eb`^gm \hg]n\m-
08          3-     B\I\Me[ ^QKIZQW][ TQIJQTQ\a \PZW]OP IK\QVO QV KWVKMZ\' Pa^ OmZm^+ Ihgkh^
1/   O\ahhe @blmkb\m+ Zg] Qgbhg Db`a Zk^ [hng] mh`^ma^k bg Z chbgm h[eb`Zmbhg9 xZ l\ahhe
10   ]blmkb\m bl Z \hkihkZm^ Zkf h_ ma^ lmZm^ ^lmZ[ebla^] Zl Z f^Zgl h_ \Zkkrbg` hnm ma^ lmZm^{l
11   \hglmbmnmbhgZe ]nmb^l Zg] ^q^k\blbg` ma^ lho^k^b`g{l ihp^kl bg ikhob]bg` ^]n\Zmbhg-y
12   Edmonds School Dist. No. 15 v. City of Mountlake Terrace+ 66 Sg-1] 5/8+ 500,01+ 354
13   L-1] 066 (086/)- Oi^\b_b\Zeer+ xbg ma^ fZmm^k h_ ^]n\Zmbhg+ Z l\ahhe ]blmkb\m bl ]^^f^] mh
14   [^ Zg Zkf h_ ma^ lmZm^ _hk ma^ Z]fbgblmkZmbhg h_ ma^ l\ahhe lrlm^f-y Edmonds School Dist.+
15   66 Sg-1] Zm 503+ \bmbg` Howard v. Tacoma School Dist. No. 10+ 77 SZla- 056+ 041 L-
16   0//3 (0804)- xEm _heehpl maZm ma^ l\ahhe ]blmkb\m ^q^k\bl^l ma^ iZkZfhngm ihp^k h_ ma^
17   lmZm^ bg ikhob]bg` ^]n\Zmbhg Zg] \Zkkb^l hnm ma^ pbee h_ ma^ lho^k^b`g lmZm^ Zl mh Zee fZmm^kl


                                                                            &,'%$)"* 5 ,/#'* +((+
                                                                             <9 / *'0%,-'.2 - .,%%. 3 - /'.% :89
                                                                                    - %"..(% 1" ?>989
     COMPLAINT - 103                                                                  6:8=7 <894;;;=
                                                                                                                Electronically Filed - St Louis County - August 03, 2022 - 02:35 PM
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0    bgoheo^] bg ma^ ^]n\ZmbhgZe ikh\^ll^l Zg] bg ma^ \hg]n\m+ hi^kZmbhg+ Zg] fZgZ`^f^gm h_
1    ma^ l\ahhel-y Id. Zm 503,504: see also State ex rel. DuPont-Fort Lewis School Dist. No. 7+
2    Pierce County v. Bruno+ 51 Sg-1] 68/+ 273 L-1] 5/7 (0852)- =l Z e^`Ze \hgl^jn^g\^+ ma^
3    OmZm^ bl ob\Zkbhnler ebZ[e^ _hk ma^ g^`eb`^g\^ h_ bml xZkfl+y ma^ Ihgkh^ O\ahhe @blmkb\m
4    Zg] Qgbhg Db`a+ maZm \Znl^] ]ZfZ`^ mh ma^ LeZbgmb__l bg mabl \Zl^-
5           4-     B\I\Me[ XIZIUW]V\% VWVLMTMOIJTM L]\a' xEm bl ma^ iZkZfhngm ]nmr h_ ma^
6    lmZm^ mh fZd^ Zfie^ ikhoblbhg _hk ma^ ^]n\Zmbhg h_ Zee \abe]k^g k^lb]bg` pbmabg bml
7    [hk]^klvy SZla- ?hglm-+ =km- ET+ t 0: McCleary v. State+ 062 Sg-1] 366+ 41/+ 158 L-2]
8    116 (1/01) (xiZkZfhngmy f^Zgl xaZobg` ma^ ab`a^lm kZgd maZm bl lni^kbhk mh Zee hma^klv
0/   ma^ OmZm^{l _bklm Zg] ab`a^lm ikbhkbmr [^_hk^ Zgr hma^k OmZm^ ikh`kZfl hk hi^kZmbhgly):
00   Seattle School Dist. v. State+ 8/ Sg-1] 365+ 400+ 403+ 474 L-1] 60 (0867)- Pabl bl ma^
01   hger ]^\eZkZmbhg bg ma^ OmZm^ ?hglmbmnmbhg xmaZm Z li^\b_b^] lmZm^ _ng\mbhg bl ma^ lmZm^{l
02   ziZkZfhngm ]nmr-{y Nh[^km B- Qmm^k Zg] Dn`a @- Oibms^k+ Pa^ SZlabg`mhg OmZm^
03   ?hglmbmnmbhg 043 (1//1): Seattle School Dist.+ 8/ Sg-1] Zm 412- Pabl iZkZfhngm ]nmr bl
04   xfZg]Zmhkry hg ma^ OmZm^+ Zg] xma^ OmZm^ fZr ]bl\aZk`^ bml ]nmr hger [r i^k_hkfZg\^-y
05   Seattle School Dist.+ 8/ Sg-1] Zm 4//+ 402: SZla- ?hglm-+ =km- E+ t 18- Pa^ iZkZfhngm
06   ]nmr h_ ma^ OmZm^ x\k^Zm^l Z \hkk^eZmbo^ kb`am hg [^aZe_ h_ Zee \abe]k^g k^lb]bg` pbmabg ma^
07   [hk]^kl h_ ma^ lmZm^-y Seattle School Dist. v. State+ 8/ Sg-1] 365+ 40/,02+ 474 L-1] 60
08   (0867)- Pabl bl Z xmkn^ kb`amy \k^Zm^] [r Z xihlbmbo^ \hglmbmnmbhgZe `kZgm-y xLhlbmbo^
1/   \hglmbmnmbhgZe kb`aml ]h ghm k^lmkZbg `ho^kgf^gm Z\mbhg: ma^r k^jnbk^ bm-y McCleary v.
10   State+ 062 Sg-1] 366+ 407,08+ 158 L-2] 116 (1/01)-
11          5-     B\I\Me[ L]\a \W XZW^QLM% M[\IJTQ[P% UIQV\IQV% IVL []XMZ^Q[M ZMI[WVIJTa
12   [INM [KPWWT J]QTLQVO[' xLkhoblbhg laZee [^ fZ]^ _hk ma^ ^lmZ[eblaf^gm Zg] fZbgm^gZg\^
13   h_ lrlm^fl h_ in[eb\ l\ahhel _k^^ _khf l^\mZkbZg \hgmkhe pab\a laZee [^ hi^g mh Zee ma^
14   \abe]k^g h_ ma^ lZb] lmZm^-y SZla- ?hglm-+ =km- TTRE+ t 3- Pa^ OmZm^ xlaZee ikhob]^ _hk Z
15   `^g^kZe Zg] ngb_hkf lrlm^f h_ in[eb\ l\ahhel-y SZla- ?hglm-+ =km- ET+ t 1- xPa^
16   ^lmZ[eblaf^gm Zg] fZbgm^gZg\^ h_ ma^ in[eb\ l\ahhel makhn`ahnm ma^ lmZm^ Zk^ ^ll^gmbZe
17   Zg] Zk^ ikbfZkber Z lmZm^ inkihl^-y Nh[^km B- Qmm^k Zg] Dn`a @- Oibms^k+ Pa^ SZlabg`mhg


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     COMPLAINT - 104                                                               6:8=7 <894;;;=
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0    OmZm^ ?hglmbmnmbhg 045 (1//1)- xPa^ lni^kbgm^g]^gm h_ in[eb\ bglmkn\mbhg laZee aZo^
1    lni^koblbhg ho^k Zee fZmm^kl i^kmZbgbg` mh in[eb\ l\ahhel+ Zg] laZee i^k_hkf ln\a li^\b_b\
2    ]nmb^l Zl fZr [^ ik^l\kb[^] [r eZp-y SZla- ?hglm-+ =km- EEE+ t 11- Pa^l^ \hglmbmnmbhgZe
3    ikhoblbhgl bfihl^ ]nmb^l hg ma^ OmZm^ mh ikhob]^+ ^lmZ[ebla+ fZbgmZbg+ Zg] lni^kobl^ xZee
4    fZmm^kl i^kmZbgbg` mh in[eb\ l\ahhel-y
5           Eg Z]]bmbhg+ ma^ OmZm^ aZl ma^ x_ng]Zf^gmZe k^lihglb[bebmry mh ikhm^\m ma^ in[eb\{l
6    a^Zema- N?S 32-6/-401(0) (xLkhm^\mbg` ma^ in[eb\{l a^Zema Z\khll ma^ lmZm^ bl Z
7    _ng]Zf^gmZe k^lihglb[bebmr h_ ma^ lmZm^y): N?S 32-6/-//4 (xPa^ e^`bleZmnk^ _bg]l Zg]
8    ]^\eZk^l maZm bm bl h_ bfihkmZg\^ mh ma^ i^hie^ h_ SZlabg`mhg lmZm^ mh ebo^ bg Z a^Zemar
0/   ^gobkhgf^gmy)- Pabl bg\en]^l ma^ lZ_^ fZgZ`^f^gm h_ aZsZk]hnl pZlm^- Pa^ OmZm^ dghpl
00   maZm ma^ xWlXZ_^ Zg] k^lihglb[e^ fZgZ`^f^gm h_ aZsZk]hnl pZlm^ bl g^\^llZkr mh ik^o^gm
01   Z]o^kl^ ^__^\ml hg ma^ ^gobkhgf^gm Zg] mh ikhm^\m in[eb\ a^Zema Zg] lZ_^mr-y N?S
02   6/-0/4-//4(1)- xPa^ a^Zema Zg] p^e_Zk^ h_ ma^ i^hie^ h_ ma^ lmZm^ ]^i^g] hg \e^Zg Zg]
03   ink^ ^gobkhgf^gmZe k^lhnk\^l ngZ__^\m^] [r aZsZk]hnl pZlm^ \hgmZfbgZmbhg-y N?S
04   6/-0/4-//4(0)- Oi^\b_b\Zeer+ mh ikhm^\m a^Zema bg l\ahhe [nbe]bg`l+ ma^ OmZm^ fnlm xZ]him
05   kne^l \hgmkheebg` in[eb\ a^Zema k^eZm^] mh ^gobkhgf^gmZe \hg]bmbhgl bg\en]bg` [nm ghm
06   ebfbm^] mh a^Zmbg`+ eb`ambg`+ o^gmbeZmbhg+ lZgbmZkr _Z\bebmb^l+ Zg] \e^Zgebg^ll bg in[eb\
07   _Z\bebmb^l bg\en]bg`v l\ahhel-y N?S 32-1/-/4/(1)(])- Ph ikhm^\m \abe]k^g Zg] Z]neml bg
08   l\ahhe [nbe]bg`l+ ma^ OmZm^ fnlm ^q^k\bl^ bml ]nmb^l bg iZkm makhn`a ma^ OmZm^ @^iZkmf^gm
1/   h_ D^Zema+ ma^ >hZk] h_ D^Zema+ Zg] bg \hgcng\mbhg pbma eh\Ze [hZk]l h_ a^Zema maZm xlaZee
10   ^g_hk\^ Zee kne^l Z]him^] [r ma^ lmZm^ [hZk] h_ a^Zema-y N?S 32-1/-/4/(4)-
11          Em pZl _hk^l^^Z[e^wZg] ma^ OmZm^ Z\mnZeer dg^pwmaZm ma^l^ l\ahhe [nbe]bg`l p^k^
12   hk aZo^ [^^g \hgmZfbgZm^] pbma aZsZk]hnl pZlm^ hk mhqb\ ln[lmZg\^l ln\a Zl L?>l+ Zg]
13   maZm fblfZgZ`^f^gm \Zg aZkf ma^ h\\niZgml h_ mahl^ [nbe]bg`l+ bg\en]bg` ma^ l\ahhe
14   [nbe]bg`l bg mabl \Zl^- Pa^ OmZm^{l g^`e^\m Zg] g^`eb`^gm bgZ\mbhg k^`Zk]bg` mhqb\
15   \a^fb\Zel bg ma^l^ l\ahhe [nbe]bg`l \Znl^] _hk^l^^Z[e^ aZkf mh ma^ LeZbgmb__l-
16          6-     B\I\Me[ [\IVLIZL WN ZMI[WVIJTM KIZM NWZ XZW^Q[QWV% M[\IJTQ[PUMV\%
17   UIQV\MVIVKM% IVL []XMZ^Q[QWV WN \PM[M [KPWWT J]QTLQVO[' Ph`^ma^k pbma eh\Ze


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                                                                                - %"..(% 1" ?>989
     COMPLAINT - 105                                                              6:8=7 <894;;;=
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0    `ho^kgf^gmZe ^gmbmb^l+ ma^ OmZm^ fnlm ikhob]^+ ^lmZ[ebla+ fZbgmZbg+ Zg] lni^kobl^
1    k^ZlhgZ[er lZ_^ l\ahhe [nbe]bg`l _hk ma^ Odr RZee^r A]n\Zmbhg \hffngbmr mh ik^o^gm
2    bgcnkr Zg] mh ikhm^\m ma^ \abe]k^g Zg] Z]neml pah nl^ mahl^ [nbe]bg`l- N^ZlhgZ[er lZ_^
3    l\ahhe [nbe]bg`l ]h ghm ^qihl^ ma^bk h\\niZgml mh mhqb\ hk aZsZk]hnl \a^fb\Zel maZm \Znl^
4    bgcnkr hk ]bl^Zl^- OmZm^] ]b__^k^gmer+ l\ahhe [nbe]bg`l maZm ^qihl^ ma^bk h\\niZgml mh mhqb\
5    hk aZsZk]hnl \a^fb\Zel maZm \Znl^ bgcnkr hk ]bl^Zl^ Zk^ ghm k^ZlhgZ[er lZ_^- Pakhn`a bml
6    Z`^g\b^l Zg] ^fiehr^^l+ ma^ OmZm^ fnlm Zelh ikhob]^ k^ZlhgZ[er \Zk^_ne lni^koblbhg h_
7    l\ahhe ]blmkb\ml bg ma^bk ikhoblbhg Zg] fZbgm^gZg\^ h_ l\ahhe [nbe]bg`l- =emahn`a mabl
8    iZkZfhngm ]nmr mh ikhob]^ Zg] fZbgmZbg k^ZlhgZ[er lZ_^ l\ahhe [nbe]bg`l ikbfZkber
0/   [^g^_bml \abe]k^g+ ma^ ]nmr ^qm^g]l mh k^ZlhgZ[er _hk^l^^Z[e^ mabk] iZkmb^l ln\a Zl
00   m^Z\a^kl+ iZk^gml+ Zg] hma^k f^f[^kl h_ ma^ \hffngbmr-
01          7-     B\I\M ^QWTI\ML Q\[ L]\a' Pa^ ^qblm^g\^ h_ bgZ]^jnZm^ hk nga^Zema_ne l\ahhe
02   [nbe]bg`l \Zg \hglmbmnm^ obheZmbhgl h_ ma^ OmZm^{l \hglmbmnmbhgZe ]nmr mh \abe]k^g- Seattle
03   School Dist. v. State+ 8/ Sg-1] 365+ 413,415+ 474 L-1] 60 (0867) (OmZm^ obheZm^] bml
04   \hglmbmnmbhgZe ]nmr mh l\ahhe ]blmkb\m+ iZk^gml+ Zg] \abe]k^g pah p^k^ x_Z\^] pbma Z
05   ]^m^kbhkZmbg` iarlb\Ze ieZgmy Zg] eZ\d^] hma^k ^]n\ZmbhgZe g^\^llbmb^l): Ramsdell v. North
06   River School Dist.+ 0/3 Sg-1] 153+ 6/3 L-1] 5/5 (0874) (\bmbg` Seattle School Dist. Zg]
07   ghmbg` maZm bgZ]^jnZ\r h_ _Z\bebmb^l fZr [^ Z \hglmbmnmbhgZe obheZmbhg)- Pa^ OmZm^ obheZm^]
08   bml ]nmr h_ k^ZlhgZ[e^ \Zk^ [r Zeehpbg` L?>l Zg] hma^k mhqb\ \hgmZfbgZmbhg mh k^fZbg bg
1/   ma^l^ l\ahhe [nbe]bg`l- Pa^ mhqb\ ihblhgbg` h_ ma^ LeZbgmb__l pZl Z _hk^l^^Z[e^ Zg]
10   Zohb]Z[e^ \hgl^jn^g\^ h_ ma^ OmZm^{l g^`eb`^g\^-
11          @nkbg` ma^ l^o^kZe r^Zkl h_ ma^ g^`eb`^gm Z\ml Zg] hfbllbhgl maZm \Znl^] ma^ l\ahhe
12   [nbe]bg`l mh ihblhg ma^ LeZbgmb__l [r mhqb\ \hgmZfbgZmbhg+ ma^ OmZm^ pZl f^Zgpabe^
13   obheZmbg` bml ]nmr mh fZd^ Zfie^ ikhoblbhg _hk ^]n\Zmbhg- McCleary v. State+ 062 Sg-1]
14   366+ 421,426+ 158 L-2] 116 (1/01) (_bg]bg` ^]n\Zmbhg mh [^ xph^_neer ng]^k_ng]^]y)-
15   xPa^ OmZm^ aZl _Zbe^] mh f^^m bml ]nmr ng]^k =km- ET+ l^\- 0 [r \hglblm^gmer ikhob]bg`
16   l\ahhe ]blmkb\ml pbma Z e^o^e h_ k^lhnk\^l maZm _Zeel lahkm h_ ma^ Z\mnZe \hlml h_ ma^ [Zlb\
17   ^]n\Zmbhg ikh`kZf-y McCleary+ 062 Sg-1] Zm 436- xO\ahhe ]blmkb\mly bg\en]^ Ihgkh^


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     COMPLAINT - 106                                                               6:8=7 <894;;;=
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0    O\ahhe @blmkb\m Zg] Qgbhg Db`a- Pabl fZr [^ k^e^oZgm mh ma^ ^qm^gm Ihgkh^ O\ahhe
1    @blmkb\m hk Qgbhg Db`a Zee^`^ maZm Zgr g^`eb`^g\^ hg ma^bk iZkm pZl Z \hgl^jn^g\^ h_
2    ng]^k_ng]bg` [r ma^ OmZm^+ Zemahn`a ma^ O\ahhe @blmkb\m pZl \e^Zker Z[e^ mh k^f^]bZm^ ma^
3    [nbe]bg`l bg 1/05+ k^`Zk]e^ll h_ [n]`^mZkr \hglmkZbgml+ pa^g hk]^k^] mh ]h lh [r ma^
4    D^Zema @blmkb\m-
5           Pakhn`a bml Z`^g\b^l+ ]^iZkmf^gml+ Zg] ^fiehr^^l+ ma^ OmZm^ [k^Z\a^] bml ]nmb^l h_
6    k^ZlhgZ[e^ \Zk^ mh ma^ LeZbgmb__l [r ghm ikhob]bg` k^ZlhgZ[er lZ_^ l\ahhe [nbe]bg`l: [r ghm
7    fZbgmZbgbg` ma^ l\ahhe [nbe]bg`l _k^^ h_ mhqb\ Zg] aZsZk]hnl ln[lmZg\^l maZm \Znl^ bgcnkr
8    Zg] ]bl^Zl^: Zg] [r ghm ikhob]bg` k^ZlhgZ[er \Zk^_ne lni^koblbhg h_ Oghahfbla D^Zema
0/   @blmkb\m+ Ihgkh^ O\ahhe @blmkb\m+ Zg] Qgbhg Db`a+ Zl ma^r bgli^\m^]+ fZbgmZbg^]+ Zg]
00   Z]fbgblm^k^] ^]n\ZmbhgZe l^kob\^l Zm ma^ l\ahhe [nbe]bg`l ghp dghpg Zl Odr RZee^r
01   A]n\ZmbhgZe ?^gm^k- >Zl^] hg ma^ dghpg _Z\ml+ ma^ OmZm^ [k^Z\a^] bml ]nmb^l bg ma^l^ Zg]
02   hma^k pZrl Zl ]bl\ho^kr Zg] e^`Ze k^l^Zk\a fZr k^o^Ze-
03          8-     CPM B\I\M ZMUIQV[ QV KWV\MUX\ WN \PM B]XZMUM 2W]Z\ WN FI[PQVO\WV'
04   Pa^ OmZm^ aZl [^^g bg \hgm^fim h_ ma^ Onik^f^ ?hnkm{l McCleary ]^\blbhg pabe^ ma^
05   g^`eb`^g\^ k^`Zk]bg` ma^ l\ahhe [nbe]bg`l \Znl^] ma^ LeZbgmb__l mh [^ ^qihl^] mh mhqb\
06   \hgmZfbgZmbhg- McCleary v. State+ Jh- 73251,6 (SZla- O^im- 00+ 1/03) (hk]^k h_
07   \hgm^fim): (SZla- =n`nlm 02+ 1/04) (hk]^k bfihlbg` lZg\mbhg h_ $0//+/// i^k ]Zr
08   i^gZemr hg ma^ OmZm^ _hk ^Z\a ]Zr bm _Zbel mh Z]him Z \hfie^m^ ieZg mh \hfier pbma bml
1/   \hglmbmnmbhgZe ]nmr): (SZla- K\m- 5+ 1/05) (xfhg^mZkr lZg\mbhg h_ $0//+/// i^k ]Zr laZee
10   k^fZbg bg ieZ\^ Zg] \hgmbgn^ mh Z\\kn^ ngmbe ma^ OmZm^ ink`^l bml \hgm^fim [r Z]himbg` Z
11   \hfie^m^ e^`bleZmbo^ ieZg ]^fhglmkZmbg` ahp bm pbee _neer \hfier pbma Zkmb\e^ ET+ l^\mbhg
12   0 h_ ma^ SZlabg`mhg ?hglmbmnmbhg [r O^im^f[^k 0+ 1/07): (SZla- Jho- 04+ 1/06) (lZf^)-
13          0/-    B\I\Me[ ^QWTI\QWV[ KI][ML ?TIQV\QNN[e LIUIOM[' Pa^ OmZm^{l [k^Z\a^l h_ bml
14   ]nmb^l ^qihl^] ma^ LeZbgmb__l mh mhqb\ Zg] aZsZk]hnl ln[lmZg\^l maZm \Znl^] bgcnkr Zg]
15   ]bl^Zl^- Pa^ OmZm^{l g^`eb`^g\^ bl Z e^`Ze \Znl^ h_ LeZbgmb__l{ ]ZfZ`^l-
16          00-    =W CQ\TM ,) QUU]VQ\a' Pa^ OmZm^ bl ghm Zg ^fiehr^k h_ Zgr LeZbgmb__ Zg]
17   ma^k^_hk^ bl ghm ^gmbme^] mh \eZbf bffngbmr ng]^k Pbme^ 40- N?S 40-/7-/6/: Afoa v. Port


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0    of Seattle+ 065 Sg-1] 35/+ 371+ 185 L-2] 7// (1/02) (Lhkm h_ O^Zmme^ ebZ[e^ bg mhkm mh
1    bgcnk^] phkd^k ^fiehr^] [r mabk],iZkmr ^fiehr^k)- Pa^k^ Zk^ gh ^qik^ll \hgmkZ\ml hk Z\ml
2    maZm lahp Zgr h_ ma^ LeZbgmb__l hk ma^ OmZm^ k^\h`gbs^] hg^ Zl ma^ ^fiehr^^ Zg] ma^ hma^k
3    Zl ma^ ^fiehr^k- Hubbard v. Dept. of Labor and Indus.+ 087 SZla- 243+ 77 L-1] 312
4    (0828): Fisher v. City of Seattle+ 51 Sg-1] 7//+ 273 L-1] 741 (0852) (k^eZmbhglabi h_
5    ^fiehr^k Zg] ^fiehr^^ \Zgghm ^qblm pbmahnm \hgl^gm h_ ^fiehr^^ _hk inkihl^l h_
6    phkd^kl \hfi^glZmbhg eZpl)-
7           01-    B\I\M IVL X]JTQK MV\Q\a KTIQU[ IOIQV[\ <WV[IV\W' Eg 1/05+ ma^ OmZm^ ln^]
8    IhglZgmh ?hfiZgr+ OhenmbZ+ Eg\-+ Zg] LaZkfZ\bZ ?hkihkZmbhg _hk L?> \hgmZfbgZmbhg bg
0/   SZlabg`mhg+ Zee^`bg` in[eb\ gnblZg\^+ ikh]n\ml ebZ[bebmr (]^_^\mbo^ ]^lb`g)+ ikh]n\ml
00   ebZ[bebmr (_Zbenk^ mh pZkg)+ g^`eb`^g\^+ ^jnbmZ[e^ bg]^fgbmr+ Zg] lmZmnmhkr mk^liZll- Gbg`
01   ?hngmr Oni^kbhk ?hnkm+ ?Zl^ Jh- 05,1,18480,5,OA=- =`Zbglm ma^ IhglZgmh @^_^g]Zgml+
02   xma^ OmZm^ l^^dl ]ZfZ`^l+ bg\en]bg` hg [^aZe_ h_ bml^e_ Zg] hg [^aZe_ h_ bml k^lb]^gml bg bml
03   parens patriae \ZiZ\bmr+y _hk IhglZgmh{l L?> \hgmZfbgZmbhg bg ma^ OmZm^ h_ SZlabg`mhg-
04   ?hfieZbgm _hk @ZfZ`^l Zm 4- Qg]^k ma^ nullum tempus ]h\mkbg^+ gh lmZmnm^ h_ ebfbmZmbhgl
05   ]^_^gl^ laZee Ziier mh ma^ OmZm^{l \eZbfl hk mh ma^ \eZbfl h_ hma^k in[eb\ ^gmbmr @^_^g]Zgml
06   [kbg`bg` \eZbfl _hk ma^ [^g^_bm h_ ma^ OmZm^- N?S 3-05-05/ (x^q\^im Zl ikhob]^] bg N?S
07   3-05-20/+ ma^k^ laZee [^ gh ebfbmZmbhg mh Z\mbhgl [khn`am bg ma^ gZf^ hk _hk ma^ [^g^_bm h_
08   ma^ lmZm^+ Zg] gh \eZbf h_ kb`am ik^]b\Zm^] nihg ma^ eZil^ h_ mbf^ laZee ^o^k [^ Zll^km^]
1/   Z`Zbglm ma^ lmZm^y): State v. LG Electronics, Inc.+ 075 Sg-1] 0+ 7+ 01+ 264 L-2] 525 (1/05)
10   (ghmbg` maZm xma^ e^`bleZmnk^ aZl ^qik^ller bglmkn\m^] maZm ma^ OmZm^ laZee ghm [^ ln[c^\m mh
11   iheb\b^l h_ ik^o^gmbg` lmZe^ \eZbfl bga^k^gm bg lmZmnm^ h_ ebfbmZmbhgl [^\Znl^ h_ \hfi^mbg`
12   iheb\r \hglb]^kZmbhgl k^`Zk]bg` ma^ in[eb\ p^e_Zk^ Zg] ma^ OmZm^{l inkl^-y) (Zgmbmknlm
13   parens patriae \Zl^)- Sabe^ ma^ in[eb\ ^gmbmr @^_^g]Zgml fZr aZo^ \eZbfl Z`Zbglm
14   IhglZgmh Zkblbg` hnm h_ ma^ ]ZfZ`^l bg mabl \Zl^+ IhglZgmh ]h^l ghm aZo^ obZ[e^
15   \hngm^k\eZbfl Z`Zbglm ghg,IhglZgmh iZkmb^l bg mabl \Zl^- See, e.g., City of Spokane v.
16   Monsanto Co.+ Jh- 1904,?R,//1/0,OIF+ 1/06 SH 1834618 (A-@- SZla- Fner+ 0/+ 1/06)
17   (]blfbllbg` IhglZgmh{l \hngm^k\eZbfl Z`Zbglm ieZbgmb__ ?bmr h_ OihdZg^)-


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                                                                                 - %"..(% 1" ?>989
     COMPLAINT - 108                                                               6:8=7 <894;;;=
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0           02-    B\IVLQVO WN <WVZWM BKPWWT 3Q[\ZQK\ =W' )(+' Pa^ O\ahhe @blmkb\m laZee [^
1    ebZ[e^ _hk ]ZfZ`^l Zkblbg` hnm h_ bml mhkmbhnl \hg]n\m- N?S 3-85-/0/: N?S 3-/7-01/
2    (x=g Z\mbhg fZr [^ fZbgmZbg^]v _hk Zg bgcnkr mh ma^ kb`aml h_ ma^ ieZbgmb__ Zkblbg` _khf
3    lhf^ Z\m hk hfbllbhg h_ ln\a \hngmr hk hma^k in[eb\ \hkihkZmbhg-y): N?S 28-4/-/0/(\)-
4           03-    <WVZWM BKPWWT 3Q[\ZQK\e[ LQZMK\ TQIJQTQ\a NWZ VMOTQOMVKM' Pa^ O\ahhe
5    @blmkb\m laZee [^ ebZ[e^ _hk bml hpg _Zbenk^l mh abk^+ mkZbg+ hk lni^kobl^ bml ^fiehr^^l bg ma^
6    i^k_hkfZg\^ h_ ma^ ]nmb^l h_ ikhoblbhg+ bgli^\mbhg+ Zg] fZbgm^gZg\^ h_ ma^ ^gobkhgf^gmZe
7    lZ_^mr k^jnbk^f^gml _hk ma^ l\ahhe [nbe]bg`l- Id.: N^lmZm^f^gm (O^\hg]) h_ =`^g\r+ t
8    102(Z)-
0/          04-    <WVZWM BKPWWT 3Q[\ZQK\e[ ^QKIZQW][ TQIJQTQ\a NWZ VMOTQOMVKM' =gr
00   g^`eb`^g\^ h_ Z l\ahhe ]blmkb\m [hZk] f^f[^k+ Z]fbgblmkZmhk+ hk ^fiehr^^ pbmabg ma^
01   l\hi^ h_ abl hk a^k Znmahkbmr bl ma^ g^`eb`^g\^ h_ ma^ l\ahhe ]blmkb\m- 5 SZla- LkZ\-+ SZla-
02   LZmm^kg Fnkr Eglmk- ?bo- SLE 4/-/2 (5ma ^]-) (fh]b_b^])- Pa^ eZp x`nZkZgm^^WlX maZm ^Z\a
03   \hffhg l\ahhe ]blmkb\m [hZk] h_ ]bk^\mhkl+ pa^ma^k hk ghm Z\mbg` makhn`a bml k^li^\mbo^
04   Z]fbgblmkZmbo^ lmZ__+ [^ a^e] Z\\hngmZ[e^ _hk ma^ ikhi^k hi^kZmbhg h_ ma^bk ]blmkb\m mh ma^
05   eh\Ze \hffngbmr Zg] bml ^e^\mhkZm^-y N?S 17=-04/-12/-
06          05-    B\I\]\WZa L]\QM[' Ihgkh^ O\ahhe @blmkb\m xlaZee9 (Z) ?Znl^ Zee l\ahhe
07   [nbe]bg`l mh [^ ikhi^ker a^Zm^]+ eb`am^]+ Zg] o^gmbeZm^] Zg] fZbgmZbg^] bg Z \e^Zg Zg]
08   lZgbmZkr \hg]bmbhg: Zg] ([) IZbgmZbg Zg] k^iZbk+ _nkgbla+ Zg] bglnk^ ln\a l\ahhe
1/   [nbe]bg`l-y N?S 17=-224-/0/(0)- Em bl xma^ k^lihglb[bebmr h_ ma^ \^kmb_b\Zm^] m^Z\abg` Zg]
10   Z]fbgblmkZmbo^ lmZ__ bg ^Z\a \hffhg l\ahhe mh9 v(^) Cbo^ \Zk^_ne Zmm^gmbhg mh ma^
11   fZbgm^gZg\^ h_ Z a^Zema_ne Zmfhlia^k^ bg ma^ \eZllkhhf- W=g]X (_) Cbo^ \Zk^_ne Zmm^gmbhg
12   mh ma^ lZ_^mr h_ ma^ lmn]^gm bg ma^ \eZllkhhf Zg] k^ihkm Zgr ]hn[m_ne hk nglZ_^ \hg]bmbhgl
13   mh ma^ [nbe]bg` Z]fbgblmkZmhk-y N?S 17=-04/-13/(1): 5 SZla- LkZ\-+ SZla- LZmm^kg Fnkr
14   Eglmk- ?bo- SLE 5/-/0 (5ma ^]-): Swank v. Valley Christian School+ 077 Sg-1] 552+ 287
15   L-2] 00/7 (1/06) (ahe]bg` maZm Z lmZmnm^ ^gZ\m^] mh ikhm^\m lmn]^gm lZ_^mr \k^Zm^] Zg
16   bfieb^] k^f^]r _hk obheZmbhgl h_ ma^ lmZmnm^)-
17          06-    2WUUWV TI_ L]\a \W [\]LMV\[' O\ahhe ]blmkb\ml xaZo^ Z li^\bZe


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     COMPLAINT - 109                                                                 6:8=7 <894;;;=
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0    k^eZmbhglabi pbma ma^ lmn]^gml bg ma^bk \nlmh]r+y Zg] xW[XZl^] hg mabl k^eZmbhglabi+ l\ahhe
1    ]blmkb\ml aZo^ Z ]nmr mh Zgmb\biZm^ ]Zg`^kl pab\a fZr k^ZlhgZ[er [^ Zgmb\biZm^]+ Zg] ma^g
2    mh mZd^ ik^\Znmbhgl mh ikhm^\m ma^ inibel bg Wma^bkX \nlmh]r _khf ln\a ]Zg`^kl-y
3    Henrickson v. Moses Lake School Dist.+ 088 Sg- =ii- 133+ 138+ 287 L-2] 0088 (1/06)+
4    \bmbg` McLeod v. Grant County School Dist.+ 31 Sg-1] 205+ 21/+ 144 L-1] 25/ (0842)-
5    Pa^ ]nmr bl [Zl^] hg xma^ p^ee,^lmZ[ebla^] eZp bg SZlabg`mhg maZm Z l\ahhe ]blmkb\m aZl Zg
6    ^gaZg\^] Zg] lhe^fg ]nmr mh ikhm^\m fbghk lmn]^gml bg bml \Zk^-y Quynn v. Bellevue
7    School District.+ 084 Sg- =ii- 516+ 523+ 272 L-2] 0/42 (1/05)+ \bmbg` Christensen v.
8    Royal School Dist. No. 160+ 045 Sg-1] 51+ 56+ 013 L-2] 172 (1//4)-
0/          07-    <WVZWM BKPWWT 3Q[\ZQK\e[ L]\a' Pa^ O\ahhe @blmkb\m fnlm ikhob]^ Zg]
00   fZbgmZbg k^ZlhgZ[er lZ_^ l\ahhe [nbe]bg`l mh ik^o^gm bgcnkr Zg] mh ikhm^\m ma^ \abe]k^g
01   Zg] Z]neml pah nl^ mahl^ l\ahhe [nbe]bg`l- Pa^ O\ahhe @blmkb\m fnlm ikhob]^ Zg]
02   fZbgmZbg l\ahhe [nbe]bg`l _k^^ h_ L?>l Zg] hma^k mhqb\ \a^fb\Zel mh ik^o^gm bgcnkr Zg] mh
03   ikhm^\m ma^ \abe]k^g Zg] Z]neml pah nl^ mahl^ l\ahhe [nbe]bg`l-
04          08-    <WVZWM BKPWWT 3Q[\ZQK\ ^QWTI\ML Q\[ [\I\]\WZa L]\a' Ihgkh^ O\ahhe
05   @blmkb\m obheZm^] bml lmZmnmhkr ]nmr mh \Znl^ ma^ l\ahhe [nbe]bg`l mh [^ ikhi^ker eb`am^]+
06   o^gmbeZm^]+ Zg] fZbgmZbg^] bg Z \e^Zg Zg] lZgbmZkr \hg]bmbhg- Ihgkh^ O\ahhe @blmkb\m Zelh
07   obheZm^] bml lmZmnmhkr ]nmr mh `bo^ \Zk^_ne Zmm^gmbhg mh ma^ fZbgm^gZg\^ h_ Z a^Zema_ne
08   Zmfhlia^k^ Zg] ma^ lZ_^mr h_ ma^ lmn]^gml- Pa^ O\ahhe @blmkb\m{l obheZmbhgl h_ ma^ lmZmnm^l
1/   p^k^ g^`eb`^gm Zg] e^`Ze \Znl^l h_ aZkf mh lmn]^gml Zg] ma^bk iZk^gml+ bg\en]bg` ma^
10   LeZbgmb__l- 5 SZla- LkZ\-+ SZla- LZmm^kg Fnkr Eglmk- ?bo- SLE 5/-/2 (5ma ^]-)- Pa^
11   obheZmbhgl h\\nkk^] ho^k fZgr r^Zkl Zg] p^k^ fnembie^ Zg] l^iZkZm^ g^`eb`^gm Z\ml Zg]
12   hfbllbhgl ]nkbg` mahl^ r^Zkl- @bl\ho^kr Zg] e^`Ze k^l^Zk\a fZr k^o^Ze fhk^ obheZmbhgl-
13          1/-    <WVZWM BKPWWT 3Q[\ZQK\ ^QWTI\ML Q\[ KWUUWV TI_ L]\a' Ihgkh^ O\ahhe
14   @blmkb\m obheZm^] bml \hffhg eZp ]nmb^l+ [Zl^] hg bml li^\bZe k^eZmbhglabi pbma ma^ lmn]^gml
15   bg bml \nlmh]r+ mh Zgmb\biZm^ ma^ ]Zg`^kl h_ mhqb\ \hgmZfbgZmbhg pbmabg ma^ he] l\ahhe
16   [nbe]bg`l+ Zg] ma^g mh mZd^ ik^\Znmbhgl mh ikhm^\m ma^ lmn]^gml _khf ^qihlnk^ mh ma^ mhqb\
17   \hgmZfbgZmbhg- Pa^ O\ahhe @blmkb\m{l obheZmbhgl h_ bml \hffhg eZp ]nmb^l p^k^ g^`eb`^gm


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     COMPLAINT - 110                                                               6:8=7 <894;;;=
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0    Zg] e^`Ze \Znl^l h_ aZkf mh lmn]^gml Zg] ma^bk iZk^gml+ bg\en]bg` ma^ LeZbgmb__l- @bl\ho^kr
1    Zg] e^`Ze k^l^Zk\a fZr k^o^Ze fhk^ obheZmbhgl-
2           10-    <WVZWM BKPWWT 3Q[\ZQK\e[ L]\a \W X]JTQK QV^Q\MM[- Ihgkh^ O\ahhe @blmkb\m
3    hp^l mh bml in[eb\ bgobm^^l Z ]nmr mh ^q^k\bl^ hk]bgZkr \Zk^- Pabl bg\en]^l ma^ ^q^k\bl^ h_
4    hk]bgZkr \Zk^ mh fZbgmZbg bg Z k^ZlhgZ[er lZ_^ \hg]bmbhg mahl^ ihkmbhgl h_ ma^ ik^fbl^l
5    maZm ma^ bgobm^^ bl ^qik^ller hk bfieb^]er bgobm^] mh nl^ hk fb`am k^ZlhgZ[er [^ ^qi^\m^] mh
6    nl^- 5= SZla- LkZ\-+ SZla- LZmm^kg Fnkr Eglmk- ?bo- SLE 01/-/5 (5ma ^]-)-
7           11-    <WVZWM BKPWWT 3Q[\ZQK\ Q[ TQIJTM NWZ ^QWTI\QVO Q\[ L]\a \W X]JTQK QV^Q\MM['
8    Ihgkh^ O\ahhe @blmkb\m bl ebZ[e^ _hk Zgr bgcnkb^l mh bml in[eb\ bgobm^^l \Znl^] [r Z
0/   \hg]bmbhg hg ma^ ik^fbl^l b_ ma^ O\ahhe @blmkb\m (Z) dghpl h_ ma^ \hg]bmbhg hk _Zbel mh
00   ^q^k\bl^ hk]bgZkr \Zk^ mh ]bl\ho^k ma^ \hg]bmbhg+ Zg] lahne] k^Zebs^ maZm bm bgoheo^l Zg
01   ngk^ZlhgZ[e^ kbld h_ aZkf mh in[eb\ bgobm^^l: ([) lahne] ^qi^\m maZm ma^r pbee ghm ]bl\ho^k
02   hk k^Zebs^ ma^ ]Zg`^k+ hk pbee _Zbe mh ikhm^\m ma^fl^eo^l Z`Zbglm bm: Zg] (\) _Zbel mh ^q^k\bl^
03   hk]bgZkr \Zk^ mh ikhm^\m ma^f Z`Zbglm ma^ ]Zg`^k- 5= SZla- LkZ\-+ SZla- LZmm^kg Fnkr
04   Eglmk- ?bo- SLE 01/-/6 (5ma ^]-)- See also N^lmZm^f^gm (O^\hg]) h_ Phkml t 232
05   x@Zg`^khnl ?hg]bmbhgl Gghpg mh hk @bl\ho^kZ[e^ [r Lhll^llhk+y (0854)+ pab\a
06   SZlabg`mhg \hnkml aZo^ \bm^] _hk ma^ ]nmb^l hpg^kl hk h\\nib^kl h_ eZg] hp^] mh bgobm^^l-
07   See, e.g.+ Tincani v. Inland Empire Zoological Soc-+ 013 Sg-1] 010+ 764 L-1] 510
08   (0883): Ford v. Red Lion Inns+ 56 Sg- =ii- 655+ 73/ L-1] 087 (0881)- HZg]hpg^kl hp^
1/   mh bgobm^^l Z ]nmr h_ k^ZlhgZ[e^ \Zk^ k^jnbkbg` ma^f mh bgli^\m _hk ]Zg`^khnl \hg]bmbhgl
10   Zg] mh fZd^ ln\a k^iZbk+ lZ_^`nZk]l+ hk pZkgbg`l Zl fZr [^ k^ZlhgZ[er g^\^llZkr _hk ma^
11   ikhm^\mbhg h_ bgobm^^l ng]^k ma^ \bk\nflmZg\^l- Tincani v. Inland Empire Zoological Soc-+
12   013 Sg-1] Zm 028- Pabl ]nmr h_ k^ZlhgZ[e^ \Zk^ bg\en]^l Zg xZ__bkfZmbo^ ]nmr mh ]bl\ho^k
13   ]Zg`^khnl \hg]bmbhgl-y Egede-Nissen v. Crystal Mountain, Inc-+ 82 Sg-1] 016+ 021+ 5/5
14   L-1] 0103 (087/) (\bmbg` N^lmZm^f^gm (O^\hg]) h_ Phkml t 232+ \hff^gm [): Jarr v. Seeco
15   Const. Co-+ 24 Sg- =ii- 213+ 215+ 555 L-1] 281 (0872)-
16          12-    <WVZWM BKPWWT 3Q[\ZQK\ ^QWTI\ML Q\[ L]\a \W X]JTQK QV^Q\MM[' Bhk r^Zkl+
17   Ihgkh^ O\ahhe @blmkb\m bgobm^] f^f[^kl h_ ma^ in[eb\ mh nl^ ma^ l\ahhe [nbe]bg`l+


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0    bg\en]bg` iZk^gml+ lmZ__ f^f[^kl+ Zg] \hffngbmr f^f[^kl+ bg\en]bg` ma^ LeZbgmb__l- Pa^
1    Ihgkh^ O\ahhe @blmkb\m9 dg^p hk lahne] aZo^ dghpg maZm ma^ l\ahhe [nbe]bg`l \hgmZbg^]
2    mhqb\ \hgmZfbgZmbhg: dg^p hk lahne] aZo^ dghpg maZm ma^ mhqb\ \hgmZfbgZmbhg bgoheo^]
3    Zg ngk^ZlhgZ[e^ kbld h_ aZkf mh ma^ LeZbgmb__l: Zg] dg^p hk lahne] aZo^ dghpg maZm ma^
4    LeZbgmb__l phne] ghm ]bl\ho^k hk k^Zebs^ ma^ ]Zg`^k h_ ma^ mhqb\ \hgmZfbgZmbhg- @^libm^
5    mabl dghpe^]`^+ Ihgkh^ O\ahhe @blmkb\m _Zbe^] mh ^q^k\bl^ hk]bgZkr \Zk^ mh ikhm^\m
6    LeZbgmb__l _khf ^qihlnk^ mh ma^ mhqb\ \hgmZfbgZmbhg bg ma^ l\ahhe [nbe]bg`l- @n^ mh bml
7    g^`eb`^gm Z\ml Zg] hfbllbhgl+ ma^ Ihgkh^ O\ahhe @blmkb\m \Znl^] ma^ LeZbgmb__l mh ln__^k
8    bgcnkb^l- Pa^ g^`eb`^gm Z\ml Zg] hfbllbhgl h\\nkk^] ho^k fZgr r^Zkl Zg] p^k^ fnembie^
0/   Zg] l^iZkZm^ g^`eb`^gm Z\ml Zg] hfbllbhgl ]nkbg` mahl^ r^Zkl- @bl\ho^kr Zg] e^`Ze
00   k^l^Zk\a fZr k^o^Ze fhk^ obheZmbhgl-
01         13-    <WVZWM BKPWWT 3Q[\ZQK\e[ L]\a \W [\INN UMUJMZ[' xEg SZlabg`mhg+ Zg
02   ^fiehr^k aZl Zg Z__bkfZmbo^ Zg] \hgmbgnbg` ]nmr mh ikhob]^ Zee ^fiehr^^l Z k^ZlhgZ[er
03   lZ_^ ieZ\^ mh phkd-y McCarthy v. Dept. of Social and Health Services+ 00/ Sg-1] 701+
04   707+ 648 L-1] 240 (0877)-
05         14-    <WVZWM BKPWWT 3Q[\ZQK\ ^QWTI\ML Q\[ L]\a IVL UIa JM TQIJTM \W ?TIQV\QNN[
06   _PW _MZM [\INN UMUJMZ[' @n^ mh ma^ mhqb\ \hgmZfbgZmbhg Zm ma^ l\ahhe [nbe]bg`l+
07   Ihgkh^ O\ahhe @blmkb\m _Zbe^] mh ikhob]^ bml ^fiehr^^l pbma Z k^ZlhgZ[er lZ_^ ieZ\^ mh
08   phkd- Ihgkh^ O\ahhe @blmkb\m bl ebZ[e^ mh lmZ__ f^f[^k LeZbgmb__l mh ma^ ^qm^gm ma^bk
1/   ]ZfZ`^l _Zee hnmlb]^ ma^ l\hi^ h_ Pbme^ 40- McCarthy v. Dept. of Social and Health
10   Services+ 00/ Sg-1] 701+ 707+ 648 L-1] 240 (0877): Birklid v. Boeing Co.+ 016 Sg-1]
11   742+ 8/3 L-1] 167 (1//2): SLE 21-/3 (I^Zlnk^ h_ @ZfZ`^lwHhll h_ ?hglhkmbnfw
12   Oihnl^): SLE 21-/4 (I^Zlnk^ h_ @ZfZ`^lwHhll h_ ?hglhkmbnfwLZk^gm)-
13         15-    DVQWV 7QOP I[ TIVLW_VMZ IVL [KPWWT LQ[\ZQK\' =\\hk]bg` mh Oghahfbla
14   ?hngmr mZq Zll^llhk k^\hk]l+ Qgbhg Db`a O\ahhe @blmkb\m Jh- 3/1 bl ma^ hpg^k h_ ma^ eZg]
15   h\\nib^] [r ma^ he] Ihgkh^ Ib]]e^ O\ahhe+ \nkk^gmer dghpg Zl Odr RZee^r A]n\Zmbhg
16   ?^gm^k+ Zg] nl^] [r ma^ Ihgkh^ O\ahhe @blmkb\m- Qgbhg Db`a bl Zelh Z l\ahhe ]blmkb\m Zg]
17   bl ebZ[e^ mh LeZbgmb__l bg ma^ lZf^ pZrl Zl Ihgkh^ O\ahhe @blmkb\m+ Zemahn`a Qgbhg Db`a bl


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     COMPLAINT - 112                                                             6:8=7 <894;;;=
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0    ghm Zg ^fiehr^k h_ Zgr LeZbgmb__ Zg] \Zgghm Zee^`^ Pbme^ 40 bffngbmr- Qgbhg Db`a
1    obheZm^] bml lmZmnmhkr Zg] \hffhg eZp ]nmb^l mh ma^ LeZbgmb__l bg ma^ lZf^ fZgg^k Zl ]b]
2    Ihgkh^ O\ahhe @blmkb\m+ hnmebg^] Z[ho^- Pa^ obheZmbhgl p^k^ Z e^`Ze \Znl^ h_ ]ZfZ`^l mh
3    LeZbgmb__l- Qgbhg Db`a _Zbe^] mh fZbgmZbg lZ_^ ik^fbl^l+ obheZm^] \hffhg eZp Zg]
4    lmZmnmhkr ]nmb^l mh fZbgmZbg Z lZ_^ phkdieZ\^+ Zg] bl chbgmer Zg] l^o^kZeer ebZ[e^ pbma ma^
5    OmZm^ Zg] hma^k @^_^g]Zgml mh Zee LeZbgmb__l- Afoa v. Port of Seattle+ 065 Sg-1] 35/+ 371+
6    185 L-2] 7// (1/02): Afoa v. Port of Seattle+ 087 Sg- =ii- 1/5+ 282 L-2] 7/1 (1/06)-
7    @bl\ho^kr Zg] e^`Ze k^l^Zk\a fZr k^o^Ze fhk^ obheZmbhgl-
8           16-     9WQV\ TQIJQTQ\a' AZ\a l\ahhe ]blmkb\m xbl Z \hkihkZm^ Zkf h_ ma^ lmZm^
0/   ^lmZ[ebla^] Zl Z f^Zgl h_ \Zkkrbg` hnm ma^ lmZm^{l \hglmbmnmbhgZe ]nmb^l Zg] ^q^k\blbg` ma^
00   lho^k^b`g{l ihp^kl bg ikhob]bg` ^]n\Zmbhg-y Edmonds School Dist. No. 15 v. City of
01   Mountlake Terrace+ 66 Sg-1] 5/8+ 500+ 354 L-1] 066 (086/)- Pa^ OmZm^+ Ihgkh^ O\ahhe
02   @blmkb\m+ Zg] Qgbhg Db`a Zk^ [hng] mh`^ma^k bg mabl chbgm ]nmr- Id.: N?S 17-=-04/-/6/:
03   SZla- ?hglm-+ =km- ET+ t 1- Pph hk fhk^ `ho^kgf^gmZe ^gmbmb^l Z\m bg \hg\^km b_ ma^r
04   \hgl\bhnler Z\m mh`^ma^k bg Zg ngeZp_ne fZgg^k+ Zemahn`a bm bl ghm g^\^llZkr maZm ma^r
05   bgm^g] mh aZkf ma^ ieZbgmb__- 5 SZla- LkZ\-+ SZla- LZmm^kg Fnkr Eglmk- ?bo- SLE 4/-1/ (5ma
06   ^]-)- Kg^ `ho^kgf^gmZe ^gmbmr bl ebZ[bebmr _hk ma^ _Znem h_ Zghma^k b_ [hma p^k^ Z\mbg` bg
07   \hg\^km pbma k^li^\m mh Z iZkmb\neZk Z\m hk hfbllbhg Zg] maZm Z\m hk hfbllbhg pZl Z
08   ikhqbfZm^ \Znl^ h_ ma^ ieZbgmb__{l bgcnkb^l- 5 SZla- LkZ\-+ SZla- LZmm^kg Fnkr Eglmk- ?bo-
1/   SLE 4/-10 (5ma ^]-)- Ihgkh^ O\ahhe @blmkb\m+ Qgbhg Db`a+ Zg] ma^ OmZm^ Z\m^] bg \hg\^km
10   mh ikhob]^ mh LeZbgmb__l ma^ l\ahhe [nbe]bg`l \hgmZfbgZm^] pbma mhqb\ \a^fb\Zel+ pab\a
11   pZl Z ikhqbfZm^ \Znl^ h_ ^qihlbg` LeZbgmb__l mh ma^ mhqbgl Zg] bgcnkbg` ma^f- AZ\a h_
12   ma^l^ mak^^ ^gmbmb^l bl ebZ[e^ _hk ma^ _Znem h_ ma^ hma^k mph-
13          17-     <WVZWM BKPWWT 3Q[\ZQK\ IVL DVQWV 7QOP% KI][M[ WN IK\QWV' Ihgkh^
14   O\ahhe @blmkb\m Zg] Qgbhg Db`a fZr aZo^ \Znl^l h_ Z\mbhg Z`Zbglm ma^ OmZm^ Zg] ma^
15   ikh]n\m fZgn_Z\mnk^k @^_^g]Zgml bg mabl \Zl^- N?S 3-/7-00/: Seattle School Dist. No. 1
16   v. State+ 8/ Sg-1] 365+ 38/+ 474 L-1] 60 (0867) (ahe]bg` bg iZkm maZm ma^ l\ahhe ]blmkb\m
17   _Z\^] pbma ]^m^kbhkZmbg` [nbe]bg`l Zg] hma^k lahkm_Zeel aZ] lmZg]bg` mh ln^ ma^ OmZm^ _hk bml


                                                                          &,'%$)"* 5 ,/#'* +((+
                                                                          <9 / *'0%,-'.2 - .,%%. 3 - /'.% :89
                                                                                 - %"..(% 1" ?>989
     COMPLAINT - 113                                                               6:8=7 <894;;;=
                                                                                                                Electronically Filed - St Louis County - August 03, 2022 - 02:35 PM
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0    obheZmbhgl h_ bml iZkZfhngm ]nmr mh fZd^ Zfie^ ikhoblbhg _hk ma^ ^]n\Zmbhg h_ \abe]k^g)-
1    Jh lmZmnm^ h_ ebfbmZmbhgl Ziieb^l Zl Z ]^_^gl^ Z`Zbglm l\ahhe ]blmkb\m \eZbfl [khn`am mh
2    [^g^_bm ma^ OmZm^ Z`Zbglm Z \hkihkZm^ ]^_^g]Zgm ln\a Zl IhglZgmh- Bellevue School Dist.
3    No. 405 v. Brazier Constr. Co., 0/2 Sg-1] 000+ 003+ 580 L-1] 067 (0873): cf. Wash.
4    State Major League Baseball Stadium Public Dist. v. Huber, Hunt & Nichols-Kiewit
5    Constr. Co.+ 065 Sg-1] 4/1+ 403+ 185 L-2] 710 (1/02) (ghmbg` lmZmnmhkr Zf^g]f^gm Z_m^k
6    Brazier Constr. mh N?S 3-05-05/ Zg] ,-20/+ ikhob]bg` maZm xma^ OmZm^ bl ln[c^\m mh ma^
7    \hglmkn\mbhg lmZmnm^ h_ k^ihl^y): N?S 3-05-05/ (x^q\^im Zl ikhob]^] bg N?S 3-05-20/+
8    ma^k^ laZee [^ gh ebfbmZmbhg mh Z\mbhgl [khn`am bg ma^ gZf^ hk _hk ma^ [^g^_bm h_ ma^ lmZm^+
0/   Zg] gh \eZbf h_ kb`am ik^]b\Zm^] nihg ma^ eZil^ h_ mbf^ laZee ^o^k [^ Zll^km^] Z`Zbglm ma^
00   lmZm^y)-
01          18-    B\IVLQVO WN \PM BVWPWUQ[P 7MIT\P 3Q[\ZQK\' Pa^ D^Zema @blmkb\m laZee [^
02   ebZ[e^ _hk ]ZfZ`^l Zkblbg` hnm h_ bml mhkmbhnl \hg]n\m- N?S 3-85-/0/: N?S 3-/7-01/
03   (x=g Z\mbhg fZr [^ fZbgmZbg^]v _hk Zg bgcnkr mh ma^ kb`aml h_ ma^ ieZbgmb__ Zkblbg` _khf
04   lhf^ Z\m hk hfbllbhg h_ ln\a \hngmr hk hma^k in[eb\ \hkihkZmbhg-y): N?S 28-4/-/0/(\)-
05          2/-    7MIT\P 3Q[\ZQK\e[ LQZMK\ TQIJQTQ\a NWZ VMOTQOMVKM' Pa^ D^Zema @blmkb\m laZee
06   [^ ebZ[e^ _hk bml hpg _Zbenk^l mh abk^+ mkZbg+ hk lni^kobl^ bml ^fiehr^^l bg ma^ i^k_hkfZg\^
07   h_ ma^ ]nmb^l h_ bgli^\mbhg Zg] ^g_hk\^f^gm h_ fbgbfZe ^gobkhgf^gmZe lZ_^mr
08   k^jnbk^f^gml _hk ma^ l\ahhe [nbe]bg`l- Id.: N^lmZm^f^gm (O^\hg]) h_ =`^g\r+ t 102(Z)-
1/          20-    7MIT\P 3Q[\ZQK\e[ ^QKIZQW][ TQIJQTQ\a NWZ VMOTQOMVKM' =gr g^`eb`^g\^ h_ Z
10   D^Zema @blmkb\m [hZk] f^f[^k+ Z]fbgblmkZmhk+ hk ^fiehr^^ pbmabg ma^ l\hi^ h_ abl hk a^k
11   Znmahkbmr bl ma^ g^`eb`^g\^ h_ ma^ D^Zema @blmkb\m- 5 SZla- LkZ\-+ SZla- LZmm^kg Fnkr Eglmk-
12   ?bo- SLE 4/-/2 (5ma ^]-) (fh]b_b^])-
13          21-    7MIT\P 3Q[\ZQK\e[ RWQV\ WJTQOI\QWV _Q\P \PM B\I\M \W MVNWZKM [INM\a
14   ZMY]QZMUMV\[ QV \PM [KPWWT J]QTLQVO[' Pa^ OmZm^ >hZk] h_ D^Zema Zg] ma^ Oghahfbla
15   D^Zema @blmkb\m aZo^ Z chbgm h[eb`Zmbhg mh ikhm^\m in[eb\ a^Zema bg l\ahhe [nbe]bg`l bg
16   Oghahfbla ?hngmr- Ph ikhm^\m in[eb\ a^Zema+ ma^ OmZm^ >hZk] h_ D^Zema laZee ^lmZ[ebla
17   lZ_^mr k^jnbk^f^gml _hk pZm^k jnZebmr+ Zbk jnZebmr+ Zg] ^gobkhgf^gmZe \hg]bmbhgl bg l\ahhe


                                                                         &,'%$)"* 5 ,/#'* +((+
                                                                          <9 / *'0%,-'.2 - .,%%. 3 - /'.% :89
                                                                                 - %"..(% 1" ?>989
     COMPLAINT - 114                                                               6:8=7 <894;;;=
                                                                                                                 Electronically Filed - St Louis County - August 03, 2022 - 02:35 PM
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0    [nbe]bg`l+ xbg\en]bg` [nm ghm ebfbm^] mh a^Zmbg`+ eb`ambg`+ o^gmbeZmbhg+ lZgbmZkr _Z\bebmb^l+
1    Zg] \e^Zgebg^ll-y N?S 32-1/-/4/(1)(])- Pa^ Oghahfbla D^Zema @blmkb\m laZee ^g_hk\^
2    ma^l^ k^jnbk^f^gml- N?S 32-1/-/4/(4)- Pa^ k^jnbk^f^gml Zk^ ]^lb`g^] _hk ma^ [^g^_bm
3    Zg] ikhm^\mbhg h_ ma^ \abe]k^g Zg] Z]neml pah nl^ in[eb\ l\ahhe [nbe]bg`l- Bailey v. Town
4    of Forks+ 0/7 Sg-1] 151+ 157+ 626 L-1] 0146 (0876) (ghmbg` hg^ ^q\^imbhg mh ma^ in[eb\
5    ]nmr ]h\mkbg^ bl xpa^g ma^ m^kfl h_ Z e^`bleZmbo^ ^gZ\mf^gm ^ob]^g\^ Zg bgm^gm mh b]^gmb_r
6    Zg] ikhm^\m Z iZkmb\neZk Zg] \bk\nfl\kb[^] \eZll h_ i^klhgl (e^`bleZmbo^ bgm^gm)y)-
7           22-    7MIT\Pa 3Q[\ZQK\e[ L]\a \W QV[XMK\ [KPWWT J]QTLQVO[' Pa^ D^Zema @blmkb\m
8    fnlm bgli^\m l\ahhe [nbe]bg`l Zg] ^g_hk\^ lZ_^mr k^jnbk^f^gml mh ik^o^gm bgcnkr Zg] mh
0/   ikhm^\m ma^ \abe]k^g Zg] Z]neml pah nl^ ma^ l\ahhe [nbe]bg`l-
00          23-    7MIT\P 3Q[\ZQK\e[ L]\a \W \ISM KWZZMK\Q^M IK\QWV IVL MVNWZKM [INM\a
01   ZMY]QZMUMV\[' Pa^ D^Zema @blmkb\m fnlm mZd^ \hkk^\mbo^ Z\mbhg Zg] ^g_hk\^ lZ_^mr
02   k^jnbk^f^gml bg l\ahhe [nbe]bg`l mh ik^o^gm bgcnkr Zg] mh ikhm^\m ma^ \abe]k^g Zg] Z]neml
03   pah nl^ ma^ l\ahhe [nbe]bg`l-
04          24-    7MIT\P 3Q[\ZQK\ JZMIKPML Q\[ L]\QM[ \W \PM ?TIQV\QNN[% KI][QVO \PMU PIZU'
05   Bhk r^Zkl+ ma^ D^Zema @blmkb\m dg^p maZm ma^ l\ahhe [nbe]bg`l p^k^ obheZmbg`
06   ^gobkhgf^gmZe lZ_^mr k^jnbk^f^gml- Bhk mahl^ lZf^ r^Zkl+ ma^ D^Zema @blmkb\m aZ] Z ]nmr
07   mh bgli^\m+ o^kb_r \hfiebZg\^+ Zg] hk]^k \hfiebZg\^ pbma ^gobkhgf^gmZe lZ_^mr
08   k^jnbk^f^gml Zm ma^ l\ahhe [nbe]bg`l- >nm ma^ D^Zema @blmkb\m _Zbe^] mh ^g_hk\^ \hfiebZg\^
1/   ngmbe ma^ likbg` h_ 1/05+ [r pab\a mbf^ fZgr i^hie^+ bg\en]bg` ma^ LeZbgmb__l+ aZ]
10   ln__^k^] mhqb\ ihblhgbg`- Eg Z]]bmbhg+ ma^ D^Zema @blmkb\m dghpbg`er Zg] g^`eb`^gmer
11   ]^eZr^] ^g_hk\^f^gm Zg] pZbm^] pabe^ ]hs^gl h_ i^hie^ k^ihkm^] beeg^ll^l Zg] ]bl^Zl^l
12   Zmmkb[nm^] mh ma^ l\ahhe [nbe]bg`l- Pa^ D^Zema @blmkb\m li^\b_b\Zeer mhe] LeZbgmb__l Zg]
13   hma^kl aZkf^] [r ma^ aZsZk]hnl \hg]bmbhgl bg ma^ l\ahhe [nbe]bg`l maZm ma^ D^Zema @blmkb\m
14   phne] mZd^ gh ^g_hk\^f^gm Z\mbhg ngmbe fZgr i^hie^ [^\Zf^ lb\d^g^] [r ma^
15   \hgmZfbgZmbhg Zm ma^ l\ahhe [nbe]bg`l- Pa^ D^Zema @blmkb\m \ahl^ ghm mh Z\m ngmbe 1/05+
16   pa^g bm _bgZeer hk]^k^] ^gobkhgf^gmZe m^lmbg` Zg] k^f^]bZmbhg h_ ma^ aZsZk]hnl
17   ln[lmZg\^l bg ma^ l\ahhe [nbe]bg`l- Pa^ D^Zema @blmkb\m obheZmbhgl h_ bml ]nmb^l p^k^ e^`Ze


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0    \Znl^l h_ aZkf mh ma^ LeZbgmb__l-
1            Pa^ D^Zema @blmkb\m bl ebZ[e^ mh ma^ LeZbgmb__l Zg] hma^k k^ZlhgZ[er _hk^l^^Z[e^
2    h\\niZgml h_ ma^ l\ahhe [nbe]bg`l _hk ma^ mhqb\ ^qihlnk^l maZm \Znl^] ma^f aZkf-
3    Campbell v. City of Bellevue+ 74 Sg-1] 0+ 42/ L-1] 123 (0864) (]nmr bfihl^] hg
4    ^e^\mkb\Ze bgli^\mhk pah dg^p h_ ghg\hg_hkfbg` ^e^\mkb\Ze lrlm^f [nm _Zbe^] mh ^g_hk\^
5    ^e^\mkb\Ze \h]^ \hfiebZg\^+ \Znlbg` bgcnkr Zg] ]^Zma): Halvorson v. Dahl+ 78 Sg-1] 562+
6    463 L-1] 008/ (0867) (\eZbf fZr [^ fZ]^ Z`Zbglm \bmr _hk bml ehg`,m^kf dghpe^]`^ h_+
7    Zg] bgZ]^jnZm^ k^lihgl^ mh+ ahm^e{l ghg\hfiebZg\^ pbma lZ_^mr \h]^l): Bailey v. Town of
8    Forks+ 0/7 Sg-1] 151+ 626 L-1] 0146 (0876) (ebZ[bebmr Z`Zbglm iheb\^ h__b\^k pah
0/   Zeehp^] ]kngd ]kbo^k mh ]kbo^ abl mkn\d+ abmmbg` fhmhk\r\eblm)- Sa^g ma^ D^Zema @blmkb\m
00   _bgZeer Z\m^] bg 1/05 hg ma^ l\ahhe [nbe]bg`l+ bm _hng] xWmXa^ ^qblm^g\^ h_ nglZ_^
01   \hg]bmbhgl pab\a ik^l^gm Z ihm^gmbZe aZsZk] mh h\\niZgml h_ ma^ l\ahhe Wpab\aX Zk^ bg
02   obheZmbhg h_ ma^l^ k^`neZmbhgl-y S=? 135,255,03/(0): N?S 32-1/-/4/ (a^Zema ]blmkb\m
03   laZee ^g_hk\^ fbgbfnf lZ_^mr k^jnbk^f^gml bg l\ahhe [nbe]bg`l): Swank v. Valley
04   Christian School+ 077 Sg-1] 552+ 287 L-2] 00/7 (1/06) (ahe]bg` maZm Z lmZmnm^ ^gZ\m^] mh
05   ikhm^\m lmn]^gm lZ_^mr \k^Zm^] Zg bfieb^] k^f^]r _hk obheZmbhgl h_ ma^ lmZmnm^)- Pa^ lZf^
06   xnglZ_^ \hg]bmbhgly aZ] [^^g ik^l^gm _hk fhgmal+ r^Zkl+ Zg] ]^\Z]^l [^_hk^aZg]+ aZ]
07   aZkf^] ma^ \abe]k^g Zg] Z]neml bg ma^ l\ahhe [nbe]bg`l+ Zg] aZ] [^^g dghpg mh ma^ D^Zema
08   @blmkb\m- Pa^ D^Zema @blmkb\m{l _Zbenk^ mh ^g_hk\^ ma^ lZ_^mr k^jnbk^f^gml Zm ma^ l\ahhe
1/   [nbe]bg`l pZl Z ikhqbfZm^ \Znl^ h_ LeZbgmb__l{ ]ZfZ`^l-
10      6'         AWM[' Nh^l 0 makhn`a 0/ Zk^ in[eb\ ^gmbmb^l hk in[eb\ hk ikboZm^ \hkihkZmbhgl
11   pah fZr [^ ebZ[e^ _hk \Znlbg` bgcnkb^l mh ma^ LeZbgmb__l- ?nkk^gmer+ bm bl ghm dghpg b_ gZf^]
12   @^_^g]Zgml pbee Zee^`^ _Znem Z`Zbglm ma^l^ ^gmbmb^l hk \hkihkZmbhgl- LeZbgmb__l k^jn^lm e^Zo^ mh
13   Zf^g] mabl ?hfieZbgm b_ @^_^g]Zgml Zee^`^ _Znem Z`Zbglm mabk] iZkmb^l+ hk b_ _Z\ml [^\hf^
14   dghpg lahpbg` ebZ[bebmr Z`Zbglm mabk] iZkmb^l- Pabk] iZkmb^l Oghahfbla ?hngmr+ Jhkmap^lm
15   A]n\Zmbhg O^kob\^ @blmkb\m #078+ ?bmr h_ Ihgkh^+ ADO,Egm^kgZmbhgZe+ Zg] I\Gbglmkr ?hki-
16   Zk^ [^bg` `bo^g ghmb\^ h_ mabl eZplnbm- E_ ma^r hk Zghma^k mabk] iZkmr Zk^ Z]]^] Zl @^_^g]Zgml+
17   ma^ g^p \eZbfl bg ma^ Zf^g]^] ie^Z]bg`l k^eZm^ [Z\d mh ma^ hkb`bgZe \hfieZbgm- ?N 04(\)-


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                                                                             <9 / *'0%,-'.2 - .,%%. 3 - /'.% :89
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     COMPLAINT - 116                                                                  6:8=7 <894;;;=
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0       7'          0LUWVQ\QWV WN \PM Environmental Defense Fund LMKQ[QWV- U^Zkl [^_hk^
1    fZgr h_ ma^ LeZbgmb__l bg mabl \Zl^ p^k^ [hkg+ ma^ _^]^kZe ]blmkb\m \hnkm _hk ma^ @blmkb\m h_
2    ?henf[bZ Z]obl^] maZm Z\mbhg fnlm [^ mZd^g mh ik^o^gm mhqb\ ^gobkhgf^gmZe ihblhgbg` Zg] mh
3    ikhm^\m _nmnk^ `^g^kZmbhgl9
4            S^ _^^e \hglmkZbg^] mh Z]] hg^ _bgZe ghm^ mh ^fiaZlbs^ hnk \hg\^kg bg mabl
             \Zl^- DnfZg [^bg`l aZo^ _bgZeer \hf^ mh k^\h`gbs^ maZm ma^r fnlm ^ebfbgZm^
5
             hk \hgmkhe eb_^ mak^Zm^gbg` \a^fb\Zel+ ln\a Zl L?>l+ b_ ma^ fbkZ\e^ h_ eb_^ bl
6            mh \hgmbgn^ Zg] b_ ^Zkma bl mh k^fZbg Z ebobg` ieZg^m- Pabl bl ik^\bl^er paZm
             ?hg`k^ll lhn`am mh ]h pa^g bm ^gZ\m^] l^\mbhg 5(^) h_ ma^ Phqb\ On[lmZg\^l
7            ?hgmkhe =\m- U^m+ p^ _bg] maZm _hkmr,lbq fhgmal *0176 Z_m^k ma^ ^__^\mbo^
8            ]Zm^ h_ Zg Z\m ]^lb`g^] mh ^bma^k mhmZeer [Zg hk \ehl^er \hgmkhe ma^ nl^ h_
             L?>l+ 88% h_ ma^ L?>l maZm p^k^ bg nl^ pa^g ma^ =\m pZl iZll^] Zk^ lmbee bg
0/           nl^ bg ma^ Qgbm^] OmZm^l- Sbma bg_hkfZmbhg ln\a Zl mabl bg aZg]+ mbfb] lhnel
00           aZo^ `hh] k^Zlhg mh jn^lmbhg ma^ ikhli^\ml _hk hnk \hgmbgn^] lnkoboZe+ Zg]
             \rgb\l aZo^ cnlm \Znl^ mh lg^^k Zm ma^ ^__^\mbo^g^ll h_ `ho^kgf^gmZe
01           k^`neZmbhg-
02
03   Environmental Defense Fund v. Environmental Protection Agency+ 525 B-1] 0156+ 0175,
04   76 (@-?- ?bk- 087/) (bgm^kgZe \bmZmbhg hfbmm^])-
05      8'          0KKW]V\IJQTQ\a' Pa^ LeZbgmb__l k^li^\m_neer k^jn^lm maZm ^Z\a h_ ma^
06   @^_^g]Zgml [^ a^e] Z\\hngmZ[e^ _hk ma^bk khe^l bg \Znlbg` ma^ mhqb\ ihblhgbg`l bg mabl \Zl^-
07   E88'    ?A0H4AB 5>A A4;845
08      0'          AMY]M[\ NWZ XZM[MZ^I\QWV WN M^QLMVKM' LeZbgmb__l k^jn^lm maZm Zee @^_^g]Zgml
1/   Zg] mabk] iZkmb^l `bo^g ghmb\^ h_ mabl eZplnbm ik^l^ko^ Zee ^ob]^g\^ maZm fZr ihm^gmbZeer [^
10   k^e^oZgm-
11      1'          4` XIZ\M KWV\IK\ Q[ XZWPQJQ\ML' IZgr LeZbgmb__l Zk^ bg]bob]nZel pah Zmm^g]+
12   oblbm+ hk phkd Zm eh\Zmbhgl pbmabg ma^ O\ahhe @blmkb\m- LeZbgmb__l k^jn^lm maZm ]^_^gl^ Zmmhkg^rl
13   bglmkn\m ma^bk Z`^gml+ ^fiehr^^l+ ]^_^g]Zgm ^fiehr^^l+ Zg] ]^_^g]Zgml{ Z`^gml mh ie^Zl^
14   k^_kZbg _khf Zgr ^q iZkm^ \hgmZ\m pbma LeZbgmb__l k^`Zk]bg` ma^ ln[c^\m fZmm^k h_ mabl eZplnbm+
15   pa^ma^k bg l\ahhe [nbe]bg`l+ ahlibmZel+ hk hma^k eh\Zmbhgl- Pabl k^jn^lm bg\en]^l ma^ ghg,
16   iarlb\bZg OmZm^ hk Qgbo^klbmr h_ SZlabg`mhg I^]b\Ze ?^gm^k ^fiehr^^(l) pah aZo^
17   h[l^ko^] hk Zmm^fim^] mh h[l^ko^ \ebgb\Ze ^oZenZmbhgl h_ bgcnk^] Odr RZee^r m^Z\a^kl+


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0    iZk^gml+ Zg] \abe]k^g-
1       2'         ;QUQ\ML _IQ^MZ WN XPa[QKQIV&XI\QMV\ XZQ^QTMOM' Qg]^k N?S 4-5/-/5/(3)([)+
2    LeZbgmb__l a^k^[r pZbo^ ma^ iarlb\bZg,iZmb^gm ikbobe^`^ hger bglh_Zk Zl g^\^llZkr mh ieZ\^
3    ]ZfZ`^l Zm blln^ Zm ma^ mbf^ h_ mkbZe- LeZbgmb__l{ Z\mbhgl ]h ghm \hglmbmnm^ Z pZbo^k h_ Zgr
4    h_ ma^bk \hglmbmnmbhgZe hk lmZmnmhkr kb`aml- @^_^g]Zgml+ ]^_^gl^ Zmmhkg^rl+ Zg] ma^bk Z`^gml
5    Zk^ ghm mh \hgmZ\m Zgr mk^Zmbg` iarlb\bZgl pbmahnm _bklm ghmb_rbg` ieZbgmb__ \hngl^e+ lh ma^
6    fZmm^k fZr [^ g^`hmbZm^] hk [khn`am mh ma^ Zmm^gmbhg h_ ma^ ?hnkm- Loudon v. Mhyre+ 00/
7    Sg-1] 564 (0877): Smith v. Orthopedics International, Ltd.+ P.S-+ 06/ Sg-1] 548 (1/0/)-
8       3'         <W\QWV XZIK\QKM'
0/           0-    LeZbgmb__l{ Zmmhkg^rl pbee fho^ _hk ma^ Ziihbgmf^gm h_ ZiikhikbZm^ `nZk]bZgl
00   ad litem mh k^ik^l^gm ma^ bgm^k^lml h_ LeZbgmb__l pah Zk^ fbghkl-
01           1-    LeZbgmb__l pbee k^jn^lm k^eb^_ ]nkbg` ebmb`Zmbhg makhn`a lmbineZmbhg hk fhmbhg
02   ikZ\mb\^ _hk Z ebfbm^] ikhm^\mbo^ hk]^k mh ikhob]^ ZiikhikbZm^ ilr\aheh`b\Ze+ ikboZ\r+ Zg]
03   i^klhgZe b]^gmb_b\Zmbhg bg_hkfZmbhg ikhm^\mbhgl _hk LeZbgmb__l-
04           2-    LeZbgmb__l fZr k^jn^lm e^Zo^ mh Zf^g] ma^ \hfieZbgm+ Zl ]bl\ho^kr hk
05   @^_^g]Zgml{ Zglp^kl fZr k^jnbk^-
06           3-    LeZbgmb__l fZr k^jn^lm e^Zo^ mh k^_hkf ma^ \Zimbhg mh k^_e^\m ma^ Z]]bmbhg hk
07   ]^e^mbhg h_ iZkmb^l-
08           4-    LeZbgmb__l fZr k^jn^lm hma^k k^eb^_ Zl fZr [^ ZiikhikbZm^ ]nkbg` ebmb`Zmbhg-
1/      4'         9]LOUMV\ NWZ LIUIOM[' LeZbgmb__l ]^fZg] cn]`f^gm Z`Zbglm @^_^g]Zgml+ Zg]
10   ^Z\a h_ ma^f+ bg]bob]nZeer+ chbgmer+ Zg] l^o^kZeer+ _hk fhg^mZkr ]ZfZ`^l mh fZd^ LeZbgmb__l
11   pahe^+ mh`^ma^k pbma bgm^k^lm+ ^qi^gl^l+ \hlml h_ lnbm+ Zmmhkg^r _^^l+ Zl ZiikhikbZm^+ Zg] Zee
12   ln\a hma^k k^eb^_ Zl ma^ ?hnkm ]^^fl cnlm Zg] ikhi^k+ bg\en]bg`9
13           0-    Bnee \hfi^glZmhkr ]ZfZ`^l mh ma^ LeZbgmb__l _hk iZlm+ ik^l^gm+ Zg] _nmnk^
14   `^g^kZe ]ZfZ`^l Zl Zeehp^] [r eZp:
15           1-    Bnee \hfi^glZmhkr ]ZfZ`^l mh ma^ LeZbgmb__l _hk iZlm+ ik^l^gm+ Zg] _nmnk^
16   li^\bZe ]ZfZ`^l Zl Zeehp^] [r eZp:
17           2-    Aq^fieZkr hk ingbmbo^ ]ZfZ`^l Z`Zbglm IhglZgmh+ OhenmbZ+ Zg].hk


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0    LaZkfZ\bZ+ ng]^k ma^ Ziieb\Z[e^ eZp h_ _hk^b`g cnkbl]b\mbhg(l): Zg]
1          3-     =ee hma^k ]ZfZ`^l Zeehp^] [r eZp+ kne^+ hk ^jnbmr-
2
3          @=PA@ mabl 8ma ]Zr h_ IZr+ 1/07-
4                                             BNEA@I=J}NQ>EJ LHHL
5                                             >r9
6                                                   O^Zg F- CZf[e^+ SO>= Jh- 30622
                                                    FZf^l =- D^kms+ SO>= Jh- 24111
7                                                   Nb\aZk] D- Bkb^]fZg+ SO>= Jh- 2/515
8                                                   D^gkr C- Fhg^l+ SO>= Jh- 34573
0/                                            Attorneys for Plaintiffs
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                           COMMONWEALTH OF MASSACHUSETTS



       SUFFOLK COUNTY, ss.                               SUPERIOR COURT
                                                         CIVIL ACTION NO.-:

 CRAIG LAMK1-N and SUSAN LAMKIN

             Plaintiffs,

 VS.
                                                    IURY TRIAL.DE.MANDED

 MONSANTO COMPANY,.

 COOPER POWER SYSTE~IS~ as a division
 of EATON’S .ELECTRICAL,

 MCGRAW- EDISON COMPANY, as a
 subdivision- of COOPER POWER
 SYSTEMS and EATON ELECTRICAL,

 O’CON~OR CORPORATION INC. f/k/a
 SOLUTIA INC.,

 GENERAL ELECTRIC co.,

 SOLUTIA INC.,

  PHARMACIA LLC f/k/a PHAR_M~- CIA
" CORPORATION as successor in interest to
  ,OLD MONSANTO.,

PFIZER INC.,

CBS CORPORATION. f/k/a
WESTINGHOUSE ELECTRIC
CORPORATION,

NSTAR ELECTRIC f/k/a BOSTON
EDISON COMPANY,-

INTERNATIONAL PAPER COMPANY,

VERIZON COMMUNICATIONS INC.,
f/k/a VERIZON NYNEX
PERKINELMER; INC.
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 JOHN DOE.

         Defandants.




                                              COMPLAINT.

       COMES NOW Plaintiffs, CRAIG LAMKIN and SUSAN LAMKIN, and allege as follows:



                                            INTRODUCTION

        1.      On Or about July of 2013, Plaintiff Craig Lamldn was diagnosed with primary

retroperitoneal sarcoma of the Colon, small bowel, pancreas, spleen, and left adrenal gland which

required Plaintiff to undergo.a radical resection of his left abdomen. Plaintiff’s cancer was caused by

exposure to polychlorinated biphenyls (PCBs) manufactured, sold and Controlled by Defendants as well

as chemical derivatives and contaminants contained within the PCBs known as dioxins. PCBs were

manufactured, sold, and utilized by Defendants for use as a coolant and lubricant in electrical machinery

including transformers.   Plaintiff Craig LamYdn wasexposed to Defendants’ PCBs and dioxins during

the course Of his employment working with power transformers and other electrical equipment

manufactured by Defendants. Plaintiff Craig Lamkin was regularly and routinely exposed to these

PCBs and dioxins withsufficient regularity to cause his disease.- At all times material to this action,

Defendants had or should have had actual knowledge of the toxicity of PCBs and dioxins and failed to

warn the Plaintiff. Moreover, at all times material to this action, alternative safer materials were

available to Defendants for use as a chemical lubricant and coolant. Despite the knowledge of the

hazards associated with PCBs and dioxins, Defendants made the affirmative decision to utilize these
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 carcinogenic materials and affumaatively choose not to warn the Plaintiff. Defendants’ PCBs and

dioxins, as well as the machinery sold containing this material, were unreasonably dangerous and unfit

for the purposes that they were designed and sold for. As a result of the allegations listed above and

herein, Mr. Lamkin has suffered, and continues to suffer, debilitating injuries. Mr. Lamkin, and his wife

Susan Lamkin, bring this suit for damages relating to those injuries.


                                                    PARTIES.


        2~ "   " Plaintiff, Craig Lamldn ("Plaintiff-w0rker), was and is a citizen and resident of the .State

of Massachusetts during all times relevant. He brings this action individually.

        3.       Plaintiff, Susan Lamkin ("Plaintiff-spouse),-was and is a citizen and resident of the State

of Massachusetts during all times relevant and also makes a claim for loss¯ 0f consortium due to her

husband’s PCB/dioxin-related disease/

        4.       Defendant Monsanto Company (aNe..w Monsanto"), is a Delaware Corporation with its

principle place of business in St. Louis, Missouri. At all relevant times it did business in the State. of

Massachusetts.

        5.       Defendant Cooper Power Systems ("Cooper"), a division of Eaton’s Electrical, is a

Delaware Corporation with its principle place of business in St. Louis, Missouri. At ail relevant times it

¯ did business in the State of Massachusetts.

        6.      Defendant McGraw-Edison Company, a subdivision of Cooper Power Systems and Eaton

Electrical Delaware Corporation, is a Delaware Corporation, with its principle place of business in

Elgin, Illinois., and it’s Registered Agent in Boston, Massachusetts. At all relevant times it did business

in the State of Massachusetts.

        7.     Defendant O’Connor Corporation Inc. (formerly known as "O’Conner Constructers" and

successor to Thomas O’Connor & Company), is a Delaware Corporation with its principle place of
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 business in St. Louis, Missouri: At all relevant times it did business in the State of Massachusetts.

        8.        Defendant General Electric Company is a New York corporation with its principal place

 of business in New York. At all relevant times it did business in the State of Massachusetts.

        9.        D~fendant Solutia.Inc. ("Solufia") is a Delaware Corporation with its principle place of

business in St. Louis, Missouri. At all relevant times it did business in the State of Massachusetts. ¯

        i 0.      Defendant Pl-iarmacia LLC (formerly known as "Pharmacia C0rporation~’ and successor

to Old Monsanto) is a Delaware LLC that since its merger with Defendant Pfizer Inc. in 2003, has had

its headquarters and its principal place of business New York, New Yo~k. Pharmaciais now a wholly-

owned subsidiary of Prize.r, Inc. At all relevant times it did business in the State of Massachusetts.

        11.       Defendant Pfizer Inc. ("Pfizer") is a Delaware corporation that has.its corporate

headquarters and principal place of business in Nev~ York, New York. At allrelevant times it did

business in the State of Massachusetts.                       ’

       12.       ’ Defendant CBS -Corporation f/k/a Westinghouse Electric Corporation is a Delaware

corporation with its principal place of business in New York. At all relevant times it did business in the

State of Massachusetts.

       13.        Defendant NSTAR Electric f/k/a Boston Edison Company is a Massachusetts corporation

with its principal place of business in Massachusetts.                      ¯ ¯

        14.      Defendant International Pape~ Company is.a Maine corporation with its principal place.of

business in Maine. At all relevant times it did business in the State of Massachusetts..

       -! 5. "   Defendant Verizon Communications Inc., fik/a Verizon Nynex ("Verizon") is a Delaware

corporation with a Registered Agent in Massachusetts. At all relevant times it did business ~ the State

of Massachusetts.

      ¯ 16.      PerkinElmer, Inc. is a Massachusetts corporation with its principal office and Registered

Agent in Massachusetts. At all relevant times it did business in the State of Massachusetts.

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         17.    Defendant JOHN DOE (fictitious) represents one or more business entities whose real

    names and identities are presently unknown to Plaintiffs.

         i 8.   The original Monsanto Company ("Old Monsanto") operated an agricultural products

business, a ptiarmaceuticals and nutrition business, and a chemical products business. Old Monsanto

began manufacturing PCBS in the 1940s and continued.to manufacture commercial PCBS, until the late

 1970s.- At all relevant times it did business in the State of Massachusetts.

        19.     .Through a series of transactions beginning in approximately 1997, Old Monsanto’s "

businesses were spun offto form three, separate corporations. The corporation now known as Mgnsanto

operates Old Monsanto’s agricultural products business. Old Monsanto’s chemical products business is

now operated by Solutia. Old Monsanto’s pharmaceuticals business is now operated by Pharmacia.              "

        20.     Solutia was organized byOld Monsanto to own and operate its chemicalmanufacturing

businessl Solutia assumed the Operations, assets, and liabilities of Old Monsanto’s chemicals business.

        21.¯    Although Solutia assumed and agreed to indemnify Pharmacia (~en known as Monsanto

Company) for certain liabilities related to the chemicals business, Defendants have entered into

agreements, to share or apportion liabilities, and/or t6 indemnify one or more entity, for claims-arising

from Old Monsanto’s chemical business --- including the manufacture and salt of PCBs.

        221     1n2003, Solutia filed a voluntary petition for reorganization under Chapter 11 of the U.S.

Bankruptcy Code. Solutia:s reorganization was..completed in 2008. In connection with S olutia’ S Plan of

Reorganization, Solutia, Pharmacia and New Monsanto entered into several agreements under which

Monsanto continues to manage and assume financial respongibility for certain tort litigation and

environmental remediation related to the Chemicals Business.

        23.     At all times herein mentioned, each of the defendants was the agent, servant, employee

and/or jo!nt, venture of hi.s co-defendants, and each of them, and at all said times each defendant was

acting in full course and scope of said agency, service,employment and/or j oint venture.

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         24.     The true names and capacities, whether individual, corporate, associate, or otherwise, of

 defendants are not fully known to Plaintiffs at this time, who there’re sues said defendants by such

 fictitious names. When the tree names and capacities of said defendants have been ascertained,¯

 Plaintiffs will amend this complaint accordingly.¯ .Plaintiffs are informed and believe, and thereon

 allege, that each defendant designated herein as JOHN DOE is responsible; negligently or in some other

 actionable matter, for the events and happenings hereinafter referred to, and caused injuries and damages

 proximately thereby-to the Plaintiffs; as hereinafter alleged.

         25..    Plaintiffs are informed and believe, and thereon allege that at all times herein mentioned,

 defendants Monsanto Company (New Monsanto) (sued individually and as successor in interest to

 Pharmacia Corporation, Which Will Do Business in Massachusetts as Pharmacia Pharmaceutical

 Corporation), Solutia Inc. (sued individually and as successor-in-interest to Monsanto Chemical Co.(Old

 Mon~anto)),Pharmacia (sued individually and ~s successor-in-interest to .Monsanto Chemical Co.(Old

 Monsanto)), Pfizer (sued individually and as Successor-in-interest toPharmacia Corporation, Which

 Will Do Business in Massachusetts as Pharmacia Pharmaceutical Corporation), and JOHN DOES were

 andare authorized to do mid are doing business in the State of Massachusetts, or the ¯laws of some other

 state or foreign jurisdiction, and that said defendants, and each of them, were-and are authorized to do

 and are doing business in the State of Massachusetts, andthat said defendants have regularly conducted

 business in the state of Massachusetts.

         26.     Plaintiffs a~e informed and believe that each of the defendants is responsible,

 negligently, intentionally and/or in some actionable manner, including as corporate successors liable for

- the acts of their predecessors, for the events and happenings referred to herein, and caused and continue

 to cause injuries .and.damages to Plaintiffs, as alleged herewith, either througheach defendant’S own

¯ conduct, or through the conduct of its agents, servants, or employees, or due to ownership, maintenance

 or control of the instrument.ality causing them injury, Or in some other actionable marmei:.
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        27.      Collectively, the following Defendants are known as the Manufacturing Defendants for

 purposes of this Complaint They are listed as follows: Monsanto C6mpany; Cooper Power Systems;.

 O’ Connor Corporation; General Electric’s manufacturing division; Pfizer; S olutia; Pharmacia; CBS;

 PerkinElmer, Inc., and JOHN DOE defendants.

        28.      Collectively~ the following Defendants are known as Premises Defendants for purposes

of this Complaint. They are listed as follows: McGraw Edison; NSTAR; International Paper Company;

 Verizon Communications; General Electric’s facility located in Pittsfield, Massachusetts; and.JOHN

 DOE defendants.



                                            VENUE JURISDICTION


        29.      Suffolk County Superior Court is a proper venue for this action, since Plaintiff’s exposure

 and Defendants actions mid Selling of products which led to such exposure took place in the State

Massachusetts.

                 Jurisdiction is proper in this Court because Plaintiff are seeking damages in excess_ of

twenty-five thousand dollars ($2.5,000) and Defendants’ conduct giving rise tO Plaintiffs’ causes of action

occurred in the state o’fMassachusetts. See MGL . 223A, § 3.

        31.      This Courthas jurisdiction .of this matter because the amount in controversy exceeds its

jurisdictional.minimum, exclusive of costs and interest. Moreover, this Court has jurisdilction over this

matter and these defendants because these.d~fendants have done business in the Slmte of Massachusetts,

co~tted torts, in whole or in part, in the State of Massachusetts, andTor have continuing contacts with

the State. of Massachusetts resulting in Plaintiff Craig Lamkin’s injuries.

               In the event that the parties do not maintain principal places of residence andTor business

within the Commonwealth of Massachusetts, the Massachusetts Long Arm Statute (M.O.L.c.223 A, § 3) -

provides personal jurisdiction in the Superior Court Department of the Trial Court over all parties.
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        33.     This action involves claims by Massachusetts Plaintiffs against at least one defendant.who

 has a principle place of business in Massachusetts through which the injuries alleged were caused. "[An]

 action shall be removable only if none of the parties in interest properly joined and served as defendants

is a citizen 0fthe State in which such action is brought," (28 U.S.C..§ 1441(b));



                                        . FACTUAL ALLEGATIONS.

                                                A: Background. ¯


        34.    This is a personal injury case brought by P!ainti_ffs,Craig Lamkin and his wife Susan

Lamkin for injuries caused by Plaintiff Craig Lamkin’s exposure to p01ychlorinat.ed biphenyls (PCB~)

¯ manufactured and sold and controlled by. Defendants as well as chemical derivatives and contaminants

contained within the PCBs known as dioxins. At all times relevant to the allegations listed herein,

P!aintiff; Craig Lamkin was employed by (1) Laidlaw Environmental Services in North Andover,

Massachusetts, where.he worked as an environm ental chemist from approximately’ October of 1992

through December of 1994; (2) Enpro Services in Newburyport, Massachusetts, where he worked as a

compliance manager from approximately December of 1994 through July of 2001; and (3) Cyn

Environmental Services in St6ughton, Massachusetts, where he worked as a corporate compliance

manager from approximately July of 2001 through June of 2008. Throughout Mr. Lamkin’s

employmen~ he worked at the various premises sites listed in count 28, herein aforementioned.

       ¯ 35.   PCBs.were used as coolants and lubricants in transformers, capacitors, and other        ..

electrical equipment from 1929 to 1979..

       36.     The manufacture of PCBs was stopped in the.U.S, in 1979 because of evidence of

harm_fir health effects and impacts on the environment.

       37.     ’Dioxins; refers to two groups 6f compounds:. Polychlorinated dibenzo-p-dioxins

(PCDDs) and dibenzofurans (PCDFs).
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        38.     Dioxins have no technological or other use, but are generated in a number of thermal and

industrial proces_ses including the use as coolants and lubricants in electrical equipment as unwanted and

unavoidable by-products. Moreover, dioxins are present as contaminants within PCBs that hav~ not been

subject to thermal or industrial processes.

        39.     Dioxins and PCBs been shown to cause a range of adverse effects including cancer,

impairment of the nervous, immune, endocrine, and reproductive systems.

        40.     Monsanto Company was the sole manufacturer of PCBs in the United States from 1935 to

1979. Although Monsanto knew for decades that PCBs were toxic and presented a human health risk,

Monsanto concealed these facts and continued producing PCBs until Congress enacted tia~ Tokic

Substances Control Act ("TSCA"), which banned the manufacture use of most PCBs as of January !,

1979. The most common trade name for PCBS in the United States was-"Arocl0r," which was trademarked

by Old Monsantol

        41.     Monsanto’s commercially-Produced PCBs were used in a Wide range of industrial

applications in the United States including electrical equipment such as transformers, motor start

capacitors, and lighting ballasts. "

        42.     From the 1930s to 1979, Westinghouse and General Electric Co. were the biggest

purchasers of PCBs for use in electrical components including transformers.

       43.      Other big users included electrical-equiPment companies such as McGraw Edison, NStar

Electric, and telephone companies like NYNEX Corporation.

       44.      As used in this Complaint, the terms" "PCB-containing products" and "PCB products"

refer to products containing PCBs,, as well as breakdown products and contaminants PCDDs and

PCDFs, manufactured for placement into trade or commerce, includin~g any product that forms a

component part of or that is subsequently incorporated into another product.

                            B. PCB Cbntaining Products are Human Carcinogens.
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        45.     Humans may be exposed to PCB products throu~h ingestion, inhalation, and dermal

 co~atact. Individuals may inhale PCBs that are emitted into theair. They may also ingest PCB products

that are emitted into. air and settle onto surfaces ¯that come into contact with food or drinks. Humans may

also PCBS from physical contact with PCBs or PCB-c0ntaining materials.

        46.     EPA has determined that PCBs are probable human carcinogens. In 1996, EPA reassessed

PCB carcinogenic-to Plaintiff, based on data related to Aroclors 1016, 1242, 1254, and 1260.        EPA’s

cancer reassessment was peer reviewed by 15 experts on PCBs, including scientists from government,

academia and industry, all.of whom agreedthat PCBs are pi:obable human carcinogens.

        47.    The International Agency for Research on Cancer published an assessment in 2013 that

reinforcing the probable carcinogenicity of PCBs.

        48.    The International Agency .for Research on Cancer published an assessment in 1997 that

asserts an even stronger relationship between dioxins and human cancer..The International Agency for

Research on Cancer (IARC) classified TCDD in Group 1 (carcinogenic to humans). In addition, IARC

. recently classified 2,3,4,7,8-pentachlorodibenzofuran and 3,3’~4,4’,5-pentachlorobiphenyl in Group 1.



                             C. Defendants HaveLong Known of PCBs’ Toxicity


        49..   All of the Defendants were well aware of the decades of sciemific literature first published

in the 1930s that established that PCBs were toxic to humans.

        50.    As a result,, all of the Defendants knew or should have known of the actual dangers

.associated with PCB products that M_r, Lamldn worked with.

       51.     Despite this, Defendants nev.er warned Mr. Lamldn of the hazards associated with their

PCB products or advised him of the proper protective measures to avoid exposure.

       52.     In 1936, Dr. Lewis Schwartz, Senior Surgeon with the United.States Public Health Service,

wrote a paper inwhich he warned of the dangers of Pyrenol, the version of PCBs used by GE. In it Dr.

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 Schwartz said:

        "In addition to the skin lesions, symptoms of systematic poisoning have occurred among workers
inhaling the fumes..Those working with the chtoro diphenyls (PCBs) have complained of digestive
disturbances, burning of the eyes, impotence and hematuria. The latter symptom developed among a
number of men malting amino diphenyl, which is used in the making of a rubber antioxidant. Causes of
death from yellow atrophy of the liver have been reported among workers exposed to the fumes of the
chloro naphthalenes."


      ¯ 53.       Also in i936,. Dr. Schwartz cautionedin an. article that-"workers in chlorinated

naphthalenes and di phenyls (PCBs) should be periodically examined for symptoms of systemic

poisoning."

        54.       An October 11, 1937, Monsanto memorandum advises that "Experimental work in animals

shows that prolonged exposure to .Aroclor vapors evolved at high temperatures or by repeated oral

ingestion will lead to systemic toxic effects..Repeated bodily contact with the liquid Aroclors may lead to ¯

an acne-form skin eruption.’,                                                .

        55.       In a letter dated Sept. 15, 1947,.E.C. Barnes of Westinghouse’s medical department wrote

that long-term exposure to PCB fumes "may produce internal bodily injury which may be disabling or

could be fatal."

        56. -     A September 20, i955, memo’ from Emmet Kelly stated:

          "We know Aroclors are toxic but the actual limit has not been preciselY define& It does not make
to0much diffe?ence, it seemstome, because our main worry is what will happen if an individualdevelops
[sic] .any type of liver disease and gives a hisiory of Aroclor exposure. I am sure the juries Would not pay
a great deal of attention to [maximum allowable concentrates].".

        57.       OnNovember i411955,Monsanto’sMedicalDepartmentpr0videdanopini.’.’onthatworkers -

¯ should not be allowed to eat lunch in the Aroclor department.

         "It ha~ long been the opinion .of the Medical Department. that eating .in process departments is a
potentially hazardous procedure that could lead to serious difficulties. While the Aroclors are not
particularly hazardous from our own experience, this is a difficult problem to defme because early
literature work claimed that chlorinated-biphenyls were quite toxic materials by ingestion or inhalation.".

      . 58.       On January 21, .1957, Emmet Kelly reported that after conducting its own tests, the U.S. 1"

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        Navy decided against usm= Monsanto s Aroclors:            matter how we discussed the situation, it

¯ wasimpossible to change their thinking that Pydraul 150 is just too toxic foruse in a submarine."

        59.     In 1966, Kelly reviewed a presentation by Swedish researcher Soren Jensen, who stated

that PCBs "appeared to be the most injurious chlorinated compounds of all tested." Jensen refers to a 1939

study associating PCBs with the deaths of three young Workers and concluding that "pregnant women and

persons who have at any time had any liver disease are particularly susceptible." Kelly does not dispute

any of Jensen’s remarks, noting only, "As far as the section on toxicology is concerned, it is true that

chloracne and liver trouble can result from large doses."

        60.    On January 29, 1970, Elmer Wheeler of the Medical Department of Monsanto’ circulated

laboratory reports discussing results of anirn~i studies. He noted: "Our interpretation is that the PCB’s are

exhibiting a greater, degree of toxicity in this chronic study than we had anticipated. Secondly, although

there are variations depending on species ofsnimals, the PCB"s are about the same as DDT in mammals."


                 D. Defendants Concealed the Nature of PCBs from Governmental Entities.

        61.    Upon .information and belief, while the scientific .community and Defendants knew that

PCBs were toxic and becoming a global contaminant, Defendants repeatedly misrepresented these facts,

telling, governmental entities the exact opposite -- that the compounds were not toxicand that the

company would not exp.ect to fred PCBs in the environment in a widespread manner.

        62.   . For example, in a March 24, 1969 letter to Los Angeles County Air Pollution Control

District, Monsanto advised that the Aroclor compounds "are not particularly toxic by oral ingestion or

skin absorption." Addressing reports of PCBs.found along the West Coast, Monsanto claimed ignorance

as to their origin, explaining that "very little [Aroclor] would normally be expected either in the airor in

the liquid discharges from a using industry." A similar letter to the Regional Water Quali~y Control Board

explained that PCBs are associated with "no special health problems"-and "no problems associated with

the environment."
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       63.       In May, 1969, Monsanto employee Elmer Wheeler spoke with a representative of the

National Air Pollution Control Adminisi:ration~ who promised to relay to Congress the message that

Monsanto "cannot conceive how the PCBs can be getting into the environment in a widespread fashion."

       64.       Monsanto delivered the same message to the New Jersey Department of Conservation in

July, 1969, claiming first, "Based on available data, manufacturing and use experience, we do not believe

the PCBs to .be seriously toxic." The letter then reiterates Monsanto’s position regarding environmental

contamination: "We are unable at this time to conceive of how the PCBs can become wide spread in the

environment. It is certain that no applications to our knowledge have been made where the PCBs would

be broadcast in the same fashion as the chlor~inated hydrocarbon pesticides have been."

             E. Plaintiff Craig Lamkin’s Experience and Exposure to Defendants PCB products.

       65.      . Plaintiff, Craig Lamkin was employed by (1) Laidlaw Environmental Services in North

   Andover, Massachusetts, where he Worked as an environmental chemist from approximately

   October of 1992 througti December of 1994; (2) Enpro Services in Newburyport, Massachusetts,

   where he worked as a compliance manager from approximately December of 1994 through ¯July of

   2001; and (3)¯ Cyn Environmental Services in St0ughton, Massachusetts, where he worked asa

   corporate Compliancemanager .from approximateiy July of 2001 through June of 2008.

       66.       During the .course of his emploYment with each of these entities, Mr. Lamkin worked

   with ¯each of the Manufacturing Defendants’ PCB containing products includ’.mg, but not limited to

   electrical transformers and other electrical equipment.

       67.       While working with the Manufacturing Defendants’ PCB containing products, Mr.

   Lamkin was repeatedly exposed to PCB products through inhNation, ingestion, and dermal

   .exposure.

       68.        Mr. Lamkin:s exposure to these PCB products occurred at facilities including but not

   limited to those of the Premises Defendants.
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               Count I: Breach of Warranty- Defective Design.(Against Manufacturing Defendants)
          (Incorporating Strict Liability Principles as Set Forth in the Restatement (Third) of Torts)
         69. "    Plaintiffs repeat and reallege all allegations contained in all paragraphs above as if fully

 set forth herein.

         70.      Defendants were the producers 9fPCBs and PCB products intenddd for commercial use.

         71.      Defendants were in the business ofpr0ducing, making, fabricating, Constructing,

desi~maing~ remanufac..t..ufing, reconditioning or refurbishing PCBs and PCB-c~ntaining products fc~r

placement into trade or commerce.

         72.      Defendants’ PCB products were manufactured for placement into trade or commerce.

         73.      Defendants’ PCB productsmay have formed component parts of or may have been

subsequently incorporated’ into other products and equipment.

         74: ¯    As a manufacturer, Defendants owed a duty to all persons to whom PCBs and PCB

containing products might foreseeably harm, including Plaintiffs,

                  Defendants had a further duty not to market .any product which is unreasonably

dangerous .in design for its reasonably anticipated u~e.

         76.      By manufacturing and selling PCB.products, Defendants warranted that those PCB

products are merchantable, safe,, and fit for ordinary purposes.

         77.     Defendants breached that warranty as PCBS and PCB-containing products are

unreasonably dangerous for their reasonably anticipated use because:

                 PCB readily migrates from the site of its original application.and contaminates
                 adjacent materials, dust, air, interior surfaces, exterior surfaces, and soil;
                 PCB persists in the environment;
                 PCBis invisible to the naked eye;
                 Individuals may be exposed to PCB through inhalation, ingestion, and dermal contact.
                 PCB products are is a known carcinogens and are associated with other serious health
risks;



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         78.    Defendants knew of the risks associated with PCB products and failed to use reasonable

 care in the design of its products.                                    ’

         79.    Products containing PCBs or dioxins pose greater than would be expected by ordinary

. persons such as Plaintiffs and the general public.

         80.    There existed an alternative design for Defendants’ products that was capable of

 preventing the Plaintiffs’ cancer.

         81.    The risks posed by PCBsand PCB products .outweigh the products’ utility as an electrical

 coolant and lubricant.

         82.    The likelihood that PCi~s would cause cancer or other disease outweighed any b~rden on

Defendants to adopt an alternative design and outweighed the adverse effect,.if any, of such alternative

 design onthe utility o~the product.

        83.     Plaintiff was exposed to Defendants’ PCB products during the course of hi~ employment

from October of 1992 through June of 2009.                          ¯

        84.     Plaintiff was exposed at sufficient level to cause his cancer in June 2013..

        85.     As a direct and proximate result of Defendants’ unreasonably dangerous design,

manufacture, and sale of PCB-contalning products, Plaintiffs have suffered, and continue to suffer

injuries and damages.

        86.     Wherefore~ Plaintiffs demand judgment for damages, including costs, interest as

applicable; punitive damages and a trial bY jury.


         COUNT II: Breach"of Warranty- Defective Warning (Against Manufacturing Defendants)
         (Incorporating Strict Liability Principles as Set Forth in the Restatement (Third) of Torts)


        87.     Plaintiffs reallege and reaffirm each and every a~legation set forth in all preceding

paragraphs as if fully restated in this count.


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           88.   As a manufacturer of PcBS and PCB-containing products, Defendants had a duty to

provide adequate w.arnings tO Plaintiffs, the public, and public officials of the risks posed by PCBs and

PCB-containing-products.

           89.   PCBs and PCB-containing prodtrcts are unreasonably dangerous for their reasonably

anticipated use because:

         . a.    PCB readily migrates fromthe site of its 6riginal application and contaminates
                 adjacent materials, dust~ air, interior surfaces, .exterior surfaces, and soil;
                 PCBpersists in the environment;
                 PCB is invisible to the naked eye;                                ..
                 Individuals may be exposed to PCB through inhalation, ingestion; and dermal contact.
                 PCB.products are is a known carcinogens and are associated with other serious tiealth.
risks;

           90.   Defendants knew of the risks associated with PCBs and failed to provide"a warning that

would lead.an ordinary reasonable user or handler of a product to contemplate the dangers, associated

with PCB-containing products or an instruction that would have allowed Plaintiffs t0avoid his injurious

exposure.

           91.   Despite Defendants’ knowledge of the presence of PCB-containing products in electrical

transformers and other ~quipment, Defendants have not issued any warning, instruction, or special

guidance regarding the removal and disposal of PCBs and PCB products.

           92.   Plaintiffs would have heeded legally adequate warnings and would have taken additional

special precautions when handling products containing PCBs and would have taken steps to ensure that

PCBs were treated-differently to prevent potential exposure.

           93~   Plaimiffwas exposed to Defendants’ PCBproducts during the course 0fhis employment

from October of 1992 through June of 2009.¯

           94.   Plaintiff was exposed at sufficient level to cause his-cancer in June 2013~




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        95.     As a direct and proximate result of Defendants’ unreasonably dangerous design,

manufacture, and sale 0fPCB-containing products, Plaintiffs have suffered; and continue to suffer

injuries and damages.

        96.     Wherefore, Plaintiffs demand judgment for damages, including costs, interest as

applicable, punitive damages and a trial by jury.

                             COUNT HI:-Ne,~ligence (Manufacturin~ Defendants)


        97.     Plaintiff re-alleges and reds each and every allegation set. forth in all preceding

p~ragraphs as if fully restates in this count.

        98.     Plaintiff used, handled, inhaled, ingested, consumed, absorbed or been Otherwise exposed

to PCBs and PCB-containing products referred to herein in a manner that was reasonably foreseeablel

        99.     Plaintiff Craig Lamkin suffers permanent injuries to his person, body and health,

including, but not limited to cancer in the form 9f retroperitoneal sarcoma diagnosed on July 13, 2013.

        100.    Defendants, and each of them, and their officers~;directors, and managing a~e.nts

participated in, authorized, expressly and impliedly ratified, and had full knowledge of, or should have

known of, each of.the acts set forth herein.

        101.    Defendants, and each of them, and their officers, directors, and managing agents

participated in, authorized, expressly and impliedly ratified, and had full knowledge of, Or should have

¯known of, each of the acts set forth herein.

        102.    Defendants failed to exercise ordinary care because a reasonably careful company that

learned of its product’s toxicity would not manufacture that product or would warn of its toxic properties.

        103.    Defendants failed to exercise ordinary care because a reasonably careful company that -

learned that its product could not be contained during normal production and .use would not continue to

manufacture that product or would warn of its dangers.

        104.   Defendants failed to exercise ordinary care because a reasonably careful company would
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not continue to manufacture PCB products in mass quantities, and to the extent that Defendants

manufactured them and without sufficient warnings.

          105.    Defendants were negligent because they failed to exercise reasonable care.

          106..   The Defendants, and each of them, andtheir officers, directors, and managing agents

participated in, authorized, expressly and impliedly ratified, and had full knowledge of, or should have

known of, .each of the acts set forth herein.

          107.    The herein-described conduct of said Defendants, and each of them, was and is willful,

malicious, fraudulent, outrageous, and in conscious disregard and indifference to the s.afety and health of

Plaintiff. Plaintiff;’for the sake of example andby way of punishing saiddefendants, and each of them,

seek punitive damages according to proof.

          108.    Wherefore, Plaintiffs demand judgment for damages, including costs, interest as

applicable, and a trial bY jury:

                                           COUNT IV: Premises Liabilit~


          1-09.   Plaintiffs adopt, and re-allege each priorpara~aph, where relevant, as if set forth fully

herein.

          110.    At all times relevant to Plaintiffs’ Complaint, Plaintiff, Craig Lamkin was an invitee on

the premises of the above Defendants; which were operated, owned, and~or controlled by the above

Defendants, forpurposes be~aeficial to the Defendants.

          111.. Defendants owed a duty to Plaintiff, craig Larnkin, to maintain said premises in a safe

manner, free and clear of toxic .chemicals, materials and substances and tO provide Plaintiff with a

reasonably safe place to work and a duty to exercise reasonable care in protecting Piaintiff from workplace

hazards.
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         112.       Defendants breached these duties and exposed Plaintiff to various PCB-containing

 products at said premises during operation, construction and/or repair of said premises by Plaintiff and/or

 o~tside contractors and co-employees, and Plaintiff was injured as previously described.

         113.       As set forth above, Defendants’ failure to.maintain the premises of the above worksites in ¯

¯ a safe manner was intentional, reckless and wrongful, such that Plaintiffs are entitled to all actual and

compensatory damages as well as for punitive damages and for such other further relief as this Honorable

 Court and/or jurY may .deem just and proper.

                                  COUNT V: Punitive Damages as to all Defendants



         114.     Plaintiffs repeat and reallege all allegations contained in all paragraphs above as if fully set

forth herein.

         115.     The acts and omissions of Defendants that were the direct and proximate cause of

Plaintiffs’ injuries were willful, malicious, wanton, undertaken with reckless disregard of the fights of

Plaintiffs, and were grossly negligent.

        116.      WHEREFORE Plaintiffs demand judgment and punitive damages against the Defendants,

jointly and severally, plus interest, costs, and whatever other further relief this Honorable Court deems

right and just.


                                           COUNT VI: Loss of Consortium

        117. - Plaintiffs repeat and reallege all allegations contained in.ali paragraphs above as if fully

set forth herein.

        ¯ 118.    As a direct and proximate result of Defendants’ negligence and conduct as detailed

above, Plaintiff Susan Lamkin was caused to lose the consortium and society of her spouse, Plaintiff

Craig Lamkin.



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        119.    Wh.erefore, Plaintiffs demand judgment for damages, including costs, interest as

applicable, and a trial by jury.



                                         DEMAND FOR JURY TRIAL

        120.   Plaintiff hereby demands trial by jury as to all issues so triable,




Dated: F ebruaryJ__~, 2016

                                                              BY THEm.ATTORNEYS,



                                                      McConnelt,BBC
                                             Jonathan D. Orent, BBO #660571
                                             321 South Main Street
                                             Providence~ RI 02903
                                             401-457-7700
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                                                       Phillips Lytle LLP




          VIA E-MAIL & U.S. MAIL                                                                      September 14, 2016

          Christopher M. Hohn
          Thompson Coburn LLP
          One US Bank Plaza
          St. Louis, MO 63101
          (chohn@thompsoncoburn.com)


          Re:     Monsanto's Purported Tender of Defense & Demand for Indemnification


          Dear Mr. Hohn:

          Enclosed and attached, please find a corrected version of the letter sent to you
          yesterday.


          Very truly yours,

          Phillips Lytle LLP


           By

          Craig A. Le¡ie

           CALram
           Enclosure
           Doc #01 -2981 673.1




                                                            ATTORNEYS AT LAW


                                 CRAIG A. LESLIE, PARTNER DIRECT 716 847 7012 CLESLIE@PHILLiPSLYTLE.COM


                        ONE CANALSIDE 125 MAIN STREET BUFFALO, NY 14203-2887 PHONE 716 847 8400 FAX 716 852 6100
NEW YORK: ALBANY. BUFFALO, CHAUTAUQUA, GARDEN CITY, NEW YORK, ROCHESTER       WASHINGTON, DC   CANADA: WATERLOO REGION   I
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                                                      Phillips Lytle LLP




          VIA E-MAIL & U.S. MAIL                                                                  September 13, 2016

          Christopher M. Hohn
          Thompson Coburn LLP
          One US Bank Plaza
          St. Louis, MO 63101
          (chohn@thompsoncoun.com)


          Re:    Monsanto's Purported Tender of Defense & Demand for Indemnification
                 Under Special Undertaking dated January 7, 1972


          Dear Mr. Hohn:

          Please be advised that our firm has been retained to assist Magnetek in regards o your
          correspondence dated August 29, 2016, addressed to Mr. Scott S. Cramer, purpoñng to:
          ( a) tender to Magnetek the defense of Monsanto Company ("New Monsanto"),
          Pharmacia LLC f/k/ a Monsanto ("Old Monsanto"), and Solutia Inc. (collectively,
          "Monsanto") in the 46 cases identified •n the accompanying attachment to your
          correspondence; and (b) demanding that Magnetek indemnify Monsanto with respect
          to any damages that might be awarded against Monsanto in those cases, pursuant to the
          accompanying "Special Undertaking," dated January 7, 1972.

          IniIially, please note that Mr. Cramer is no longer with Magnetek and that any future
          correspondence regarding this matter should, therefore, be directed to the undersigned.

           Your correspondence is the first notice to Magnetek of the 46 cases identified in the
           accompanying attachment, in spite of the fact that many of those cases have been
           pending for years, at least one has already gone to trial and verdict, and another is
           apparently set for trial this week. Based upon the scant information that Monsanto has
           provided, Magnetek presently has no reason to believe that it is required to either
           defend or indemnify Monsanto and, therefore, rejects Monsanto's tender or demand.




                                                            ATTORNEYS AT LAW


                                CRAIG A. LESLIE, PARTNER DIRECT 716 847 701Z CLESLIEf.WNILLIPSLYILE.COM


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                                                                           WASHINGTON, OC   CANADA WATERLOO REGION   PNILLIFSI.YTL-C COM
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Christopher M. Hohn                                              September 13, 2016
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Magnetek also reserves all of its rights with respect to Monsanto's tender and demand
including, specifically, but without limitation, its right to specify further and additional
grounds for rejecting the same as Magnetek's investigation of Monsanto's tender and
demand continues.


Very truly yours,

Phillips Lytle LLP

      71             (       /
By

Craig A. Leslie

CALram
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                                                 LAW OFFICES

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 bshaughnessy@wc.com
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                                              October 19, 2016


  BY EMAIL AND FEDEX

  Randy R. Mariani, Esq.                                  Christopher M. Hohn, Esq.
  Law Department                                          Thompson Coburn LLP
  Monsanto Company                                        One U.S. Bank Plaza
  800 North Lindbergh Boulevard                           St. Louis, MO 63101
  St. Louis, MO 63167                                     chohn@thoinpsoncoburn. corn
  randy. r. nlariani@rnonsanto. corn

             Re:        Monsanto Tender ofDefense and Demand for Indemnification

  Dear Messrs. Mariani and Hohn:

          This firm represents General Electric Company and General Electric Canada Company
  (collectively, GE). I respond on their behalfto Mr. Mariani's August 18, 2016 letter to Thomas
  Hill ofGE and Mr. Hohn's August 29, 2016 letter to Kathryn Bogdanowicz ofGE. Each letter
  demands that GE indemnify Monsanto and accept its tender of defense in connection with
  various litigations related to polychiorinated biphenyls (PCBs) that Monsanto is currently
  defending.' The basis for the demand is GE's alleged indemnification obligation under the
  "Special Undertaking by Purchasers ofPolychlorinated Biphenyls" that the company executed in
  early 1972.

         GE rejects Monsanto's demand for indemnity. The demand is deficient on its face and
  does not provide any reasonable basis for GE to evaluate it. GE denies that the demand
  preserves any alleged right ofindemnity against GE or effectively tenders the defense of the
  underlying litigations.


   I
     Multiple now-separate entities have been known as "Monsanto" at some point over the past 50
   years. Mr. Hohn' s letter makes the demand only on behalf of "Old Monsanto," now known as
   Pharmacia LLC. Mr. Mariani's letter, written on the letterhead ofthe firm currently known as
   Monsanto Company, appears to make the demand solely on behalf of that entity. For purposes
   ofthis letter, we refer to both entities as "Monsanto" without distinguishing between them and
   without conceding that either has enforceable rights against GE under the Special Undertaking.
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Randy R. Mariani, Esq.
Christopher M. Hohn, Esq.
October 19, 2016
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         An addendum to the Special Undertaking, requested by GE and executed by Monsanto,
requires Monsanto to provide "timely notice ofany claims to which the indemnity applies" (see
the attached). Monsanto has not provided GE with meaningful notice ofthe claims at issue. It
has simply proffered a chart listing the case caption, docket information, and filing date for forty-
six litigations, along with an unexplained entry entitled "Group Reference" apparently based on
Monsanto's internal classification of the cases.

         Nor has Monsanto provided GE with any notice of facts suggesting that the Special
Undertaking applies to those litigations. The Special Undertaking applies only to PCBs that
Monsanto sold or delivered to GE after the effective date ofthe agreement, and it requires GE to
indemnify Monsanto only as to claims "arising out of or in connection with the receipt, purchase,
possession, handling, use, sale or disposition of such PCBs by, through or under [GE] ." In your
letters and in Monsanto's prior oral communications on this matter, Monsanto has not identified
any facts showing that the pending lawsuits arise from the use or disposition "by, through or
under" GE of PCBs that Monsanto ever sold or delivered to GE, much less PCBs that Monsanto
provided to GE after the agreement. For example, Monsanto does not identify any GE product
incorporating PCBs sold after the agreement that allegedly caused injury to any plaintiff in the
underlying litigations.

        In addition to being substantively deficient, Monsanto's demand for indemnity is not
"timely" as required by the addendum to the Special Undertaking. The list of cases you have
provided includes one filed in 2009 and more than a dozen others that have been pending for
three years or more.

       All ofthis said, however, GE is willing to consider any further information that Monsanto
wishes to provide bearing on the question of indemnification under the Special Undertaking. If
Monsanto provides information in a timely fashion identifying claims where facts reveal that the
Special Undertaking may apply, we can then discuss the best way to use mediation or other ADR
or negotiation mechanisms to continue our discussions.

       This letter does not purport to identify all defenses that GE would have to a properly pre-
sented claim for indemnity by Monsanto, and GE reserves all of its rights and defenses to such a
claim.

        Please direct to me all further communications to GE relating to this matter.

                                               Sincerely yours,




                                               Robert J. Shau
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                                              COMPANY
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                                                          January 21, 1972



       E. J. PutZell, Esq.
       Vice President and General Counsel
        Monsanto Company
        600 North Lindbergh Boulevard
          . Louis, Missouri

        Dear Mr. putzell:
                                              ndertaing by Purchasers of
                I have executed the "Special              Electric su.bject tc
        polychiorinated Biphenyls" on behalf of General
                                             Mr. Stapleton has informed me
        the folloving
        Moflsanto will accept
                 1.                  jndertathg applies only toPCB's ter
                           The oeal bas
                           risk o 155   passed to General Electric from
                            lor.5at
                                                         applicable to PCB's
                 2.        The Special Undertathg is not
                           after t:er return to !onsantO or its agent for dis-
                           posal or otherwlse
                           Monsa.rtO shall pro1de General
                                                          Electric with timely
                  3.                                            indemnity aplies
                           notice of any claimS to which the
                                                              with reasoiable
                   .
                           and s3.ii rovide Ger.aral Electricexpense) in the de-
                           assistance (at General Electric's indemnity.
                           tense o any claim covered by the
                                                     Monsanto's acceptance of
                  I would appreciate your indicating
          these conditions b signing the copy of this letter a¡id returning it to
          me.
                                                               Very truly yours,
                                                                   g4z- ¨2
           ACCEPTED
                                .L-y/
           By:                          ,;        .:€_
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                    EXHIBIT 21
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                    EXHIBIT 23
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                                                                  L/L\ IIA

September 1, 2016



       Re:     Tender of Defense & Demand for Indemnf•cation Under Special Undertaking by
               Purchasers of Polychiorinated Biphenyls contracts dated February 7, 1972, and
               March20, 1972

Christopher M. Hohn
Thompson Coburn LLP
One US Bank Plaza
St. Louis, Missouri 63101


       Dear Mr. Hohn:

       Thank you for your letter dated August 29. 2016. You are correct that I am authorized to
receive this demand on behalf of AVX Corporation.

       AVX has reviewed this demand carefully and cannot agree with your analysis. Under the
Special Undertaking By Purchasers of Polychlorinated Biphenyls dated February 7, 1972
("February Undertaking"). The relevant language is set forth below:

       Buyer hereby covenants and agrees that, with respect to any and all PCB 's sold or
       delivered by or on behalfofMonsanto to Buyer on or after the date hereof and in
       consideration of any such sale or deliver, Buyer shall defend, indemnify and hold
       harmless Monsanto . . . from and against any and all liabilities . . arising out or in
                                                                             .

       connection with the receipt, purchase, possession, handling, use, sale or
       disposition ofsuch PCB 's by, through, or under Buyer . ...

February Undertaking (emphasis added). The identical language appears in the Special
Undertaking By Purchasers of Polychlorinated Biphenyls dated March 20, 1 972 ("March
Undertaking"). You apparently recognize the importance ofthis provision although your quotation
omits some key language.

       A plain reading of this unambiguous language makes clear that the indemnification
obligation relates only to PCBs that were sold/delivered to Buyer. Put another way, this was not a
free-floating, general obligation that related to every PCB-containing material manufactured by
Monsanto and sold anywhere in the country to any person, but only to those that were sold to the
counterparties, Aerovox Corporation and Aerovox Canada Limited. This is confirmed by the use

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of the phrase "such PCBs" which cari only be read to mean those PCBs sold or delivered to the
counterparties.

      Accordingly, any obligation that might arise under either the February Undertaking or the
March Undertaking is limited only to liabilities that arise from PCBs sold/delivered to the Aerovox
Corporation or Aerovox Canada Limited. A canvass of your letter reveals no assertion of a
connection between those specific PCBs and any ofthe claimed liabilities. Indeed, given that the
only product manufactured by either entity were sealed capacitors, it seems unlikely in the extreme
that these PCBs could possibly be connected in any way to any of the claimed liabilities.

        I should also draw to your attention several other matters that may be relevant. First,
Aerovox Corporation sold all of its assets to Belleville Industries, Inc. on January 2, 1 973, at a
time when Aerovox Corporation still had a separate existence from AVX Corporation. As a result,
while you assert that AVX Corporation is responsible for the liabilities of Aerovox Canada
Limited, in fact, that is not the case. Aerovox Canada Limited was a subsidiary of Aerovox
Corporation and was sold with the other assets. Accordingly, there are no circumstances under
which AVX Corporation is responsible for any claims made against Aerovox Canada Limited.
Instead, you must look to the entity that purchased that corporation from Aerovox Corporation. As
a further result ofthe 1973 sale, AVX's contractual liability under either Special Undertaking, if
any, would be limited to liability arising only from PCBs sold in the time period between February
7, 1972 and January 2, 1973, less than one year out ofdecades of operations.

        Second, in light ofthe fact that the sales and delivery ofthe PCBs to Aerovox Corporation
took place in Massachusetts, AVX expects that its laws will apply. As a result, at least with respect
to any claim or liability which was known to your client for more than six years, any contract claim
would be barred by the statute of limitations. An inspection of the list provided strongly suggests
that most, if not all, would, therefore be barred. I also note that the doctrine of laches could also
prove a substantial barrier - for example, it appears that Monsanto's counsel failed to avoid an
award of$46,500,000 injust one case. By delaying the assertion ofthis claim, Monsanto precluded
AVX - or any other recipient(s) - of the possibility of hiring other counsel who might not have
reached such a disastrous result.

        Third, to the extent your clients seek to invoke either Special Undertaking, you would be
obliged to provide all the relevant documents to determine which cases, if any, might fall within
the scope ofthe agreements. Mere provision of a docket sheet is facially inadequate. Accordingly,
to the extent that your client intends to press any claims, it must provide all delivery records on
which it intends to rely, all the pleadings in cases that are still under litigation and all settlement
documentation for cases that are settled or are in the process of being settled. Until then, AVX
must deem your demand to be inadequate.
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         Under these circumstances, AVX must decline your invitation. Please also note that this
letter is not intended to be comprehensive account of all relevant facts, circumstances and defenses.


                                                      Sincerely,




                                                      Evan Siavitt
                                                      Senior Vice President, General Counsel and
                                                      Corporate Secretary
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                    EXHIBIT 25
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                    EXHIBIT 26
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,   FOLEY
    F-I O1\G LLP
                                                     #: 500
                                                                                     Seapoll West
                                                                                     155 Seapoil Boulevard
                                                                                     Boston, MA 02210-2600

                                                                                     617.632.1000 main
                                                                                     617.632.7000 fax




                                                                                     Jonathan M. Ettinger
                                                                                     617-832-1195 direot
                                                                                     jettingerfoIeyhoag.com



      May 18, 2017


       By Email and U.S. Mail

       Christopher M. Hohn, Partner
       Thompson Coburn LLP
       One US Bank Plaza
       St. Louis, MO 63101

                 Re:          Tender ofDefense & Demandfor Indemnj/•cation Under Special Undertaking
                              by Purchasers ofPolychlorinated Biphenyls contract January 26, 1972

      Dear Mr. Hohn:

              I write on behalf of Cornell-Dubilier Electronics, Inc. ("CDE") in response to your
      letter dated August 29, 2016 and the follow up letters dated December 23, 2016 and April 7,
      20 1 7 concerning the demand by the entities you refer to as the "Monsanto Defendants" for
      defense and indemnification in connection with certain lawsuits (the "Demand").' Having
      carefully reviewed the allegations in the Demand, CDE does not see any justification for
      Monsanto's claims. It is plain from the Special Undertaking that it only applies to claims
      made against Monsanto with respect to PCBs sold to CDE after January 26, 1972. In the
      Demand, Monsanto makes no attempt to identify any particular PCBs sold to CDE that caused
      any underlying claim. Moreover, even if it could link particular PCBs sold to CDE with any
      claims against Monsanto, Monsanto has made no attempt to segregate damage caused solely
      by PCBs sold to CDE after January 26, 1972. Indeed, it seems unlikely Monsanto could ever
      do so. Thus, CDE sees no basis for Monsanto to invoke the Special Undertaking.

             Monsanto's Demand suffers from other serious defects. For instance, Monsanto's
      claims are likely time-barred by either applicable statutes of limitations or laches. For over
      thirty years Monsanto has been litigating claims concerning PCBs, in some cases side-by-side
      with CDE, and has never asserted a claim under the Special Undertaking. The facts as alleged



       I
        At the outset, I want to thank Monsanto for the extension of time it provided for CDE's
      response while CDE resolved certain issues relating to representation. Now that those issues
      have been resolved, CDE provides this response.
                                                            BOSTON j NEWYORK       PARIS       WASHINGTON        FOLEYHOAG.COM
           ATTORNEYS AT LAW                                                    I           I                 I




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  Christopher M. Hohn, Partner
  May 18, 2017
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  in the Demand also confirm that Monsanto has been dilatory in asserting its claims and
  deprived CDE of any meaningful opportunity to defend.

           Finally, I note that when Monsanto induced CDE to execute the Special Undertaking,
  it did so while concealing from CDE material facts about PCBs which Monsanto had known
  for years. Thus, CDE believes that the obligation is unenforceable.

         Accordingly, without attempting to provide an exhaustive list of the reasons, CDE
  declines Monsanto's invitation. Ofcourse, ifMonsanto insists on pursuing its Demand, CDE
  demands that with respect to any specific claim for which Monsanto alleges CDE is
  responsible, it immediately:

          (1) Provide all documents or other information linking CDE with the claim;
          (2) Identify what portion ofthe claim is attributable to PCBs sold to CDE (and explain
              how that was determined);
          (3) Identify what portion ofthe claim is attributable to PCBs sold to CDE after January
              26, 1972 (and explain how that was determined);
          (4) Provide all delivery records of PCBs sold to CDE;
          (5) Provide all pleadings from any litigation relating to the claim;
          (6) Provide any settlement agreement relating to the claim; and
          (7) Provide all communications concerning settlement of the claim.

           CDE reserves all of its rights with respect to the Demand.

           Kindly direct any future communications to my attention.

                                                 Sincerely,



                                                 Jonathan M. Ettinger


   cc:     Victor Whitworth, CFO

   JME:nw




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David M. Mangian
314 552 6540 direct
dmangian@thompsoncoburn.com



May 13, 2022

VIA ELECTRONIC MAIL & FEDEX

The Gillette Company LLC
c/o Deborah Majoras
Chief Legal Officer
The Proctor & Gamble Company
1 Procter And Gamble Plz.
Cincinnati, OH 45202

Email: majoras.DP@pg.com

Re:     Tender of Defense & Demand for Indemnification Under Special Undertaking by
        Purchasers of Polychlorinated Biphyenls contract dated February 4, 1972

        Protected Communication: Indemnitee-Indemnitor Privilege; Common Interest
        Doctrine; Settlement Communication

Dear Ms. Majoras:

We write on behalf of our clients Monsanto Company (“New Monsanto”), Pharmacia LLC, f/k/a
Monsanto (“Old Monsanto”), and Solutia Inc. (collectively the “Monsanto Defendants”). By this
letter, the Monsanto Defendants demand that The Gillette Company LLC (“Gillette”) defend,
indemnify, and hold harmless Old Monsanto in certain lawsuits pursuant to the enclosed Special
Undertaking By Purchasers of Polychlorinated Biphenyls (the “Special Undertaking Contract”).
This letter also seeks to open a dialogue about potentially resolving Gillette’s obligations under
the Special Undertaking Contract through confidential mediation or other alternative dispute
resolution.

As an initial matter, we understand that you—as Chief Legal Officer for The Procter & Gamble
Company—are authorized to receive this demand on behalf of Gillette. If that understanding is
incorrect, please advise immediately and we will redirect this correspondence as necessary.

The Monsanto Defendants have been sued by a number of individuals, cities, municipal agencies,
and school districts seeking to recover for claimed personal injuries, environmental clean-up and
permit costs, property damage, and other damages allegedly caused by exposure to or
contamination by Polychlorinated Biphenyls (“PCBs”) manufactured and sold by Old Monsanto
(the “PCB Lawsuits”). These cases include (1) a group of lawsuits in which the plaintiffs allege
that the Monsanto Defendants should bear some cost of water clean-up and wastewater permit
costs due to PCB contamination (the “Water Cases”), and (2) cases in which the plaintiffs allege
that the Monsanto Defendants should bear some cost of clean-up and/or rebuilding of schools
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due to alleged PCB contamination (the “School Cases”). A current list of the PCB Lawsuits is
enclosed. The operative complaints and/or petitions in the PCB Lawsuits are too voluminous to
enclose with this letter, but are publicly available and can also be made available to you upon
request.

The Special Undertaking Contract was signed by P.R. Mallory & Co. Inc. It states in pertinent
part that P.R. Mallory & Co. Inc. will:

        defend, indemnify, and hold harmless [Old] Monsanto, its present, past and future
        directors, officers, employees and agents, from and against any and all liabilities,
        claims, damages, penalties, actions, suits, losses, costs and expenses . . . arising
        out of or in connection with the receipt, purchase, possession, handling, use, sale
        or disposition of such PCB’s by, through, or under [P.R. Mallory & Co. Inc.],
        whether alone or in combination with other substances, including, without implied
        limitation, any contamination of or adverse effect on humans, marine and wildlife,
        food, animal feed or the environment by reason of such PCB’s

It is the Monsanto Defendants’ understanding that Gillette is the successor in interest to P.R.
Mallory & Co. Inc.’s obligations under the Special Undertaking Contract through a series of
corporate mergers and name changes.1

Gillette has a duty to defend Old Monsanto in the PCB Lawsuits because the plaintiffs’ allegations
in the PCB Lawsuits fall squarely within the scope of the Special Undertaking Contract. For
example:

       The claims and actions arise out of or in connection with P.R. Mallory & Co. Inc.’s post-
        February 4, 1972 purchases of PCBs because plaintiffs seek to impose liability on Old
        Monsanto for those sales/purchases.

       The claims and actions also arise out of or in connection with P.R. Mallory & Co. Inc.’s
        possession, handling, use, sale, and/or disposition of PCBs purchased after February 4,
        1972, because the plaintiffs assert injuries allegedly caused by general environmental and
        food chain exposure to PCBs, or environmental PCB contamination, and P.R. Mallory &
        Co. Inc.’s possession, handling, use, sale and disposition of PCBs purchased after
        February 4, 1972 contributed to the amount of PCBs in the environment and food chain.




1
  Specifically, and as you may know, P.R. Mallory & Co. Inc. changed its name to Duracell International
Inc. on February 28, 1980. Duracell International Inc. merged into Duracell Inc. on June 29, 1989. Duracell
Inc. merged into a different Duracell International Inc. (formed in 1988) on July 28, 1997. The surviving
corporation, Duracell International Inc., changed its name to Duracell Inc. as part of the merger. Duracell
Inc. merged into The Gillette Company on December 31, 1998. The Procter & Gamble Company purchased
the stock of The Gillette Company in 2005. On August 25, 2016, The Gillette Company entered into a
merger agreement with The Gillette Company LLC effective September 1, 2016. The Gillette Company
LLC is a subsidiary of The Procter & Gamble Company.
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      Gillette cannot credibly deny that P.R. Mallory & Co. Inc.’s possession, handling, use, sale
       and/or disposition of PCBs purchased after February 4, 1972 contributed to the amount of
       PCBs in the environment and food chain. P.R. Mallory & Co. Inc. was one of the largest
       purchasers of PCBs between 1972 and 1977, purchasing more than 7 million pounds of
       PCBs from Old Monsanto during that time period. P.R. Mallory & Co. Inc.’s handling and
       sale of those PCBs led to the presence of PCBs in the environment. See, e.g. Emhart
       Industries, Inc. v. Duracell Intern. Inc., 665 F. Supp. 549, 554-55 (M.D. Tenn. 1987) (noting
       that an underground storage tank containing PCBs located at a former P.R. Mallory & Co.
       Inc. manufacturing plant leaked and that “[t]he parties have stipulated that the use of PCBs
       before Emhart purchased the [P.R. Mallory & Co. Inc.] plant led to the PCB contamination
       on the floor, roof and ground.”); id., at 558 n.14 (noting that there were additional “leaking
       drums” that contained “PCBs that were flowing across the pavement and into the North
       Drain,” which “empties into the Green River.”); id, at 560 (expert concluding that “the PCB
       contamination of the [former P.R. Mallory & Co. Inc.] facility was surprisingly widespread
       . . . very high levels.”); id, at 566 (noting PCB contamination was found at other former
       P.R. Mallory & Co. sites).

      The claims and actions in the PCB Lawsuits also arise out of or in connection with P.R.
       Mallory & Co. Inc.’s possession, handling, use, sale, and/or disposition of PCBs purchased
       after February 4, 1972, because the plaintiffs specifically allege that their injuries were
       caused by the improper dumping of PCBs into the environment by Old Monsanto’s
       customers, which include P.R. Mallory & Co. Inc.

In short, the claims asserted in the PCB Lawsuits arise out of, and/or are in connection with, the
PCBs P.R. Mallory & Co. Inc. purchased after February 4, 1972 that have been released into the
environment in combination with all other PCBs in the environment. The Special Undertaking
Contract, by its express terms, includes liabilities arising out of or in connection with PCBs
purchased after February 4, 1972 “alone or in combination with other substances.” Thus, Gillette
has a duty to defend Old Monsanto in the PCB Lawsuits.

By copy of this letter, demand is made for Gillette to defend, indemnify and hold harmless Old
Monsanto in connection with all current PCB Lawsuits wherein Old Monsanto is named as a
defendant, and for the amount of any resulting judgments (if any) and settlements, to the full
extent required by the Special Undertaking Contract. You are hereby formally tendered the
defense of the PCB Lawsuits on the enclosed list. Pending the establishment of a reasonable
and acceptable arrangement regarding this tender, the cases will continue to be defended and/or
settled and Gillette will be held liable for the amount of the resulting settlements or judgments (if
any) as well as the incurred costs, expert witness fees, attorney’s fees, and all other reasonable
expense incurred in defending these actions. The Monsanto Defendants also expressly reserve
the right to engage in settlement discussions and/or to settle some or all of the PCB Lawsuits,
while holding Gillette responsible for those settlements. You are expressly notified that settlement
negotiations relating to certain of the listed PCB Lawsuits are currently underway.
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While the Monsanto Defendants obviously dispute and contest the claims and allegations in these
matters and the other pending PCB Lawsuits, they face significant potential liability in each of the
pending PCB Lawsuits, and Gillette is contractually obligated to defend, indemnify, and hold Old
Monsanto harmless in each of those cases.

In addition to the foregoing, Gillette is also liable for some or all of the amounts already paid, or
agreed to be paid, by the Monsanto Defendants to resolve PCB Lawsuits under the theory of
common law/equitable contribution. These amounts include, but are not limited to: (1) $280 million
that the Monsanto Defendants paid to settle a group of personal injury cases known as the Food
Chain Cases2; (2) $650 million that the Monsanto Defendants have agreed to pay to settle Water
Cases brought by certain municipal entities; and (3) amounts paid or agreed to be paid by the
Monsanto Defendants to separately resolve Water Cases filed by the Attorneys General of New
Hampshire, New Mexico, Ohio, Washington, D.C., and Washington. The Monsanto Defendants
vigorously defended these actions and contested the plaintiffs’ claims and allegations in each
instance prior to settling.

The Monsanto Defendants would prefer to resolve any disputes regarding Gillette’s obligations
under the Special Undertaking Contract and/or to reimburse the Monsanto Defendants for
amounts paid to resolve certain PCB Lawsuits outside of formal litigation. We believe the best
medium to accomplish that is confidential mediation. Accordingly, we request that Gillette do the
following:

    1. Acknowledge in writing that it received this communication within ten (10) days from the
       date of this communication;

    2. Immediately notify its primary and excess insurer(s) of the Monsanto Defendant’s demand
       for defense and indemnity set forth above; and

    3. Contact me as soon as possible so that we can discuss potential mediation, including
       mediator selection and proposed dates.

Thank you for your attention to this matter. We look forward to hearing from you.

The Monsanto Defendants expressly reserve all of their rights of any sort, at law or in equity,
including but not limited to those under the Special Undertaking Contract, whether or not identified
herein.




2 The plaintiffs in the Food Chain Cases alleged that they suffer from various types of cancer (primarily non-

Hodgkin lymphoma) as a result of their environmental, non-employment exposure to PCBs.
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Very truly yours,

Thompson Coburn LLP




By
     David M. Mangian
     Partner

Enclosures
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CASE                                                     NUMBER                JURISDICTION
                                                                               USDC, District of
ADKINS, Melinda, et al. v. Monsanto, et al.              2:21-cv-01818-APG-VCF
                                                                               Nevada
                                                                               King County Superior
ALLISON, Dana, et al. v. Monsanto, et al.                18-2-26074-4 SEA
                                                                               Court WA
BACK, David, et al. v. Monsanto, et al.                  18SL-CC03530          St. Louis County, MO
                                                                               USDC, District of
BALTIMORE, Mayor and City Council v. Monsanto, et al.    1:19-cv-00483-RDB
                                                                               Maryland
                                                                               King County Superior
BARD, Angela et al. v. Monsanto, et al.                  21-2-14305-5 SEA
                                                                               Court WA
                                                                               USDC, Northern
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BERKELEY, City of v. Monsanto, et al.                    5:16-cv-00071-EJD
                                                                               District of California
                                                                               King County Superior
BEUTLER, John et al. v. Monsanto, et al.                 21-2-14302-1 SEA
                                                                               Court WA
                                                                               Madison County,
BISHOP, Patricia v. Monsanto, et al.                     2020L 001815
                                                                               Illinois
BODEY, Belva and Emmett v. Monsanto, et al.              19-2-00605-05         Clallam County, WA
                                                                               King County Superior
BURKE, Leah, et al. v. Monsanto, et al.                  18-2-58379-9 SEA
                                                                                                                                                         #: 510




                                                                               Court WA
                                                                               King County Superior
CALDWELL-ELEAZER, Maya, et al. v. Monsanto, et al.       18-2-54572-2 SEA
                                                                               Court WA
                                                                               Los Angeles County,
CALIFORNIA, People of the State of v. Monsanto, et al.   22STCV07958
                                                                               CA
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                                                         3:18-cv-01942-TWR-    USDC, Southern
CHULA VISTA, City of v. Monsanto, et al.
                                                         AGS                   District of California
                                                                               New Castle County,
DELAWARE, State of v. Monsanto, et al.                   N21C-09-179 MMJ
                                                                               Delaware
                                                                               Superior Court of the
DISTRICT OF COLUMBIA v. Monsanto, et al.                 2020-CA-002445-B
                                                                               District of Columbia
                                                                               King County Superior
DONHAM, Edith, et al. v. Monsanto, et al.                19-2-02161-6 SEA
                                                                               Court WA
                                                                               USDC, Southern
EAST ST. LOUIS, City of v. Monsanto, et al.              3:21-cv-232-DWD
                                                                               District of Illinois
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                                                                              King County Superior
ERICKSON, Kerry, et al. v. Monsanto, et al.            18-2-11915-4 SEA
                                                                              Court WA
FAYETTE COUNTY, The County of Commission of v. Bayer
                                                       21-C-42                Fayette County, WV
CropScience, et al.
                                                                            King County Superior
FLOREY, Catherine, et al. v. Monsanto, et al.          19-2-02266-7 SEA
                                                                            Court WA
GRADY, Michael and Kathleen, v. Monsanto, et al.       2022-CC09797         City of St. Louis, MO
                                                                            King County Superior
GRANT, Donya et al. v. Monsanto, et al.                21-2-14304-7 SEA
                                                                            Court WA
                                                                            Los Angeles County,
HARRIS, Alexander, et al. v. Monsanto, et al.          20STCV33399
                                                                            CA
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                                                                            USDC, District of
HARTFORD, City of v. Monsanto, et al.                  3:15-CV-01544 (RNC)
                                                                            Connecticut
                                                                            King County Superior
HEIT, Angela, et al. v. Monsanto, et al.               18-2-55641-4 SEA
                                                                            Court WA
                                                                            King County Superior
KEELEY, Nicole, et al. v. Monsanto, et al.             19-2-02170-5 SEA
                                                                            Court WA
                                                                            King County Superior
KELLER, Rebecca, et al. v. Monsanto, et al.            19-2-02173-0 SEA
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                                                                            Court WA
                                                                            King County Superior
KEYSER, Shelby, et al. v. Monsanto, et al.             18-2-58331-4 SEA
                                                                            Court WA
                                                                            King County Superior
LARSON, Corrina et al. v. Monsanto, et al.             19-2-09686-1 SEA
                                                                            Court WA
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                                                                            USDC, Central District
LONG BEACH, City of v. Monsanto, et al.                2:16-cv-03493-FMO-AS
                                                                            of California
                                                                            King County Superior
LONG, Melanie et al. v. Monsanto, et al.               18-2-00001-7 SEA
                                                                            Court WA
                                                       2:19-CV-04694-GW-    USDC, Central District
LOS ANGELES, City of v. Monsanto, et al.
                                                       AFM                  of California
MARSHALL, Eugene and Trudy, v. Monsanto, et al.        19-L-0584            St. Clair County, IL
                                                                            Baltimore City,
MARYLAND, State of v. Monsanto, et al.                 24C21005251
                                                                            Maryland
                                                                            King County Superior
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MILLS HILEY, Holly et al. v. Monsanto, et al.          21-2-14303-9 SEA
                                                                            Court WA




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                                                                             Merrimack County,
NEW HAMPSHIRE, State of v. Monsanto, et al.            217-2020-CV-00573
                                                                             NH
                                                                             USDC, District of New
NEW MEXICO, State of v. Monsanto, et al.               19-cv-01139
                                                                             Mexico
                                                                             USDC, Northern
OAKLAND, City of v. Monsanto, et al.                   5:15-cv-05152-EJD
                                                                             District of California
OHIO, State of v. Monsanto, et al.                     A 1801237             Hamilton County, OH
                                                                             Multnomah County,
OREGON, State of v. Monsanto, et al.                   18CV00540
                                                                             OR
PENNSYLVANIA, Commonwealth of v. Monsanto, et al.      668 MD 2020           Commonwealth of PA
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                                                                             USDC, District of
PORT of PORTLAND v. Monsanto, et al.                   3:17-cv-00015-MO
                                                                             Oregon
                                                                             USDC, District of
PORTLAND, City of v. Monsanto, et al.                  3:16-cv-01418-MO
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ROSE, Merrilee, et al. v. Monsanto, et al.             18-2-58239-3 SEA
                                                                             Court WA
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SAN DIEGO, Unified Port District v. Monsanto, et al.   15-CV-578 TWR (AGS)
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                                                                             District of California
                                                                             USDC, Northern
SAN JOSE, City of v. Monsanto, et al.                  5:15-cv-03178-EJD
                                                                             District of California
SAN MATEO, County of, et al. v. Monsanto, et al.       22-CIV-01667          San Mateo County, CA
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                                                                             USDC, Western
SEATTLE, City of v. Monsanto, et al.                   2:16-cv-00107-RSL
                                                                             District of Washington
                                                                             King County Superior
SOLEY, Hope, et al. v. Monsanto, et al.                18-2-23255-4 SEA
                                                                             Court WA
                                                                             USDC, Eastern District
SPOKANE, City of v. Monsanto, et al.                   15-cv-00201-SMJ
                                                                             of Washington
                                                                             King County Superior
STEINMAN, Susan, et al. v. Monsanto, et al.            19-2-02176-4 SEA
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STRATTON, Victoria, et al. v. Monsanto, et al.      19-2-02178-1 SEA
                                                                       Court WA
TARBELL, Russell, v. Monsanto, et al.               20SL-CC01017       St. Louis County, MO
TEMPLETON, Jay S. and Dawn L. v. Monsanto, et al.   21-C-340           Kanawha County, WV
                                                                       King County Superior
WASHINGTON, State of v. Monsanto, et al.            16-2-29591-6 SEA
                                                                       Court WA
                                                                       King County Superior
WILLIAMSON, Vanessa, et al. v. Monsanto, et al.     19-2-02181-1 SEA
                                                                       Court WA
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We      writing to advise you that Monsanto has adopted
      are
certain  restrictive policies with respect to its further
sale and delivery of all polychlorinated biphenyl PCBs
products  used as dielectric fluids in transformers and
capacitors         including but             no limited to those sold under
tradenamee         such   as   AroclorW                  Inerteen             Pyranol        and
under the       generic        term askaral

Effective       15 January        1972         Monsanto
                                                   deliver       will sell         and
these  products only to manufacturers  of transformers or
capacitors  who have entered into agreement to indeimify
and hold harmless Monsanto in the use of these product
and whose financial  responsibility make such                                       agreements
meaningful in Monsantos opinion     Two copies                                      of such
an agreement are attached


As    we have
            previously advised you studies indicate                                          Pas
may be  accumulating  in the environment   Xn some insnoea
PCa    have been found in food or in the food chain
Because of Monsantos concern over this problem we are
discontinuing sales of PcBs in all applications except
as dielectric fluids for use in transformers and
capacitors

If    you   havequestions or if you wish to meet with
                    any
representatives of Monsanto management relativ to this
agreement  please telephone  314 6942455 or write
directly to Mr         bergen Monsanto Company
            ox 14617 St Louis Mis.ouri                              63l7B        Otherwise
please      have    the   attached           two        copies     of   the    hold harmless



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agreement signed on behalf of your company by an authoried
officer and return one fully signed copy to I4onaanto
we do not receive      signed    copy   of the
                                          agreement in the
form attached by 15    anuary it may not be poaathle to sell
further quantities    of these products to your company


We sincerely regret any hardships that this decision may
cause you but it is taken in an effort to continue to make
available these products for critical electrical applications


                                   Very truly yours




                                   Specialty Products Group
                                   Monsanto Industrial Chemical       Co

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Enclosures




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